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                                                                                        SOLICITATION VERSION


                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                                 )
In re:                                                           ) Chapter 11
                                                                 )
MALLINCKRODT PLC, et al.,                                        ) Case No. 20-12522 (JTD)
                                                                 )
                               1
                    Debtors.                                     ) (Jointly Administered)
                                                                 )
                                                                 )

               JOINT PLAN OF REORGANIZATION OF MALLINCKRODT PLC AND ITS
                                                                        2
              DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE


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                                                Dated: June 18, 2021


1
       A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
       and noticing agent at http://restructuring.primeclerk.com/Mallinckrodt. The Debtors’ mailing address is 675
       McDonnell Blvd., Hazelwood, Missouri 63042.
2
       The Guaranteed Unsecured Notes Ad Hoc Group’s sign off on the Plan is subject to resolution of the opioid fee
       allocation issues.
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          JOINT PLAN OF REORGANIZATION OF MALLINCKRODT PLC AND ITS
         DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

        Mallinckrodt plc and each of the debtors and debtors-in-possession in the above-captioned cases
(each a “Debtor” and, collectively, the “Debtors”) propose this Plan (as defined herein) for the treatment
and resolution of the outstanding Claims against, and Equity Interests in, the Debtors. Capitalized terms
used in the Plan and not otherwise defined have the meanings ascribed to such terms in Article I.A of the
Plan.

         Although proposed jointly for administrative purposes, the Plan constitutes a separate Plan for each
Debtor for the treatment and resolution of outstanding Claims and Interests pursuant to the Bankruptcy
Code. The Debtors seek to consummate the Restructuring Transactions on the Effective Date of the Plan.
Each Debtor is a proponent of the Plan within the meaning of section 1129 of the Bankruptcy Code. The
classifications of Claims and Interests set forth in Article III of the Plan shall be deemed to apply separately
with respect to each Plan proposed by each Debtor, as applicable. The Plan does not contemplate
substantive consolidation of any of the Debtors.

        Reference is made to the Disclosure Statement for a discussion of the Debtors’ history, businesses,
results of operations, historical financial information, projections, and future operations, as well as a
summary and analysis of the Plan and certain related matters, including distributions to be made under the
Plan.

     ALL HOLDERS OF CLAIMS AND INTERESTS ENTITLED TO VOTE ON THE PLAN
ARE ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

                                                  Article I.

                      DEFINED TERMS AND RULES OF INTERPRETATION

A.      Defined Terms

        The following terms shall have the following meanings when used in capitalized form herein:

         1.      “1992 Ludlow Debentures Indenture” means that certain Indenture, dated as of April 30,
1992, by and among Ludlow Corporation, as issuer, U.S. Bank Trust National Association (as successor in
interest to Security Pacific National Trust Company (New York)), as trustee, as supplemented by that
certain First Supplemental Indenture, dated as of April 30, 1992, with U.S. Bank National Trust Association
(as successor in interest to Security Pacific National Trust Company (New York)) (each as modified,
amended, or supplemented from time to time).

         2.     “1993 Ludlow Debentures Indenture” means that certain Indenture, dated as of April 30,
1992, by and among Ludlow Corporation, as issuer, U.S. Bank Trust National Association (as successor in
interest to Security Pacific National Trust Company (New York)), as trustee, as supplemented by that
certain Second Supplemental Indenture, dated as of March 8, 1993, with U.S. Bank National Trust
Association (as successor in interest to BankAmerica National Trust Company) (each as modified,
amended, or supplemented from time to time).

       3.      “2013 Notes Indenture” means that certain Indenture, dated as of April 11, 2013, by and
among Mallinckrodt International Finance S.A., as issuer, the guarantors party thereto from time to time
and U.S. Bank National Association, as trustee (as modified, amended, or supplemented from time to time).
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         4.     “2014 Notes Indenture” means that certain Indenture, dated as of August 13, 2014, by and
among Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC, as issuers, the guarantors party
thereto from time to time and Deutsche Bank Trust Company Americas, as trustee (as modified, amended,
or supplemented from time to time).

       5.       “2024 First Lien Term Loan” shall have the meaning ascribed to the term “2017 Term B
Loans” in the First Lien Credit Agreement.

         6.      “2024 First Lien Term Loan Claims” means any Claim held by the First Lien Agent or
the First Lien Lenders arising under, derived from or based upon the 2024 First Lien Term Loan or the First
Lien Credit Agreement (excluding any Claims arising under, derived from or based upon the 2025 First
Lien Term Loan or the First Lien Revolving Credit Facility), including Claims for all principal amounts
outstanding, interest, fees, expenses, costs, indemnification and other charges arising under or related to the
2024 First Lien Term Loan or the First Lien Credit Agreement (excluding any Claims arising under or
related to the 2025 First Lien Term Loan or the First Lien Revolving Credit Facility).

        7.      “2024 First Lien Term Loans Outstanding Amount” means the principal amount
outstanding as of April 23, 2021 in respect of the 2024 First Lien Term Loan in an amount equal to
$1,407,557,343.72 less the amount of any First Lien Term Loan Principal Payments applied to repay the
2024 First Lien Term Loans after April 23, 2021.

       8.      “2025 First Lien Term Loan” shall have the meaning ascribed to the term “2018
Incremental Term Loans” in the First Lien Credit Agreement.

         9.      “2025 First Lien Term Loan Claims” means any Claim held by the First Lien Agent or
the First Lien Lenders arising under, derived from or based upon the 2025 First Lien Term Loan or the First
Lien Credit Agreement (excluding any Claims arising under, derived from or based upon the 2024 First
Lien Term Loan or the First Lien Revolving Credit Facility), including Claims for all principal amounts
outstanding, interest, fees, expenses, costs, indemnification and other charges arising under or related to the
2025 First Lien Term Loan or the First Lien Credit Agreement (excluding any Claims arising under or
related to the 2024 First Lien Term Loan or the First Lien Revolving Credit Facility).

         10.    “2025 First Lien Term Loans Outstanding Amount” means the principal amount
outstanding as of April 23, 2021 in respect of the 2025 First Lien Term Loan in an amount equal to
$373,591,066.61 less the amount of any First Lien Term Loan Principal Payments applied to repay the 2025
First Lien Term Loans after April 23, 2021.

       11.     “4.75% Senior Notes due 2023” means the 4.75% senior notes due 2023 pursuant to the
2013 Notes Indenture.

         12.      “4.75% Senior Notes Indenture Trustee” means U.S. Bank National Association, solely
in its capacity as trustee under the 2013 Notes Indenture, and any predecessor or successor thereto.

        13.    “4.75% Unsecured Notes Claims” means any Claim arising under or based upon the 4.75%
Senior Notes due 2023 or the 2013 Notes Indenture.




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        14.     “5.50% Senior Notes Claims” means any Claim arising under, derived from or based upon
the April 2015 Notes Indenture, other than the Indenture Trustee Fees of the Guaranteed Unsecured Notes
Indenture Trustee.

        15.    “5.50% Senior Notes due 2025” means the 5.50% senior notes due 2025 pursuant to the
April 2015 Notes Indenture.

       16.    “5.625% Senior Notes Claims” means any Claim arising under, derived from or based
upon the September 2015 Notes Indenture, other than the Indenture Trustee Fees of the Guaranteed
Unsecured Notes Indenture Trustee.

       17.    “5.625% Senior Notes due 2023” means the 5.625% senior notes due 2023 pursuant to the
September 2015 Notes Indenture.

        18.     “5.75% Senior Notes Claims” means any Claim arising under, derived from or based upon
the 2014 Notes Indenture, other than the Indenture Trustee Fees of the Guaranteed Unsecured Notes
Indenture Trustee.

       19.     “5.75% Senior Notes due 2022” means the 5.75% senior notes due 2022 pursuant to the
2014 Notes Indenture.

        20.    “8.00% Debentures due March 2023” means the 8.00% debentures due 2023 pursuant to
the 1993 Ludlow Debentures Indenture.

        21.      “8.00% Debentures Indenture Trustee” means U.S. Bank Trust National Association,
solely in its capacity as trustee under the 1993 Ludlow Debentures Indenture, and any predecessor or
successor thereto.

       22.   “9.5% Debentures due May 2022” means the 9.50% debentures due 2022 pursuant to the
1992 Ludlow Debentures Indenture.

        23.      “9.5% Debentures Indenture Trustee” means U.S. Bank Trust National Association,
solely in its capacity as trustee under the 1992 Ludlow Debentures Indenture, and any predecessor or
successor thereto.

       24.      “Abatement Distribution” means a distribution from an Abatement Trust to an Authorized
Recipient for Approved Uses.

       25.      “Abatement Trust” means, collectively, NOAT II, TAFT II, the Third-Party Payor Trust,
the Hospital Trust, the Emergency Room Physician Trust, and the NAS Monitoring Trust.

        26.      “Abatement Trust Documents” means, collectively, the NOAT II Documents, the TAFT
II Documents, the Third-Party Payor Trust Documents, the Hospital Trust Documents, the Emergency
Room Physician Trust Documents, and the NAS Monitoring Trust Documents, all of which must be
acceptable to the Governmental Plaintiff Ad Hoc Committee and the MSGE Group.

        27.     “Acthar Claim” means a non-ordinary course Claim or Cause of Action (other than a Claim
resolved by the Federal/State Acthar Settlement) arising out of, relating to, or in connection with the
Debtors’ pricing and sale of Acthar® Gel product, including all Claims and Causes of Action in the Acthar
Lawsuits and any and all similar Claims and Causes of Action.

        28.     “Acthar Lawsuits” means (a) City of Rockford v. Mallinckrodt ARD, LLC, No. 3:17-cv-
50107 (N.D. Ill.); (b) City of Marietta v. Mallinckrodt ARD LLC, Case No. 1:20-cv-00552 (N.D. Ga);
(c) Health Care Service Corp. v. Mallinckrodt ARD LLC, et al., Case No RG20056354 (Cal. Sup. Ct. for


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Alameda Ct’y); (d) United Assoc. of Plumbers & Pipefitters Local 322 of S. N.J. v. Mallinckrodt ARD, LLC,
et al., Case No. 1:20-cv-00188-RBK-KMW (D.N.J.); (e) Humana Inc. v. Mallinckrodt ARD LLC, Case No.
CV 19-6926-DSF-MRWx (C.D. Cal.); and (f) Washington Cty. Bd. of Educ. v. Mallinckrodt ARD, Inc., 431
F.Supp.3d 689, No. CV JKB-19-1854, 2020 WL 43016 (D. Md.).

         29.     “Ad Hoc First Lien Term Lender Group” means that certain ad hoc group of holders of
certain First Lien Credit Agreement Claims represented by, among others, Gibson, Dunn & Crutcher LLP
and advised by Evercore Group, LLC.

        30.     “Ad Hoc Group of Hospitals” means the Ad Hoc Group of Hospitals identified in the
Hospitals’ Joinder to the OCC’s Objection to Disclosure Statement and Hospitals’ Separate Statement
[Docket No. 2402].

       31.      “Ad Hoc Group of Personal Injury Victims” means the Ad Hoc Group of Personal Injury
Victims identified in the Verified Statement of the Ad Hoc Group of Personal Injury Victims Pursuant to
Bankruptcy Rule 2019 [Docket No. 729] (as amended, supplemented, or modified from time to time).

         32.     “Additional Insurance Rights” means additional rights with respect to or arising under
any Insurance Contracts and/or other consideration to be agreed to by the Debtors, the Supporting
Governmental Opioid Claimants, the MSGE Group, and Supporting Unsecured Noteholders holding no
less than two thirds in outstanding principal amount of Guaranteed Unsecured Notes held by the Supporting
Unsecured Noteholders then party to the Restructuring Support Agreement.

         33.     “Administrative Claim” means a Claim, including a General Administrative Claim, for
costs and expenses of administration under sections 503(b), 507(b), or 1114(e)(2) of the Bankruptcy Code,
including: (a) the actual and necessary costs and expenses incurred after the Petition Date and through the
Effective Date of preserving the Estates and operating the businesses of the Debtors; (b) Professional Fee
Claims (to the extent Allowed by the Bankruptcy Court); (c) all fees and charges assessed against the
Estates under chapter 123 of title 28 United States Code, 28 U.S.C. §§ 1911-1930; (d) all Cure Costs; and
(e) the Restructuring Expenses; provided that the foregoing clauses (a) through (e) shall not be interpreted
as enlarging the scope of sections 503(b), 507(b), or 1114(e)(2) of the Bankruptcy Code. Notwithstanding
anything contained in the Plan, the Confirmation Order or any other order of the Court, the Disinterested
Managers Fees and Expenses shall constitute Allowed Administrative Claims.

         34.    “Administrative Claims Bar Date” means, for Administrative Claims other than
Professional Fee Claims, the Restructuring Expenses, any Opioid Claims or VI Opioid Claims, the earlier
of (a) the bar date established for any such Administrative Claims by separate order of the Bankruptcy
Court and (b) the date that is the 60th day after the Effective Date.

          35.      “Administrative Claims Objection Deadline” means, for Administrative Claims other than
Professional Fee Claims, the Restructuring Expenses, any Opioid Claims or VI Opioid Claims, the date that
is the later of (a) 120 days after the Administrative Claims Bar Date and (b) such other deadline as may be
specifically fixed by the Debtors or the Reorganized Debtors, as applicable, or by an order of the
Bankruptcy Court, for objecting to Administrative Claims.

         36.     “Affiliate” means, with respect to any Entity, all Entities that would fall within the
definition of an “affiliate” as such term is defined in section 101(2) of the Bankruptcy Code. With respect
to any Entity that is not a Debtor, the term “Affiliate” shall apply to such Entity as if the Entity were a
Debtor.

        37.    “Allowed” means: (a) with respect to an Opioid Claim, any such Opioid Claim that has
been allowed in accordance with the applicable Opioid MDT II Documents or Opioid Creditor Trust
Documents, (b) with respect to any Claim or Interest other than an Opioid Claim, any such Claim or Interest


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(i) for which a Proof of Claim has been timely Filed by the applicable Claims Bar Date or any Claim or
Interest that is not required to file a Proof of Claim by the applicable Claims Bar Date pursuant to the Claims
Bar Date Order and (A) as to which no objection to allowance, priority, or secured status, and no request
for estimation or other challenge, including pursuant to section 502(d) of the Bankruptcy Code or otherwise,
has been interposed, or (B) as to which any objection has been determined by a Final Order to the extent
such objection is determined in favor of the respective Holder; (ii) for which a Proof of Claim has been
timely Filed by the applicable Claims Bar Date that is compromised, settled, or otherwise resolved pursuant
to the authority of the Debtors or the Reorganized Debtors, as applicable; or (iii) that is scheduled by the
Debtors as neither disputed, contingent, nor unliquidated, and as for which no Proof of Claim has been
timely Filed in an unliquidated or different amount; or (iv) expressly allowed under this Plan or by Final
Order of the Bankruptcy Court. Notwithstanding the foregoing: (x) any Claim or Interest that is expressly
disallowed pursuant to the Plan shall not be Allowed unless otherwise ordered by the Bankruptcy Court;
(y) unless otherwise specified in the Plan, the Allowed amount of Claims shall be subject to and shall not
exceed the limitations under or maximum amounts permitted by the Bankruptcy Code, including
sections 502 or 503 of the Bankruptcy Code, to the extent applicable; and (z) the Reorganized Debtors shall
retain all claims and defenses with respect to Allowed Claims that are Reinstated or otherwise Unimpaired
pursuant to the Plan. “Allow,” “Allows,” and “Allowing” shall have correlative meanings.

         38.      “Alternate/Supplemental Distribution Process” means alternate, additional or
supplemental procedures in consultation with the Guaranteed Unsecured Notes Indenture Trustee or the
Legacy Unsecured Notes Indenture Trustee, as applicable, each in its capacity as Distribution Agent, to
make distributions to Holders of the Guaranteed Unsecured Notes or the Legacy Unsecured Notes and to
eliminate such Guaranteed Unsecured Notes or Legacy Unsecured Notes, including all book entry positions
relating thereto, from DTC’s books and records.

      39.     “Approved Uses” means Authorized Abatement Purposes and other uses approved in the
Abatement Trust Documents.

        40.      “April 2015 Notes Indenture” means that certain Indenture, dated as of April 15, 2015, by
and among Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC, as issuers, the guarantors
party thereto from time to time and Deutsche Bank Trust Company Americas, as trustee (as modified,
amended, or supplemented from time to time).

        41.      “Asbestos Claim” means a Claim related to asbestos exposure or products containing
asbestos.

         42.     “Assigned Insurance Rights” means (a) any and all rights, titles, privileges, interests,
claims, demands, or entitlements of the Debtors to any proceeds, payments, benefits, Causes of Action,
choses in action, defense or indemnity (collectively, “rights”), regardless of whether such rights existed in
the past, now exist, or hereafter arise, and regardless of whether such rights are or were accrued or
unaccrued, liquidated or unliquidated, matured or unmatured, disputed or undisputed, fixed or contingent,
based on, arising under, or attributable to, any and all Opioid Insurance Policies and (b) the Additional
Insurance Rights. For the avoidance of doubt, Assigned Insurance Rights includes the Debtors’ rights,
based on, arising under, or attributable to Insurance Contracts issued to the Debtors’ prior affiliates,
subsidiaries, and parents (including Medtronic plc and its subsidiaries, and parents), or otherwise, or any of
their predecessors, successors, or assigns.

         43.      “Assigned Medtronic Claims” means all Causes of Action of the Debtors against
Medtronic plc and/or its subsidiaries, and each of their predecessors, successors, and assigns, including all
Avoidance Actions of the Debtors against such parties; provided, that the Debtors or Reorganized Debtors
shall be entitled to assert any and all Causes of Action solely in defense against claims or Causes of Action
asserted by Medtronic plc and/or its subsidiaries, or any of their predecessors, successors, or assigns, against


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the Debtors or Reorganized Debtors (as applicable), solely to the extent that any such Causes of Action
asserted in defense by the Debtors or Reorganized Debtors (a) are not asserted as the basis for any setoff or
recoupment by the Debtors or Reorganized Debtors (as applicable), (b) would not result in any recovery of
money or property by the Debtors or Reorganized Debtors (as applicable), or (c) would otherwise not impair
the Opioid MDT II’s ability to (i) recover the full amount of damages on account of the Assigned Medtronic
Claims or (ii) assert any Assigned Medtronic Claims as the basis for reducing the Opioid MDT II’s or the
Opioid Creditor Trusts’ liability to any Opioid Claimant.

        44.      “Assigned Third-Party Claims” means (a) all Causes of Action of the Debtors arising out
of Opioid Claims, including all Avoidance Actions arising out of Opioid Claims, but excluding any Causes
of Action against the Parent or any of its subsidiaries or against any Released Party, provided, that the
Debtors or Reorganized Debtors shall be entitled to assert any and all Causes of Action in defense against
claims or Causes of Action asserted against the Debtors or Reorganized Debtors, or any Released Party (as
applicable), solely to the extent that any such Causes of Action asserted in defense by the Debtors or
Reorganized Debtors (i) are not asserted as the basis for any setoff or recoupment by the Debtors,
Reorganized Debtors, or Released Party (as applicable) and (ii) would not result in any recovery of money
or property by the Debtors, Reorganized Debtors, or Released Party (as applicable); (b) would otherwise
not impair the Opioid MDT II’s ability to (i) recover the full amount of damages on account of the Assigned
Third-Party Claims or (ii) assert any Assigned Third-Party Claims as the basis for reducing the Opioid
MDT II’s or the Opioid Creditor Trusts’ liability to any Opioid Claimant; and (c) the Assigned Medtronic
Claims.

        45.      “Authorized Abatement Purpose” means, with respect to any Abatement Trust, (i) an
authorized opioid abatement purpose for which an Abatement Distribution from such Abatement Trust may
be used, as set forth in the Abatement Trust Documents for such Abatement Trust, or (ii) the payment of
attorneys’ fees and costs of Holders of Opioid Claims channeled to such Abatement Trust (including any
counsel to any ad hoc group or other group of such Holders, including any such counsel that is not a
Retained Professional).

       46.     “Authorized Recipient” means an eligible recipient of funds from an Abatement Trust in
accordance with the Plan, the Confirmation Order, and the applicable Abatement Trust Documents.

        47.     “Avoidance Actions” means any and all avoidance, recovery, subordination or similar
actions or remedies that may be brought by or on behalf of the Debtors or their Estates under the Bankruptcy
Code or applicable non-bankruptcy law, including, actions or remedies arising under chapter 5 of the
Bankruptcy Code or under similar or related local, state, federal, or foreign statutes and common law,
including fraudulent transfer laws, fraudulent conveyance laws, or other similar related laws.

        48.     “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532.

       49.     “Bankruptcy Court” means the United States Bankruptcy Court for the District of
Delaware or such other court having jurisdiction over the Chapter 11 Cases.

        50.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated by
the United States Supreme Court under section 2075 of title 28 of the United States Code, 28 U.S.C. § 2075,
as applicable to the Chapter 11 Cases, and the general, local, and chambers rules of the Bankruptcy Court.

         51.     “Business Day” means any day, other than a Saturday, Sunday or “legal holiday” (as that
term is defined in Bankruptcy Rule 9006(a)), on which commercial banks are open for commercial business
with the public in New York City.

        52.     “Canadian Court” means the Ontario Superior Court of Justice (Commercial List).



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        53.      “Cash” means the legal tender of the United States of America or the equivalent thereof.

        54.      “Cash Collateral Order” means, collectively, (a) that certain Final Order Under
Bankruptcy Code Sections 105(a), 361, 362, 363, 503, and 507, and Bankruptcy Rules 4001 and 9014 (I)
Authorizing Debtors to Use Cash Collateral; (II) Granting Adequate Protection to Prepetition Secured
Parties; (III) Modifying Automatic Stay; and (IV) Granting Related Relief entered by the Bankruptcy Court
on November 20, 2020 [Docket No. 586], (b) that certain Order Modifying Cash Collateral Order entered
by the Bankruptcy Court on February 2, 2021 [Docket No. 1263], and (c) that certain Order (I) Modifying
Cash Collateral Order With Respect To Adequate Protection Terms, (II) Permitting The Debtors To Pay
Certain Amounts, And (III) Granting Related Relief [Docket No. 2021], each as amended, supplemented,
or modified from time to time.

        55.      “Causes of Action” means any claims, causes of action (including Avoidance Actions),
demands, actions, suits, obligations, liabilities, cross-claims, counterclaims, defenses, offsets, or setoffs of
any kind or character whatsoever, in each case whether known or unknown, contingent or noncontingent,
matured or unmatured, suspected or unsuspected, foreseen or unforeseen, direct or indirect, choate or
inchoate, existing or hereafter arising, under statute, in contract, in tort, in law, or in equity, or pursuant to
any other theory of law, federal or state, whether asserted or assertable directly or derivatively in law or
equity or otherwise by way of claim, counterclaim, cross-claim, third party action, action for indemnity or
contribution or otherwise.

        56.     “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the
voluntary case Filed for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and
(b) when used with reference to all Debtors, the jointly administered chapter 11 cases for all of the Debtors.

        57.     “Chapter 11 Monitor” means the monitor appointed pursuant to that certain Order
(I) Appointing R. Gil Kerlikowske as Monitor for Voluntary Injunction and (II) Approving the Monitor’s
Employment of Saul Ewing as Counsel at the Cost and Expense of the Debtors [Docket No. 1306] or such
other monitor as may subsequently be appointed by the Bankruptcy Court prior to the Effective Date.

       58.     “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code. Except
where otherwise provided in context, “Claim” refers to such a claim against any of the Debtors.

         59.     “Claims Bar Date” means, with respect to any Claim, the last date for filing of a Proof of
Claim in these Chapter 11 Cases with respect to such Claim, as provided in (a) the Claims Bar Date Order,
(b) a Final Order of the Bankruptcy Court, or (c) this Plan; provided that if there is a conflict relating to the
bar date for a particular Claim, this Plan shall control. For the avoidance of doubt, there is no Claims Bar
Date for Opioid Claims.

        60.     “Claims Bar Date Order” means that certain Order (A) Establishing Bar Dates and
Related Procedures for Filing Proofs of Claim and (B) Approving Form and Manner of Notice Thereof
entered by the Bankruptcy Court on November 30, 2020 [Docket No. 667], as amended, supplemented, or
modified from time to time.

        61.     “Claims Register” means the official register of Claims and Equity Interests maintained by
the Notice and Claims Agent.

       62.       “Class” means a category of Claims or Equity Interests as set forth in Article III of the Plan
pursuant to section 1122(a) of the Bankruptcy Code.

        63.      “Co-Defendant Claims” means any and all Claims that (i) either (A) are or could be
asserted against any Debtor, including any and all Claims that would otherwise be a Cure Cost or (B) seek
to recover from any property of any Debtor or its Estate or any Insurance Contract, (ii) are for or based


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upon or arise from contribution, indemnification, reimbursement, setoff or recoupment or any other similar
claim or Cause of Action (other than indemnification obligations expressly assumed pursuant to the Plan
or an order of the Bankruptcy Court), and (iii) seek to recover, directly or indirectly, any costs, losses,
damages, fees, expenses or any other amounts whatsoever, actually or potentially imposed upon the Holder
of such Claims, in each case based upon, arising from, or attributable to any actual or potential litigation or
dispute, whether accrued or unaccrued, asserted or unasserted, existing or hereinafter based on, arising
under, or attributable to any Opioid Claim or any Opioid Demand (including any such Claims or Demands
asserted by any manufacturer, distributor, pharmacy, pharmacy-benefit manager, group purchasing
organization or physician or other contract counterparty or business partner of any Debtor, but excluding
any Claims in respect of any D&O Liability Insurance Policy or Indemnification Provisions expressly
assumed pursuant to Article V.F of the Plan). For the avoidance of doubt, a Co-Defendant Claim shall not
include any Claim that exists in the ordinary course of business that is not related to actual or pending
litigation or dispute relating to Opioid-Related Activities, including, but not limited to, Claims based on the
return of Products. Notwithstanding anything to the contrary in the Plan, any Claim that satisfies the
definition of a Co-Defendant Claim shall be a Co-Defendant Claim notwithstanding that such Claim would
otherwise satisfy the definition of another type of Claim.

         64. “Co-Defendant Defensive Rights” means any and all direct, or indirect, rights, remedies,
protections, immunities, objections, defenses, assertions, Claims, Causes of Action, and, in each case, of
any kind, character, or nature, whether legal, equitable, or contractual, contingent or non-contingent,
liquidated or unliquidated, disputed or undisputed, including, without limitation, all rights, remedies,
defenses, assertions, and Claims against liability, rights to setoff, offset, recoupment, counter-claims, cross-
claims, rights to allocation or apportionment of fault and judgment reduction, apportionment of damages,
any other defenses, affirmative defenses, or judgment reduction mechanisms or rights similar to the
foregoing, and any steps necessary to assert the foregoing, in each case, solely to reduce the liability,
judgment, obligation or fault of the applicable Holder of a Co-Defendant Claim to any Person that asserts
any Cause of Action or Claim against the Holder of any Co-Defendant Claim based in whole or in part on
Opioid-Related Activities. Co-Defendant Defensive Rights (i) may be used to offset, set-off, recoup,
allocate or apportion fault, liability, or damages, or seek judgment reduction or otherwise to defend against
any Cause of Action or Claim brought by any Person against the Holder of any Co-Defendant Claim based
in whole or in part on Opioid-Related Activities; and (ii) shall in no case be used to seek any affirmative
monetary recovery from any Protected Party on account of any Claim or Cause of Action released pursuant
to Article IX.D and shall in no case result in the Debtors or the Reorganized Debtors (as distinct from the
Opioid MDT II) being named on a jury verdict form or other finding of liability and shall in no case be used
to seek an affirmative recovery from the Opioid MDT II or any Opioid Creditor Trust other than on account
of any Class 9(h) Claim in accordance with the Plan and the Opioid MDT II Trust Documents. The
foregoing does not constitute a release of any Co-Defendant Claim.

        65.     “Compensation and Benefits Programs” means all employment, confidentiality, and non-
competition agreements, bonus, gainshare, and incentive programs (other than awards of Equity Interests,
stock options, restricted stock, restricted stock units, warrants, rights, convertible, exercisable, or
exchangeable securities, stock appreciation rights, phantom stock rights, redemption rights, profits interests,
equity-based awards, or contractual rights to purchase or acquire equity interest at any time and all rights
arising with respect thereto), vacation, holiday pay, severance, retirement, savings, supplemental
retirement, executive retirement, pension, deferred compensation, medical, dental, vision, life and disability
insurance, flexible spending account, and other health and welfare benefit plans, employee expense
reimbursement, and other compensation and benefit obligations of the Debtors, and all amendments and




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modifications thereto, applicable to the Debtors’ employees, former employees, retirees, and non-employee
directors and the employees, former employees, and retirees of their subsidiaries.

       66.      “Common Benefit Escrow” means the fund to be established as set forth in Article
IV.X.8(A) of the Plan.

       67.     “Common Benefit Fund” means a common benefit fund established by order of, and
administered by, either the MDL Court or the Bankruptcy Court, as will be reasonably agreed to by the
Governmental Plaintiff Ad Hoc Committee and the MSGE Group.

        68.      “Confirmation” means the entry of the Confirmation Order by the Bankruptcy Court on
the docket of the Chapter 11 Cases.

        69.     “Confirmation Date” means the date upon which Confirmation occurs.

         70.    “Confirmation Hearing” means the hearing conducted by the Bankruptcy Court pursuant
to section 1128(a) of the Bankruptcy Code to consider confirmation of the Plan, as such hearing may be
adjourned or continued from time to time.

       71.       “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan
pursuant to section 1129 of the Bankruptcy Code.

        72.    “Cooperation Agreement” means that certain Cooperation Agreement among the Debtors
and the Opioid MDT II, in substantially the form contained in the Plan Supplement, which shall be in form
and substance acceptable to the Governmental Plaintiff Ad Hoc Committee, the MSGE Group, and the
Required Supporting Unsecured Noteholders.

         73.    “Cram-Down First Lien Notes” means new, first lien secured notes to be issued under
certain circumstances to the Holders of First Lien Notes Claims, as described further in Article III of the
Plan, which notes shall mature on the eight (8) year anniversary of the Effective Date, bear interest at the
Cram-Down First Lien Notes Coupon Rate, and otherwise be on terms set forth in Exhibit 1 hereto. For
the avoidance of doubt, the Cram-Down First Lien Notes will be pari passu with any other first lien secured
debt of the Reorganized Debtors, other than the New AR Revolving Facility, contemplated by the Plan.

        74.    “Cram-Down First Lien Notes Coupon Rate” means a coupon rate payable in Cash based
on the ICE BofA 8+ Year B US High Yield Index Semi Annual Yield to Worst (referenced by H2AL on
Bloomberg) as of the Effective Date, rounded to the nearest 0.125%, subject to a max coupon of 10.0%.

         75.   “Cram-Down First Lien Notes Documentation” means the indenture (the substantially
final form of which will be filed with the Plan Supplement), notes, and other documents governing the
Cram-Down First Lien Notes.

         76.     “Cram-Down Second Lien Notes” means new, second lien secured notes to be issued
under certain circumstances to the Holders of Second Lien Notes Claims, as described further in Article III
of the Plan, which notes shall mature on the ten (10) year anniversary of the Effective Date, bear interest at
the Cram-Down Second Lien Notes-Coupon Rate, and otherwise be on terms set forth in Exhibit 1 hereto.
For the avoidance of doubt, the Cram-Down Second Lien Notes will be pari passu with any other second
lien secured debt of the Reorganized Debtors contemplated by the Plan.

       77.     “Cram-Down Second Lien Notes Coupon Rate” means a coupon rate payable in Cash
based on the ICE BofA 8+ Year CCC & Lower US High Yield Index Semi Annual Yield to Worst




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(referenced by H3AL on Bloomberg) as of the Effective Date, rounded to the nearest 0.125%, subject to a
max coupon of 10.0%.

         78.   “Cram-Down Second Lien Notes Documentation” means the indenture (the substantially
final form of which will be filed with the Plan Supplement), notes, and other documents governing the
Cram-Down Second Lien Notes.

        79.     “Cure Cost” means any and all amounts required to cure any monetary defaults under any
Executory Contract or Unexpired Lease (or such lesser amount as may be agreed upon by the parties under
an Executory Contract or Unexpired Lease) that is to be assumed by the Debtors pursuant to sections 365
or 1123 of the Bankruptcy Code.

        80.      “D&O Liability Insurance Policies” means, collectively, all insurance policies (including
any “tail policies” and all agreements, documents, or instruments related thereto) issued at any time to, or
providing coverage to, any of the Debtors or any of the Debtors’ current or former directors, members,
managers, or officers for alleged Wrongful Acts (as defined in the D&O Liability Insurance Policies), or
similarly defined triggering acts, in their capacity as such.

        81.     “Debtor Release” means the releases set forth in Article I.B of the Plan.

         82.     “Definitive Documents” means all material documents (including any related Bankruptcy
Court or other judicial or regulatory orders, agreements, schedules, pleadings, motions, filings, or exhibits)
that are contemplated by the Restructuring Support Agreement and that are otherwise necessary or desirable
to implement the Restructuring Transactions, including (as applicable): (i) the Plan; (ii) the Disclosure
Statement; (iii) any other operative documents and/or agreements relating to the Plan (including any
documents necessary to implement the distributions contemplated thereunder) and/or the Disclosure
Statement; (iv) the Disclosure Statement Order; (v) the Confirmation Order; (vi) the Plan Supplement; (vii)
the Management Incentive Plan; (viii) the Scheme of Arrangement and any other substantive pleadings
submitted in the Irish Examinership Proceedings; (ix) the Irish Confirmation Order; (x) the Exit Financing
Documents, including all intercreditor agreements; (xi) the New Governance Documents; (xii) pleadings
commencing the Recognition Proceedings and any substantive pleadings filed therein, including the
order(s) granting recognition to the Chapter 11 Cases and relief granted therein; (xiii) all documents
memorializing the settlement based on the Opioid Settlement Term Sheet; (xiv) the Opioid MDT II
Documents; (xv) the Opioid Creditor Trust Documents; (xvi) the New Opioid Warrants; (xvii) the Cash
Collateral Order; (xviii) the First Day Pleadings; (xix) any new key employee incentive and retentive based
compensation programs to be proposed after the Petition Date; (xx) all agreements to settle (A)
administrative, priority, or tax claims (other than claims held by a Debtor or Non-Debtor Affiliate against
a Debtor) in the Chapter 11 Cases in excess of $20 million or (B) General Unsecured Claims (other than
claims held by a Debtor or Non-Debtor Affiliate against a Debtor) in the Chapter 11 Cases in excess of $50
million; (xxi) the New Takeback Term Loan Documentation and any other documentation related to any
financing used to repay any First Lien Credit Agreement Claims; and (xxii) the Cooperation Agreement.

         83.     “Disclosure Statement” means the disclosure statement for the Plan, including all exhibits
and schedules thereto, as amended, supplemented, or modified from time to time, that is prepared and
distributed in accordance with sections 1125, 1126(b), and 1145 of the Bankruptcy Code, Bankruptcy Rule
3018, and other applicable law.

        84.     “Disclosure Statement Order” means the order of the Bankruptcy Court approving the
Disclosure Statement.

         85.     “Disinterested Managers” means Sherman Edmiston III and Marc Beilinson, solely in
their respective capacities as the disinterested managers of the Specialty Generics Debtors.



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        86.     “Disinterested Managers Fees and Expenses” means all unpaid fees and expenses as of
the Effective Date due to the Disinterested Managers pursuant to their respective engagement agreements
with the Debtors.

         87.      “Disputed” means, with respect to any Claim or Equity Interest, except as otherwise
provided herein, a Claim or Equity Interest that is filed by the applicable Claims Bar Date, or any portion
thereof, that is not Allowed and not disallowed under the Plan, the Bankruptcy Code, or a Final Order.

       88.     “Disputed General Unsecured Claims Reserve” means the reserve established pursuant to
and governed by Article VII.H of the Plan.

       89.     “Distribution Agent” means the Reorganized Debtors or any party designated by the
Debtors or Reorganized Debtors to serve as distribution agent under this Plan.

        90.       “District Court” means the United States District Court for the District of Delaware or such
other district court having jurisdiction over the Chapter 11 Cases.

        91.     “DTC” means The Depository Trust Company or any successor thereto.

       92.       “Effective Date” means the date on which all conditions specified in Article I.A of the Plan
have been (i) satisfied or (ii) waived pursuant to Article VIII.B of the Plan.

         93.      “Emergency Room Physicians Attorney Fee Fund” means the fund to be established as
set forth in Article IV.X.8 of the Plan.

        94.     “Emergency Room Physicians Group” means the putative class of emergency room
physicians who participated in the mediation regarding Opioid Claims pursuant to that certain Order
(A) Appointing a Mediator and (B) Granting Related Relief [Docket No. 1276].

        95.    “Emergency Room Physicians Opioid Claimant” means a Holder of an Emergency Room
Physicians Opioid Claim.

        96.     “Emergency Room Physicians Opioid Claims” means any Opioid Claims (including
Opioid Demands) held by an emergency room physician whose billing and revenue collection were entirely
separate from the medical facility billing practices and were not employed by such medical facility. For
the avoidance of doubt, Emergency Room Physicians Opioid Claims exclude Hospital Opioid Claims.

         97.     “Emergency Room Physicians Trust” means the Abatement Trust that is to be established
in accordance with the Plan, the Confirmation Order, and the Emergency Room Physicians Trust
Documents to (a) assume all liability for Emergency Room Physicians Opioid Claims, (b) receive the
distribution made on account of the Emergency Room Physicians Opioid Claims, (c) administer Emergency
Room Physicians Opioid Claims, and (d) make Abatement Distributions to Authorized Recipients,
including distributions to Holders of Emergency Room Physicians Opioid Claims in accordance with the
Emergency Room Physicians Trust Documents.

       98.     “Emergency Room Physicians Trust Documents” means the documents governing: (a)
the Emergency Room Physicians Trust; (b) the flow of consideration from the Opioid MDT II to the
Emergency Room Physicians Trust; (c) submission, resolution, and distribution procedures in respect of all
Emergency Room Physicians Opioid Claims (including Opioid Demands); and (d) the flow of distributions,
payments or flow of funds made from the Emergency Room Physicians Trust after the Effective Date.

        99.     “Entity” means an entity as defined in section 101(15) of the Bankruptcy Code.




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         100.     “Environmental Claim” means any Claim, action, suit, demand, inquiry, investigation,
proceeding, or notice (written or oral) by any by any Governmental Unit or any Person alleging potential
liability of the Debtors, including liability or responsibility for the costs of investigations, governmental
response, removal, or remediation, natural resources damages, property damages, personal injuries, medical
monitoring, penalties, contribution, indemnification or injunctive relief, arising out of, based on, or resulting
from: (a) the presence of Hazardous Materials, a Hazardous Materials Release or a threatened Hazardous
Materials Release at any location, whether or not owned or operated by the Debtors; or (b) any actual or
alleged violation of or non-compliance with any other federal or state environmental laws or regulations,
environmental orders, permits, approvals, consent decrees and other obligations. For the avoidance of
doubt, Asbestos Claims shall not be Environmental Claims.

         101.    “Equity Interest” means any issued, unissued, authorized, or outstanding ordinary shares,
preferred shares, or other instrument evidencing an ownership interest in the Parent, whether or not
transferable, together with any warrants, equity-based awards, or contractual rights to purchase or acquire
such equity interests at any time and all rights arising with respect thereto that existed immediately before
the Effective Date.

       102.      “Estate” means, as to each Debtor, the estate created for such Debtor in its Chapter 11 Case
pursuant to section 541 of the Bankruptcy Code.

        103.     “Examiner” means an examiner appointed to the Parent and/or any other Company Entity
under Section 509 of the Companies Act 2014 of Ireland, including any such examiner appointed on an
interim basis under Section 512(7) of the Companies Act 2014 of Ireland, by order of the High Court of
Ireland on the commencement of the Irish Examinership Proceedings.

         104.     “Exculpated Party” means, in each case, in its capacity as such: (a) the Debtors (and their
Representatives); (b) the Reorganized Debtors (and their Representatives); (c) the Official Committee of
Unsecured Creditors (and its Representatives and the members thereto and their Representatives); (d) the
Official Committee of Opioid-Related Claimants (and its Representatives and the members thereto and
their Representatives); (e) the Future Claimants Representative (and its Representatives); and (f) the
Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes Indenture Trustee, each
solely in its capacity and to the extent it serves as a Distribution Agent.

        105.     “Executory Contract” means a contract to which one or more of the Debtors is a party that
is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code, other than an
Unexpired Lease.

       106.    “Exit Financing Documents” means any agreements, indentures, commitment letters,
documents, or instruments relating to any exit financing facility or facilities to be entered into by the
Reorganized Debtors, including with respect to the New Credit Facilities, New Takeback Term Loans, the
Takeback Second Lien Notes, the Cram-Down First Lien Notes, and the Cram-Down Second Lien Notes.

        107.     “Favorable Trade Terms” means the trade terms with a Holder of an Allowed Trade Claim
consistent with those practices and programs most favorable to the Debtors in place during the twelve (12)
months before the Petition Date or such other favorable terms as the Debtors and such Holder may mutually
agree in accordance with the requirements set forth in the Disclosure Statement Order.

        108.     “Federal/State Acthar Deferred Cash Payments” means the right to receive Cash
payments in the following amounts on the following dates: (a) $15,000,000 on the first anniversary of the
Effective Date; (b) $20,000,000 on each of the second and third anniversaries of the Effective Date;
(c) $32,500,000 on each of the fourth and fifth anniversaries of the Effective Date; and (d) $62,500,000 on
each of the sixth and seventh anniversaries of the Effective Date.



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         109.    “Federal/State Acthar Settlement” means the settlement between Parent, Mallinckrodt
ARD LLC, the United States of America, and the States (excluding, for this purpose, any territories of the
United States other than the District of Columbia and Puerto Rico) resolving certain of the Acthar-related
litigations and government investigations disclosed in the Company’s Annual report on Form 10-K filed
with the SEC on March 10, 2021, including United States of America, et al., ex rel., Charles Strunck, et al.
v. Mallinckrodt ARD LLC (E.D. Penn.); United States of America et al. ex rel. Landolt v. Mallinckrodt
ARD, LLC (D. Mass.); and Mallinckrodt ARD LLC v. Verma et al. (D.D.C.), and related matters, as set forth
in the Federal/State Acthar Settlement Agreements.

         110.    “Federal/State Acthar Settlement Agreements” means the definitive settlement
agreements memorializing the Federal/State Acthar Settlement with (i) the U.S. Government (acting by and
through the United States Department of Justice) and (ii) the States, Washington, D.C., and Puerto Rico,
which shall be consistent with the terms set forth in Exhibit 3 hereto and substantially final forms of which
will be filed with the Plan Supplement.

        111.     “File” or “Filed” or “Filing” means file, filed, or filing, respectively, with the Bankruptcy
Court or its authorized designee in the Chapter 11 Cases.

         112.     “Final Order” means an order entered by the Bankruptcy Court or other court of competent
jurisdiction: (a) that has not been reversed, stayed, modified, amended, or revoked, and as to which (i) any
right to appeal or seek leave to appeal, certiorari, review, reargument, stay, or rehearing has been waived
or (ii) the time to appeal or seek leave to appeal, certiorari, review, reargument, stay, or rehearing has
expired and no appeal, motion for leave to appeal, or petition for certiorari, review, reargument, stay, or
rehearing is pending or (b) as to which an appeal has been taken, a motion for leave to appeal, or petition
for certiorari, review, reargument, stay, or rehearing has been filed and (i) such appeal, motion for leave to
appeal or petition for certiorari, review, reargument, stay, or rehearing has been resolved by the highest
court to which the order or judgment was appealed or from which leave to appeal, certiorari, review,
reargument, stay, or rehearing was sought and (ii) the time to appeal (in the event leave is granted) further
or seek leave to appeal, certiorari, further review, reargument, stay, or rehearing has expired and no such
appeal, motion for leave to appeal, or petition for certiorari, further review, reargument, stay, or rehearing
is pending.

         113.   “First Day Pleadings” means the motions, petitions, and draft orders that the Debtors filed
at the commencement of the Chapter 11 Cases. First Day Pleadings include the related interim and Final
Orders as entered by the Bankruptcy Court in connection with the relief requested in such motions.

       114.     “First Lien Agent” means Deutsche Bank AG New York Branch, in its capacity as
administrative agent under the First Lien Credit Agreement or, as applicable, any successor thereto.

       115.    “First Lien Credit Agreement” means that certain Credit Agreement, dated as of March 19,
2014, by and among Mallinckrodt plc, as the parent, Mallinckrodt International Finance S.A., as Lux
borrower, Mallinckrodt CB LLC, as co-borrower, the First Lien Agent, and the First Lien Lenders (as
modified, amended, or supplemented from time to time).

         116.    “First Lien Credit Agreement Claim” means any Claim held by the First Lien Agent or
the First Lien Lenders, including the First Lien Revolving Credit Facility Claims, 2024 First Lien Term
Loan Claims, and 2025 First Lien Term Loan Claims, arising under, derived from or based upon the First
Lien Credit Agreement or the First Lien Credit Facility, including claims for all principal amounts
outstanding, interest, fees, expenses, costs, indemnification and other charges arising under or related to the
First Lien Credit Facility or the First Lien Credit Agreement.




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      117.       “First Lien Credit Facility” means the credit facility evidenced by the First Lien Credit
Agreement.

       118.    “First Lien Lenders” shall have the meaning ascribed to the term “Lender” in the First
Lien Credit Agreement and include the singular and plural forms of such term.

         119.   “First Lien Notes” means the 10.00% first lien senior secured notes due 2025 pursuant to
the First Lien Notes Indenture.

         120.   “First Lien Notes Claim” means any Claim arising under, deriving from or based upon the
First Lien Notes or the First Lien Notes Indenture.

         121.    “First Lien Obligations” shall have the meaning ascribed to the term “Obligations” in the
First Lien Credit Agreement.

         122.    “First Lien Notes Indenture” means that certain Indenture, dated as of April 7, 2020, by
and among Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC, as issuers, the guarantors
party thereto from time to time, Wilmington Savings Fund Society, FSB, as first lien trustee, and Deutsche
Bank AG New York Branch, as first lien collateral agent (as modified, amended, or supplemented from
time to time).

        123.    “First Lien Notes Makewhole Claim” means a First Lien Notes Claim (a) for any principal
premium in excess of the principal amount of such Claims outstanding immediately before the Petition
Date, including for any “Applicable Premium” (as defined in the First Lien Notes Indenture) or optional
redemption premium, or (b) for any “Additional Amounts” (as defined in the First Lien Notes Indenture).

        124.     “First Lien Revolving Credit Facility” means the revolving credit facility maturing in 2022
under the First Lien Credit Agreement.

         125.     “First Lien Revolving Credit Facility Claims” means any Claim held by the First Lien
Agent or the First Lien Lenders arising under, derived from or based upon the First Lien Revolving Credit
Facility or the First Lien Credit Agreement (excluding any Claims arising under, derived from or based
upon the 2024 First Lien Term Loan or the 2025 First Lien Term Loan), including Claims for all principal
amounts outstanding, interest, fees, expenses, costs, indemnification and other charges arising under or
related to the First Lien Revolving Credit Facility or the First Lien Credit Agreement (excluding any Claims
arising under or related to the 2024 First Lien Term Loan or the 2025 First Lien Term Loan).

         126.    “First Lien Term Lenders” shall have the meaning ascribed to the term “Term Lender” in
the First Lien Credit Agreement and include the singular and plural forms of such term.

         127.   “First Lien Revolving Lenders” means the First Lien Lenders that are lenders under the
First Lien Revolving Credit Facility.

         128.   “First Lien Term Loan Claims” means the 2024 First Lien Term Loan Claims and 2025
First Lien Term Loan Claims.

        129.     “First Lien Term Loans” means the 2024 First Lien Term Loan and 2025 First Lien Term
Loan.

         130.    “First Lien Term Loans Accrued and Unpaid Interest” means the accrued and unpaid
interest on the applicable First Lien Term Loans payable pursuant to the Cash Collateral Order and
calculated for the applicable interest period (or any portion thereof) in accordance with the Cash Collateral
Order, after accounting for adequate protection payments made by the Debtors pursuant to the Cash



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Collateral Order and received by the First Lien Term Lenders or, without duplication, to the First Lien
Agent for the benefit of and distribution to the First Lien Term Lenders (which, notwithstanding anything
to the contrary in the Cash Collateral Order, shall be retained by the First Lien Term Lenders and not
recharacterized as principal payments (other than payments of principal made on or prior to April 23, 2021
and First Lien Term Loan Principal Payments), or otherwise subject to disgorgement, recovery, or
avoidance by any party under any legal or equitable theory).

        131.     “First Lien Term Loan Principal Payments” means any excess cash flow sweep
payments, amortization payments, and other payments expressly designated as payments of principal of the
applicable First Lien Term Loans after April 23, 2021 and prior to the Effective Date.

        132.    “Future Opioid PI Claim” means (a) a PI Opioid Claim held by an individual who is
unaware he or she has a claim or who first manifests injury or asserts a claim after the confirmation date
and (b) a PI Opioid Demand.

        133.     “Future Opioid PI Claimant” means an individual holding a Future Opioid PI Claim.

       134.     “Future Claimants Representative” means the legal representative for Future Opioid PI
Claimants, pursuant to (a) that certain Order Provisionally Appointing Roger Frankel as Legal
Representative for Future Claimants [Docket No. 1747] and (b) that certain Order Appointing Roger
Frankel, as Legal Representative for Future Opioid Personal Injury Claimants, Effective as of the Petition
Date entered by the Bankruptcy Court on June 11, 2021 [Docket No. 2813], each as amended,
supplemented, or modified from time to time.

        135.    “General Administrative Claim” means any Administrative Claim, other than a
Professional Fee Claim, a Claim for Restructuring Expenses, a VI Opioid Claim, or a Claim for fees and
charges assessed against the Estates under chapter 123 of title 28 United States Code, 28 U.S.C.
§§ 1911-1930.

         136.    “General Unsecured Claim” means any Unsecured Claim (other than a Guaranteed
Unsecured Notes Claim, a Claim for the Indenture Trustee Fees, a Trade Claim, an Intercompany Claim,
an Opioid Claim, an Administrative Claim, a Priority Tax Claim, an Other Priority Claim, an Other Secured
Claim, a Subordinated Claim, or a Claim resolved by the Federal/State Acthar Settlement), including
(a) Claims arising from the rejection of unexpired leases or executory contracts, (b) Claims arising from
any litigation or other court, administrative, or regulatory proceeding, including damages or judgments
entered against, or settlement amounts owing by a Debtor in connection therewith, (c) Acthar Claims; (d)
Generics Price Fixing Claims; (e) Asbestos Claims, (f) Environmental Claims, and (g) Legacy Unsecured
Notes Claims.

         137.     “General Unsecured Claims Distribution” means for (a) each Holder of an Allowed
General Unsecured Claim and (b) each Holder of an Allowed Trade Claim that (i) votes to reject the Plan
or (ii) does not agree to maintain Favorable Trade Terms in accordance with the requirements set forth in
the Disclosure Statement Order, in each case, its Pro Rata Share of (x) the General Unsecured Claims
Recovery Pool and (y) the Trade Claim Cash Pool Unallocated Amount; provided, for the avoidance of
doubt, that distributions from the General Unsecured Claims Recovery Pool will be in both Cash and New
Mallinckrodt Ordinary Shares notwithstanding any Holder’s individual election on its duly cast ballot;
provided, further, that the portion of the General Unsecured Claims Distribution funded from the Trade
Claim Cash Pool Unallocated Amount shall be distributed to such Holders only in Cash, and not in equity;
provided, however, that the Debtors reserve the right to otherwise allocate any portion of the General
Unsecured Claims Recovery Pool to satisfy the requirements of the Bankruptcy Code and Bankruptcy
Rules. For the avoidance of doubt, the Pro Rata Share for the General Unsecured Claims Distribution shall
be calculated on a consolidated basis for all applicable Classes and all Debtors.



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        138.     “General Unsecured Claims Recovery Pool” means a recovery pool with an aggregate
value of $100,000,000 consisting of (a) New Mallinckrodt Ordinary Shares of a value, based on the General
Unsecured Claims Total Implied Equity Valuation, equal to $100,000,000 multiplied by the percentage of
Holders of General Unsecured Claims who affirmatively elect for distributions in the form of New
Mallinckrodt Ordinary Shares on their duly cast Ballots (such percentage to be calculated according to the
amount of such Holder’s Claim(s) as tabulated for voting purposes under the Disclosure Statement Order)
and (b) Cash in an amount equal to $100,000,000 less the value of the New Mallinckrodt Ordinary Shares
calculated in accordance with clause (a). The Debtors reserve the right to use any portion of the General
Unsecured Claims Recovery Pool to reach separate agreements with Holders of General Unsecured Claims
regarding their recoveries therefrom, subject to compliance with the Bankruptcy Code and Bankruptcy
Rules, or to otherwise allocate any portion of the General Unsecured Claims Recovery Pool to satisfy the
requirements of the Bankruptcy Code and Bankruptcy Rules.

        139.    “General Unsecured Claims Total Implied Equity Valuation” means the Debtors’ implied
equity valuation equal to $1,428,571,429.

         140.     “Generics Price Fixing Claim” means a non-ordinary course Claim or Cause of Action
arising out of, relating to, or in connection with the Debtors’ pricing and sale of generics products, including
all Claims and Causes of Action in the Generics Price Fixing Lawsuits and any and all similar Claims and
Causes of Action.

       141.    “Generics Price Fixing Lawsuits” means (a) Connecticut et al., v. Sandoz, Inc. et al., Case
No. 2:20-cv-03539 (E.D. Pa.) and (b) In re Generics Pharmaceuticals Pricing Antitrust Litigation,
16-MD-2724 (E.D. Pa.) (MDL 2724).
        142.     “Governmental Opioid Claimant” means a Holder of a Governmental Opioid Claim.

       143.    “Governmental Opioid Claims” means the State Opioid Claims, Municipal Opioid Claims,
Tribe Opioid Claims, and U.S. Government Opioid Claims.

         144.    “Governmental Plaintiff Ad Hoc Committee” means the ad hoc group of Governmental
Entities holding Opioid Claims (or representatives thereof, including the Plaintiffs’ Executive Committee)
represented by, among others, Gilbert LLP, Kramer Levin Naftalis & Frankel LLP, Brown Rudnick LLP,
William Fry, and Houlihan Lokey Capital, Inc.

       145.   “Governmental Unit” means a governmental unit as defined in section 101(27) of the
Bankruptcy Code and shall for the avoidance of doubt, include Tribes.

       146.    “Guaranteed Unsecured Notes” means, individually and collectively, the 5.75% Senior
Notes due 2022, the 5.50% Senior Notes due 2025 and the 5.625% Senior Notes due 2023.

         147.   “Guaranteed Unsecured Notes Ad Hoc Group” means that certain ad hoc group of holders
of certain Guaranteed Unsecured Notes represented by, among others, Paul, Weiss, Rifkind, Wharton &
Garrison LLP and advised by, among others, Perella Weinberg Partners LP.

        148.    “Guaranteed Unsecured Notes Claim” means, collectively, the 5.75% Senior Notes
Claims, the 5.50% Senior Notes Claims, and the 5.625% Senior Notes Claims, in each case, other than the
Indenture Trustee Fees of the Guaranteed Unsecured Notes Indenture Trustee.

        149.    “Guaranteed Unsecured Notes Indentures” means, collectively, the 2014 Notes
Indenture, the April 2015 Notes Indenture and the September 2015 Notes Indenture.




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        150.      “Guaranteed Unsecured Notes Indenture Trustee” means Deutsche Bank Trust Company
Americas, solely in its capacity as indenture trustee and in each other capacity for which it serves under or
in connection with the Guaranteed Unsecured Notes Indentures, including serving as a Distribution Agent;
provided that if the context requires only certain of the foregoing capacities, then only in such capacity(ies).

        151.      “Hazardous Materials” means any wastes, chemicals, chemical formulations, substances,
products, pollutants or materials, whether solid, liquid or gaseous, that (i) is asbestos, polychlorinated
biphenyls, radioactive materials or petroleum, (ii) requires remediation or reporting under any federal or
state environmental laws or regulations, or is defined, listed or identified as a “contaminant”, “pollutant”,
“toxic substance”, “toxic material”, “hazardous waste” or “hazardous substance” or words of similar
meaning and regulatory effect thereunder or (iii) is regulated as such by any Governmental Unit under any
federal or state environmental laws or regulations.

        152.    “Hazardous Materials Release” means any release (including as defined under the
Comprehensive Environmental Response, Compensation, and Liability Act (CERCLA)), spill, emission,
discharge, leaking, pumping, pouring, dumping, injection, deposit, disposal, dispersal, leaching or
migration of Hazardous Materials into soil, land, surface or subsurface strata, surface waters, groundwaters,
sediments, and ambient air.

        153.     “Holder” means an Entity holding a Claim or Interest, as applicable. When referring to
Holders of Guaranteed Unsecured Notes Claims, “Holder” shall mean the record holders of and owners of
beneficial interests in any of the Guaranteed Unsecured Notes.

       154.     “Hospital Attorney Fee Fund” means the fund to be established as set forth in Article
IV.X.8 of the Plan.

        155.     “Hospital Opioid Claimant” means a Holder of a Hospital Opioid Claim.

        156.     “Hospital Opioid Claims” mean any Opioid Claims (including Opioid Demands) held by
a provider of healthcare treatment services or any social services, in its capacity as such, and that is not held
by a Governmental Unit. For the avoidance of doubt, Hospital Opioid Claims exclude Emergency Room
Physicians Opioid Claims.

          157.    “Hospital Opioid Claims Share” means 3.57% of the Opioid MDT II Distributable Value
(i) after deducting from the Opioid MDT II Distributable Value reserved expenses for items (a) and (b) of
the definition of Opioid MDT II Operating Expenses, and (ii) gross of applicable Private Opioid Creditor
Trust Deductions and Holdbacks.

         158.    “Hospital Trust” means the Abatement Trust that is to be established in accordance with
the Plan, the Confirmation Order, and the Hospital Trust Documents to (a) assume all liability for Hospital
Opioid Claims, (b) collect distributions made on account of the Hospital Opioid Claims Share in accordance
with the Hospital Trust Documents, (c) administer Hospital Opioid Claims, and (d) make Abatement
Distributions to Authorized Recipients, including distributions to Holders of Hospital Opioid Claims in
accordance with the Hospital Trust Documents. It is contemplated that the Hospital Trust will coordinate
closely with the corresponding trust established in the Purdue Bankruptcy Cases, appoint the same trustee,
and that the Hospital Trust Documents will be substantially identical to the corresponding trust documents
utilized in the Purdue Bankruptcy Cases. All determinations regarding the eligibility of any provider of
healthcare treatment services or any social services for payment from the Hospital Trust will be made solely
by the trustee of the Hospital Trust pursuant to the Hospital Trust Documents.

         159.    “Hospital Trust Documents” means the documents governing: (a) the Hospital Trust;
(b) the flow of consideration from the Opioid MDT II to the Hospital Trust; (c) submission, resolution, and



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distribution procedures in respect of all Hospital Opioid Claims (including Opioid Demands); and (d) the
flow of distributions, payments or flow of funds made from the Hospital Trust after the Effective Date.

        160.     “Impaired” means “impaired” within the meaning of section 1124 of the Bankruptcy Code.

         161.     “Indemnification Provisions” means each of the Debtors’ indemnification provisions in
effect as of the Petition Date, whether in the Debtors’ memoranda and articles of association, bylaws,
certificates of incorporation, other formation documents, board resolutions, management or indemnification
agreements, employment contracts, or otherwise providing a basis for any obligation of a Debtor to
indemnify, defend, reimburse, or limit the liability of, or to advances fees and expenses to, any of the
Debtors’ current and former directors, officers, equity holders, managers, members, employees,
accountants, investment bankers, attorneys, other professionals, and professionals of the Debtors, and such
current and former directors’, officers’, and managers’ respective Affiliates, each of the foregoing solely in
their capacity as such.

         162.    “Indenture Trustee Fees” means the fees, expenses, disbursements and indemnity claims
incurred by the Guaranteed Unsecured Notes Indenture Trustee (as trustee and in any of its other capacities
under the applicable Guaranteed Unsecured Notes Indentures and this Plan), including without limitation,
attorneys’ and agents’ fees, expenses and disbursements, incurred by the Guaranteed Unsecured Notes
Trustee, whether prior to or after the Petition Date and whether prior to or after the Effective Date of this
Plan, in each case to the extent payable or reimbursable under the applicable Guaranteed Unsecured Notes
Indentures. For the avoidance of doubt, the Indenture Trustee Fees shall also include those fees, expenses,
disbursements and indemnity claims incurred in connection with (a) any foreign insolvency proceeding and
(b) such trustee serving as a Distribution Agent under this Plan.

         163.   “Initial Administrative Claims Bar Date” means, with respect to any Administrative
Claim arising on or prior to April 30, 2021 at 11:59 p.m., prevailing Eastern Time, the last date for filing a
request for payment in these Chapter 11 Cases with respect to such Administrative Claims as provided in
the Initial Administrative Claims Bar Date Order.

         164.  “Initial Administrative Claims Bar Date Order” means that certain Order (I) Setting an
Initial Bar Date for Filing Proofs of Administrative Claim, (II) Establishing Administrative Claims
Procedures, (III) Approving the Form and Manner of Filing Proofs of Administrative Claim, (IV)
Approving Notice of Initial Administrative Claim Bar Date, and (V) Granting Related Relief [Docket No.
2480].

         165.    “Initial Distribution Date” means the date that is on or as soon as practicable after the
Effective Date when distributions under the Plan shall commence for each Class entitled to receive
distributions; provided that (i) any applicable distributions under this Plan on account of the Guaranteed
Unsecured Notes Claims will be made to the applicable Distribution Agent on the Effective Date, and each
such Distribution Agent will make, transmit or cause to be transmitted its respective distributions as soon
as practicable thereafter pursuant to the terms of this Plan and (ii) any applicable distributions under this
Plan on account of the First Lien Term Claims will be made to the applicable Distribution Agent on the
Effective Date, and the applicable Distribution Agent shall make, transmit or cause to be transmitted its
respective distributions as soon as practicable thereafter pursuant to the terms of this Plan.

        166.     “Initial Federal/State Acthar Settlement Payment” means a Cash payment to be made by
the Debtors and/or the Reorganized Debtors pursuant to the Federal/State Acthar Settlement Agreements
to the United States and State governments in the amount equal to $15,000,000.

        167.   “Initial Opioid MDT II Payment” means a Cash payment to be made by the Debtors and/or
the Reorganized Debtors to the Opioid MDT II on the Effective Date in an amount equal to $450,000,000.



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         168.    “Insurance Contracts” means any and all insurance policies issued at any time to, or that
otherwise may provide or may have provided coverage to, any of the Debtors, regardless of whether the
insurance policies were issued to a Debtor or to a Debtor’s prior affiliates, subsidiaries, or parents (including
but not limited to Medtronic plc and its affiliates, subsidiaries, and parents) or otherwise, or to any of their
predecessors, successors, or assigns, and any and all agreements, documents or instruments relating thereto,
including any and all agreements with a third party administrator for claims handling, risk control or related
services, any and all Opioid Insurance Policies, any and all D&O Liability Insurance Policies, and any and
all Workers’ Compensation Contracts. For the avoidance of doubt, Insurance Contracts include any
insurance policies issued at any time to the Debtors’ prior affiliates, subsidiaries, and parents (including but
not limited to Medtronic plc and its affiliates, subsidiaries, and parents) or otherwise, or to any of their
predecessors, successors, or assigns, under which Debtors had, have, or may have any rights solely to the
extent of the Debtors’ rights thereunder.

       169.     “Insurer” means any company or other Entity that issued or entered into an Insurance
Contract (including any third party administrator) and any respective predecessors and/or Affiliates thereof.

         170.    “Intercompany Claim” means a prepetition Claim held by a Debtor or Non-Debtor
Affiliate against a Debtor.

         171.    “Intercompany Interest” means any issued, unissued, authorized, or outstanding shares of
common stock, preferred stock, or other instrument evidencing an ownership interest in any Debtor other
than the Parent, whether or not transferable, together with any warrants, equity-based awards, or contractual
rights to purchase or acquire such equity interests at any time and all rights arising with respect thereto that
existed immediately before the Effective Date.

        172.    “Intercreditor Agreements” shall have the meaning ascribed to such term in the Cash
Collateral Order.

        173.     “Interests” means, collectively, the Equity Interests and Intercompany Interests.

        174.     “Invoiced Restructuring Expenses” has the meaning set forth in Article IV.S.

        175.    “Irish Confirmation Order” mean an order of the High Court of Ireland to be made
pursuant to Section 541 of the Companies Act 2014 of Ireland confirming the Scheme of Arrangement
without material modification.

       176.    “Irish Examinership Proceedings” means the examinership proceedings to be
commenced by the directors of the Parent or any other Debtor Entity, in respect of the Parent or other
Debtor Entity, as applicable, pursuant to and in accordance with the requirements of Part 10 of the
Companies Act 2014 of Ireland.

       177.     “Irish Takeover Panel” means the Irish Takeover Panel constituted under Irish Takeover
Panel Act 1997.

        178.     “Irish Takeover Rules” means the Irish Takeover Panel Act 1997, Takeover Rules 2013.

       179.     “Legacy Unsecured Notes” means, individually and collectively, the 4.75% Senior Notes
due 2023, the 8.00% Debentures due March 2023 and the 9.5% Debentures due May 2022.

       180.   “Legacy Unsecured Notes Claim” means any Claim arising under or based upon the
Legacy Unsecured Notes or the Legacy Unsecured Notes Indentures.




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       181.  “Legacy Unsecured Notes Indentures” means collectively, the 2013 Notes Indenture, the
1992 Ludlow Debentures Indenture and the 1993 Ludlow Debentures Indenture.

        182.    “Legacy Unsecured Notes Indenture Trustee” means collectively, the 4.75% Senior Notes
Indenture Trustee, the 8.00% Debentures Indenture Trustee and the 9.5% Debentures Indenture Trustee.

         183.     “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

        184.   “Local Rules” means the Local Rules of Bankruptcy Practice and Procedure of the United
States Bankruptcy Court for the District of Delaware.

         185.     “Mallinckrodt” means, collectively, the Debtors and the Non-Debtor Affiliates.

        186.     “Management Incentive Plan” means the management incentive plan to be adopted on the
Effective Date which shall provide for (a) the issuance to management, key employees and directors of the
Reorganized Debtors of 10%, in total, of the fully diluted New Mallinckrodt Ordinary Shares (for the
avoidance of doubt, after giving effect to the exercise of the New Opioid Warrants), and (b) at least half of
such New Mallinckrodt Ordinary Shares (i.e., at least 5% of the fully diluted New Mallinckrodt Ordinary
Shares after giving effect to the exercise of the New Opioid Warrants) to be issued not later than thirty (30)
days after the Effective Date with the allocation of such grants to be approved by the compensation
committee of the Reorganized Board based upon the recommendations of the CEO; the final terms of such
plan shall be included in the Plan Supplement; provided that the Management Incentive Plan may be
modified or amended by the mutual agreement of the Debtors and the Required Supporting Unsecured
Noteholders prior to the Effective Date, with the consent of the Governmental Plaintiff Ad Hoc Committee
and the MSGE Group (such consent not to be unreasonably withheld).

        187.   “MDL” means that certain opioid multi-district litigation captioned In re National
Prescription Opiate Litigation, MDL No. 2804, Case No. 17-md-02804 (N.D. Ohio).

         188.     “MDL Court” means the court presiding over the MDL.

         189.    “Monitor” means the outside, independent monitor appointed in accordance with
Article IV.BB of the Plan to ensure the Reorganized Debtors’ (and any successors during the Monitor’s
term to the Reorganized Debtors’ business operations relating to the manufacture and sale of opioid
product(s) in the United States and its territories) compliance with the Opioid Operating Injunction.

        190.   “Monitor Agreement” means the agreement entered into between the Monitor and the
Reorganized Debtors, which shall be the agreement filed at Docket No. 1203 and approved by the
Bankruptcy Court at Docket No. 1306 unless amended or superseded by further order of the Bankruptcy
Court, which order may be the Confirmation Order.

         191.     “Monitor Reports” has the meaning set forth in Article IV.BB.3.

       192.    “MSGE Group” the multi-state governmental entities group represented by Caplin &
Drysdale, Chartered, Seitz, Van Ogtrop & Green, P.A., and FTI Consulting.

        193.    “MSGE Group Joinder Agreement” means that certain Joinder Agreement to the
Restructuring Support Agreement dated as of November 13, 2020 entered into by the MSGE Group.

         194.     “Municipal Opioid Claimant” means a Holder of a Municipal Opioid Claim.

         195.     “Municipal Opioid Claims” means the Governmental Opioid Claims held by Municipal
Units.



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        196.     “Municipal Units” means all Governmental Units that are not States or the United States
or the Tribes or any foreign Governmental Unit including, in each case, any department, agency, or
instrumentality thereof.

         197.    “NAS Child” means a natural person who has been diagnosed by a licensed medical
provider with a medical, physical, cognitive or emotional condition resulting from such natural person’s
intrauterine exposure to opioids or opioid replacement or treatment medication, including but not limited
to the condition known as neonatal abstinence syndrome.

       198.   “NAS Committee” means the Ad Hoc Committee of NAS Children identified in the First
Amended Verified Statement of the Ad Hoc Committee of NAS Children Pursuant to Bankruptcy Rule
2019 [Docket No. 387].

         199.   “NAS Monitoring Attorney Fee Fund” means the fund to be established as set forth in
Article IV.Y.7 of the Plan.

        200.     “NAS Monitoring Opioid Claimant” means a Holder of a NAS Monitoring Opioid Claim.

        201.    “NAS Monitoring Opioid Claims” means any Opioid Claims (including Opioid Demands)
held by, or on account of or on behalf of, a NAS Child and relates to medical monitoring support,
educational support, vocational support, familial support or similar related relief, but is not a NAS PI Opioid
Claim.

          202.     “NAS Monitoring Trust” means the Abatement Trust that is to be established in
accordance with the Plan, the Confirmation Order, and the NAS Monitoring Trust Documents to (a) assume
all liability for NAS Monitoring Opioid Claims, (b) receive the distribution made on account of the NAS
Monitoring Opioid Claims, (c) administer NAS Monitoring Opioid Claims, and (d) make Abatement
Distributions to Authorized Recipients for Authorized Abatement Purposes. It is contemplated that the
NAS Monitoring Trust will coordinate closely with the corresponding trust in the Purdue Bankruptcy Cases,
appoint the same trustee, and that the NAS Monitoring Trust Documents will be substantially identical to
the corresponding trust documents utilized in the Purdue Bankruptcy Cases.

        203.    “NAS Monitoring Trust Documents” means the documents governing: (a) the NAS
Monitoring Trust; (b) the flow of consideration from the Opioid MDT II to the NAS Monitoring Trust;
(c) submission, resolution, and distribution procedures in respect of all NAS Monitoring Opioid Claims
(including Opioid Demands); and (d) the flow of distributions, payments or flow of funds made from the
NAS Monitoring Trust after the Effective Date.

        204.    “NAS PI Opioid Claim” means the claim of any natural person who has been diagnosed
by a licensed medical provider with a medical, physical, cognitive or emotional condition resulting from
such natural person’s intrauterine exposure to opioids or opioid replacement or treatment medication,
including but not limited to the condition known as neonatal abstinence syndrome, and does not include
any NAS Monitoring Opioid Claims.

          205.    “NAS PI Opioid Claims Share” means 0.625% of the Opioid MDT II Distributable Value
(i) after deducting from the Opioid MDT II Distributable Value reserved expenses for items (a) and (b) of
the definition of Opioid MDT II Operating Expenses, and (ii) gross of applicable Private Opioid Creditor
Trust Deductions and Holdbacks.

         206.    “New AR Revolving Facility” means the new accounts receivable revolving credit facility
in the aggregate principal amount of up to approximately $200 million to be entered into by the Reorganized
Debtors on, prior to, or after the Effective Date.



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        207.     “New AR Revolving Facility Documentation” means the credit agreement (the
substantially final form of which will be filed with the Plan Supplement), security agreement, and other
documents governing the New AR Revolving Facility.

         208.   “NewCo” means a new Entity, if any, to be organized or incorporated by or at the direction
of the Required Supporting Unsecured Noteholders and with the reasonable consent of the Governmental
Plaintiff Ad Hoc Committee and the MSGE Group, on or before the Effective Date.

         209.     “NewCo Subsidiaries” means new Entities, if any, to be organized or incorporated by or
at the direction of the Required Supporting Unsecured Noteholders and with the reasonable consent of the
Governmental Plaintiff Ad Hoc Committee and the MSGE Group, on or before the Effective Date, other
than NewCo.

      210.   “New Credit Facilities” means, collectively, (a) the New Term Loan Facility and (b) the
New AR Revolving Facility.

         211.    “New Governance Documents” means any organizational or constitutional documents,
operating agreements, warrant agreements, option agreements, management services agreements,
shareholder and member-related agreements, registration rights agreements or other governance documents
for Reorganized Mallinckrodt and the Reorganized Debtors; provided, that, all such documents for
Reorganized Mallinckrodt shall have governance standards as though it was listed on any one of the
NASDAQ Capital Market, the NASDAQ Global Market, or the New York Stock Exchange, as determined
prior to the Effective Date.

        212.     “New Mallinckrodt Ordinary Shares” means ordinary shares of NewCo or Reorganized
Parent, as applicable, to be issued on the Effective Date.

       213.     “New Opioid Warrant Agreement” means the agreement governing the New Opioid
Warrants to be effective on the Effective Date, which shall be included in the Plan Supplement.

         214.    “New Opioid Warrants” means warrants to acquire the number of New Mallinckrodt
Ordinary Shares that would represent 19.99% of all such outstanding shares after giving effect to the
exercise of the New Opioid Warrants, subject to dilution from equity reserved under the Management
Incentive Plan, at a strike price reflecting an aggregate equity value for the Reorganized Debtors of $1.551
billion, which warrants shall be exercisable at any time on or prior to the seventh anniversary of the
Effective Date; provided, that if the Reorganized Debtors exercise the Prepayment Option and prepay the
Opioid Deferred Cash Payments in full, such warrants shall be exercisable only through and including the
fifth anniversary of the Effective Date. For the avoidance of doubt, the New Opioid Warrants will not be
subject to dilution on account of any General Unsecured Claims Distribution in the form of New
Mallinckrodt Ordinary Shares.

       215.   “New Takeback Term Loan Agent” means the administrative agent for the New Takeback
Term Loan Facility selected in accordance with the Restructuring Support Agreement.

          216.    “New Takeback Term Loan Facility” means a new senior secured first lien term loan
facility in an original principal amount equal to the Term Loans Outstanding Amount.

         217.     “New Takeback Term Loans” means the loans under the New Takeback Term Loan
Facility.

        218.     “New Takeback Term Loans Documentation” means the credit agreement (the
substantially final form of which will be filed with the Plan Supplement), security agreement, and other
documents governing the New Takeback Term Loan Facility.


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        219.   “New Term Loan Documentation” means the credit agreement (the substantially final
form of which will be filed with the Plan Supplement), security agreement, and other documents governing
the New Term Loan Facility.

         220.    “New Term Loan Facility” means the new term loan credit facility, or other funded
indebtedness, to be entered into by the Reorganized Debtors on, prior to, or after the Effective Date that
will be used to refinance the First Lien Revolving Credit Facility, and may be used to refinance the First
Lien Term Loans, the First Lien Notes, and/or the Second Lien Notes; provided that such refinancing of
the Second Lien Notes shall only be permitted in the event either (a)(i) the First Lien Term Loans (and the
First Lien Term Loan Claims) are repaid in full in Cash and (ii) the Term Loan Exit Payment is paid to the
First Lien Term Lenders, in each case, before or contemporaneously with such refinancing, or (b) if the
proceeds of any portion of the New Term Loan Facility are used to refinance the Second Lien Notes, such
portion of the New Term Loan Facility is secured by Liens and security interests that rank junior to the
Liens and security interests securing the New Takeback Term Loans.

        221.    “NOAT II” means the national opioid Abatement Trust that is to be established in
accordance with the Plan, the Confirmation Order, and the NOAT II Documents to (a) assume all liability
for State Opioid Claims and Municipal Opioid Claims, (b) collect distributions made on account of the
State and Municipal Government Opioid Claims Share in accordance with the NOAT II Trust Documents,
(c) administer State Opioid Claims and Municipal Opioid Claims, and (d) make Abatement Distributions
to Authorized Recipients for Approved Uses, including to Holders of State Opioid Claims and Municipal
Opioid Claims in accordance with the NOAT II Trust Documents.

         222.    “NOAT II Documents” means the documents governing: (a) the NOAT II; (b) the flow of
consideration from the Opioid MDT II to the NOAT II; (c) submission, resolution, and distribution
procedures in respect of all State Opioid Claims and Municipal Opioid Claims (including, in each case,
Opioid Demands); and (d) the flow of Abatement Distributions to Authorized Recipients, including
distributions, payments or flow of funds made from the NOAT II after the Effective Date.

       223.      “Non-Debtor Affiliates” means all of the Affiliates of the Debtors, other than the other
Debtors.

         224.    “Non-Debtor Releasing Parties” means (a) the Holders of all Claims who vote to accept
the Plan, (b) the Holders of all Claims that are Unimpaired under the Plan, (c) the Holders of all Claims
whose vote to accept or reject the Plan is solicited but who (i) abstain from voting on the Plan and (ii) do
not opt out of granting the releases set forth herein, (d) the Holders of all Claims or Equity Interests who
vote, or are deemed, to reject the Plan but do not opt out of granting the releases set forth herein, and (e) all
other Holders of Claims and Equity Interests to the maximum extent permitted by law; provided, that the
plaintiffs and the members of the putative class as identified in the Shenk Suit shall not be Non-Debtor
Releasing Parties until such time as the Shenk Settlement is approved on a final basis and by Final Order
of the United States District Court for the District of Columbia and upon such approval such plaintiffs shall
be deemed to have provided the releases set forth in the Shenk Settlement; provided, further, that Opioid
Claimants, solely in their capacity as Opioid Claimants, shall not be Non-Debtor Releasing Parties but shall
be subject to the releases by Holders of Opioid Claims in Article IX.D.

      225.     “Non-Governmental Opioid Claims” means all Opioid Claims (including Opioid
Demands) that are not Governmental Opioid Claims.




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         226.   “No Recovery Opioid Claims” means all Opioid Claims that are either (a) as of the relevant
time, disallowed under section 502(e)(1)(B) of the Bankruptcy Code (subject, however, to section 502(j) of
the Bankruptcy Code) or (b) subordinated pursuant to section 509(c) or section 510 of the Bankruptcy Code.

        227.    “Noteholder Consent Fee” means cash in an amount equal to 1.5% of par value of the
applicable Supporting Unsecured Noteholder’s Guaranteed Unsecured Notes as of 11:59 P.M., prevailing
Eastern time, on October 11, 2020.

        228.     “Notice and Claims Agent” means Prime Clerk, LLC, in its capacity as noticing, claims,
and solicitation agent for the Debtors, pursuant to the order of the Bankruptcy Court [Docket No. 219].

        229.     “Official Committee of Opioid-Related Claimants” means the official committee of
opioid-related claimants appointed in the Chapter 11 Cases [Docket No. 308].

        230.    “Official Committee of Unsecured Creditors” means the official committee of unsecured
creditors appointed in the Chapter 11 Cases [Docket No. 306].

        231.    “Opioid Attorneys’ Fee Fund” means a structure to be agreed upon that will be established
for reimbursement of State Opioid Claimant, Municipal Opioid Claimant, and Tribe Opioid Claimant costs
and expenses (including attorneys’ fees) in accordance with the Opioid MDT II Documents, which will be
funded with the Opioid Attorneys’ Fee Fund Share.

        232.    “Opioid Attorneys’ Fee Fund Share” means an amount (from the Public Opioid Creditor
Share) and structure to be agreed upon by the Governmental Plaintiff Ad Hoc Committee and the MSGE
Group.

         233.     “Opioid Claim” means a Claim or Cause of Action (other than Claims or Causes of Action
arising from violations of the Voluntary Injunction or Opioid Operating Injunction), whether existing now
or arising in the future, based in whole or in part on any conduct or circumstance occurring or existing on
or before the Effective Date and arising out of, relating to, or in connection with any opioid product or
substance, and any and all Opioid Demands related thereto, including, for the avoidance of doubt, claims
for indemnification, contribution, or reimbursement on account of payments or losses in any way arising
out of, relating to, or in connection with any such conduct or circumstances and Co-Defendant Claims. For
the avoidance of doubt, Opioid Claims do not include (i) any liability premised on allegations regarding
conduct undertaken by the Reorganized Debtors after the Effective Date, (ii) any Generics Price Fixing
Claims, or (iii) any claims arising under section 502(h) of the Bankruptcy Code.

       234.    “Opioid Claimant” means a Holder of an Opioid Claim, including Governmental Opioid
Claimants and Other Opioid Claimants.

        235.     “Opioid Claimant Release” means the releases set forth in Article I.D of the Plan.

       236.   “Opioid Creditor Trust Documents” means the PI Trust Documents, the Third-Party Payor
Trust Documents, the Hospital Trust Documents, the NAS Monitoring Trust Documents, the Emergency
Room Physicians Trust Documents, the NOAT II Documents, and the TAFT II Documents.

         237.    “Opioid Creditor Trustee(s)” means each trustee of an Opioid Creditor Trust or,
collectively, the trustees of the Opioid Creditor Trusts, in each case, appointed in accordance with
Article IV.X.2 of the Plan




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        238.     “Opioid Creditor Trust Operating Expenses” means any and all costs, expenses, fees,
taxes, disbursements, debts or obligations incurred from the operation and administration of the Opioid
Creditor Trusts, which shall be paid from the assets of the applicable Opioid Creditor Trust.

        239.     “Opioid Creditor Trusts” means the Public Opioid Creditor Trusts and the Private Opioid
Creditor Trusts.

         240.     “Opioid Deferred Cash Payments” means the right of the Opioid MDT II to receive Cash
payments on the Opioid Deferred Cash Payments Terms in the following amounts and on the following
dates: (a) $200,000,000 on each of the first and second anniversaries of the Effective Date; and (b)
$150,000,000 on each of the third through seventh anniversaries of the Effective Date; provided, that at any
time prior to the first anniversary of the Effective Date, the Reorganized Debtors shall have the Prepayment
Option; provided, further, that to the extent the Reorganized Debtors seek to prepay only a portion of the
Opioid Deferred Cash Payments in accordance with the Prepayment Option, such prepayment shall (x) be
funded solely from the net proceeds of an equity raise by the Reorganized Debtors; and (y) prepay Opioid
Deferred Cash Payments in accordance with the above in inverse order beginning with the payment due on
the seventh anniversary of the Effective Date. The Opioid Deferred Cash Payments will be joint and several
obligations (or be subject to an economically similar arrangement) of all current and future borrowers,
issuers, pledgers, and guarantors of the Debtors’ funded indebtedness; provided, that for so long as the New
Takeback Term Loans, the First Lien Notes, Second Lien Notes, Takeback Second Lien Notes, Cram-Down
First Lien Notes, Cram-Down Second Lien Notes (or any indebtedness incurred to refinance or replace such
New Takeback Term Loans, First Lien Notes, Second Lien Notes, Takeback Second Lien Notes, Cram-
Down First Lien Notes, or Cram-Down Second Lien Notes) remain outstanding, in no event shall the cash
payments described above be guaranteed by (or be required to be guaranteed by) an entity that does not
also guarantee the New Takeback Term Loans, First Lien Notes, Second Lien Notes, Takeback Second
Lien Notes, Cram-Down First Lien Notes, or Cram-Down Second Lien Notes (or such refinancing or
replacement debt).

        241.     “Opioid Deferred Cash Payments Terms” means the covenants and enforcement rights
with respect to the Opioid Deferred Cash Payments, a term sheet setting forth the material terms of which
shall be included in the Plan Supplement and shall be reasonably acceptable to the Debtors, the
Governmental Plaintiff Ad Hoc Committee, the MSGE Group, and the Required Supporting Unsecured
Noteholders in light of the nature, duration, and form of the deferred payment obligations, and compliance
with which shall be so ordered through the Confirmation Order.

        242.     “Opioid Demand” means any present or future demand for payment against a Debtor that
(a) was not an Opioid Claim during the Chapter 11 Cases prior to the Effective Date; (b) arises out of the
same or similar conduct or events that gave rise to the Opioid Claims addressed by the Opioid Permanent
Channeling Injunction; and (c) pursuant to the Plan, shall be dealt with by the Opioid MDT II or the Opioid
Creditor Trusts, as applicable.

          243.   “Opioid Insurance Policies” means any and all Insurance Contracts providing for general
liability or products liability coverage that may provide or may have provided the Debtors with rights (as
defined the definition of “Assigned Insurance Rights”) with respect to any Opioid Claim, regardless of
whether such rights existed in the past, now exist, or hereafter arise, and regardless of whether such rights
are or were accrued or unaccrued, liquidated or unliquidated, matured or unmatured, disputed or undisputed,
fixed or contingent. For the avoidance of doubt, Opioid Insurance Policies include such Insurance Contracts
issued at any time to the Debtors’ prior affiliates, subsidiaries, and parents (including but not limited to
Medtronic plc and its affiliates, subsidiaries, and parents) or otherwise, or to any of their predecessors,
successors, or assigns, under which Debtors had, have, or may have any rights solely to the extent of the
Debtors’ rights thereunder. Opioid Insurance Policies include the Insurance Contracts set forth on the



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Schedule of Opioid Insurance Policies included in the Plan Supplement, which schedule is not, and is not
intended to be, exhaustive.

         244.    “Opioid Insurance Settlements” means any and all settlement agreements concerning the
Opioid Insurance Policies, the rights under or related to which (i.e. the Assigned Insurance Rights) the
Debtors are assigning, or in the absence of such settlement agreement would be assigning, to the Opioid
MDT II pursuant to the Plan, that (i) the Debtors and an Opioid Insurer have entered into on or before the
Effective Date, with the consent of the Governmental Plaintiff Ad Hoc Committee and the MSGE Group,
and (ii) is approved by the Bankruptcy Court.

         245.     “Opioid Insurer” means an Insurer that has issued, is responsible for, or has liability to pay
under any Opioid Insurance Policy, and each of its affiliates, predecessors in interest, and agents, solely in
its capacity as such and solely with respect to such Opioid Insurance Policy.

        246.     Opioid Insurer Injunction” means the injunction issued pursuant to Article IX.I of the
Plan.

         247.   “Opioid MDT II” means the master disbursement trust that is to be established in
accordance with the Plan, the Confirmation Order, and the Opioid MDT II Documents, which trust will
satisfy the requirements of section 468B of the Internal Revenue Code and the Treasury Regulations
promulgated thereunder (as such may be modified or supplemented from time to time).

       248.    “Opioid MDT II Administrator” means the administrator that will be appointed by the
Opioid MDT II Trustee(s) pursuant to the Opioid MDT II Documents to adjudicate and liquidate Other
Opioid Claims.

         249.   “Opioid MDT II Consideration” means (a) the Initial Opioid MDT II Payment; (b) the
New Opioid Warrants; (c) the Opioid Deferred Cash Payments; (d) the Assigned Third-Party Claims; and
(e) the Assigned Insurance Rights.

       250.    “Opioid MDT II Distributable Value” means all cash proceeds of the Opioid MDT II
Consideration.

        251.    “Opioid MDT II Documents” means the documents governing: (a) the Opioid MDT II
(b) the Opioid Deferred Cash Payments Terms; (c) the flow of consideration from the Debtors’ Estates to
the Opioid MDT II; (d) submission, resolution, and distribution procedures in respect of all Opioid Claims
(including Opioid Demands) channeled to the Opioid MDT II; (e) the appointment of the Opioid MDT II
Administrator to adjudicate and liquidate Other Opioid Claims; and (f) the flow of distributions, payments
or flow of funds made from the Opioid MDT II after the Effective Date. The Future Claimants’
Representative and the Ad Hoc Group of Personal Injury Victims shall have the right to consult on the
Opioid MDT II Documents.

        252.    “Opioid MDT II Initial Distributable Value” means, as of the Opioid MDT II Initial
Distribution Date, the amount of Cash held in the Opioid MDT II.

        253.    “Opioid MDT II Initial Distribution” means the distribution on the Opioid MDT II Initial
Distribution Date of Opioid MDT II Initial Distributable Value from the Opioid MDT II to the Opioid
Creditor Trusts, the Ratepayer Account, the U.S. Government Opioid Claimants, and the Other Opioid
Claims Reserve.

        254.    “Opioid MDT II Initial Distribution Date” means the Effective Date or as soon as
reasonably practicable thereafter; provided that the Opioid MDT II Initial Distribution Date shall be no later
than five (5) Business Days after the Effective Date.


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        255.     “Opioid MDT II Operating Expenses” means the Trust Expenses and any and all costs,
expenses, fees, taxes, disbursements, debts or obligations incurred from the operation and administration
of the Opioid MDT II, including, but not limited to, (a) management, administration, disposition, exercise
or monetization of the New Opioid Warrants and (b) direct costs of prosecution or settlement of Assigned
Third-Party Claims and Assigned Insurance Rights. Opioid MDT II Operating Expenses shall not include
any amounts incurred by the Opioid MDT II in connection with adjudicating or otherwise liquidating the
Other Opioid Claims, which shall be paid out of the Other Opioid Claims Reserve.

         256.     “Opioid MDT II Operating Reserve” means a reserve in the Opioid MDT II to be
established to pay any and all Opioid MDT II Operating Expenses. The Opioid MDT II Operating Reserve
shall be (i) funded on the Effective Date with (a) a portion of the Opioid MDT II Initial Distributable Value
in an amount determined by the Governmental Plaintiff Ad Hoc Committee and the MSGE Group with the
consent (not to be unreasonably withheld, delayed or conditioned) of the Debtors, and (b) amounts sufficient
to make the first payment on account of the Third-Party Payor Opioid Claims Share, and (ii) funded
thereafter with Cash held or received by the Opioid MDT II in accordance with the Opioid MDT II
Documents and as determined by the Opioid MDT II Trustee(s), including with amounts sufficient to make
any upcoming payments on account of the Third-Party Payor Opioid Claims Share, and (iii) held by the
Opioid MDT II in a segregated account and administered by the Opioid MDT II Trustee(s) on and after the
Effective Date.

        257.    “Opioid MDT II Subsequent Distributable Value” means, as of any Opioid MDT II
Subsequent Distribution Date, the amount of Cash held in the Opioid MDT II less (a) any amounts in the
Other Opioid Claims Reserve and (b) any amounts in the Opioid Attorneys’ Fee Fund (which amounts shall
already have been placed in reserve through previous distributions on account of the Public Opioid Creditor
Share).

          258.     “Opioid MDT II Subsequent Distribution” means any distribution after the Opioid MDT
II Initial Distribution of Opioid MDT II Subsequent Distributable Value from the Opioid MDT II to the
Opioid Creditor Trusts, the U.S. Government Opioid Claimants, and the Other Opioid Claims Reserve.

         259.   “Opioid MDT II Subsequent Distribution Date” means the date that is five (5) Business
Days after each Opioid Deferred Cash Payment is made to the Opioid MDT II, or such other date as the
Opioid MDT II Trustee(s) determine in accordance with the Opioid MDT II Documents. The Opioid MDT
II will make the Opioid MDT II Subsequent Distributions on the Opioid MDT II Subsequent Distribution
Date(s).

         260.     “Opioid MDT II Trustee(s)” means the Person or Persons selected by the Governmental
Plaintiff Ad Hoc Committee and the MSGE Group, in consultation with the Debtors, and appointed to serve
as trustee(s) of the Opioid MDT II to administer the Opioid MDT II and Opioid Claims (including Opioid
Demands) channeled to the Opioid MDT II and any successors thereto, pursuant to the terms of the Opioid
MDT II Documents.

       261.     “Opioid Operating Injunction” means the operating injunction set forth in the Plan
Supplement.

        262.   “Opioid Operating Injunction Order” means an order enforcing the terms of the Opioid
Operating Injunction, which, for the avoidance of doubt, may be the Confirmation Order.

         263.     “Opioid Permanent Channeling Injunction” means an order or orders of the Bankruptcy
Court (which, for the avoidance of doubt, may be the Confirmation Order) permanently and forever staying,
restraining, and enjoining any Entity from taking any actions against any Protected Party for the purpose
of, directly or indirectly, collecting, recovering, or receiving payment of, on or with respect to any Opioid



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Claim (including any Opioid Demand) as set forth in Article IX.G of the Plan, all of which Opioid Claims
(including Opioid Demands) shall be channeled to the Opioid MDT II and the Opioid Creditor Trusts for
resolution as set forth in the Opioid MDT II Documents and the Opioid Creditor Trust Documents.

        264.    “Opioid-Related Activities” means the development, production, manufacture, licensing,
labeling, marketing, advertising, promotion, distribution or sale of opioid Products or the use or receipt of
any proceeds therefrom, or the use of opioids, including opioids that are not Products.

        265.     “Opioid Settlement Term Sheet” means Schedule 1 to the Plan Term Sheet.

       266.    “Ordinary Course Professional” means any professional retained and employed by the
Debtors pursuant to the Order Authorizing Employment and Payment of Professionals Utilized in the
Ordinary Course of Business [Docket No. 474].

        267.    “Other General Unsecured Claim” means a General Unsecured Claim other than (a)
Acthar Claims; (b) Generics Price Fixing Claims; (c) Asbestos Claims; (d) Environmental Claims; and (e)
Legacy Unsecured Notes Claims. For the avoidance of doubt, all Claims arising from the rejection of
unexpired leases or executory contracts shall be Other General Unsecured Claims.

        268.     “Other Opioid Claimant” means a Holder of an Other Opioid Claim.

        269.    “Other Opioid Claims” means any Opioid Claim that is not a Governmental Opioid Claim,
Third-Party Payor Opioid Claim, Hospital Opioid Claim, Ratepayer Opioid Claim, a NAS Monitoring
Opioid Claim, an Emergency Room Physicians Opioid Claim, or PI/NAS Opioid Claim, but including, for
the avoidance of doubt, Co-Defendant Claims and any No Recovery Opioid Claims that are Allowed after
the Effective Date under section 502(j) of the Bankruptcy Code.

         270.     “Other Opioid Claims Reserve” means the separate reserve which shall be a “disputed
ownership fund” governed by Treasury Regulation section 1.468B-9 and subject to separate administration
as set forth in the Opioid MDT II Documents. All costs of adjudicating or liquidating Other Opioid Claims
shall be paid out of the Other Opioid Claims Reserve, including the costs for the Opioid MDT II
Administrator.

        271.    “Other Opioid Claims Reserve Excess” means any amounts remaining in the Other Opioid
Claims Reserve after adjudication and liquidation of all Other Opioid Claims and, for the avoidance of
doubt, all Allowed Other Opioid Claims are paid in accordance with the Opioid MDT II Documents.

         272.    “Other Opioid Claims Share” means a share of the Opioid MDT II Initial Distributable
Value, after accounting for (a) all payments to the Private Opioid Creditor Trusts and the Ratepayer
Account, (b) any amounts required to fund the Opioid MDT II Operating Reserve (less any reserved
amounts on account of the Third-Party Payor Opioid Claims Share), and (c) the U.S. Government Claims
Share, which share shall be held in the Other Opioid Claims Reserve for the benefit of Other Opioid
Claimants and which share (y) shall be determined in connection with the Confirmation Hearing as
satisfying all applicable Bankruptcy Code requirements and (z) must be acceptable to the Governmental
Plaintiff Ad Hoc Committee and the MSGE Group.

        273.    “Other Priority Claim” means any Claim accorded priority in right of payment under
section 507(a) of the Bankruptcy Code, other than: (a) Administrative Claims or (b) Priority Tax Claims.

      274.    “Other Secured Claim” means any Secured Claim other than the First Lien Credit
Agreement Claims, First Lien Notes Claims, or Second Lien Notes Claims.




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         275.    “Parent” means Mallinckrodt plc, a public limited company incorporated under the laws
of Ireland with registered number 52227 and having its registered office at College Business & Technology
Park, Cruiserath, Blanchardstown, Dublin 15, Dublin, Ireland.

        276.      “Periodic Distribution Date” means the first Business Day that is as soon as reasonably
practicable occurring approximately sixty (60) days after (a) initially, the Initial Distribution Date, and (b)
thereafter, the immediately preceding Periodic Distribution Date.

         277.     “Person” means an individual, firm, corporation (including any non-profit corporation),
partnership, limited partnership, limited liability company, joint venture, association, trust, governmental
entity, or other entity or organization.

        278.     “Petition Date” means October 12, 2020.

        279.    “PI/NAS Opioid Claims” means, collectively, the PI Opioid Claims, the Future Opioid PI
Claims, and the NAS PI Opioid Claims. For the avoidance of doubt, NAS Monitoring Opioid Claims shall
not be PI/NAS Opioid Claims.

       280.    “PI Opioid Claimant” means a Holder of a PI Opioid Claim or the Holder of a Future
Opioid PI Claim.

        281.    “PI Opioid Claims” means any Opioid Claims (other than Opioid Demands) for alleged
opioid-related personal injury or other similar opioid-related Claim or Cause of Action, including any
opioid-related personal injury Claim, and that is not a Hospital Opioid Claim, a Third-Party Payor Opioid
Claim, a NAS PI Opioid Claim, a NAS Monitoring Opioid Claim, a Ratepayer Opioid Claim, an Emergency
Room Physicians Opioid Claim, or a Governmental Opioid Claim.

         282.    “PI Opioid Claims Share” means 9.3% of the Opioid MDT II Distributable Value, (i) after
deducting from the Opioid MDT II Distributable Value reserved expenses for items in (a) and (b) of the
definition of Opioid MDT II Operating Expenses, and (ii) gross of applicable Private Opioid Creditor Trust
Deductions and Holdbacks.

        283.     “PI Opioid Demands” means any Opioid Demand for alleged opioid-related personal
injury or other similar opioid-related Cause of Action, including any opioid-related personal injury Opioid
Demand or similar opioid-related Cause of Action asserted by a NAS Child.

         284.     “PI Trust” means the trust that is to be established in accordance with the Plan, the
Confirmation Order, and the PI Trust Documents to (a) assume all liability for PI/NAS Opioid Claims, (b)
collect distributions made on account of the PI Opioid Claims Share and NAS PI Opioid Claims Share in
accordance with the PI Trust Documents, (c) administer PI/NAS Opioid Claims, and (d) make distributions
to Holders of PI/NAS Opioid Claims in accordance with the PI Trust Documents.

         285.    “PI Trust Documents” means the documents governing: (a) the PI Trust; (b) the flow of
consideration from the Opioid MDT II to the PI Trust; (c) submission, resolution, and distribution
procedures in respect of all PI/NAS Opioid Claims (including Opioid Demands); and (d) the flow of
distributions, payments or funds made from the PI Trust. The Governmental Plaintiff Ad Hoc Committee
and the MSGE Group shall have the right to consult on the PI Trust Documents.




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       286.     “Plaintiffs’ Executive Committee” means the court-appointed Co-Lead Counsel Paul J.
Hanly, Jr., Joseph Rice, and Paul T. Farrell, Jr., on behalf of the court-appointed plaintiffs’ executive
committee in the MDL, solely in their capacities as such and not in any individual capacities.

         287.     “Plan” means this joint plan of reorganization under chapter 11 of the Bankruptcy Code,
either in its present form or as it may be altered, amended, modified, or supplemented from time to time in
accordance with the Bankruptcy Code, the Bankruptcy Rules, or the terms hereof, as the case may be, and
the Plan Supplement, which is incorporated herein by reference, including all exhibits and schedules hereto
and thereto.

       288.     “Plan Term Sheet” means Exhibit A to the Restructuring Support Agreement, as the Plan
Term Sheet may be amended, modified, or supplemented from time to time, including in connection with
the Supporting Term Lenders Joinder Agreement.

         289.      “Plan Supplement” means one or more supplemental appendices to the Plan, which shall
include, among other things, draft forms of documents (or term sheets thereof), schedules, and exhibits to
the Plan, in each case subject to the provisions of the Restructuring Support Agreement and as may be
amended, modified, or supplemented from time to time in accordance with the terms of the Restructuring
Support Agreement and the terms hereof, the terms of the Restructuring Support Agreement, and in
accordance with the Bankruptcy Code and the Bankruptcy Rules, including the following documents:
(a) the New Governance Documents; (b) to the extent known and determined, the identity of the members
of the Reorganized Board; (c) the Opioid MDT II Documents and the Opioid Creditor Trust Documents;
(d) the New Opioid Warrant Agreement; (e) the Cooperation Agreement; (f) the form of indenture for the
Takeback Second Lien Notes; (g) a term sheet setting forth certain material terms of the New Term Loan
Facility; (h) a term sheet setting forth certain material terms of the New AR Revolving Facility; (i) the form
of credit agreement to govern the New Takeback Term Loans; (j) the schedule of retained Causes of Action;
(k) the Rejected Executory Contract/Unexpired Lease List; (l) the Management Incentive Plan; (m) the
Opioid Operating Injunction; (n) the Restructuring Transactions Memorandum; (o) the Transfer
Agreement; (p) a term sheet setting forth the material terms of the Opioid Deferred Cash Payment Terms;
(q) the Registration Rights Agreement; (r) the Federal/State Acthar Settlement Agreements; (s) the Scheme
of Arrangement; (t) the Schedule of Opioid Insurance Policies; (u) the form of indenture for the Cram-
Down First Lien Notes; and (v) the form of indenture for the Cram-Down Second Lien Notes.

        290.    “Plan Supplement Filing Date” means the date on which the Plan Supplement is Filed
with the Bankruptcy Court, which shall be at least twenty eight (28) days prior to the deadline established
by the Disclosure Statement Order to File objections to Confirmation; provided, that the trust distribution
procedures for the Opioid MDT II and each Opioid Creditor Trust shall be filed thirty (30) days after the
approval of the Disclosure Statement.

         291.    “Post Effective Date Implementation Expenses” means all reasonable and documented
fees and out of pocket expenses incurred on or after the Effective Date to implement this Plan, but excluding
Trust Expenses, of (1)(a) primary counsel to the Guaranteed Unsecured Notes Ad Hoc Group, Paul, Weiss,
Rifkind, Wharton & Garrison LLP, (b) Delaware counsel to the Guaranteed Unsecured Notes Ad Hoc
Group, Landis Rath & Cobb LLP (c) Irish counsel to the Guaranteed Unsecured Notes Ad Hoc Group,
Matheson LLP, (d) regulatory counsel to the Guaranteed Unsecured Notes Ad Hoc Group, Reed Smith
LLP, (e) financial advisor to the Guaranteed Unsecured Notes Ad Hoc Group, Perella Weinberg Partners
LP, (f) one Canadian counsel to the Guaranteed Unsecured Notes Ad Hoc Group, (g) such other legal,
consulting, financial, and/or other professional advisors to which the Guaranteed Unsecured Notes Ad Hoc
Group and the Debtors shall reasonably agree from time to time, (h) primary counsel to the Governmental
Plaintiff Ad Hoc Committee, Gilbert LLP, Kramer Levin Naftalis & Frankel LLP, and Brown Rudnick
LLP, (i) Delaware counsel to the Governmental Plaintiff Ad Hoc Committee, Morris James LLP, (j) Irish
counsel to the Governmental Plaintiff Ad Hoc Committee, William Fry, (k) investment banker to the


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Governmental Plaintiff Ad Hoc Committee, Houlihan Lokey, Inc., (l) special consultant to the
Governmental Plaintiff Ad Hoc Committee, Dr. Fred Hyde, (m) such other legal, consulting, financial,
and/or other professional advisors to which the Governmental Plaintiff Ad Hoc Committee and the Debtors
shall reasonably agree from time to time, (n) primary counsel to the MSGE Group Caplin & Drysdale,
Chartered, (o) Delaware counsel to the MSGE Group, Seitz, Van Ogtrop & Green, P.A. (p) financial advisor
to the MSGE Group, FTI Consulting, and (q) such other legal, consulting, financial, and/or other
professional advisors to which the MSGE Group and the Debtors shall reasonably agree from time to time,
in each case, in accordance with the terms of the applicable engagement letters, if any, and subject to a
good-faith, non-binding budget to be submitted by each applicable professional to the Debtors prior to the
Effective Date, which budget shall be reasonably acceptable to such professional and the Debtors; and (2)
the professionals entitled to the payment of such fees and out of pocket expenses pursuant to the Cash
Collateral Order (including the advisors to the Ad Hoc First Lien Term Lender Group).

         292.     “Prepayment Option” means the right to prepay, in full or in part, the Opioid Deferred
Cash Payments, at any time prior to the first anniversary of the Effective Date, at (a) for prepayments as of
the end of each of the 12 months after the Effective Date, the prepayment cost set forth on Annex A hereto
or (b) to the extent a prepayment occurs other than at the end of a month, a price equal to the present value
of the amounts to be prepaid, at the date of prepayment, discounted at the discount rate that would be
required for (i)(A) the present value of the Opioid Deferred Cash Payments at the prepayment date plus (B)
$450,000,000 to equal (ii)(A) the present value of the payments under the Original Payments Schedule at
the prepayment date (excluding the initial $300,000,000 payment provided for in the Original Payments
Schedule), discounted at a discount rate of 12% per annum, plus (B) $300,000,000.

        293.    “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

       294.    “Private Opioid Creditor Trusts” means the Third-Party Payor Trust, the PI Trust, the NAS
Monitoring Trust, the Emergency Room Physicians Trust, and the Hospital Trust.

         295.    “Private Opioid Creditor Trust Deductions and Holdbacks” means, collectively or as
applicable, the following deductions and holdbacks from Distributions from the Private Opioid Creditor
Trusts pursuant to the Opioid Creditor Trust Documents: (i) the deduction of Opioid Creditor Trust
Operating Expenses of the Private Opioid Creditor Trusts, as required under and subject to the terms of the
Opioid Creditor Trust Documents, (ii) the deduction of amounts on account of compensation, costs and fees
of professionals that represented or advised Claimants in Classes 9(a)-9(g) in connection with the Chapter
11 Cases, as and to the extent provided in the Opioid Creditor Trust Documents and subject to Article
IV.X.8 of the Plan, and (iii) the common benefit assessment required under Article IV.X.8 of the Plan and,
where applicable, the fees and costs of such a Claimant’s individual attorney(s), which deduction shall be
made by such attorney(s) and reduced by the common benefit assessment in accordance with Article IV.X.8
of the Plan.

         296.    “Products” means any and all products developed, designed, manufactured, marketed or
sold, in research or development, or supported by, the Debtors, whether work in progress or in final form.

        297.     “Professional Fee Claim” means a Claim by a Retained Professional seeking an award by
the Bankruptcy Court of compensation for services rendered or reimbursement of expenses incurred
through and including the Effective Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or
503(b)(5) of the Bankruptcy Code.

       298.   “Professional Fee Escrow Account” means an interest-bearing account funded by the
Debtors with Cash no later than the Effective Date in an amount equal to the Professional Fee Escrow
Amount.


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         299.    “Professional Fee Escrow Amount” means the aggregate amount of Professional Fee
Claims and other unpaid fees and expenses the Retained Professionals have incurred or will incur in
rendering services in connection with the Chapter 11 Cases prior to and as of the Effective Date, which
shall be estimated pursuant to the method set forth in Article II.A.2 of the Plan.

        300.     “Proof of Claim” means a proof of Claim Filed against any Debtor in the Chapter 11 Cases.

         301.    “Pro Rata Share” means, with respect to any distribution on account of an Allowed Claim,
a distribution equal in amount to the ratio (expressed as a percentage) that the amount of such Allowed
Claim bears to the aggregate amount of all Allowed Claims in its Class; provided, that the Pro Rata Share
for the General Unsecured Claims Distribution shall be calculated on a consolidated basis for all applicable
Classes and all Debtors.

         302.    “Protected Party” means (a) the Debtors, (b) the Reorganized Debtors, (c) the Non-Debtor
Affiliates, (d) with respect to each of the foregoing Persons in clauses (a) through (c), such Persons’
predecessors, successors, permitted assigns, subsidiaries, and controlled Affiliates, respective heirs,
executors, Estates, and nominees, in each case solely in their capacity as such, and (e) with respect to each
of the foregoing Persons in clauses (a) through (d), such Person’s respective current and former officers
and directors, managers, principals, members, partners, employees, agents, advisors (including financial
advisors), attorneys (including attorneys retained by any director in his or her capacity as a director or
manager of a Person), accountants, investment bankers (including investment bankers retained by any
director in his or her capacity as a director or manager of a Person), consultants, experts and other
professionals (including any professional advisor retained by any director in his or her capacity as a director
or manager of a Person) or other representatives of the Persons described in clauses (a) through (d), provided
that consultants and experts in this clause (e) shall not include those retained to provide strategic advice for
sales and marketing of opioid products who have received a civil investigative demand or other subpoena
related to sales and marketing of opioid products from any State Attorney General on or after January 1,
2019 through the Petition Date. “Protected Party” shall also include each Settling Opioid Insurer, but shall
not include the Opioid MDT II or any Opioid Creditor Trust. Notwithstanding anything to the contrary
herein, none of the following Persons, in their respective following capacities, shall be Protected Parties:
(1) Medtronic plc or Covidien plc, (2) any subsidiaries or Affiliates of Medtronic plc or Covidien plc that
existed as a subsidiary or Affiliate of Medtronic plc or Covidien plc after July 1, 2013, (3) any successors
or assigns of any Entity described in clause (1) or clause (2) that became such a successor or assign after
July 1, 2013 (excluding, for the avoidance of doubt, the Debtors, the Reorganized Debtors, and the Non-
Debtor Affiliates), (4) any former subsidiaries or Affiliates of Covidien plc that ceased being such a
subsidiary or Affiliate before July 1, 2013, and any successor or assign to such subsidiary or Affiliate of
Covidien plc, and (5) any Representative of any Entity described in the foregoing clauses (1) through (4)
except to the extent such Representative is described in clause (d) and (e) of this definition of “Protected
Party.”

         303.   “Public Opioid Creditor Share” means (a) the remaining amount of the Opioid MDT II
Distributable Value after all payments to the Private Opioid Creditor Trusts and the Ratepayer Account and
(b) the Other Opioid Claims Reserve Excess.

         304.   “Public Opioid Creditor Share Deductions” means (i) the following payments: (a) any
amounts required to fund the Opioid MDT II Operating Reserve, (b) the U.S. Government Claims Share,
(c) the Other Opioids Claims Share, and (ii) any amounts in the Other Opioid Claims Reserve, any amounts
in the Opioid Attorneys’ Fee Fund, and any amounts in the Opioid MDT II Operating Reserve.

        305.    “Public Opioid Creditor Share Distributable Value” means all amounts distributable on
account of the Public Opioid Creditor Share, less any Public Opioid Creditor Share Deductions.




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        306.     “Public Opioid Creditor Trusts” means the NOAT II and the TAFT II.

        307.    “Purdue Bankruptcy Cases” means the bankruptcy cases jointly administered under the
caption In re Purdue Pharma L.P., Case No. 19-23649 (RDD) (Bankr. S.D.N.Y.).

         308.     “Ratepayer Account” means the segregated account to be established by the Opioid MDT
II and administered by the Ratepayer Mediation Participants for Approved Uses, which shall include
distributions to the Truth Initiative Foundation.

       309.     “Ratepayer Attorney Fee Fund” means the fund to be established as set forth in Article
IV.X.8 of the Plan.

        310.    “Ratepayer Mediation Participants” means the proposed representatives of classes of
privately insured parties who are plaintiffs and proposed class representatives identified in the Amended
Verified Statement of Stevens & Lee, P.C. Pursuant to Bankruptcy Rule 2019 filed at Docket No. 333 in the
Purdue Bankruptcy Cases.

        311.     “Ratepayer Opioid Claimant” means a Holder of a Ratepayer Opioid Claim.

        312.      “Ratepayer Opioid Claims” means any Opioid Claims (including Opioid Demands) that
arises out of or relates to the payment of health insurance by the Holder of such Claim.

        313.    “Recognition Proceedings” means the proceedings commenced by the Debtors under Part
IV of the Canadian Companies Arrangement Act in the Canadian Court to recognize in Canada any of the
Chapter 11 Cases as foreign main proceedings or foreign nonmain proceedings, as applicable, and to
recognize in Canada certain Orders of the Bankruptcy Court.

        314.     “Registration Rights Agreement” means the registration rights agreement(s) with respect
to the New Mallinckrodt Ordinary Shares (including any New Mallinckrodt Ordinary Shares issuable upon
exercise of the New Opioid Warrants as of the Effective Date, without regard to any limitations on the
exercise of the New Opioid Warrants) to be effective on the Effective Date.

         315.    “Reinstatement” means, with respect to Claims and Interests, that the Claim or Interest
shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code. “Reinstated” shall
have a correlative meaning.

        316.    “Rejected Executory Contract/Unexpired Lease List” means the list, of Executory
Contracts and/or Unexpired Leases (including any amendments or modifications thereto), if any, that will
be rejected pursuant to the Plan which will be filed with the Plan Supplement.

         317.    “Released Party” means (a) the Debtors, (b) the Reorganized Debtors, (c) the Non-Debtor
Affiliates, (d) with respect to each of the foregoing Persons in clauses (a) through (c), such Persons’
predecessors, successors, permitted assigns, subsidiaries, and controlled Affiliates, respective heirs,
executors, Estates, and nominees, in each case solely in their capacity as such; (e) with respect to each of
the foregoing Persons in clauses (a) through (d), such Person’s respective current and former officers and
directors, managers, principals, members, partners, employees, agents, advisors (including financial
advisors), attorneys (including attorneys retained by any director in his or her capacity as a director or
manager of a Person), accountants, investment bankers (including investment bankers retained by any
director in his or her capacity as a director or manager of a Person), consultants, experts and other
professionals (including any professional advisor retained by any director in his or her capacity as a director
or manager of a Person) or other representatives of the Persons described in clauses (a) through (d); (f) each
member of the Guaranteed Unsecured Notes Ad Hoc Group in their capacity as such, (g) each Supporting
Unsecured Noteholder in their capacity as such, (h) the Opioid MDT II and the Opioid Creditor Trusts,


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(i) each member of the Governmental Plaintiff Ad Hoc Committee in their capacity as such, (j) each
Supporting Governmental Opioid Claimant in their capacity as such; (k) each member of the MSGE Group
in their capacity as such; (l) each Supporting Term Lender in its capacity as such; (m) each member of the
Ad Hoc First Lien Term Lender Group in its capacity as such; (n) each Prepetition Secured Party (as defined
in the Cash Collateral Order); (o) the Guaranteed Unsecured Notes Indenture Trustee; (p) the Legacy
Unsecured Notes Indenture Trustee solely in its capacity and to the extent it serves as a Distribution Agent;
(q) the Future Claimants Representative; (r) the Official Committee of Opioid-Related Claimants; (s) the
Official Committee of Unsecured Creditors; and (t) with respect to each of the foregoing Persons in clauses
(f) through (s), each such Person’s Representatives. Notwithstanding anything to the contrary herein, none
of the following Persons, in their respective following capacities, shall be Released Parties: (1) Medtronic
plc or Covidien plc, (2) any subsidiaries or Affiliates of Medtronic plc or Covidien plc that existed as a
subsidiary or Affiliate of Medtronic plc or Covidien plc after July 1, 2013, (3) any successors or assigns of
any Entity described in clause (1) or clause (2) that became such a successor or assign after July 1, 2013
(excluding, for the avoidance of doubt, the Debtors, the Reorganized Debtors, and the Non-Debtor
Affiliates), (4) any former subsidiaries or Affiliates of Covidien plc that ceased being such a subsidiary or
Affiliate before July 1, 2013, and any successor or assign to such subsidiary or Affiliate of Covidien plc,
and (5) any Representative of any Entity described in the foregoing clauses (1) through (4) except to the
extent such Representative is described in clause (d) and (e) of this definition of “Released Party.”

       318.   “Reorganized Board” means the initial board of directors or similar governing body of the
Reorganized Mallinckrodt.

        319.   “Reorganized Debtors” means, on or after the Effective Date, (a) the Debtors, as
reorganized pursuant to and under the Plan, or any successor thereto, and (b) to the extent not already
encompassed by clause (a), Reorganized Mallinckrodt and all NewCo Subsidiaries as of the Effective Date.

         320.     “Reorganized Mallinckrodt” means Reorganized Parent or NewCo, as applicable, on or
after the Effective Date.

        321.    “Reorganized Parent” means, on or after the Effective Date, Mallinckrodt plc as
reorganized pursuant to and under the Plan.

       322.     “Reorganized VI-Specific Debtors” means on or after the Effective Date, the VI-Specific
Debtors, as reorganized pursuant to and under the Plan, or any successor thereto.

         323.     “Representatives” means, with respect to any Person, such Person’s Affiliates and its and
their directors, officers, members, partners, managers, employees, agents, investment bankers, attorneys,
accountants, advisors, investment advisors, investors, managed accounts or funds, management companies,
fund advisors, advisory board members, professionals and other representatives, in each case, solely in their
capacities as such.

        324.    “Required Supporting Term Lenders” shall have the meaning ascribed to such term in the
Restructuring Support Agreement.

        325.    “Required Supporting Unsecured Noteholders” means, as of any date of determination,
Supporting Unsecured Noteholders holding at least a majority in outstanding principal amount of
Guaranteed Unsecured Notes held by the Supporting Unsecured Noteholders then party to the Restructuring
Support Agreement. Guaranteed Unsecured Notes held by any (a) Mallinckrodt Entity, (b) holder of Opioid
Claims, or (c) Entity or Person whose vote has been “designated” by the Bankruptcy Court in the Chapter
11 Cases (including pursuant to section 1126(e) of the Bankruptcy Code), shall not be included (either in
the numerator or the denominator), and shall not be considered outstanding Guaranteed Unsecured Notes
Claims, for purposes of calculating the Required Supporting Unsecured Noteholders.



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         326.    “Restructuring Expenses” means all reasonable and documented fees and out of pocket
expenses incurred prior to the Effective Date, including Transaction Fees, of (1)(a) primary counsel to the
Guaranteed Unsecured Notes Ad Hoc Group, Paul, Weiss, Rifkind, Wharton & Garrison LLP, (b) Delaware
counsel to the Guaranteed Unsecured Notes Ad Hoc Group, Landis Rath & Cobb LLP (c) Irish counsel to
the Guaranteed Unsecured Notes Ad Hoc Group, Matheson LLP, (d) regulatory counsel to the Guaranteed
Unsecured Notes Ad Hoc Group, Reed Smith LLP, (e) financial advisor to the Guaranteed Unsecured Notes
Ad Hoc Group, Perella Weinberg Partners LP, (f) one Canadian counsel to the Guaranteed Unsecured Notes
Ad Hoc Group, (g) such other legal, consulting, financial, and/or other professional advisors to which the
Guaranteed Unsecured Notes Ad Hoc Group and the Debtors shall reasonably agree from time to time, (h)
primary counsel to the Governmental Plaintiff Ad Hoc Committee, Gilbert LLP, Kramer Levin Naftalis &
Frankel LLP, and Brown Rudnick LLP, (i) Delaware counsel to the Governmental Plaintiff Ad Hoc
Committee, Morris James LLP, (j) Irish counsel to the Governmental Plaintiff Ad Hoc Committee, William
Fry, (k) investment banker to the Governmental Plaintiff Ad Hoc Committee, Houlihan Lokey, Inc., (l)
special consultant to the Governmental Plaintiff Ad Hoc Committee, Dr. Fred Hyde, (m) such other legal,
consulting, financial, and/or other professional advisors to which the Governmental Plaintiff Ad Hoc
Committee and the Debtors shall reasonably agree from time to time, (n) primary counsel to the MSGE
Group Caplin & Drysdale, Chartered, (o) Delaware counsel to the MSGE Group, Seitz, Van Ogtrop &
Green, P.A., (p) financial advisor to the MSGE Group, FTI Consulting, and (q) such other legal, consulting,
financial, and/or other professional advisors to which the MSGE Group and the Debtors shall reasonably
agree from time to time, in each case, in accordance with the terms of the applicable engagement letters, if
any, with any balance(s) paid on the Effective Date; provided, that the Transaction Fees shall only be paid
after entry of an order, which may be the Confirmation Order, authorizing payment of such Transaction
Fees; and (2) the professionals entitled to the payment of such fees and out of pocket expenses pursuant to
the Cash Collateral Order (including the advisors to the Ad Hoc First Lien Term Lender Group).

        327.     “Restructuring Expenses Order” means that certain Order Authorizing the Debtors to
Assume and/or Enter Into Reimbursement Agreements with RSA Parties’ Professionals entered by the
Bankruptcy Court on February 1, 2021 [Docket No. 1250], as amended, supplemented, or modified from
time to time, in each case with the consent of the Debtors and the applicable parties to the Restructuring
Support Agreement.

        328.    “Restructuring Support Agreement” means that certain Restructuring Support Agreement
entered into on October 11, 2020, by and among the Debtors, the Supporting Unsecured Noteholders, and
the Supporting Governmental Opioid Claimants and joined by (a) the MSGE Group on November 13, 2020
and (b) the Supporting Term Lenders on March 10, 2021 (as such may be amended, modified or
supplemented in accordance with its terms, including as modified by the MSGE Group Joinder Agreement
and the Supporting Term Lenders Joinder Agreement).

        329.     “Restructuring Transactions” means the transactions described in Article IV.B of the
Plan.

       330.    “Restructuring Transactions Memorandum” means a document to be included in the Plan
Supplement that will set forth the material components of the Restructuring Transactions.

        331.   “Retained Professional” means an Entity: (a) employed in the Chapter 11 Cases pursuant
to a Final Order in accordance with sections 327 and/or 1103 of the Bankruptcy Code and to be
compensated for services rendered prior to the Effective Date, pursuant to sections 327, 328, 329, 330, or
331 of the Bankruptcy Code; or (b) for which compensation and reimbursement has been allowed by the
Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

        332.   “Schedule of Opioid Insurance Policies” means the schedule in the Plan Supplement of
Insurance Contracts, the rights under or related to which (i.e. the Assigned Insurance Rights) the Debtors


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are assigning, or in the absence of an Opioid Settlement Agreement would be assigning, to the Opioid MDT
II pursuant to the Plan. As set forth in the definition of Opioid Insurance Policy, the Schedule of Opioid
Insurance Policies is not exhaustive and shall not be construed as imposing a limitation on the scope of the
Insurance Contracts as to which Debtors are assigning rights to the Opioid MDT II pursuant to the Plan (i.e.
the Assigned Insurance Rights).

        333.    “Scheme of Arrangement” means the proposals for one or more compromise or scheme
of arrangement in relation to the Parent and/or any other Debtor Entity to be formulated and proposed by
the Examiner pursuant to Section 539 of the Companies Act of Ireland in connection with the Irish
Examinership Proceedings and submitted to the High Court of Ireland for confirmation pursuant to Section
541 of the Companies Act of Ireland, and which will be based on and consistent in all respects with the
Plan and substantially in the form of the draft scheme of arrangement to be included in the Plan Supplement
and to be annexed to the petition presented to the High Court of Ireland at the commencement of the Irish
Examinership Proceedings.

        334.     “SEC” means the United States Securities and Exchange Commission.

       335.      “Second Lien Notes” means the 10.00% second lien senior secured notes due 2025
pursuant to the Second Lien Notes Indenture.

        336.   “Second Lien Notes Claim” means any Claim arising under, deriving from or based upon
the Second Lien Notes or the Second Lien Notes Indenture.

         337.   “Second Lien Notes Indenture” means that certain Indenture, dated as of December 6,
2019, by and among Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC, as issuers, the
guarantors party thereto from time to time and Wilmington Savings Fund Society, FSB, as second lien
trustee and second lien collateral agent (as modified, amended, or supplemented from time to time).

         338.    “Second Lien Notes Makewhole Claim” means any Second Lien Notes Claim (a) for any
principal premium in excess of the principal amount of such Claims outstanding immediately before the
Petition Date, including for any “Applicable Premium” (as defined in the Second Lien Notes Indenture) or
optional redemption premium, or (b) for any “Additional Amounts” (as defined in the Second Lien Notes
Indenture).

         339.    “Secured Claim” means a Claim: (a) secured by a Lien on property in which the Estate has
an interest, which Lien is valid, perfected, and enforceable pursuant to applicable law or by reason of a
Bankruptcy Court order, or that is subject to setoff pursuant to section 553 of the Bankruptcy Code, to the
extent of the value of the creditor’s interest in the Estate’s interest in such property or to the extent of the
amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code
or (b) otherwise Allowed pursuant to the Plan or order of the Bankruptcy Court as a secured claim.

        340.     “Securities” means any instruments that qualify under Section 2(a)(1) of the Securities Act.

        341.    “Securities Act” means the Securities Act of 1933, as now in effect or hereafter amended,
or any regulations promulgated thereunder.

        342.    “September 2015 Notes Indenture” means that certain Indenture, dated as of September
24, 2015, by and among Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC, as issuers, the
guarantors party thereto from time to time and Deutsche Bank Trust Company Americas, as trustee (as
modified, amended, or supplemented from time to time).

        343.   “Settled Federal/State Acthar Claims” means any Claims settled through the Federal/State
Acthar Settlement.


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        344.     “Settling Opioid Insurer” means an Insurer that has entered into an Opioid Insurance
Settlement, solely in its capacity as such and solely with respect to any Opioid Insurance Policy released in
such Opioid Insurance Settlement.

         345.     “Settling Opioid Insurer Injunction” means the injunction issued pursuant to Article IX.J
of the Plan.

        346.     “Settling State” means any State that becomes a party to a restructuring support agreement
with respect to the Plan or otherwise votes to accept the Plan.

      347.     “Shared Collateral” shall have the meaning ascribed to such term in any Intercreditor
Agreement, as applicable.

        348.      “Shenk Settlement” means the proposed mediated settlement of the Shenk Suit.

         349.    “Shenk Suit” means the securities fraud putative class action lawsuit brought by the State
Teachers Retirement System of Ohio titled Shenk v. Mallinckrodt plc, No. 1:17-cv-00145-DLF (D.D.C.)
that is pending in the United States District Court for the District of Columbia.

       350.    “Specialty Generics Debtors” means Debtors Mallinckrodt Equinox Finance Inc.,
Mallinckrodt Enterprises Holdings, Inc., Mallinckrodt ARD Finance LLC, Mallinckrodt Enterprises LLC,
Mallinckrodt LLC, SpecGx LLC, SpecGx Holdings LLC, WebsterGx Holdco LLC, and Mallinckrodt
APAP LLC.

      351.        “State” means a state or territory of the United States of America and the District of
Columbia.

        352.    “State and Municipal Government Opioid Claims Share” means the remainder of the
Public Opioid Creditor Share Distributable Value after distributions on account of the Tribe Opioid Claims
Share, which shall equate to (i) 97.1% of the first $625 million received on account of the Public Opioid
Creditor Share Distributable Value, (ii) 97.05% of amounts received in excess of $625 million and up to
and including $1.25 billion on account of the Public Opioid Creditor Share Distributable Value, and (iii)
97.0%% of amounts received in excess of $1.25 billion on account of the Public Opioid Creditor Share
Distributable Value.

        353.      “State Attorney General” means the attorney general for any State.

        354.      “State Opioid Claims” means the Governmental Opioid Claims held by States.

        355.    “Subordinated Claim” means any Claim against the Debtors that is subject to
subordination under section 509(c), section 510(b) or section 510(c) of the Bankruptcy Code, including any
Claim for reimbursement, indemnification, or contribution. For the avoidance of doubt, Second Lien Notes
Claims and No Recovery Opioid Claims shall not be Subordinated Claims.

        356.    “Supporting Governmental Opioid Claimants” means the Plaintiffs’ Executive
Committee and any Governmental Units holding Opioid Claims that are or become party to the
Restructuring Support Agreement in accordance with the terms thereof and for so long as the Restructuring
Support Agreement shall be in effect with respect to such parties.

        357.    “Supporting Parties” means the Supporting Governmental Opioid Claimants, the
Supporting Unsecured Noteholders, the MSGE Group, and the Supporting Term Lenders in each case, for
so long as the Restructuring Support Agreement shall be in effect with respect to each such parties.




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         358.    “Supporting Term Lenders” means the Holders of First Lien Term Loan Claims that are
or become party to the Restructuring Support Agreement in accordance with the terms thereof and for so
long as the Restructuring Support Agreement shall be in effect with respect to such parties.

       359.    “Supporting Term Lenders Joinder Agreement” means that certain Joinder Agreement
and Amendment to Restructuring Support Agreement dated as of March 10, 2021, entered into by and
among the Debtors, the Required Supporting Unsecured Noteholders, the Governmental Plaintiff Ad Hoc
Committee, the MSGE Group, and the Supporting Term Lenders.

         360.   “Supporting Unsecured Noteholders” means the Holders of Guaranteed Unsecured Notes
Claims that are or become party to the Restructuring Support Agreement in accordance with the terms
thereof and for so long as the Restructuring Support Agreement shall be in effect with respect to such
parties.

        361.    “TAFT II” means the one or more Abatement Trusts, limited liability companies, or other
Persons that are to be established in accordance with the Plan, the Confirmation Order, and the TAFT II
Documents to (a) assume all liability for Tribe Opioid Claims, (b) collect distributions made on account of
the Tribe Opioid Claims Share in accordance with the TAFT II Documents, (c) administer Tribe Opioid
Claims, and (d) make Abatement Distributions to Authorized Recipients, including to Holders of Tribe
Opioid Claims in accordance with the TAFT II Documents.

         362.    “TAFT II Documents” means the one or more documents establishing and governing: (a)
the TAFT II; (b) the flow of consideration from the Opioid MDT II to the TAFT II; (c) submission,
resolution, and distribution procedures in respect of all Tribe Opioid Claims (including Opioid Demands);
and (d) the flow of Abatement Distributions to Authorized Recipients, including distributions, payments or
flow of funds made from the TAFT II after the Effective Date.

        363.    “Takeback Second Lien Notes” means $375,000,000 of new secured takeback second lien
notes due seven (7) years after the Effective Date and otherwise be on terms set forth in Exhibit 2 hereto.

         364.  “Takeback Second Lien Notes Documentation” means the indenture (the substantially
final form of which will be filed with the Plan Supplement), notes, and other documents governing the
Takeback Second Lien Notes.

        365.     “Term Loan Exit Payment” means a consent and exit payment in the amount equal to
0.5% multiplied by the Term Loans Outstanding Amount, which payment shall be payable to the First Lien
Term Lenders, as an integral term of the comprehensive settlement and resolution of the disputes and
controversies between the Debtors and the First Lien Term Lenders embodied in this Plan, which consent
and exit payment shall (a) increase to the amount equal to 1.0% multiplied by the Term Loans Outstanding
Amount if the First Lien Term Loans are not refinanced in full in Cash on or prior to the Effective Date and
(b) be payable to the First Lien Term Lenders upon the Effective Date.

       366.    “Term Loans Outstanding Amount” means an amount equal to the 2024 First Lien Term
Loans Outstanding Amount plus the 2025 First Lien Term Loans Outstanding Amount.

        367.     “Third-Party Payor Group” means the group of certain Holders of Third-Party Payor
Claims consisting of (i) the Holders of Third-Party Payor Claims represented by the Rawlings & Associates
and Lowey Dannenberg, P.C., and whose Claims are listed in Exhibit A of the Stipulation and Agreement
Disallowing and Expunging Certain Third Party Payor Claims [Docket No. 2535] and (ii) one
representative from United Healthcare.

         368.     “Third-Party Payor Opioid Claimant” means a Holder of a Third-Party Payor Opioid
Claim.


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         369.    “Third-Party Payor Opioid Claims” means any Opioid Claims (including Opioid
Demands) held by a health insurer, an employer-sponsored health plan, a union health and welfare fund or
any other provider of health care benefits, and including any third-party administrator or agent on behalf
thereof, in each case in its capacity as such (including any Opioid Claim or Opioid Demand based on the
subrogation rights of the Holder thereof), and that is not a held by a Governmental Unit.

         370.    “Third-Party Payor Opioid Claims Share” means 5.21% of the sum of the Initial Opioid
MDT II Payment and the aggregate amount of all Opioid Deferred Cash Payments (i) after giving effect to
the Prepayment Option, if exercised, and (ii) gross of applicable Private Opioid Creditor Trust Deductions
and Holdbacks. For the avoidance of doubt, and for illustrative purposes, in the event the Prepayment
Option is not exercised, the Third-Party Payor Claims Share will equal $83.36 million prior to application
of the applicable Private Opioid Creditor Trust Deductions and Holdbacks.

        371.     “Third-Party Payor Trust” means the Abatement Trust that is to be established in
accordance with the Plan, the Confirmation Order, and the Third-Party Payor Trust Documents to
(a) assume all liability for Third-Party Payor Opioid Claims, (b) receive distributions made on account of
the Third-Party Payor Opioid Claims Share in accordance with the Third-Party Payor Trust Documents, (c)
administer Third-Party Payor Opioid Claims, and (d) make Abatement Distributions to Authorized
Recipients for Approved Uses, including distributions to Holders of Third-Party Payor Opioid Claims in
accordance with the Third-Party Payor Trust Documents.

        372.    “Third-Party Payor Trust Documents” means the documents governing: (a) the Third-
Party Payor Trust; (b) the flow of consideration from the Opioid MDT II to the Third-Party Payor Trust;
(c) submission, resolution, and distribution procedures in respect of all Third-Party Payor Opioid Claims
(including Opioid Demands); and (d) the flow of distributions, payments or flow of funds made from the
Third-Party Payor Trust after the Effective Date.

       373.     “Trade Claim” means an Unsecured Claim for the provision of goods and services to the
Debtors held by a Trade Claimant.

        374.    “Trade Claimant” means trade creditors, service providers and other vendors who provide
goods and services necessary for the Debtors continued operations, including those creditors described in
(a) Motion of Debtors for Interim and Final Orders Authorizing the Debtors to Pay Prepetition Claims of
Critical Vendors [Docket No. 6], (b) Motion of Debtors for Interim and Final Orders Authorizing the
Debtors to Pay Prepetition Claims of Foreign Vendors [Docket No. 14], and (c) Motion of Debtors for
Interim and Final Orders (A) Authorizing Payment of Lienholder Claims and (B) Authorizing Payment of
Section 503(b)(9) Claims [Docket No. 11].

         375.    “Trade Claim Cash Pool” means Cash pool of up to $50,000,000 to be distributed in
accordance with the terms of the Plan; provided, that any Trade Claim Cash Pool Unallocated Amount shall
be distributed as part of the General Unsecured Claims Distribution.

       376.   “Trade Claim Cash Pool Unallocated Amount” means any unallocated amounts from the
Trade Claim Cash Pool.

       377.    “Transaction Fees” means the “Transaction Fees” as defined in the Restructuring
Expenses Order.

        378.   “Transfer Agreement” means one or more equity and asset transfer agreements between
one or more Debtors and/or Reorganized Debtors, which shall be included in the Plan Supplement.

       379.    “Tribe” means any American Indian or Alaska Native Tribe, band, nation, pueblo, village
or community, that the U.S. Secretary of the Interior acknowledges as an Indian Tribe, as provided in the


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Federally Recognized Tribe List Act of 1994, 25 U.S.C. § 5130, and as periodically listed by the U.S.
Secretary of the Interior in the Federal Register pursuant to 25 U.S.C. § 5131; and any “Tribal Organization”
as provided in the Indian Self-Determination and Education Assistance Act of 1975, as amended, 25 U.S.C.
§ 5304(l).

         380.     “Tribe Opioid Claimants” means a Holder of a Tribe Opioid Claim.

         381.     “Tribe Opioid Claims” means any Opioid Claims (including Opioid Demands) held by a
Tribe.

        382.    “Tribe Opioid Claims Share” means a percentage of the Public Opioid Creditor Share
Distributable Value, which percentage shall be (i) 2.90% of the first $625 million received on account of
the Public Opioid Creditor Share Distributable Value, (ii) 2.95% of amounts received in excess of $625
million and up to and including $1.25 billion on account of the Public Opioid Creditor Share Distributable
Value, and (iii) 3.0% of amounts received in excess of $1.25 billion on account of the Public Opioid
Creditor Share Distributable Value.

        383.    “Trust Expenses” means any reasonable and documented fees and expenses incurred by
the Governmental Plaintiff Ad Hoc Committee and the MSGE Group on or after the Effective Date in
connection with the administration of the Opioid MDT II, excluding, for the avoidance of doubt, the
reasonable and documented fees and expenses incurred in connection with implementation of the Plan.

         384.   “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is
subject to assumption or rejection under section 365 or 1123 of the Bankruptcy Code.

       385.    “Unimpaired” means, with respect to a Claim, Interest, or Class of Claims or Interests, not
“impaired” within the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy Code.

         386.     “United States” means the United States of America, its agencies, departments, or agents.

       387.       “United States Trustee” means the Office of the United States Trustee for the District of
Delaware.

        388.    “Unsecured Claim” means a claim that is not secured by a Lien on property in which one
of the Debtors’ Estates has an interest.

         389.     “U.S. Government” means the executive branch of the United States of America.

         390.     “U.S. Government Opioid Claimants” means a Holder of an U.S. Government Opioid
Claim.

        391.    “U.S. Government Opioid Claims” means any Opioid Claims (including Opioid Demands)
held by the United States, including any civil, non-fraud Opioid Claims of the Centers for Medicare &
Medicaid Services, United States Department of Health & Human Services, HHS Indian Health Services,
the United States Defense Health Agency, and the United States Department of Veterans Affairs arising
under or related to the Medicare Secondary Payer Act, 42 USC §§ 1395y(b)(2),(8), section 111 of the
Medicare, Medicaid, and SCHIP Extension Act of 2007 (Pub. L. 110-173), and the Federal Medical Care
Recovery Act. 42 U.S.C. §§ 2651-2653.

        392.    “U.S. Government Opioid Claims Share” means Cash payments from the Opioid MDT II
in an amount, and payable at times, to be agreed upon by the U.S. Government, the Governmental Ad Hoc
Committee and the MSGE Group.




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        393.     “U.S. Government Payor Statutory Rights” shall mean the United States’ rights under the
Medicare Secondary Payer Act, 42 USC §§ 1395y(b)(2),(8) (“MSP”), section 111 of the Medicare,
Medicaid, and SCHIP Extension Act of 2007 (Pub. L. 110-173) (“MMSEA”), and the Federal Medical
Care Recovery Act (“FMCRA”), 42 U.S.C. §§ 2651-2653, with respect to distributions under the Plan other
than against the Protected Parties.

         394.     “VI Opioid Claim” means any Opioid Claim in any way arising, in whole or in part, from
a violation of the Voluntary Injunction or the Opioid Operating Injunction that occurred on or after the
Petition Date, provided that nothing in the Plan shall be construed as conferring administrative priority on
any Opioid Claim arising before the Petition Date, and in the event any Person asserts an Opioid Claim
based on a violation of the Voluntary Injunction or the Opioid Operating Injunction that occurred on or
after the Petition Date and on any other conduct or circumstances, only that portion of such Opioid Claim
attributable to such violation that occurred on or after the Petition Date shall be a VI Opioid Claim.

         395.    “VI-Specific Debtors” means Mallinckrodt Enterprises LLC, Mallinckrodt LLC, and
SpecGx LLC, and each of their current and former subsidiaries (solely to the extent such Entity existed as
such a subsidiary from and after the Petition Date), predecessors, successors, joint ventures, divisions and
assigns, as well as the foregoing entities’ Representatives, to the extent that such Representatives are acting
within the scope of their engagement or employment.

        396.    “Voluntary Injunction” means that certain Voluntary Injunction annexed to the Order
Granting Certain Debtors’ Motion for Injunctive Relief Pursuant to 11 U.S.C. § 105 with Respect to the
Voluntary Injunction entered by the Bankruptcy Court in Adversary Proceeding No. 20-50850 on January
8, 2021 [Adv. Pro. Docket No. 196].

        397.    “Voting Representative” means a Firm representing Holders of Claims in any of the Master
Ballot Classes who has returned a properly completed Solicitation Directive (as such terms are defined in
the Disclosure Statement Order).

        398.     “Work Plan” has the meaning set forth in Article IV.BB.3.

       399.    “Workers’ Compensation Contracts” means the Debtors’ written contracts, agreements,
agreements of indemnity, self-insured workers’ compensation bonds, policies, programs, and Plans for
workers’ compensation and workers’ compensation Insurance Contracts.

B.      Rules of Interpretation

         1.        For purposes herein: (a) in the appropriate context, each term, whether stated in the
singular or the plural, shall include both the singular and the plural, and pronouns stated in the masculine,
feminine or neuter gender shall include the masculine, feminine, and the neuter gender; (b) unless otherwise
specified, any reference herein to a contract, instrument, release, indenture, or other agreement or document
being in a particular form or on particular terms and conditions means that the referenced document shall
be substantially in that form or substantially on those terms and conditions; (c) unless otherwise specified,
any reference herein to an existing document, schedule, or exhibit, whether or not Filed, having been Filed
or to be Filed shall mean that document, schedule, or exhibit, as it may thereafter be amended, modified, or
supplemented; (d) any reference to any Entity as a Holder of a Claim or Interest includes that Entity’s
successors and assigns; (e) unless otherwise specified, all references herein to “Articles” are references to
Articles of the Plan; (f) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the
Plan in its entirety rather than to a particular portion of the Plan; (g) subject to the provisions of any contract,
certificate of incorporation, by-law, instrument, release, or other agreement or document created or entered
into in connection with the Plan, the rights and obligations arising pursuant to the Plan shall be governed
by, and construed and enforced in accordance with applicable federal law, including the Bankruptcy Code



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and Bankruptcy Rules; (h) unless otherwise specified, the words “include” and “including,” and variations
thereof, shall not be deemed to be terms of limitation, and shall be deemed to be followed by the words
“without limitation”; (i) references to “shareholders,” “directors,” and/or “officers” shall also include
“members” and/or “managers,” as applicable, as such terms are defined under the applicable state limited
liability company laws; (j) references to “Proofs of Claim,” “Holders of Claims,” “Disputed Claims,” and
the like shall include “Proofs of Interests,” “Holders of Interests,” “Disputed Interests,” and the like, as
applicable; (k) captions and headings to Articles and subdivisions thereof are inserted for convenience of
reference only and are not intended to be a part of or to affect the interpretation hereof; (l) unless otherwise
specified, the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (m) any
term used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code
or the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the
Bankruptcy Rules, as the case may be; (n) unless otherwise specified, all references to statutes, regulations,
orders, rules of courts, and the like shall mean as in effect on the Effective Date and as applicable to the
Chapter 11 Cases; (o) any effectuating provisions may be interpreted by the Reorganized Debtors in such
a manner that is consistent with the overall purpose and intent of the Plan all without further notice to or
action, order, or approval of the Bankruptcy Court or any other Entity, and such interpretation shall control;
(p) references to docket numbers are references to the docket numbers of documents Filed in the Chapter
11 Cases under the Bankruptcy Court’s CM/ECF system; and (q) all references herein to consent,
acceptance, or approval may be conveyed by counsel for the respective parties that have such consent,
acceptance, or approval rights, including by electronic mail.

        2.       The provisions of Bankruptcy Rule 9006(a) shall apply in computing any period of time
prescribed or allowed herein.

       3.      All references in the Plan to monetary figures refer to currency of the United States of
America, unless otherwise expressly provided.

         4.       Except as otherwise specifically provided in the Plan to the contrary, references in the Plan
to the Debtors or to the Reorganized Debtors mean the Debtors and the Reorganized Debtors, as applicable,
to the extent the context requires.

C.      Consent Rights of Supporting Parties

         Notwithstanding anything to the contrary in the Plan, the Confirmation Order, or the Disclosure
Statement, any and all consent and approval rights of the Supporting Parties set forth in the Restructuring
Support Agreement with respect to the form and substance of any Definitive Document (as defined in the
Restructuring Support Agreement), including any amendments, restatements, supplements, or other
modifications to such documents, and any consents, waivers, or other deviations under or from any such
documents, shall be incorporated herein by this reference (including to the applicable definitions in
Article I.A) and fully enforceable as if stated in full herein.

                                                  Article II.

               ADMINISTRATIVE CLAIMS, PRIORITY TAX CLAIMS,
     OTHER PRIORITY CLAIMS, AND UNITED STATES TRUSTEE STATUTORY FEES

       In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Priority
Tax Claims, and Other Priority Claims have not been classified and thus are excluded from the Classes of
Claims and Interests set forth in Article III.




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A.      Administrative Claims

        1.      General Administrative Claims

         Subject to the provisions of sections 328, 330(a), and 331 of the Bankruptcy Code, except to the
extent that a Holder of an Allowed General Administrative Claim and the applicable Debtor(s) or
Reorganized Debtor(s), as applicable, agree to less favorable treatment with respect to such Allowed
General Administrative Claim, each Holder of an Allowed General Administrative Claim will receive, in
full and final satisfaction of its General Administrative Claim, an amount in Cash equal to the unpaid
amount of such Allowed General Administrative Claim in accordance with the following: (a) if such
General Administrative Claim is Allowed on or prior to the Effective Date, on the Effective Date or as soon
as reasonably practicable thereafter or, if not then due, when such Allowed General Administrative Claim
is due or as soon as reasonably practicable thereafter; (b) if such General Administrative Claim is Allowed
after the Effective Date, on the date such General Administrative Claim is Allowed or as soon as reasonably
practicable thereafter or, if not then due, when such Allowed General Administrative Claim is due or as
soon as reasonably practicable thereafter; (c) at such time and upon such terms as may be agreed upon by
such Holder and the Debtors or the Reorganized Debtors, as the case may be; or (d) at such time and upon
such terms as set forth in an order of the Bankruptcy Court; provided that Allowed General Administrative
Claims that arise in the ordinary course of the Debtors’ business during the Chapter 11 Cases shall be paid
in full in Cash in the ordinary course of business in accordance with the terms and conditions of any
controlling agreements, course of dealing, course of business, or industry practice.

         For the avoidance of doubt and notwithstanding anything to the contrary herein, all Opioid Claims
arising after the Petition Date and based upon or arising from the Debtors’ pre-Effective Date conduct or
activities (and excluding, for the avoidance of doubt, any VI Opioid Claims), shall receive the treatment set
forth herein for Classes 8(a)-8(d) and 9(a)-9(i) (as applicable) and shall not receive the treatment described
above for General Administrative Claims. Upon the Effective Date, all General Administrative Claims that
are Opioid Claims shall be channeled to the Opioid MDT II or the Opioid Creditor Trusts, as applicable, as
set forth in Articles IV.W.5, IV.X.5, and IX.G herein, and shall no longer have General Administrative
Claim status. For the avoidance of doubt and notwithstanding anything to the contrary herein, to the extent
incurred prior to the Effective Date, the New Credit Facilities shall survive the Effective Date and shall not
constitute General Administrative Claims entitled to the treatment set forth in this Article II.A.1.

        2.      Professional Fee Claims, Restructuring Expenses, and Post Effective Date Implementation
                Expenses

         All final requests for payment of Professional Fee Claims for services rendered and reimbursement
of expenses incurred prior to the Effective Date must be Filed no later than 45 days after the Effective Date.
The Bankruptcy Court shall determine the Allowed amounts of such Professional Fee Claims after notice
and a hearing in accordance with the procedures established by the Bankruptcy Code, the Bankruptcy Rules,
and prior Bankruptcy Court orders. The Reorganized Debtors shall pay Professional Fee Claims owing to
the Retained Professionals in Cash to such Retained Professionals in the amount the Bankruptcy Court
Allows from funds held in the Professional Fee Escrow Account, as soon as reasonably practicable after
such Professional Fee Claims are Allowed by entry of an order of the Bankruptcy Court; provided that the
Debtors’ and the Reorganized Debtors’ obligations to pay Allowed Professional Fee Claims shall not be
limited or deemed limited to funds held in the Professional Fee Escrow Account. To the extent that funds
held in the Professional Fee Escrow Account are insufficient to satisfy the Allowed amount of Professional
Fee Claims owing to the Retained Professionals, the Reorganized Debtors shall pay such amounts within
ten (10) Business Days of entry of the order approving such Professional Fee Claims.

       No later than the Effective Date, the Reorganized Debtors shall establish and fund the Professional
Fee Escrow Account with Cash equal to the Professional Fee Escrow Amount. The Professional Fee


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Escrow Account shall be maintained in trust solely for the Retained Professionals and for no other Entities
until all Professional Fee Claims Allowed by the Bankruptcy Court have been irrevocably paid in full in
Cash to the Retained Professionals pursuant to one or more Final Orders of the Bankruptcy Court. No
Liens, claims, or interests shall encumber the Professional Fee Escrow Account or Cash held in the
Professional Fee Escrow Account in any way. No funds held in the Professional Fee Escrow Account shall
be property of the Estates of the Debtors or the Reorganized Debtors. When all Professional Fee Claims
Allowed by the Bankruptcy Court have been irrevocably paid in full in Cash to the Retained Professionals
pursuant to one or more Final Orders of the Bankruptcy Court, any remaining funds held in the Professional
Fee Escrow Account shall be remitted to the Reorganized Debtors without any further notice to or action,
order, or approval of the Bankruptcy Court or any other Entity being required.

         The Retained Professionals shall deliver to the Debtors a reasonable and good-faith estimate of
their unpaid fees and expenses incurred in rendering services to the Debtors before and as of the Effective
Date projected to be outstanding as of the anticipated Effective Date, and shall deliver such estimate no
later than five Business Days prior to the anticipated Effective Date. For the avoidance of doubt, no such
estimate shall be considered or deemed an admission or limitation with respect to the amount of the fees
and expenses that are the subject of a Retained Professional’s final request for payment of Professional Fee
Claims Filed with the Bankruptcy Court, and such Retained Professionals are not bound to any extent by
the estimates. If a Retained Professional does not provide an estimate, the Debtors may estimate the unpaid
and unbilled fees and expenses of such Retained Professional. The total aggregate amount so estimated to
be outstanding as of the anticipated Effective Date shall be utilized by the Debtors to determine the amount
to be funded to the Professional Fee Escrow Account; provided that the Reorganized Debtors shall use Cash
on hand to increase the amount of the Professional Fee Escrow Account to the extent fee applications are
Filed after the Effective Date in excess of the amount held in the Professional Fee Escrow Account based
on such estimates.

         For the avoidance of doubt, all Restructuring Expenses and Post Effective Date Implementation
Expenses shall be paid in accordance with Article IV.S of the Plan, and the terms under this Article II.A.2
shall not apply to the parties entitled to receive the Restructuring Expenses. The Reorganized Debtors shall
pay the Post Effective Date Implementation Expenses that they incur on or after the Effective Date in the
ordinary course of business and without application or notice to, or order of, the Bankruptcy Court.

        3.      Administrative Claims Bar Date

         Except for any Administrative Claim subject to the Initial Administrative Claims Bar Date, all
requests for payment of an Administrative Claim (excluding, for the avoidance of doubt, VI Opioid Claims,
Cure Costs, Professional Fee Claims, the Disinterested Managers Fees and Expenses, Restructuring
Expenses, Administrative Claims held by a Debtor or Non-Debtor Affiliate against a Debtor, Indenture
Trustee Fees (to the extent they would be Administrative Claims) or United States Trustee quarterly fees
payable pursuant to Article II.C below) that accrued on or before the Effective Date that were not otherwise
satisfied in the ordinary course of business must be Filed with the Bankruptcy Court and served on the
Debtors no later than the Administrative Claims Bar Date. If a Holder of an Administrative Claim
(excluding, for the avoidance of doubt, VI Opioid Claims, Cure Costs, Professional Fee Claims,
Restructuring Expenses, Indenture Trustee Fees (to the extent they would be Administrative Claims) or
United States Trustee quarterly fees payable pursuant to Article II.C below) is required to, but does not,
File and serve a request for payment of such Administrative Claim by the Administrative Claims Bar Date,
such Administrative Claim shall be considered Allowed only if and to the extent that no objection to the
allowance thereof has been interposed within three months following the subsequent filing and service of
such request or as otherwise set by the Bankruptcy Court or such an objection is so interposed and the Claim
has been Allowed by a Final Order; provided that any Claim Filed after entry of a decree closing the
Debtors’ Chapter 11 Cases shall not be Allowed unless the Holder of such Claim obtains an order of the
Bankruptcy Court allowing such Claim. For the avoidance of doubt, Administrative Claims that were


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subject to the Initial Administrative Claims Bar Date, proof of which was not timely submitted in
accordance with the Initial Administrative Claims Bar Date Order, shall be disallowed.

         The Reorganized Debtors, in their sole and absolute discretion, may settle Administrative Claims
in the ordinary course of business without further Bankruptcy Court approval. The Debtors or the
Reorganized Debtors, as applicable, may also choose to object to any Administrative Claim no later than
the Administrative Claims Objection Deadline, subject to extensions by the Bankruptcy Court, agreement
in writing of the parties, or on motion of a party in interest approved by the Bankruptcy Court. Unless the
Debtors or the Reorganized Debtors (or other party with standing) object to a timely-Filed and properly
served Administrative Claim, such Administrative Claim will be deemed Allowed in the amount requested.
In the event that the Debtors or the Reorganized Debtors object to an Administrative Claim, the parties may
confer to try to reach a settlement and, failing that, the Bankruptcy Court will determine whether such
Administrative Claim should be Allowed and, if so, in what amount.

        Notwithstanding anything to the contrary herein, VI Opioid Claims shall not be subject to any
Administrative Claims Bar Date or any procedures governing the assertion of, and objection to,
Administrative Claims contained in the Plan. All VI Opioid Claims shall survive Confirmation and
Consummation of the Plan and shall be obligations of the relevant Debtors and/or Reorganized Debtors, as
applicable, enforceable in any court of competent jurisdiction.

B.      Priority Tax Claims

         Except to the extent that a Holder of an Allowed Priority Tax Claim and the Debtor(s) against
which such Allowed Priority Tax Claim is asserted agree to a less favorable treatment, in exchange for full
and final satisfaction, settlement, release, and the discharge of each Allowed Priority Tax Claim, each
Holder of an Allowed Priority Tax Claim due and payable on or prior to the Effective Date shall receive,
as soon as reasonably practicable after the Effective Date, on account of such Claim: (1) Cash in an amount
equal to the amount of such Allowed Priority Tax Claim; (2) Cash in an amount agreed to by the applicable
Debtor or Reorganized Debtor, as applicable, and such Holder; provided that such parties may further agree
for the payment of such Allowed Priority Tax Claim at a later date; or (3) at the option of the Debtors, Cash
in an aggregate amount of such Allowed Priority Claim payable in installment payments over a period not
more than five years after the Petition Date, pursuant to section 1129(a)(9)(C) of the Bankruptcy Code. To
the extent any Allowed Priority Tax Claim is not due and owing on or before the Effective Date, such Claim
shall be paid in full in Cash in accordance with the terms of any agreement between the Debtors and such
Holder, or as may be due and payable under applicable non-bankruptcy law or in the ordinary course of
business.

C.      Other Priority Claims

         Except to the extent that a Holder of an Allowed Other Priority Claim and the Debtor(s) against
which such Allowed Other Priority Claim is asserted agree to a less favorable treatment, in exchange for
full and final satisfaction, settlement, release, and the discharge of each Allowed Other Priority Claim, each
Holder of an Allowed Other Priority Claim due and payable on or prior to the Effective Date shall receive,
as soon as reasonably practicable after the Effective Date, on account of such Claim: (1) Cash in an amount
equal to the amount of such Allowed Other Priority Claim; or (2) Cash in an amount agreed to by the
applicable Debtor or Reorganized Debtor, as applicable, and such Holder. To the extent any Allowed Other
Priority Claim is not due and owing on or before the Effective Date, such Claim shall be paid in full in Cash
in accordance with the terms of any agreement between the Debtors (or the Reorganized Debtors, as
applicable) and such Holder, or as may be due and payable under applicable non-bankruptcy law or in the
ordinary course of business.




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D.      United States Trustee Statutory Fees

        The Debtors and the Reorganized Debtors, as applicable, shall pay all quarterly fees due to the
United States Trustee under 28 U.S.C § 1930(a)(6), plus any interest due and payable under 31 U.S.C.
§ 3717 on all disbursements, including Plan payments and disbursements in and outside the ordinary course
of the Debtors’ or Reorganized Debtors’ business (or such amount agreed to with the United States Trustee
or ordered by the Bankruptcy Court), for each quarter (including any fraction thereof) until the Chapter 11
Cases are converted, dismissed, or closed, whichever occurs first.

                                                 Article III.

             CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.      Classification of Claims

         The Plan constitutes a separate chapter 11 Plan of reorganization for each Debtor. The provisions
of this Article III govern Claims against and Interests in the Debtors. Except for the Claims addressed in
Article II above (or as otherwise set forth herein), all Claims and Interests are placed in Classes for each of
the applicable Debtors. For all purposes under this Plan, each Class will exist for each of the Debtors;
provided, that any Class that is vacant as to a particular Debtor will be treated in accordance with Article
III.G below. In accordance with section 1123(a)(1) of the Bankruptcy Code, the Debtors have not classified
Administrative Claims, Priority Tax Claims, and Other Priority Claims as described in Article II.

         The categories of Claims and Interests listed below classify Claims and Interests for all purposes,
including voting, Confirmation and distribution pursuant hereto and pursuant to sections 1122 and
1123(a)(1) of the Bankruptcy Code. The Plan deems a Claim or Interest to be classified in a particular
Class only to the extent that the Claim or Interest qualifies within the description of that Class and shall be
deemed classified in a different Class to the extent that any remainder of such Claim or Interest qualifies
within the description of such different Class. A Claim or an Interest is in a particular Class only to the
extent that any such Claim or Interest is Allowed in that Class and has not been paid or otherwise settled
prior to the Effective Date.




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                  Summary of Classification and Treatment of Claims and Interests

          Class                      Claim                      Status           Voting Rights
            1         Other Secured Claims                    Unimpaired       Presumed to Accept
          2(a)        First Lien Revolving Credit Facility    Unimpaired       Presumed to Accept
                      Claims
          2(b)        2024 First Lien Term Loan Claims        Unimpaired     Presumed to Accept or
                                                              or Impaired       Entitled to Vote
          2(c)        2025 First Lien Term Loan Clams         Unimpaired     Presumed to Accept or
                                                              or Impaired       Entitled to Vote
           3          First Lien Notes Claims                 Unimpaired     Presumed to Accept or
                                                              or Impaired       Entitled to Vote
           4          Second Lien Notes Claims                Unimpaired     Presumed to Accept or
                                                              or Impaired       Entitled to Vote
           5          Guaranteed Unsecured Notes               Impaired         Entitled to Vote
                      Claims
          6(a)        Acthar Claims                            Impaired          Entitled to Vote
          6(b)        Generics Price Fixing Claims             Impaired          Entitled to Vote
          6(c)        Asbestos Claims                          Impaired          Entitled to Vote
          6(d)        Legacy Unsecured Notes Claims            Impaired          Entitled to Vote
          6(e)        Environmental Claims                     Impaired          Entitled to Vote
          6(f)        Other General Unsecured Claims           Impaired          Entitled to Vote
           7          Trade Claims                             Impaired          Entitled to Vote
          8(a)        State Opioid Claims                      Impaired          Entitled to Vote
          8(b)        Municipal Opioid Claims                  Impaired          Entitled to Vote
          8(c)        Tribe Opioid Claims                      Impaired          Entitled to Vote
          8(d)        U.S. Government Opioid Claims            Impaired          Entitled to Vote
          9(a)        Third-Party Payor Opioid Claims          Impaired          Entitled to Vote
          9(b)        PI Opioid Claims                         Impaired          Entitled to Vote
          9(c)        NAS PI Opioid Claims                     Impaired          Entitled to Vote
          9(d)        Hospital Opioid Claims                   Impaired          Entitled to Vote
          9(e)        Ratepayer Opioid Claims                  Impaired          Entitled to Vote
          9(f)        NAS Monitoring Opioid Claims             Impaired          Entitled to Vote
          9(g)        Emergency Room Physicians                Impaired          Entitled to Vote
                      Opioid Claims
          9(h)        Other Opioid Claims                      Impaired         Entitled to Vote
          9(i)        No Recovery Opioid Claims                Impaired        Deemed to Reject
           10         Settled Federal/State Acthar Claims      Impaired         Entitled to Vote
           11         Intercompany Claims                     Unimpaired     Presumed to Accept or
                                                              or Impaired      Deemed to Reject
           12         Intercompany Interests                  Unimpaired     Presumed to Accept or
                                                              or Impaired      Deemed to Reject
           13         Subordinated Claims                      Impaired        Deemed to Reject
           14         Equity Interests                         Impaired        Deemed to Reject

B.   Treatment of Claims and Interests

     1.          Class 1 — Other Secured Claims

                 a.       Classification: Class 1 consists of all Other Secured Claims.


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       b.     Treatment: Except to the extent that a Holder of an Allowed Other Secured Claim
              agrees to less favorable treatment, in exchange for full and final satisfaction,
              settlement, release, and discharge of each Allowed Other Secured Claim, each
              Holder of an Allowed Other Secured Claim, at the option of the applicable Debtor,
              shall (i) be paid in full in Cash including the payment of any interest required to
              be paid under section 506(b) of the Bankruptcy Code, (ii) receive the collateral
              securing its Allowed Other Secured Claim, or (iii) receive any other treatment that
              would render such Claim Unimpaired, in each case, as determined by the Debtors
              with the reasonable consent of the Required Supporting Unsecured Noteholders,
              the Governmental Plaintiff Ad Hoc Committee, and the MSGE Group and
              following consultation with the Supporting Term Lenders.

       c.     Voting: Class 1 is Unimpaired, and Holders of Other Secured Claims are
              conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
              Bankruptcy Code. Therefore, Holders of Other Secured Claims are not entitled to
              vote to accept or reject the Plan.

2.     Class 2 — First Lien Credit Agreement Claims

       a.     Class 2(a) — First Lien Revolving Credit Facility Claims

              (i)     Classification: Class 2(a) consists of all First Lien Revolving Credit
                      Facility Claims.

              (ii)    Allowance: The First Lien Revolving Credit Facility Claims shall be
                      Allowed in the amount of $900,000,000 minus any payments expressly
                      designated as payments of principal of loans under the First Lien
                      Revolving Credit Facility prior to the Effective Date plus all accrued and
                      unpaid interest, fees, expenses, costs, indemnification, and other charges
                      arising under or related to the First Lien Revolving Credit Facility
                      (accounting for adequate protection payments made pursuant to the Cash
                      Collateral Order), but excluding any Claims (i) arising under or related to
                      the 2024 First Lien Term Loan or the 2025 First Lien Term Loan, (ii) for
                      default rate interest under Section 2.13(c) of the First Lien Credit
                      Agreement in excess of the non-default rate applicable under Section
                      2.13(a) or (b) of the First Lien Credit Agreement, and (iii) for interest
                      based on the asserted conversion of any “Eurocurrency Borrowing” to an
                      “ABR Borrowing” (each as defined in the First Lien Credit Agreement)
                      under Section 2.07(e) of the First Lien Credit Agreement, to the extent
                      such interest exceeds the interest payable on such borrowing as a
                      Eurocurrency Borrowing; provided that, notwithstanding anything to the
                      contrary in the Plan, the Cash Collateral Order or the First Lien Credit
                      Agreement, all adequate protection payments made by the Debtors to the
                      First Lien Revolving Lenders and their agents and professionals pursuant
                      to the Cash Collateral Order during the Chapter 11 Cases shall be retained
                      by the First Lien Revolving Lenders and their agents and professionals, as
                      applicable, and not recharacterized as principal payments or otherwise
                      subject to disgorgement, recovery, or avoidance by any party under any
                      legal or equitable theory regardless of whether such payments arguably
                      exceed the Allowed amount of the First Lien Revolving Credit Facility
                      Claims.



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        (iii)   Treatment: All Allowed First Lien Revolving Credit Facility Claims shall
                receive, on the Effective Date, in full and final satisfaction, settlement,
                release, and discharge of such Claims, repayment in full in Cash. For the
                avoidance of doubt, the foregoing treatments shall not be, and shall not be
                deemed, a distribution or payment in respect of Shared Collateral.

        (iv)    Voting: Class 2(a) is Unimpaired, and Holders of First Lien Revolving
                Credit Facility Claims are conclusively presumed to have accepted the
                Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                Holders of First Lien Revolving Credit Facility Claims are not entitled to
                vote to accept or reject the Plan.

  b.    Class 2(b) — 2024 First Lien Term Loan Claims

        (i)     Classification: Class 2(b) consists of all 2024 First Lien Term Loan
                Claims.

        (ii)    Allowance: The 2024 First Lien Term Loan Claims shall be Allowed in
                the amount of the 2024 First Lien Term Loans Outstanding Amount plus
                the amount of any First Lien Term Loans Accrued and Unpaid Interest
                plus any other accrued and unpaid First Lien Obligations directly or
                ratably applicable to the 2024 First Lien Term Loan Claims; provided that,
                notwithstanding anything to the contrary in the Plan, the Cash Collateral
                Order or the First Lien Credit Agreement, all adequate protection
                payments made by the Debtors to Holders of 2024 First Lien Term Loan
                Claims and their agents and professionals pursuant to the Cash Collateral
                Order during the Chapter 11 Cases shall be retained by such Holders and
                their agents and professionals, as applicable, and not recharacterized as
                principal payments (other than payments of principal made on or prior to
                April 23, 2021 and First Lien Term Loan Principal Payments) or otherwise
                subject to disgorgement, recovery, or avoidance by any party under any
                legal or equitable theory regardless of whether such payments arguably
                exceed the Allowed amount of the 2024 First Lien Term Loan Claims.

        (iii)   Treatment: All Allowed 2024 First Lien Term Loan Claims shall receive,
                on the Effective Date, in full and final satisfaction, settlement, release, and
                discharge of such Claims, at the Debtors’ option either (a) the New
                Takeback Term Loans plus repayment in full in Cash of the First Lien
                Term Loans Accrued and Unpaid Interest plus the Term Loan Exit
                Payment or (b) repayment of such Claims in full in Cash in an amount
                equal to the 2024 First Lien Term Loans Outstanding Amount plus the
                First Lien Term Loans Accrued and Unpaid Interest plus the Term Loan
                Exit Payment. For the avoidance of doubt, neither of the foregoing
                treatments or any component thereof are, nor shall such treatments or any
                component thereof be deemed, a distribution or payment in respect of
                Shared Collateral.

        (iv)    Voting: Class 2(b) is either (a) Impaired if receiving the New Takeback
                Term Loans, and, in such case, Holders of 2024 First Lien Term Loan
                Claims are entitled to vote to accept or reject the Plan or (b) Unimpaired
                if repaid in full in Cash, and, in such case, Holders of 2024 First Lien Term
                Loans are conclusively presumed to have accepted the Plan pursuant to


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                      section 1126(f) of the Bankruptcy Code (and, therefore, Holders of 2024
                      First Lien Term Loan Claims are not entitled to vote to accept or reject the
                      Plan).

       c.     Class 2(c) — 2025 First Lien Term Loan Claims

              (i)     Classification: Class 2(c) consists of all 2025 First Lien Term Loan
                      Claims.

              (ii)    Allowance: The 2025 First Lien Term Loan Claims shall be Allowed in
                      the amount of the 2025 First Lien Term Loans Outstanding Amount plus
                      the amount of any First Lien Term Loans Accrued and Unpaid Interest
                      plus any other accrued and unpaid First Lien Obligations directly or
                      ratably applicable to the 2025 First Lien Term Loan Claims; provided that,
                      notwithstanding anything to the contrary in the Plan, the Cash Collateral
                      Order or the First Lien Credit Agreement, all adequate protection
                      payments made by the Debtors to Holders of 2025 First Lien Term Loan
                      Claims and their agents and professionals pursuant to the Cash Collateral
                      Order during the Chapter 11 Cases shall be retained by such Holders and
                      their agents and professionals, as applicable, and not recharacterized as
                      principal payments (other than payments of principal made on or prior to
                      April 23, 2021 and First Lien Term Loan Principal Payments) or otherwise
                      subject to disgorgement, recovery, or avoidance by any party under any
                      legal or equitable theory regardless of whether such payments arguably
                      exceed the Allowed amount of the 2025 First Lien Term Loan Claims.

              (iii)   Treatment: All Allowed 2025 First Lien Term Loan Claims shall receive,
                      on the Effective Date, in full and final satisfaction, settlement, release, and
                      discharge of such Claims, at the Debtors’ option, either (a) the New
                      Takeback Term Loans plus repayment in full in Cash of the First Lien
                      Term Loans Accrued and Unpaid Interest plus the Term Loan Exit
                      Payment or (b) repayment of such Claims in full in Cash in an amount
                      equal to the 2025 First Lien Term Loans Outstanding Amount plus the
                      First Lien Term Loans Accrued and Unpaid Interest plus the Term Loan
                      Exit Payment. For the avoidance of doubt, neither of the foregoing
                      treatments or any component thereof are, nor shall such treatments or any
                      component thereof be deemed, a distribution or payment in respect of
                      Shared Collateral.

              (iv)    Voting: Class 2(c) is either (a) Impaired if receiving the New Takeback
                      Term Loans, and, in such case, Holders of 2025 First Lien Term Loan
                      Claims are entitled to vote to accept or reject the Plan or (b) Unimpaired
                      if repaid in full in Cash, and, in such case, Holders of 2025 First Lien Term
                      Loans are conclusively presumed to have accepted the Plan pursuant to
                      section 1126(f) of the Bankruptcy Code (and, therefore, Holders of 2025
                      First Lien Term Loan Claims are not entitled to vote to accept or reject the
                      Plan).

3.     Class 3 — First Lien Notes Claims

       a.     Classification: Class 3 consists of all First Lien Notes Claims.




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       b.     Allowance: On the Effective Date, the First Lien Notes Claims shall be Allowed
              in the aggregate principal amount of $495,032,000.00 minus any express payments
              of principal of the First Lien Notes prior to the Effective Date, plus accrued and
              unpaid Allowed interest on such principal amount, plus any other Allowed unpaid
              premiums, fees costs, or other amounts due and owing pursuant to the First Lien
              Notes Indenture.

       c.     Treatment: If at the time of Confirmation (i) the First Lien Notes Makewhole
              Claims are not Allowed and (ii) the Allowed First Lien Notes Claims may be
              reinstated without the First Lien Notes Makewhole Claims being Allowed, all
              Allowed First Lien Notes Claims shall be Reinstated. Otherwise, all Allowed First
              Lien Notes Claims shall receive, on the Effective Date, in full and final
              satisfaction, settlement, release, and discharge of such Claims, at the Debtors’
              option, either (1) the Cram-Down First Lien Notes in a face amount equal to the
              amount of such Allowed First Lien Notes Claims or (2) Cash in an amount equal
              to the amount of such Allowed First Lien Notes Claims, provided that the treatment
              in this clause (2) shall only be permitted in the event (x) the Cash used to fund the
              payment of the principal amount of the First Lien Notes Claims is derived from
              the proceeds of indebtedness incurred to fund such payment (it being understood
              that this restriction does not apply to any First Lien Notes Makewhole Claims, if
              Allowed) or (y) the First Lien Term Loan Claims have been paid or are paid
              contemporaneously in full in Cash.

       d.     Voting: Class 3 is either (i) Impaired, if receiving the Cram-Down First Lien
              Notes, and Holders of First Lien Notes Claims are entitled to vote to accept or
              reject the Plan, or (ii) Unimpaired either if the Allowed First Lien Notes Claims
              are Reinstated or if receiving Cash, and Holders of First Lien Notes Claims are
              conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
              Bankruptcy Code (and, therefore, Holders of First Lien Notes Claims are not
              entitled to vote to accept or reject the Plan).

4.     Class 4 — Second Lien Notes Claims

       a.     Classification: Class 4 consists of all Second Lien Notes Claims.

       b.     Allowance: On the Effective Date, the Second Lien Notes Claims shall be Allowed
              in the aggregate principal amount of $322,868,000.00 minus any express payments
              of principal of the Second Lien Notes prior to the Effective Date, plus accrued and
              unpaid Allowed interest on such principal amount, plus any other Allowed unpaid
              premiums, fees costs, or other amounts due and owing pursuant to the Second Lien
              Notes Indenture.

       c.     Treatment: If at the time of Confirmation (i) the Second Lien Notes Makewhole
              Claims are not Allowed and (ii) the Allowed Second Lien Notes Claims may be
              reinstated without the Second Lien Notes Makewhole Claims being Allowed, all
              Allowed Second Lien Notes Claims shall be Reinstated. Otherwise, all Allowed
              Second Lien Notes Claims shall receive, on the Effective Date, in full and final
              satisfaction, settlement, release, and discharge of such Claims, at the Debtors’
              option, either (1) the Cram-Down Second Lien Notes in a face amount equal to the
              amount of such Allowed Second Lien Notes Claims, or (2) Cash in an amount
              equal to the amount of such Allowed Second Lien Notes Claims, provided that the
              treatment in this clause (2) shall only be permitted in the event (x)(i) the First Lien


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              Term Loans (and the First Lien Term Loan Claims) are repaid in full in Cash and
              (ii) the Term Loan Exit Payment is paid to the First Lien Term Lenders, in each
              case, before or contemporaneously with such refinancing of the Second Lien Notes
              Claims or (y) if the proceeds of any portion of the New Term Loan Facility are
              used to pay the Second Lien Notes Claims in Cash, such portion of the New Term
              Loan Facility is secured by Liens and security interests that rank junior to the Liens
              and security interests securing the New Takeback Term Loans.

       d.     Voting: Class 4 is either (i) Impaired, if receiving the Cram-Down Second Lien
              Notes, and Holders of Second Lien Notes Claims are entitled to vote to accept or
              reject the Plan, or (ii) Unimpaired either if the Allowed Second Lien Notes Claims
              are Reinstated or if receiving Cash, and Holders of Second Lien Notes Claims are
              conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
              Bankruptcy Code (and, therefore, Holders of Second Lien Notes Claims are not
              entitled to vote to accept or reject the Plan).

5.     Class 5 — Guaranteed Unsecured Notes Claims

       a.     Classification: Class 5 consists of all Guaranteed Unsecured Notes Claims.

       b.     Allowance: The Guaranteed Unsecured Notes Claims shall be Allowed in the
              following amounts:

              (i)     the 5.75% Senior Notes Claims shall be Allowed in the amount of not less
                      than $610,304,000.00, plus accrued but unpaid interest as of the Petition
                      Date;

              (ii)    the 5.625% Senior Notes Claims shall be Allowed in the amount of not
                      less than $514,673,000.00, plus accrued but unpaid interest as of the
                      Petition Date; and

              (iii)   the 5.50% Senior Notes Claims shall be Allowed in the amount of not less
                      than $387,207,000.00, plus accrued but unpaid interest as of the Petition
                      Date.

       c.     Treatment: Except to the extent that a Holder of an Allowed Guaranteed
              Unsecured Notes Claim agrees to less favorable treatment, in exchange for full and
              final satisfaction, settlement, release, and discharge of each Allowed Guaranteed
              Unsecured Notes Claim, on the Effective Date (or as soon as practicable
              thereafter), each Holder of an Allowed Guaranteed Unsecured Notes Claim shall
              receive its Pro Rata Share of (i) the Takeback Second Lien Notes and (ii) 100% of
              New Mallinckrodt Ordinary Shares, subject to dilution on account of the New
              Opioid Warrants, the Management Incentive Plan, and any General Unsecured
              Claims Distribution in the form of New Mallinckrodt Ordinary Shares.

       d.     Voting: Class 5 is Impaired, and Holders of Guaranteed Unsecured Notes Claims
              are entitled to vote to accept or reject the Plan.

6.     Class 6 — General Unsecured Claims

       a.     Class 6(a) — Acthar Claims

              (i)     Classification: Class 6(a) consists of all Acthar Claims.



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        (ii)    Treatment: Except to the extent that a Holder of an Allowed Acthar Claim
                agrees to less favorable treatment, in exchange for full and final
                satisfaction, settlement, release, and discharge of each Allowed Acthar
                Claim, each Holder of an Allowed Acthar Claim shall receive its General
                Unsecured Claims Distribution.

        (iii)   Voting: Class 6(a) is Impaired, and Holders of Acthar Claims are entitled
                to vote to accept or reject the Plan.

  b.    Class 6(b) — Generics Price Fixing Claims

        (i)     Classification: Class 6(b) consists of all Generics Price Fixing Claims.

        (ii)    Treatment: Except to the extent that a Holder of an Allowed Generics
                Price Fixing Claim agrees to less favorable treatment, in exchange for full
                and final satisfaction, settlement, release, and discharge of each Allowed
                Generics Price Fixing Claim, each Holder of an Allowed Generics Price
                Fixing Claim shall receive its General Unsecured Claims Distribution.

        (iii)   Voting: Class 6(b) is Impaired, and Holders of Generics Price Fixing
                Claims are entitled to vote to accept or reject the Plan.

  c.    Class 6(c) — Asbestos Claims

        (i)     Classification: Class 6(c) consists of all Asbestos Claims.

        (ii)    Treatment: Except to the extent that a Holder of an Allowed Asbestos
                Claim agrees to less favorable treatment, in exchange for full and final
                satisfaction, settlement, release, and discharge of each Allowed Asbestos
                Claim, each Holder of an Allowed Asbestos Claim shall receive its
                General Unsecured Claims Distribution.

        (iii)   Voting: Class 6(c) is Impaired, and Holders of Asbestos Claims are
                entitled to vote to accept or reject the Plan.

  d.    Class 6(d) — Legacy Unsecured Notes Claims

        (i)     Classification: Class 6(d) consists of all Legacy Unsecured Notes Claims.

        (ii)    Treatment: Except to the extent that a Holder of an Allowed Legacy
                Unsecured Notes Claim agrees to less favorable treatment, in exchange for
                full and final satisfaction, settlement, release, and discharge of each
                Allowed Legacy Unsecured Notes Claim, each Holder of an Allowed
                Legacy Unsecured Notes Claim shall receive its General Unsecured
                Claims Distribution.

        (iii)   Voting: Class 6(d) is Impaired, and Holders of Legacy Unsecured Notes
                Claims are entitled to vote to accept or reject the Plan.

  e.    Class 6(e) — Environmental Claims

        (i)     Classification: Class 6(e) consists of all Environmental Claims.




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              (ii)    Treatment: Except to the extent that a Holder of an Allowed
                      Environmental Claim agrees to less favorable treatment, in exchange for
                      full and final satisfaction, settlement, release, and discharge of each
                      Allowed Environmental Claim, each Holder of an Allowed Environmental
                      Claim shall receive its General Unsecured Claims Distribution.

              (iii)   Voting: Class 6(e) is Impaired, and Holders of Environmental Claims are
                      entitled to vote to accept or reject the Plan.

       f.     Class 6(f) — Other General Unsecured Claims

              (i)     Classification: Class 6(f) consists of all Other General Unsecured Claims.

              (ii)    Treatment: Except to the extent that a Holder of an Allowed Other General
                      Unsecured Claim agrees to less favorable treatment, in exchange for full
                      and final satisfaction, settlement, release, and discharge of each Allowed
                      Other General Unsecured Claim, each Holder of an Allowed Other
                      General Unsecured Claim shall receive its General Unsecured Claims
                      Distribution.

              (iii)   Voting: Class 6(f) is Impaired, and Holders of Other General Unsecured
                      Claims are entitled to vote to accept or reject the Plan.

7.     Class 7 — Trade Claims

       a.     Classification: Class 7 consists of all Trade Claims.

       b.     Treatment: Except to the extent that a Holder of an Allowed Trade Claim agrees
              to less favorable treatment, in exchange for full and final satisfaction, settlement,
              release, and discharge of each Allowed Trade Claim and as consideration for
              maintaining Favorable Trade Terms, each Holder of an Allowed Trade Claim that
              votes to accept the Plan and agrees to maintain Favorable Trade Terms in
              accordance with the requirements set forth in the Disclosure Statement Order shall
              receive its Pro Rata Share of the Trade Claim Cash Pool up to the Allowed Amount
              of such Claim. If the Holder of an Allowed Trade Claim votes to reject the Plan
              or does not agree to maintain Favorable Trade Terms in accordance with the
              requirements set forth in the Disclosure Statement Order, such Holder shall receive
              its General Unsecured Claims Distribution.

       c.     Voting: Class 7 is Impaired, and Holders of Trade Claims are entitled to vote to
              accept or reject the Plan.

8.     Class 8 — Governmental Opioid Claims

        a.    Class 8(a) — State Opioid Claims

              (i)     Classification: Class 8(a) consists of all State Opioid Claims.

              (ii)    Treatment: As of the Effective Date, all State Opioid Claims shall
                      automatically, and without further act, deed, or court order, be channeled
                      exclusively to, and all of Mallinckrodt’s liability for State Opioid Claims
                      shall be assumed by, the NOAT II. Each State Opioid Claim shall be
                      resolved solely in accordance with the terms, provisions, and procedures



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                of the NOAT II Documents and shall receive a recovery, if any, from the
                State and Municipal Government Opioid Claims Share. The NOAT II
                shall be funded in accordance with the provisions of this Plan. The sole
                recourse of any State Opioid Claimant on account of its State Opioid
                Claim shall be to the NOAT II, and each such State Opioid Claimant shall
                have no right whatsoever at any time to assert its State Opioid Claim
                against any Protected Party, shall be enjoined from filing against any
                Protected Party any future litigation, Claims or Causes of Action arising
                out of or related to such State Opioid Claims, and may not proceed in any
                manner against any Protected Party on account of such State Opioid
                Claims in any forum whatsoever, including any state, federal, or non-U.S.
                court or administrative or arbitral forum. Distributions made by the
                NOAT II in respect of State Opioid Claims shall be used solely for
                Approved Uses, in accordance with the NOAT II Documents.

        (iii)   Voting: Class 8(a) is Impaired, and Holders of State Opioid Claims are
                entitled to vote to accept or reject the Plan.

  b.    Class 8(b) — Municipal Opioid Claims

        (i)     Classification: Class 8(b) consists of all Municipal Opioid Claims.

        (ii)    Treatment: As of the Effective Date, all Municipal Opioid Claims shall
                automatically, and without further act, deed, or court order, be channeled
                exclusively to, and all of Mallinckrodt’s liability for Municipal Opioid
                Claims shall be assumed by, the NOAT II. Each Municipal Opioid Claim
                shall be resolved solely in accordance with the terms, provisions, and
                procedures of the NOAT II Documents and shall receive a recovery, if
                any, from the State and Municipal Government Opioid Claims Share. The
                NOAT II shall be funded in accordance with the provisions of this Plan.
                The sole recourse of any Municipal Opioid Claimant on account of its
                Municipal Opioid Claim shall be to the NOAT II, and each such Municipal
                Opioid Claimant shall have no right whatsoever at any time to assert its
                Municipal Opioid Claim against any Protected Party, shall be enjoined
                from filing against any Protected Party any future litigation, Claims or
                Causes of Action arising out of or related to such Municipal Opioid
                Claims, and may not proceed in any manner against any Protected Party
                on account of such Municipal Opioid Claims in any forum whatsoever,
                including any state, federal, or non-U.S. court or administrative or arbitral
                forum. Distributions made by the NOAT II in respect of Municipal Opioid
                Claims shall be used solely for Approved Uses, in accordance with the
                NOAT II Documents.

        (iii)   Voting: Class 8(b) is Impaired, and Holders of Municipal Opioid Claims
                are entitled to vote to accept or reject the Plan.

  c.    Class 8(c) — Tribe Opioid Claims

        (i)     Classification: Class 8(c) consists of all Tribe Opioid Claims.

        (ii)    Treatment: As of the Effective Date, all Tribe Opioid Claims shall
                automatically, and without further act, deed, or court order, be channeled



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                                   exclusively to, and all of Mallinckrodt’s liability for Tribe Opioid Claims
                                   shall be assumed by, the TAFT II; provided, however, for the avoidance
                                   of doubt, for all purposes of this Plan, all Tribe Opioid Claims shall be
                                   channeled only to the Tribe entity constituting a trust under State law (and
                                   not to any limited liability companies or other Person included within the
                                   definition of TAFT II). Each Tribe Opioid Claim shall be resolved solely
                                   in accordance with the terms, provisions, and procedures of the TAFT II
                                   Documents and shall receive a recovery, if any, from the Tribe Opioid
                                   Claims Share. The TAFT II shall be funded in accordance with the
                                   provisions of this Plan. The sole recourse of any Tribe Opioid Claimant
                                   on account of its Tribe Opioid Claim shall be to the TAFT II, and each
                                   such Tribe Opioid Claimant shall have no right whatsoever at any time to
                                   assert its Tribe Opioid Claim against any Protected Party, shall be enjoined
                                   from filing against any Protected Party any future litigation, Claims or
                                   Causes of Action arising out of or related to such Tribe Opioid Claims,
                                   and may not proceed in any manner against any Protected Party on account
                                   of such Tribe Opioid Claims in any forum whatsoever, including any state,
                                   federal, or non-U.S. court or administrative or arbitral forum.
                                   Distributions made by the TAFT II in respect of Tribe Opioid Claims shall
                                   be used solely for Approved Uses, in accordance with the TAFT II
                                   Documents.

                          (iii)    Voting: Class 8(c) is Impaired, and Holders of Tribe Opioid Claims are
                                   entitled to vote to accept or reject the Plan.
                                                                             3
                 d.       Class 8(d) — U.S. Government Opioid Claims

                          (i)      Classification: Class 8(d) consists of all U.S. Government Opioid Claims.

                          (ii)     Treatment: As of the Effective Date, all U.S. Government Opioid Claims
                                   shall automatically, and without further act, deed, or court order, be
                                   channeled exclusively to, and all of Mallinckrodt’s liability for U.S.
                                   Government Opioid Claims shall be assumed by, the Opioid MDT II.
                                   Each U.S. Government Opioid Claim shall be resolved solely in
                                   accordance with the terms, provisions, and procedures of the Opioid MDT
                                   II Documents and (a) to the extent the holder of each U.S. Government
                                   Opioid Claim agrees to this treatment, each such holder shall receive in
                                   full and final satisfaction, a recovery, if any, from the U.S. Government
                                   Opioid Claims Share and shall not retain their U.S. Government Payor
                                   Statutory Rights and (b) to the extent the holder of each U.S. Government
                                   Opioid Claim does not agree to this treatment, then each such holder shall
                                   receive the treatment set forth in Class 9(h) and each holder of a U.S.
                                   Government Opioid Claim shall retain their U.S. Government Payor
                                   Statutory Rights. The Opioid MDT II shall be funded in accordance with
                                   the provisions of this Plan. The sole recourse of any U.S. Government
                                   Opioid Claimant on account of its U.S. Government Opioid Claim shall
                                   be to the Opioid MDT II, and each such U.S. Government Opioid Claimant
3
    The treatment provided for herein is contingent upon an agreement on allocation being reached in the opioid
    mediation. If no such agreement is reached, Class 8(d) Claims will recover a pro rata share of the Other Opioid
    Claims Share with Class 9(h) Other Opioid Claims. For the avoidance of doubt, Class 8(d) Claims will vote
    pursuant to the Class 8(d) ballot and will not be tabulated as part of, or with, Class 9(h) Other Opioid Claims.


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                      shall have no right whatsoever at any time to assert its U.S. Government
                      Opioid Claim against any Protected Party, shall be enjoined from filing
                      against any Protected Party any future litigation, Claims or Causes of
                      Action arising out of or related to such U.S. Government Opioid Claims,
                      and may not proceed in any manner against any Protected Party on account
                      of such U.S. Government Opioid Claims in any forum whatsoever,
                      including any state, federal, or non-U.S. court or administrative or arbitral
                      forum.

              (iii)   Voting: Class 8(d) is Impaired, and Holders of U.S. Government Opioid
                      Claims are entitled to vote to accept or reject the Plan.

9.     Class 9 — Non-Governmental Opioid Claims

       a.     Class 9(a) — Third-Party Payor Opioid Claims

              (i)     Classification: Class 9(a) consists of all Third-Party Payor Opioid Claims.

              (ii)    Treatment: As of the Effective Date, all Third-Party Payor Opioid Claims
                      shall automatically, and without further act, deed, or court order, be
                      channeled exclusively to, and all of Mallinckrodt’s liability for Third-
                      Party Payor Opioid Claims shall be assumed by, the Third-Party Payor
                      Trust. Each Third-Party Payor Opioid Claim shall be resolved solely in
                      accordance with the terms, provisions, and procedures of the Third-Party
                      Payor Trust Documents and shall receive a recovery, if any, from the
                      Third-Party Payor Opioid Claims Share, from which shall be deducted any
                      attorneys’ fees paid in accordance with Article IV.X.8 of the Plan. The
                      Third-Party Payor Trust shall be funded in accordance with the provisions
                      of this Plan, and distributions to the Third-Party Payor Trust shall be made
                      in three equal payments (provided that if the Prepayment Option is
                      exercised after the first payment, subsequent payments will be adjusted
                      accordingly), the first payment made within 5 business days of the date
                      that is 180 days after the Effective Date, and the second and third payments
                      made on the first and second anniversaries of the first payment. The sole
                      recourse of any Third-Party Payor Opioid Claimant on account of its
                      Third-Party Payor Opioid Claim shall be to the Third-Party Payor Trust,
                      and each such Third-Party Payor Opioid Claimant shall have no right
                      whatsoever at any time to assert its Third-Party Payor Opioid Claim
                      against any Protected Party, shall be enjoined from filing against any
                      Protected Party any future litigation, Claims or Causes of Action arising
                      out of or related to such Third-Party Payor Opioid Claims, and may not
                      proceed in any manner against any Protected Party on account of such
                      Third-Party Payor Opioid Claims in any forum whatsoever, including any
                      state, federal, or non-U.S. court or administrative or arbitral forum.
                      Distributions made by the Third-Party Payor Trust shall be used solely for
                      Approved Uses, in accordance with the Third-Party Payor Trust
                      Documents, and shall be subject to the Private Opioid Creditor Trust
                      Deductions and Holdbacks.

              (iii)   Voting: Class 9(a) is Impaired, and Holders of Third-Party Payor Opioid
                      Claims are entitled to vote to accept or reject the Plan.



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  b.    Class 9(b) — PI Opioid Claims

        (i)     Classification: Class 9(b) consists of all PI Opioid Claims.

        (ii)    Treatment: As of the Effective Date, all PI Opioid Claims shall
                automatically, and without further act, deed, or court order, be channeled
                exclusively to, and all of Mallinckrodt’s liability for PI Opioid Claims
                shall be assumed by, the PI Trust. Each PI Opioid Claim shall be resolved
                solely in accordance with the terms, provisions, and procedures of the PI
                Trust Documents and shall receive a recovery, if any, from the PI Opioid
                Claims Share, from which shall be deducted any attorneys’ fees paid in
                accordance with Article IV.X.8 of the Plan. The PI Trust shall be funded
                in accordance with the provisions of this Plan. The sole recourse of any
                PI Opioid Claimant on account of its PI Opioid Claim shall be to the PI
                Trust, and each such PI Opioid Claimant shall have no right whatsoever at
                any time to assert its PI Opioid Claim against any Protected Party, shall be
                enjoined from filing against any Protected Party any future litigation,
                Claims or Causes of Action arising out of or related to such PI Opioid
                Claims, and may not proceed in any manner against any Protected Party
                on account of such PI Opioid Claims in any forum whatsoever, including
                any state, federal, or non-U.S. court or administrative or arbitral forum,
                and shall be subject to the Private Opioid Creditor Trust Deductions and
                Holdbacks.

        (iii)   Voting: Class 9(b) is Impaired, and Holders of PI Opioid Claims are
                entitled to vote to accept or reject the Plan.

  c.    Class 9(c) — NAS PI Opioid Claims

        (i)     Classification: Class 9(c) consists of all NAS PI Opioid Claims.

        (ii)    Treatment: As of the Effective Date, all NAS PI Opioid Claims shall
                automatically, and without further act, deed, or court order, be channeled
                exclusively to, and all of Mallinckrodt’s liability for NAS PI Opioid
                Claims shall be assumed by, the PI Trust. Each NAS PI Opioid Claim
                shall be resolved solely in accordance with the terms, provisions, and
                procedures of the PI Trust Documents and shall receive a recovery, if any,
                from the NAS PI Opioid Claims Share, from which shall be deducted any
                attorneys’ fees paid in accordance with Article IV.X.8 of the Plan. The PI
                Trust shall be funded in accordance with the provisions of this Plan. The
                sole recourse of any NAS PI Opioid Claimant on account of its NAS PI
                Opioid Claim shall be to the PI Trust, and each such NAS PI Opioid
                Claimant shall have no right whatsoever at any time to assert its NAS PI
                Opioid Claim against any Protected Party, shall be enjoined from filing
                against any Protected Party any future litigation, Claims or Causes of
                Action arising out of or related to such NAS PI Opioid Claims, and may
                not proceed in any manner against any Protected Party on account of such
                NAS PI Opioid Claims in any forum whatsoever, including any state,
                federal, or non-U.S. court or administrative or arbitral forum, and shall be
                subject to the Private Opioid Creditor Trust Deductions and Holdbacks.




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        (iii)   Voting: Class 9(c) is Impaired, and Holders of NAS PI Opioid Claims are
                entitled to vote to accept or reject the Plan.

  d.    Class 9(d) — Hospital Opioid Claims

        (i)     Classification: Class 9(d) consists of all Hospital Opioid Claims.

        (ii)    Treatment: As of the Effective Date, all Hospital Opioid Claims shall
                automatically, and without further act, deed, or court order, be channeled
                exclusively to, and all of Mallinckrodt’s liability for Hospital Opioid
                Claims shall be assumed by, the Hospital Trust. Each Hospital Opioid
                Claim shall be resolved solely in accordance with the terms, provisions,
                and procedures of the Hospital Trust Documents and shall receive a
                recovery, if any, from the Hospital Opioid Claims Share, from which shall
                be deducted any attorneys’ fees paid in accordance with Article IV.X.8 of
                the Plan. The Hospital Trust shall be funded in accordance with the
                provisions of this Plan. The sole recourse of any Hospital Opioid Claimant
                on account of its Hospital Opioid Claim shall be to the Hospital Trust, and
                each such Hospital Opioid Claimant shall have no right whatsoever at any
                time to assert its Hospital Opioid Claim against any Protected Party, shall
                be enjoined from filing against any Protected Party any future litigation,
                Claims or Causes of Action arising out of or related to such Hospital
                Opioid Claims, and may not proceed in any manner against any Protected
                Party on account of such Hospital Opioid Claims in any forum whatsoever,
                including any state, federal, or non-U.S. court or administrative or arbitral
                forum. Distributions made by the Hospital Trust shall be used solely for
                Approved Uses, in accordance with the Hospital Trust Documents, and
                shall be subject to the Private Opioid Creditor Trust Deductions and
                Holdbacks.

        (iii)   Voting: Class 9(d) is Impaired, and Holders of Hospital Opioid Claims are
                entitled to vote to accept or reject the Plan.

  e.    Class 9(e) — Ratepayer Opioid Claims

        (i)     Classification: Class 9(e) consists of all Ratepayer Opioid Claims.

        (ii)    Treatment: As of the Effective Date, all Ratepayer Opioid Claims shall
                automatically, and without further act, deed, or court order, be channeled
                exclusively to, and all of Mallinckrodt’s liability for Ratepayer Opioid
                Claims shall be assumed by, the Ratepayer Account. The Ratepayer
                Account will receive a distribution of $3 million in cash from the Opioid
                MDT II on the Opioid MDT II Initial Distribution Date, which amount
                shall be gross of applicable Private Opioid Creditor Trust Deductions and
                Holdbacks, and from which shall be deducted any attorneys’ fees paid in
                accordance with Article IV.X.8 of the Plan. The sole recourse of any
                Ratepayer Opioid Claimant on account of its Ratepayer Opioid Claim shall
                be to the Ratepayer Account, and each such Ratepayer Opioid Claimant
                shall have no right whatsoever at any time to assert its Ratepayer Opioid
                Claim against any Protected Party, shall be enjoined from filing against
                any Protected Party any future litigation, Claims or Causes of Action
                arising out of or related to such Ratepayer Opioid Claims and may not


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                proceed in any manner against any Protected Party on account of such
                Ratepayer Opioid Claims in any forum whatsoever, including any state,
                federal, or non-U.S. court or administrative or arbitral forum.
                Distributions made by the Ratepayer Account shall be used solely for
                Approved Uses (which shall include, solely for the Ratepayer Account,
                contributions to the Truth Initiative Foundation), and shall be subject to
                the Private Opioid Creditor Trust Deductions and Holdbacks.

        (iii)   Voting: Class 9(e) is Impaired, and Holders of Ratepayer Opioid Claims
                are entitled to vote to accept or reject the Plan.

  f.    Class 9(f) — NAS Monitoring Opioid Claims

        (i)     Classification: Class 9(f) consists of all NAS Monitoring Opioid Claims.

        (ii)    Treatment: As of the Effective Date, all NAS Monitoring Opioid Claims
                shall automatically, and without further act, deed, or court order, be
                channeled exclusively to, and all of Mallinckrodt’s liability for NAS
                Monitoring Opioid Claims shall be assumed by, the NAS Monitoring
                Trust. Each NAS Monitoring Opioid Claim shall be resolved solely in
                accordance with the terms, provisions, and procedures of the NAS
                Monitoring Trust Documents. The NAS Monitoring Trust will receive a
                distribution of $1.5 million in cash from the Opioid MDT II on the Opioid
                MDT II Initial Distribution Date, which amount shall be gross of
                applicable Private Opioid Creditor Trust Deductions and Holdbacks, and
                from which shall be deducted any attorneys’ fees paid in accordance with
                Article IV.X.8 of the Plan. The sole recourse of any NAS Monitoring
                Opioid Claimant on account of its NAS Monitoring Opioid Claim shall be
                to the NAS Monitoring Trust, and each such NAS Monitoring Opioid
                Claimant shall have no right whatsoever at any time to assert its NAS
                Monitoring Opioid Claim against any Protected Party, shall be enjoined
                from filing against any Protected Party any future litigation, Claims or
                Causes of Action arising out of or related to such NAS Monitoring Opioid
                Claims, and may not proceed in any manner against any Protected Party
                on account of such NAS Monitoring Opioid Claims in any forum
                whatsoever, including any state, federal, or non-U.S. court or
                administrative or arbitral forum. Distributions made by the NAS
                Monitoring Trust shall be used solely for Approved Uses, in accordance
                with the NAS Monitoring Trust Documents, and shall be subject to the
                Private Opioid Creditor Trust Deductions and Holdbacks.

        (iii)   Voting: Class 9(e) is Impaired, and Holders of NAS Monitoring Opioid
                Claims are entitled to vote to accept or reject the Plan.

  g.    Class 9(g) — Emergency Room Physicians Opioid Claims

        (i)     Classification: Class 9(g) consists of all Emergency Room Physicians
                Opioid Claims.

        (ii)    Treatment: As of the Effective Date, all Emergency Room Physicians
                Opioid Claims shall automatically, and without further act, deed, or court
                order, be channeled exclusively to, and all of Mallinckrodt’s liability for



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                Emergency Room Physicians Opioid Claims shall be assumed by, the
                Emergency Room Physicians Trust. Each Emergency Room Physicians
                Opioid Claim shall be resolved solely in accordance with the terms,
                provisions, and procedures of the Emergency Room Physicians Trust
                Documents. The Emergency Room Physicians Trust will receive a
                distribution of $4.5 million in cash from the Opioid MDT II on the Opioid
                MDT II Initial Distribution Date, which amount shall be gross of
                applicable Private Opioid Creditor Trust Deductions and Holdbacks, and
                from which shall be deducted any attorneys’ fees paid in accordance with
                Article IV.X.8 of the Plan. The sole recourse of any Emergency Room
                Physicians Opioid Claimant on account of its Emergency Room
                Physicians Opioid Claim shall be to the Emergency Room Physicians
                Trust, and each such Emergency Room Physicians Opioid Claimant shall
                have no right whatsoever at any time to assert its Emergency Room
                Physicians Opioid Claim against any Protected Party, shall be enjoined
                from filing against any Protected Party any future litigation, Claims or
                Causes of Action arising out of or related to such Emergency Room
                Physicians Opioid Claims, and may not proceed in any manner against any
                Protected Party on account of such Emergency Room Physicians Opioid
                Claims in any forum whatsoever, including any state, federal, or non-U.S.
                court or administrative or arbitral forum. Distributions made by the
                Emergency Room Physicians Trust shall be used solely for Approved
                Uses, in accordance with the Emergency Room Physicians Trust
                Documents, and shall be subject to the Private Opioid Creditor Trust
                Deductions and Holdbacks.

        (iii)   Voting: Class 9(g) is Impaired, and Holders of Emergency Room
                Physicians Opioid Claims are entitled to vote to accept or reject the Plan.

  h.    Class 9(h) — Other Opioid Claims

        (i)     Classification: Class 9(h) consists of all Other Opioid Claims.

        (ii)    Treatment: As of the Effective Date, all Other Opioid Claims shall
                automatically, and without further act, deed, or court order, be channeled
                exclusively to, and all of Mallinckrodt’s liability for Other Opioid Claims
                shall be assumed by, the Opioid MDT II and satisfied solely from the
                Other Opioid Claims Reserve. Each Other Opioid Claim shall be resolved
                solely in accordance with the terms, provisions, and procedures of the
                Opioid MDT II Documents and shall receive a recovery, if any, from the
                Other Opioid Claims Share. The Opioid MDT II and the Other Opioid
                Claims Reserve shall be funded in accordance with the provisions of this
                Plan. The sole recourse of any Other Opioid Claimant on account of its
                Other Opioid Claim shall be to the Other Opioid Claims Reserve, and each
                such Other Opioid Claimant shall have no right whatsoever at any time to
                assert its Other Opioid Claim against any Protected Party, shall be
                enjoined from filing against any Protected Party any future litigation,
                Claims or Causes of Action arising out of or related to such Other Opioid
                Claims, and may not proceed in any manner against any Protected Party
                on account of such Other Opioid Claims in any forum whatsoever,




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                       including any state, federal, or non-U.S. court or administrative or arbitral
                       forum.

               (iii)   Voting: Class 9(h) is Impaired, and Holders of Other Opioid Claims are
                       entitled to vote to accept or reject the Plan.

        i.     Class 9(i) — No Recovery Opioid Claims

               (iv)    Classification: Class 9(i) consists of all No Recovery Opioid Claims.

               (v)     Treatment: No Recovery Opioid Claims shall be discharged, cancelled,
                       and extinguished on the Effective Date. Each Holder of No Recovery
                       Opioid Claims shall receive no recovery or distribution on account of such
                       No Recovery Opioid Claims. Notwithstanding the foregoing, if a No
                       Recovery Opioid Claim becomes Allowed after the Effective Date under
                       section 502(j) of the Bankruptcy Code, it shall be treated as an Other
                       Opioid Claim.

               (vi)    Voting: Class 9(i) is Impaired and Holders of Class 9(i) No Recovery
                       Opioid Claims are deemed to have rejected the Plan pursuant to section
                       1126(g) of the Bankruptcy Code. Therefore, Holders of Class 9(i) No
                       Recovery Opioid Claims are not entitled to vote to accept or reject the
                       Plan.

10.     Class 10 — Settled Federal/State Acthar Claims

        a.     Classification: Class 10 consists of all Settled Federal/State Acthar Claims.

        b.     Treatment: Except to the extent that a Holder of an Allowed Settled Federal/State
               Acthar Claim agrees to less favorable treatment, in exchange for full and final
               satisfaction, settlement, release, and discharge of each Allowed Settled
               Federal/State Acthar Claim, each Holder of an Allowed Settled Federal/State
               Acthar Claim shall be resolved in accordance with the terms, provisions, and
               procedures of the Federal/State Acthar Settlement Agreements.

        c.     Voting: Class 10 is Impaired, and Holders of Settled Federal/State Acthar Claims
               are entitled to vote to accept or reject the Plan.

11.     Class 11 — Intercompany Claims

        a.     Classification: Class 11 consists of all Intercompany Claims.

        b.     Treatment: No property will be distributed to the Holders of allowed
               Intercompany Claims. Unless otherwise provided for under the Plan, each
               Intercompany Claim will either be Reinstated or canceled and released at the
               option of the Debtors in consultation with the Required Supporting Unsecured
               Noteholders, the Supporting Term Lenders, the Governmental Plaintiff Ad Hoc
               Committee, and the MSGE Group.

        c.     Voting: Class 11 is either (i) Unimpaired and Holders of Class 11 Intercompany
               Claims are conclusively presumed to have accepted the Plan pursuant to section
               1126(f) of the Bankruptcy Code or (ii) Impaired and Holders of Class 11
               Intercompany Claims are deemed to have rejected the Plan pursuant to section



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                        1126(g) of the Bankruptcy Code. Therefore, in each case, Holders of Class 11
                        Intercompany Claims are not entitled to vote to accept or reject the Plan.

        12.     Class 12 — Intercompany Interests

                a.      Classification: Class 12 consists of all Intercompany Interests.

                b.      Treatment: No property will be distributed to the Holders of allowed
                        Intercompany Interests. Unless otherwise provided for under the Plan, each
                        Intercompany Interest will either be Reinstated or canceled and released at the
                        option of the Debtors in consultation with the Required Supporting Unsecured
                        Noteholders, the Governmental Plaintiff Ad Hoc Committee, and the MSGE
                        Group.

                c.      Voting: Class 12 is either (i) Unimpaired and Holders of Class 12 Intercompany
                        Interests are conclusively presumed to have accepted the Plan pursuant to section
                        1126(f) of the Bankruptcy Code or (ii) Impaired and Holders of Class 12
                        Intercompany Interests are deemed to have rejected the Plan pursuant to section
                        1126(g) of the Bankruptcy Code. Therefore, in each case, Holders of Class 12
                        Intercompany Interests are not entitled to vote to accept or reject the Plan.

        13.     Class 13 — Subordinated Claims

                a.      Classification: Class 13 consists of all Subordinated Claims.

                b.      Treatment: Subordinated Claims shall be discharged, cancelled, and extinguished
                        on the Effective Date. Each Holder of Subordinated Claims shall receive no
                        recovery or distribution on account of such Subordinated Claims.

                c.      Voting: Class 13 is Impaired and Holders of Class 13 Subordinated Claims are
                        deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy
                        Code. Therefore, Holders of Class 13 Subordinated Claims are not entitled to vote
                        to accept or reject the Plan.

        14.     Class 14 — Equity Interests

                d.      Classification: Class 14 consists of all Equity Interests.

                e.      Treatment: Holders of Equity Interests shall receive no distribution on account of
                        their Equity Interests. On the Effective Date, all Equity Interests will be canceled
                        and extinguished and will be of no further force or effect.

                f.      Voting: Class 14 is Impaired and Holders of Class 14 Equity Interests are deemed
                        to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code.
                        Therefore, Holders of Class 14 Equity Interests are not entitled to vote to accept or
                        reject the Plan.

C.      Acceptance or Rejection of the Plan

        1.      Presumed Acceptance of Plan

       Claims in Classes 1 and 2(a) are Unimpaired under the Plan and their Holders are conclusively
presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore, Holders



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of Claims and Interests in Classes 1 and 2(a) are not entitled to vote on the Plan and the votes of such
                               4
Holders shall not be solicited.

        2.       Voting Classes

         Claims in Classes 2(b)-(c), 3, 4, 5, 6(a)-(f), 7, 8(a)-(d), 9(a)-(h), and 10 are Impaired under the Plan
and the Holders of Allowed Claims in all such Classes are entitled to vote to accept or reject the Plan,
                                                              5
including by acting through a Voting Representative. For purposes of determining acceptance and
rejection of the Plan, each such Class (including each Class identified by a number and letter) will be
regarded as a separate voting Class and votes will be tabulated on a Debtor-by-Debtor basis.

         An Impaired Class of Claims shall have accepted this Plan if (a) the Holders, including Holders
acting through a Voting Representative, of at least two-thirds (2/3) in amount of Claims actually voting in
such Class have voted to accept this Plan and (b) the Holders, including Holders acting through a Voting
Representative, of more than one-half (1/2) in number of Claims actually voting in such Class have voted
to accept this Plan. Holders of Claims in Classes 2(b)-(c), 3, 4, 5, 6(a)-(f), 7, 8(a)-(d), 9(a)-(h), and 10 (or,
if applicable, the Voting Representatives of such Holders) shall receive ballots containing detailed voting
instructions. For the avoidance of doubt, pursuant to and except as otherwise provided in the Disclosure
Statement Order, each Claim in (x) Classes 8(a)-(d) and 9(a)-(h) and (y) any other Class entitled to vote to
accept or reject the Plan that is not Allowed pursuant to the Plan and, in each case, is wholly contingent,
unliquidated, or disputed (based on the face of such Proof of Claim or as determined upon the review of the
Debtors), in each case, shall be accorded one (1) vote and valued at one dollar ($1.00) for voting purposes
only, and not for purposes of Allowance or distribution. Based on the foregoing sentence, Classes 8(a)-(d)
and 9(a)-(h) shall be deemed to have accepted this Plan if the Holders, including Holders acting through a
Voting Representative, of at least two-thirds (2/3) in number of Claims actually voting in such Class have
voted to accept the Plan.

        3.       Deemed Rejection of the Plan

        Claims and Interests in Classes 9(i), 13, and 14 are Impaired under the Plan and their Holders shall
receive no distributions under the Plan on account of their Claims or Interests (as applicable) and are
deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders
of Claims and Interests in Classes 9(i), 13, and 14 are not entitled to vote on the Plan and the votes of such
Holders shall not be solicited.

        4.       Presumed Acceptance of the Plan or Deemed Rejection of the Plan

        Claims and Interests in Classes 11 and 12 are either (a) Unimpaired and are, therefore, conclusively
presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code, or (b) Impaired
and shall receive no distributions under the Plan and are, therefore, deemed to have rejected the Plan
pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Claims and Interests in Classes
11 and 12 are not entitled to vote on the Plan and votes of such Holders shall not be solicited.




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    The Plan provides for potential treatment which would render Claims in Classes 2(b), 2(c), 3, and 4 Unimpaired,
    in which case such Claims would be conclusively presumed to accept the Plan, and Holders of such Claims would
    not be entitled to vote.
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    Holders of Claims in Class 2(b), Class 2(c), Class 3, and Class 4 are entitled to vote, but the Plan provides for
    potential treatment which would render these Claims Unimpaired, in which case such Claims would be
    conclusively presumed to accept the Plan, and any votes by Holders of such Claims will be moot and disregarded.


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D.      Confirmation Pursuant to Section 1129(a)(10) of the Bankruptcy Code

         Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by
acceptance of the Plan by an Impaired Class of Claims. The Debtors shall seek Confirmation pursuant to
section 1129(b) of the Bankruptcy Code with respect to any rejecting Class of Claims or Interests. The
Debtors reserve the right to modify the Plan in accordance with Article XI of the Plan to the extent, if any,
that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification, including by
modifying the treatment applicable to a Class of Claims or Interests to render such Class of Claims or
Interests Unimpaired to the extent permitted by the Bankruptcy Code and Bankruptcy Rules.

E.      Subordinated Claims

         The allowance, classification, and treatment of all Allowed Claims and Interests, and the respective
distributions and treatments under the Plan, shall take into account and conform to the relative priority and
rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
subordination rights relating thereto, whether arising under general principles of equitable subordination,
section 510 of the Bankruptcy Code, or otherwise; provided that, notwithstanding the foregoing, such
Allowed Claims or Interests and their respective treatments set forth herein shall not be subject to setoff,
demand, recharacterization, turnover, disgorgement, avoidance, or other similar rights of recovery asserted
by any Person. Pursuant to section 510 of the Bankruptcy Code, except where otherwise provided herein,
the Reorganized Debtors reserve the right to re-classify any Allowed Claim or Interest in accordance with
any contractual, legal, or equitable subordination rights relating thereto.

F.      Special Provision Governing Unimpaired Claims

        Except as otherwise provided herein, nothing under the Plan shall affect or limit the Debtors’ or
the Reorganized Debtors’ rights and defenses (whether legal or equitable) in respect of any Unimpaired
Claims, including, without limitation, all rights in respect of legal and equitable defenses to, or setoffs or
recoupments against, any such Unimpaired Claims.

G.      Vacant and Abstaining Classes

        Any Class of Claims or Interests that is not occupied as of the commencement of the Confirmation
Hearing by an Allowed Claim or Allowed Interest or a Claim or Interest temporarily Allowed under
Bankruptcy Rule 3018 shall be deemed eliminated from the Plan for purposes of voting to accept or reject
the Plan and for purposes of determining acceptance or rejection of the Plan by such Class pursuant to
section 1129(a)(8) of the Bankruptcy Code. Moreover, any Class of Claims that is occupied as of the
commencement of the Confirmation Hearing by an Allowed Claim or a Claim temporarily Allowed under
Bankruptcy Rule 3018, but as to which no vote is cast, shall be deemed to accept the Plan pursuant to
section 1129(a)(8) of the Bankruptcy Code.

H.      Intercompany Interests and Intercompany Claims

         To the extent Intercompany Interests and Intercompany Claims are Reinstated under the Plan,
distributions on account of such Intercompany Interests and Intercompany Claims are not being received
by Holders of such Intercompany Interests or Intercompany Interests on account of their Intercompany
Interests or Intercompany Claims, but for the purposes of administrative convenience and to maintain the
Debtors’ (and their Affiliate-subsidiaries) corporate structure, for the ultimate benefit of the Holders of New
Mallinckrodt Ordinary Shares, to preserve ordinary course intercompany operations, and in exchange for
the Debtors’ and Reorganized Debtors’ agreement under the Plan to make certain distributions to the
Holders of Allowed Claims.



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I.      New Credit Facilities

         For the avoidance of doubt and notwithstanding anything to the contrary herein, to the extent
incurred prior to the Effective Date, the New Credit Facilities shall survive the Effective Date and shall not
be entitled to treatment within any Class set forth herein.

                                                  Article IV.

                          MEANS FOR IMPLEMENTATION OF THE PLAN

A.      General Settlement of Claims and Interests

         In consideration for the classification, distributions, releases, and other benefits provided under the
Plan, on the Effective Date, the provisions of the Plan shall constitute a set of integrated, good-faith
compromises and settlements of all Claims, Interests, Causes of Action and controversies resolved pursuant
to the Plan. The Plan shall be deemed a motion by the Debtors to approve such compromises and
settlements pursuant to Bankruptcy Rule 9019 and section 1123 of the Bankruptcy Code, and the entry of
the Confirmation Order shall constitute the Bankruptcy Court’s approval of such compromises and
settlements under Bankruptcy Rule 9019 and section 1123 of the Bankruptcy Code, as well as a finding by
the Bankruptcy Court that such integrated compromises or settlements are in the best interests of the
Debtors, their Estates and Holders of Claims and Interests, and are fair, equitable and within the range of
reasonableness. Subject to Article VI, distributions made to Holders of Allowed Claims and Allowed
Interests in any Class are intended to be and shall be final and indefeasible and shall not be subject to
avoidance, turnover, or recovery by any other Person.

B.      Restructuring Transactions

          On or prior to the Effective Date or as soon as reasonably practicable thereafter, the Reorganized
Debtors shall, consistent with the terms of the Restructuring Support Agreement and subject to the
applicable consent and approval rights thereunder, take all actions as may be necessary or appropriate to
effect any transaction described in, approved by, contemplated by or necessary to effectuate the
Restructuring Transactions (including any transaction described in, approved by, contemplated by, or
necessary to effectuate the Plan), and as set forth in the Restructuring Transactions Memorandum,
including: (a) the creation of NewCo and/or any NewCo Subsidiaries that may, at the Debtors’ or
Reorganized Debtors’ option in consultation with the Supporting Parties, acquire all or substantially all the
assets of one or more of the Debtors; (b) the execution and delivery of appropriate agreements or other
documents of sale, merger, consolidation, or reorganization containing terms that are consistent with the
terms of the Plan and that satisfy the requirements of applicable law; (c) the execution and delivery of the
Transfer Agreement and any other appropriate instruments of transfer, assignment, assumption, or
delegation of any property, right, liability, duty, or obligation on terms consistent with the terms of the Plan;
(d) the filing of appropriate certificates of incorporation, merger, migration, consolidation, or other
organizational documents with the appropriate governmental authorities pursuant to applicable law; and
(e) all other actions that the Reorganized Debtors determine are necessary or appropriate.

         The Restructuring Transactions shall not (a) adversely affect the recoveries under the Plan of
(i) holders of Guaranteed Unsecured Notes Claims without the consent of the Required Supporting
Unsecured Noteholders or (ii) the holders of Opioid Claims without the consent of the Governmental
Plaintiff Ad Hoc Committee and the MSGE Group, or (b) materially adversely affect the rights or recoveries
under the Plan of the holders of First Lien Term Loan Claims without the consent of the Required
Supporting Term Lenders.




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         The Confirmation Order shall and shall be deemed to, pursuant to both section 1123 and section 363
of the Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate to
effect any transaction described in, approved by, contemplated by, or necessary to effectuate Restructuring
Transactions (including any transaction described in, approved by, contemplated by, or necessary to
effectuate the Plan).

C.       Corporate Existence

        Except as otherwise provided in the Plan, each Debtor shall continue to exist after the Effective
Date as a separate corporate Entity, limited liability company, partnership, or other form, as the case may
be, with all the powers of a corporation, limited liability company, partnership, or other form, as the case
may be, pursuant to the applicable law in the jurisdiction in which each Debtor is incorporated or formed
and pursuant to the respective memorandum and articles of association, certificate of incorporation and
bylaws (or other formation documents) in effect prior to the Effective Date, except to the extent such
memorandum and articles of association, certificate of incorporation and bylaws (or other formation
documents) are amended by the Plan, by the Debtors, or otherwise, and to the extent such documents are
amended, such documents are deemed to be amended pursuant to the Plan and require no further action or
approval (other than any requisite filings required under applicable state, provincial, or federal law).

D.       Vesting of Assets in the Reorganized Debtors

         Except as otherwise provided in the Plan or any agreement, instrument, or other document
incorporated herein, including the Restructuring Transactions Memorandum, on the Effective Date, all
property of each Debtor’s Estate, including (a) all Causes of Action other than (i) the Assigned Third-Party
Claims, and (ii) the Assigned Insurance Rights, and (b) any property acquired by any of the Debtors
pursuant to the Plan, in each case, shall vest in each respective Reorganized Debtor, free and clear of all
Liens, Claims, charges, or other encumbrances. On and after the Effective Date, except as otherwise
provided in the Plan and the Opioid Operating Injunction, each Reorganized Debtor may operate its
business and may use, acquire, encumber, or dispose of property and compromise or settle any Claims,
Interests, or Causes of Action without supervision or approval by the Bankruptcy Court and free of any
restrictions of the Bankruptcy Code or Bankruptcy Rules, including for the avoidance of doubt any
restrictions on the use, acquisition, sale, lease, or disposal of property under section 363 of the Bankruptcy
Code.

       Reorganized Mallinckrodt shall not, and neither shall any of its other subsidiaries, other than the
Reorganized VI-Specific Debtors, be involved in the sale or distribution of opioids classified as DEA
                                    6
Schedule II–IV drugs in the future.

E.       Indemnification Provisions in Organizational Documents

         As of the Effective Date, each Reorganized Debtor’s memorandum and articles of association,
bylaws, and other New Governance Documents shall, to the fullest extent permitted by applicable law,
provide for the indemnification, defense, reimbursement, exculpation, and/or limitation of liability of, and
advancement of fees and expenses to, current and former managers, directors, officers, equity holders,
members, employees, accountants, investment bankers, attorneys, other professionals, or agents of the
Debtors and such current and former managers’, directors’, officers’, equity holders’, members’,
employees’, accountants’, investment bankers’, attorneys’, other professionals’ and agents’ respective
Affiliates to the same extent as set forth in the Indemnification Provisions, against any claims or causes of

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     This paragraph is qualified in its entirety by the Voluntary Injunction and the Opioid Operating Injunction, and
     in the event of any inconsistency between this section and the Voluntary Injunction and the Opioid Operating
     Injunction, the Voluntary Injunction and the Opioid Operating Injunction, as applicable, will govern.


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action whether direct or derivative, liquidated or unliquidated, fixed, or contingent, disputed or undisputed,
matured or unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted. None of the
Reorganized Debtors shall amend and/or restate its memorandum and articles of association, certificate of
incorporation, bylaws, or similar organizational document after the Effective Date to terminate or adversely
affect, in relation to conduct occurring prior to the Effective Date, (1) any of the Indemnification Provisions
or (2) the rights of such current and former managers, directors, officers, equity holders, members,
employees, or agents of the Debtors and such current and former managers’, directors’, officers’, equity
holders’, members’, employees’, and agents’ respective Affiliates referred to in the immediately preceding
sentence.

F.      Cancellation of Notes, Instruments, Certificates, Agreements, and Equity Interests

          Except as otherwise provided for in the Plan and/or, as the case may be, the Scheme of
 Arrangement, on the later of the Effective Date and the date on which the relevant distributions are made
 pursuant to Article VI and without further notice to or order of the Bankruptcy Court, act or action under
 applicable law, regulation, order, or rule or any requirement of further action, vote or other approval or
 authorization by any Person or Entity: (1) (a) the obligations of the Debtors under the First Lien Credit
 Agreement, the Guaranteed Unsecured Notes Indentures, the 2013 Notes Indenture, the 1992 Ludlow
 Debentures Indenture, and the 1993 Ludlow Debentures Indenture, the Guaranteed Unsecured Notes, the
 4.75% Senior Notes due 2023, the 8.00% Debentures due March 2023, the 9.5% Debentures due May
 2022, and any other note, bond, indenture, or other instrument or document directly or indirectly
 evidencing or creating any indebtedness of the Debtors and (b) any certificate, equity security, share,
 purchase right, option, warrant, or other instrument or document directly or indirectly evidencing or
 creating an ownership interest in the Debtors shall be cancelled solely as to the Debtors and their
 Affiliates, and the Reorganized Debtors and their Affiliates shall not have any continuing obligations
 thereunder; and (2) the obligations of the Debtors and their Affiliates pursuant, relating or pertaining to
 any agreements, indentures, certificates of designation, bylaws or certificate or articles of incorporation
 or similar documents governing the shares, certificates, notes, bonds, indentures, purchase rights,
 options, or other instruments or documents evidencing or creating any indebtedness or obligation of or
 ownership interest in the Debtors shall be released, terminated, extinguished, and discharged; except that
 the foregoing shall not affect any Intercompany Interests elected to be Reinstated in accordance with the
 Plan; provided, that the First Lien Credit Agreement, Guaranteed Unsecured Notes Indentures, and the
 Legacy Unsecured Notes Indentures and each agreement or other document related thereto, as applicable,
 will continue in effect for the limited purpose of allowing Holders of First Lien Credit Agreement Claims,
 Holders of Guaranteed Unsecured Notes Claims, and Holders of Legacy Unsecured Notes Claims
 thereunder, respectively, to receive, and allowing and preserving the rights of the First Lien Agent, the
 Guaranteed Unsecured Notes Indenture Trustee, the Legacy Unsecured Notes Indenture Trustee or other
 applicable Distribution Agents thereunder to make, or cause to be made the distributions under this Plan
 to the applicable Holders; provided, further, that, upon completion of the distribution with respect to a
 specific First Lien Credit Agreement Claim or, in the case of the Guaranteed Unsecured Notes Claims
 or the Legacy Unsecured Notes Claims, pursuant to Article VI.D.4 in respect of the distributions on the
 specific Allowed Guaranteed Unsecured Notes Claims or Allowed Legacy Unsecured Notes Claims, the
 First Lien Credit Agreement, the Guaranteed Unsecured Notes Indenture, or the Legacy Unsecured Notes
 Indentures in connection thereto and any and all documents, notes, securities and instruments issued in
 connection with the First Lien Credit Agreement Claim, such Guaranteed Unsecured Notes Claim, or
 such Legacy Unsecured Notes Claims, as applicable, shall terminate completely without further notice
 or action and be deemed surrendered; provided, further, that the Guaranteed Unsecured Notes Indentures
 and the Legacy Unsecured Notes Indentures and all documents, notes securities and instruments issued
 in connection therewith shall continue in effect for the limited purpose of allowing and preserving the
 rights, privileges, benefits, indemnities and protections of the Guaranteed Unsecured Notes Indenture
 Trustee and the Legacy Unsecured Notes Indenture Trustee (each acting in any capacity, including as a



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 Distribution Agent) thereunder, including, without limitation, permitting the Guaranteed Unsecured
 Notes Indenture Trustee and the Legacy Unsecured Notes Indenture Trustee to exercise any lien granted
 to it under the applicable Guaranteed Unsecured Notes Indenture or Legacy Unsecured Notes Indenture
 against such distributions for payment of any fees and expenses of the Guaranteed Unsecured Notes
 Indenture Trustee or the Legacy Unsecured Notes Indenture Trustee, including any unpaid portion of the
 Indenture Trustee Fees. For the avoidance of doubt, nothing contained in this Plan or the Confirmation
 Order shall in any way limit or affect the standing of the First Lien Agent, the Guaranteed Unsecured
 Notes Indenture Trustee, or the Legacy Unsecured Notes Indenture Trustee to appear and be heard in the
 Chapter 11 Cases or any other proceeding in which they are or may become party on and after the
 Effective Date, to enforce any provisions of this Plan or otherwise. For the avoidance of doubt and
 notwithstanding anything to the contrary herein, to the extent incurred prior to the Effective Date, the
 New Credit Facilities shall survive the Effective Date and shall not be terminated in accordance herewith.

G.      Sources for Plan Distributions and Transfers of Funds Among Debtors

         The Debtors shall fund Cash distributions under the Plan with Cash on hand, including Cash from
operations, and the proceeds of the New Term Loan Facility. Cash payments to be made pursuant to the
Plan will be made by the Reorganized Debtors in accordance with Article VI. Subject to any applicable
limitations set forth in any post-Effective Date agreement (including the New Governance Documents), the
Reorganized Debtors will be entitled to transfer funds between and among themselves as they determine to
be necessary or appropriate to enable the Reorganized Debtors to satisfy their obligations under the Plan.
Except as set forth herein, any changes in intercompany account balances resulting from such transfers will
be accounted for and settled in accordance with the Debtors’ historical intercompany account settlement
practices and will not violate the terms of the Plan.

         From and after the Effective Date, the Reorganized Debtors, subject to any applicable limitations
set forth in any post-Effective Date agreement (including the New Governance Documents, the New
Takeback Term Loans Documentation, and the Takeback Second Lien Notes Documentation), shall have
the right and authority without further order of the Bankruptcy Court to raise additional capital and obtain
additional financing in accordance with, and subject to, applicable law.

H.      New Credit Facilities, New Takeback Term Loans, Takeback Second Lien Notes, Cram-Down
        First Lien Notes, and Cram-Down Second Lien Notes

                      1.      The New Credit Facilities and Approval of the New Term Loan
                Documentation and New AR Revolving Facility Documentation

         To the extent required and subject to the occurrence of the Effective Date, Confirmation of the Plan
shall be deemed to constitute authorization and approval by the Bankruptcy Court (a) of the New Credit
Facilities, (b) of the New Term Loan Documentation and New AR Revolving Facility Documentation
(including all transactions contemplated thereby, and all actions to be taken, undertakings to be made and
obligations to be incurred by the Reorganized Debtors in connection therewith, including the payment of
all fees, indemnities and expenses provided for therein), and (c) subject to the occurrence of the Effective
Date, for the applicable Reorganized Debtors to enter into and perform their obligations under the New
Term Loan Documentation and New AR Revolving Facility Documentation and such other documents as
may be reasonably required or appropriate. For the avoidance of doubt, if the New Takeback Term Loans
are issued pursuant to the Plan, the incurrence of (x) the New Term Loan Facility shall utilize the baskets
for Revolver Replacement Term Loans (as defined in the Supporting Term Lenders Joinder Agreement)
and may use other baskets (solely to the extent available) and (y) the New AR Revolving Facility shall
utilize the baskets for Qualified Receivables Facilities (as defined in the Supporting Term Lenders Joinder
Agreement) and may use other baskets (solely to the extent available), in each case, set forth in and subject




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to the negative covenants limiting the incurrence of indebtedness and liens under the New Takeback Term
Loan Documentation.

          On the Effective Date, the New Term Loan Documentation and New AR Revolving Facility
Documentation shall constitute legal, valid, binding, and authorized obligations of the Reorganized
Debtors, enforceable in accordance with their terms. The financial accommodations to be extended
pursuant to the New Term Loan Documentation and New AR Revolving Facility Documentation are being
extended, and shall be deemed to have been extended, in good faith, for legitimate business purposes, are
reasonable, shall not be subject to avoidance, recharacterization, or subordination (including equitable
subordination) for any purposes whatsoever, and shall not constitute preferential transfers, fraudulent
conveyances, or other voidable transfers under the Bankruptcy Code or any other applicable non-
bankruptcy law. On the Effective Date, all of the Liens and security interests to be granted under the New
Term Loan Documentation and New AR Revolving Facility Documentation (1) shall be legal, binding, and
enforceable Liens on, and security interests in, the collateral granted in accordance with the terms of the
New Term Loan Documentation and New AR Revolving Facility Documentation (and with the priority set
forth therein), (2) shall be deemed automatically perfected on the Effective Date, and (3) shall not be subject
to avoidance, recharacterization, or subordination (including equitable subordination) for any purposes
whatsoever and shall not constitute preferential transfers, fraudulent conveyances, or other voidable
transfers under the Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized Debtors and
the Entities granting such Liens and security interests are authorized to make all filings and recordings, and
to obtain all governmental approvals and consents necessary to establish and perfect such Liens and security
interests under the provisions of the applicable state, provincial, federal, or other law (whether domestic or
foreign) that would be applicable in the absence of the Plan and the Confirmation Order (it being understood
that perfection shall occur automatically by virtue of the entry of the Confirmation Order, and any such
filings, recordings, approvals, and consents shall not be required), and will thereafter cooperate to make all
other filings and recordings that otherwise would be necessary under applicable law to give notice of such
Liens and security interests to third parties.

        For the avoidance of doubt, subject to the entry of an order of the Bankruptcy Court approving such
incurrence, either or both of the New Credit Facilities may be incurred by the Debtors as debtor-in-
possession financing prior to the Effective Date. To the extent incurred by the Debtors prior to the Effective
Date, such New Credit Facilities shall survive the occurrence of the Effective Date in accordance with the
terms of this Plan.

                       2.      New Takeback Term Loans and Approval of New Takeback Term Loans
                 Documentation

         To the extent required and subject to the occurrence of the Effective Date, Confirmation of the Plan
shall be deemed to constitute approval by the Bankruptcy Court of the New Takeback Term Loans and the
New Takeback Term Loans Documentation (including all transactions contemplated thereby, and all
actions to be taken, undertakings to be made and obligations to be incurred by the Reorganized Debtors in
connection therewith, including the incurrence of Liens securing the New Takeback Term Loans and the
payment of all fees, payments, indemnities and expenses provided for therein) and, subject to the occurrence
of the Effective Date, authorization for the applicable Reorganized Debtors to enter into and perform their
obligations under the New Takeback Term Loans Documentation and such other documents as may be
reasonably required or appropriate.

        On the Effective Date, the New Takeback Term Loans Documentation shall constitute legal, valid,
binding, and authorized obligations of the Reorganized Debtors, enforceable in accordance with their terms.
The financial accommodations to be extended pursuant to the New Takeback Term Loans Documentation
are being extended, and shall be deemed to have been extended, and all related payments made in
connection therewith shall have been made, in each case, in good faith, for legitimate business purposes,


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are reasonable, shall not be subject to avoidance, recovery, turnover, recharacterization, or subordination
(including equitable subordination) for any purposes whatsoever, and shall not constitute preferential
transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any other
applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests to be granted
under the New Takeback Term Loans Documentation (1) shall be legal, binding, and enforceable Liens on,
and security interests in, the collateral granted in accordance with the terms of the New Takeback Term
Loans Documentation, shall be pari passu in priority to any Liens and security interests securing the First
Lien Notes or the Cram-Down First Lien Notes (as applicable) and shall rank senior in priority to any Liens
and security interests securing the Takeback Second Lien Notes and the Second Lien Notes or the Cram-
Down Second Lien Notes (as applicable), (2) shall be deemed automatically perfected on the Effective
Date, and (3) shall not be subject to avoidance, recovery, turnover, recharacterization, or subordination
(including equitable subordination) for any purposes whatsoever and shall not constitute preferential
transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any applicable
non-bankruptcy law. The Reorganized Debtors and the Entities granting such Liens and security interests
are authorized to make all filings and recordings, and to obtain all governmental approvals and consents
necessary to establish and perfect such Liens and security interests under the provisions of the applicable
state, provincial, federal, or other law (whether domestic or foreign) that would be applicable in the absence
of the Plan and the Confirmation Order (it being understood that perfection shall occur automatically by
virtue of the entry of the Confirmation Order, and any such filings, recordings, approvals, and consents
shall not be required), and will thereafter cooperate to make all other filings and recordings that otherwise
would be necessary under applicable law to give notice of such Liens and security interests to third parties.

                       3.    Takeback Second Lien Notes and Approval of Takeback Second Lien
                Notes Documentation

         To the extent required and subject to the occurrence of the Effective Date, Confirmation of the Plan
shall be deemed to constitute approval by the Bankruptcy Court of the Takeback Second Lien Notes and
the Takeback Second Lien Notes Documentation (including all transactions contemplated thereby, and all
actions to be taken, undertakings to be made and obligations to be incurred by the Reorganized Debtors in
connection therewith, including the incurrence of Liens securing the Takeback Second Lien Notes and the
payment of all fees, payments, indemnities and expenses provided for therein) and, subject to the occurrence
of the Effective Date, authorization for the applicable Reorganized Debtors to enter into and perform their
obligations under the Takeback Second Lien Notes Documentation and such other documents as may be
reasonably required or appropriate.

         On the Effective Date, the Takeback Second Lien Notes Documentation shall constitute legal,
valid, binding, and authorized obligations of the Reorganized Debtors, enforceable in accordance with their
terms. The financial accommodations to be extended pursuant to the Takeback Second Lien Notes
Documentation are being extended, and shall be deemed to have been extended, and all related payments
made in connection therewith shall have been made, in each case, in good faith, for legitimate business
purposes, are reasonable, shall not be subject to avoidance, recovery, turnover, recharacterization, or
subordination (including equitable subordination) for any purposes whatsoever, and shall not constitute
preferential transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or
any other applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests to
be granted under the Takeback Second Lien Notes Documentation (1) shall be legal, binding, and
enforceable Liens on, and security interests in, the collateral granted in accordance with the terms of the
Takeback Second Lien Notes Documentation, shall be pari passu in priority to any Liens and security
interests securing the Second Lien Notes or the Cram-Down Second Lien Notes (as applicable), and shall
be junior in priority to any Liens and security interests securing the New Takeback Term Loans and the
First Lien Notes or the Cram-Down First Lien Notes (as applicable), (2) shall be deemed automatically
perfected on the Effective Date, and (3) shall not be subject to avoidance, recovery, turnover,



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recharacterization, or subordination (including equitable subordination) for any purposes whatsoever and
shall not constitute preferential transfers, fraudulent conveyances, or other voidable transfers under the
Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized Debtors and the Entities
granting such Liens and security interests are authorized to make all filings and recordings, and to obtain
all governmental approvals and consents necessary to establish and perfect such Liens and security interests
under the provisions of the applicable state, provincial, federal, or other law (whether domestic or foreign)
that would be applicable in the absence of the Plan and the Confirmation Order (it being understood that
perfection shall occur automatically by virtue of the entry of the Confirmation Order, and any such filings,
recordings, approvals, and consents shall not be required), and will thereafter cooperate to make all other
filings and recordings that otherwise would be necessary under applicable law to give notice of such Liens
and security interests to third parties.

                        4.    Cram-Down First Lien Notes and Approval of Cram-Down First Lien
                 Notes Documentation

         To the extent required and subject to the occurrence of the Effective Date, Confirmation of the Plan
shall be deemed to constitute approval by the Bankruptcy Court of the Cram-Down First Lien Notes and
the Cram-Down First Lien Notes Documentation (including all transactions contemplated thereby, and all
actions to be taken, undertakings to be made and obligations to be incurred by the Reorganized Debtors in
connection therewith, including the incurrence of Liens securing the Cram-Down First Lien Notes and the
payment of all fees, payments, indemnities and expenses provided for therein) and, subject to the occurrence
of the Effective Date, authorization for the applicable Reorganized Debtors to enter into and perform their
obligations under the Cram-Down First Lien Notes Documentation and such other documents as may be
reasonably required or appropriate.

          On the Effective Date, the Cram-Down First Lien Notes Documentation shall constitute legal,
valid, binding, and authorized obligations of the Reorganized Debtors, enforceable in accordance with their
terms. The financial accommodations to be extended pursuant to the Cram-Down First Lien Notes
Documentation are being extended, and shall be deemed to have been extended, and all related payments
made in connection therewith shall have been made, in each case, in good faith, for legitimate business
purposes, are reasonable, shall not be subject to avoidance, recovery, turnover, recharacterization, or
subordination (including equitable subordination) for any purposes whatsoever, and shall not constitute
preferential transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or
any other applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests to
be granted under the Cram-Down First Lien Notes Documentation (1) shall be legal, binding, and
enforceable Liens on, and security interests in, the collateral granted in accordance with the terms of the
Cram-Down First Lien Notes Documentation, shall be pari passu in priority to any Liens and security
interests securing the New Takeback Term Loans, and shall rank senior in priority to any Liens and security
interests securing the Takeback Second Lien Notes and the Second Lien Notes or the Cram-Down Second
Lien Notes (as applicable), (2) shall be deemed automatically perfected on the Effective Date, and (3) shall
not be subject to avoidance, recovery, turnover, recharacterization, or subordination (including equitable
subordination) for any purposes whatsoever and shall not constitute preferential transfers, fraudulent
conveyances, or other voidable transfers under the Bankruptcy Code or any applicable non-bankruptcy law.
The Reorganized Debtors and the Entities granting such Liens and security interests are authorized to make
all filings and recordings, and to obtain all governmental approvals and consents necessary to establish and
perfect such Liens and security interests under the provisions of the applicable state, provincial, federal, or
other law (whether domestic or foreign) that would be applicable in the absence of the Plan and the
Confirmation Order (it being understood that perfection shall occur automatically by virtue of the entry of
the Confirmation Order, and any such filings, recordings, approvals, and consents shall not be required),
and will thereafter cooperate to make all other filings and recordings that otherwise would be necessary
under applicable law to give notice of such Liens and security interests to third parties.



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                        5.     Cram-Down Second Lien Notes and Approval of Cram-Down Second
                 Lien Notes Documentation

         To the extent required and subject to the occurrence of the Effective Date, Confirmation of the Plan
shall be deemed to constitute approval by the Bankruptcy Court of the Cram-Down Second Lien Notes and
the Cram-Down Second Lien Notes Documentation (including all transactions contemplated thereby, and
all actions to be taken, undertakings to be made and obligations to be incurred by the Reorganized Debtors
in connection therewith, including the incurrence of Liens securing the Cram-Down Second Lien Notes and
the payment of all fees, payments, indemnities and expenses provided for therein) and, subject to the
occurrence of the Effective Date, authorization for the applicable Reorganized Debtors to enter into and
perform their obligations under the Cram-Down Second Lien Notes Documentation and such other
documents as may be reasonably required or appropriate.

          On the Effective Date, the Cram-Down Second Lien Notes Documentation shall constitute legal,
valid, binding, and authorized obligations of the Reorganized Debtors, enforceable in accordance with their
terms. The financial accommodations to be extended pursuant to the Cram-Down Second Lien Notes
Documentation are being extended, and shall be deemed to have been extended, and all related payments
made in connection therewith shall have been made, in each case, in good faith, for legitimate business
purposes, are reasonable, shall not be subject to avoidance, recovery, turnover, recharacterization, or
subordination (including equitable subordination) for any purposes whatsoever, and shall not constitute
preferential transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or
any other applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests to
be granted under the Cram-Down Second Lien Notes Documentation (1) shall be legal, binding, and
enforceable Liens on, and security interests in, the collateral granted in accordance with the terms of the
Cram-Down Second Lien Notes Documentation, shall be pari passu in priority to any Liens and security
interests securing the Takeback Second Lien Notes, and shall rank junior in priority to any Liens and
security interests securing the New Takeback Term Loans and the First Lien Notes or the Cram-Down First
Lien Notes (as applicable), (2) shall be deemed automatically perfected on the Effective Date, and (3) shall
not be subject to avoidance, recovery, turnover, recharacterization, or subordination (including equitable
subordination) for any purposes whatsoever and shall not constitute preferential transfers, fraudulent
conveyances, or other voidable transfers under the Bankruptcy Code or any applicable non-bankruptcy law.
The Reorganized Debtors and the Entities granting such Liens and security interests are authorized to make
all filings and recordings, and to obtain all governmental approvals and consents necessary to establish and
perfect such Liens and security interests under the provisions of the applicable state, provincial, federal, or
other law (whether domestic or foreign) that would be applicable in the absence of the Plan and the
Confirmation Order (it being understood that perfection shall occur automatically by virtue of the entry of
the Confirmation Order, and any such filings, recordings, approvals, and consents shall not be required),
and will thereafter cooperate to make all other filings and recordings that otherwise would be necessary
under applicable law to give notice of such Liens and security interests to third parties.

I.      Reorganized Debtors’ Ownership

        1.       New Mallinckrodt Ordinary Shares and New Opioid Warrants

        On the Effective Date, Reorganized Mallinckrodt shall (a) issue or reserve for issuance all of the
New Mallinckrodt Ordinary Shares (including all New Mallinckrodt Ordinary Shares issuable upon
exercise of the New Opioid Warrants as of the Effective Date, without regard to any limitations on the
exercise of the New Opioid Warrants) issuable in accordance with the terms of the Plan and, where
applicable, the Scheme of Arrangement and as set forth in the Restructuring Transactions Memorandum
and (b) enter into the New Opioid Warrant Agreement and issue all of the New Opioid Warrants to the




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Opioid MDT II in accordance with the terms of the Plan. The issuance of the New Mallinckrodt Ordinary
Shares (including any New Mallinckrodt Ordinary Shares issuable upon exercise of the New Opioid
Warrants as of the Effective Date, without regard to any limitations on the exercise of the New Opioid
Warrants) and any New Opioid Warrants by Reorganized Mallinckrodt pursuant to the Plan is authorized
without the need for further corporate or other action or any consent or approval of any national securities
exchange upon which the New Mallinckrodt Ordinary Shares shall be listed on or immediately following
the Effective Date. All of the New Mallinckrodt Ordinary Shares (including, when issued, any New
Mallinckrodt Ordinary Shares issuable upon exercise of the New Opioid Warrants as of the Effective Date,
without regard to any limitations on the exercise of the New Opioid Warrants) issued or issuable pursuant
to the Plan shall be duly authorized, validly issued, fully paid, and non-assessable. The New Opioid
Warrants and the New Opioid Warrant Agreement shall be valid and binding obligations of Reorganized
Mallinckrodt, enforceable in accordance with their respective terms.

         2.      Registration Rights Agreement

        On the Effective Date, Reorganized Mallinckrodt and certain Holders of the New Mallinckrodt
Ordinary Shares (including the New Mallinckrodt Ordinary Shares issuable upon the exercise of the New
Opioid Warrants) shall enter into the Registration Rights Agreement in substantially the form included in
the Plan Supplement. The Registration Rights Agreement shall be deemed to be valid, binding, and
enforceable in accordance with its terms.

         3.      Certain Debtors Subject to Dissolution

        As to any Debtors identified as being subject to this Article IV.I.3 in the Restructuring Transactions
Memorandum, the Debtors shall take such steps as are necessary or advisable to provide, as of the Effective
Date, (a) for a new equity interest holder or holders (either as to each such Debtor individually or as to all
such Debtors together) (i) to receive and hold all new equity interests in such Debtors and (ii) to manage
the dissolution of such Debtors after consummation of all distributions to the Holders of Claims against
such Debtors contemplated by the Plan and (b) for any necessary or advisable changes to the organizational
documents of such Debtors in furtherance of their contemplated dissolution.

J.       Exemption from Registration Requirements

         The offering, issuance, and distribution of any Securities, including the New Mallinckrodt Ordinary
Shares (including any New Mallinckrodt Ordinary Shares issuable upon the exercise of the New Opioid
Warrants) and the New Opioid Warrants in exchange for Claims pursuant to Article III of the Plan and the
Confirmation Order and, where applicable, in accordance with the terms of the Scheme of Arrangement
and the Confirmation Order shall be exempt from, among other things, the registration requirements of
Section 5 of the Securities Act pursuant to section 1145 of the Bankruptcy Code. Any and all such New
Mallinckrodt Ordinary Shares (including any New Mallinckrodt Ordinary Shares issuable upon exercise of
the New Opioid Warrants) and New Opioid Warrants so issued under the Plan and, where applicable, the
Scheme of Arrangement, will be freely tradable under the Securities Act by the recipients thereof, subject
to: (1) the provisions of section 1145(b)(1) of the Bankruptcy Code relating to the definition of an
underwriter in Section 2(a)(11) of the Securities Act, and compliance with any applicable state or foreign
securities laws, if any, and any rules and regulations of the SEC, if any, applicable at the time of any future
transfer of such Securities or instruments; (2) the restrictions, if any, on the transferability of such Securities
and instruments; and (3) any other applicable regulatory approval.



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     The Opioid MDT II may not be the owner of the New Opioid Warrants for tax purposes, but may hold the New
     Opioid Warrants as agent or trustee for its beneficiaries.


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        The Reorganized Debtors need not provide any further evidence other than the Plan, the
Confirmation Order, the Scheme of Arrangement, or the Irish Confirmation Order with respect to the
treatment of the New Mallinckrodt Ordinary Shares or New Opioid Warrants under applicable securities
laws.

         Notwithstanding anything to the contrary in the Plan, no Person or Entity (including, for the
avoidance of doubt, DTC) shall be entitled to require a legal opinion regarding the validity of any
transaction contemplated by the Plan, including, for the avoidance of doubt, whether the Takeback Second
Lien Notes, the Cram-Down First Lien Notes or Cram-Down Second Lien Notes (if any), the New
Mallinckrodt Ordinary Shares (including any New Mallinckrodt Ordinary Shares issuable upon exercise of
the New Opioid Warrants), and the New Opioid Warrants are exempt from registration and/or eligible for
DTC book-entry delivery, settlement, and depository services. All such Persons and Entities including
DTC shall be required to accept and conclusively rely upon the Plan, the Confirmation Order, the Scheme
of Arrangement, or the Irish Confirmation Order in lieu of a legal opinion regarding whether the Takeback
Second Lien Notes, the New Mallinckrodt Ordinary Shares (including any New Mallinckrodt Ordinary
Shares issuable upon exercise of the New Opioid Warrants), and the New Opioid Warrants are exempt from
registration and/or eligible for DTC book-entry delivery, settlement, and depository services.

K.      Organizational Documents

        Subject to Articles IV.E and IV.F of the Plan, the Reorganized Debtors shall enter into such
agreements and amend their corporate governance documents to the extent necessary to implement the
terms and provisions of the Plan. Without limiting the generality of the foregoing, as of the Effective Date,
each of the Reorganized Debtors shall be governed by the New Governance Documents applicable to it.
From and after the Effective Date, the organizational documents of each of the Reorganized Debtors will
comply with section 1123(a)(6) of the Bankruptcy Code, as applicable. On or immediately before the
Effective Date, each Reorganized Debtor will file its New Governance Documents with the applicable
Secretary of State and/or other applicable authorities in its jurisdiction of incorporation or formation in
accordance with applicable laws of its jurisdiction of incorporation or formation, to the extent required for
such New Governance Documents to become effective.

L.      Exemption from Certain Transfer Taxes and Recording Fees

         To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfer from a
Debtor to a Reorganized Debtor or to any Entity pursuant to, in contemplation of, or in connection with the
Plan or pursuant to: (1) the issuance, distribution, transfer, or exchange of any debt, securities, or other
interest in the Debtors or the Reorganized Debtors; (2) the creation, modification, consolidation, or
recording of any mortgage, deed of trust, or other security interest, or the securing of additional
indebtedness by such or other means; (3) the making, assignment, or recording of any lease or sublease; or
(4) the making, delivery, or recording of any deed or other instrument of transfer under, in furtherance of,
or in connection with, the Plan, including any deeds, bills of sale, assignments, or other instrument of
transfer executed in connection with any transaction arising out of, contemplated by, or in any way related
to the Plan, shall not be subject to any U.S. federal, state, or local document recording tax, stamp tax,
conveyance fee, intangibles, or similar tax, mortgage tax, real estate transfer tax, mortgage recording tax,
Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar tax
or governmental assessment, and the appropriate U.S. state or local governmental officials or agents shall
forego the collection of any such tax or governmental assessment and accept for filing and recordation any
of the foregoing instruments or other documents without the payment of any such tax or governmental
assessment.




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M.      Directors and Officers of the Reorganized Debtors

        1.       The Reorganized Board

         Prior to the Effective Date, the Debtors will undertake any necessary or advisable steps to have the
Reorganized Board in place immediately prior to the Effective Date. The occurrence of the Effective Date
will serve as ratification of the appointment of the Reorganized Board.

         The Reorganized Board will initially consist of at least seven (7) members, which shall be
comprised of the Chief Executive Officer of the Reorganized Debtors, and six (6) other directors, which
shall be designated by the Required Supporting Unsecured Noteholders and approved by the then existing
board of directors, or if the then existing board of directors does not so approve, the Reorganized Board
will be deemed duly appointed pursuant to the Plan; provided, that, the members of the Reorganized Board,
other than the Reorganized Debtors’ Chief Executive Officer, shall be independent under applicable listing
standards and shall be independent of the Supporting Unsecured Noteholders, unless the Governmental
Plaintiff Ad Hoc Committee, the MSGE Group, and the Debtors otherwise consent. Pursuant to section
1129(a)(5) of the Bankruptcy Code, the Debtors will disclose in advance of Confirmation, solely to the
extent such Persons are known and determined, the identity and affiliations of any Person proposed to serve
on the Reorganized Board. The occurrence of the Effective Date shall have no effect on the composition
of the board of directors or managers of each of the subsidiary Debtors.

        2.       Senior Management

         The existing officers of the Debtors as of the Effective Date shall remain in their current capacities
as officers of the Reorganized Debtors, subject to the ordinary rights and powers of the Reorganized Board
to remove or replace them in accordance with the New Governance Documents and any applicable
employment agreements that are assumed pursuant to the Plan.

        3.       Management Incentive Plan

      On the Effective Date, equity grants under the Management Incentive Plan shall be reserved for
management, key employees, and directors of the Reorganized Debtors.

        4.       Disinterested Managers

         Following the Effective Date, the Disinterested Managers shall retain authority solely with respect
to matters related to Professional Fee Claim requests by Professionals acting at their authority and direction
in accordance with the terms of the Plan. The Disinterested Managers, in such capacity, shall not have any
of their respective privileged and confidential documents, communications or information transferred (or
deemed transferred) to the Reorganized Debtors.

N.      Directors and Officers Insurance Policies

        On the Effective Date the Reorganized Debtors shall be deemed to have assumed all of the Debtors’
D&O Liability Insurance Policies (including any “tail policy” and all agreements, documents, or
instruments related thereto) in effect prior to the Effective Date pursuant to sections 105 and 365(a) of the
Bankruptcy Code, without the need for any further notice to or action, order, or approval of the Bankruptcy
Court. Confirmation of the Plan shall not discharge, impair, or otherwise modify any indemnity obligations
assumed by the foregoing assumption of the D&O Liability Insurance Policies, and each such indemnity
obligation will be deemed and treated as an Executory Contract that has been assumed by the Debtors under
the Plan as to which no Proof of Claim need be Filed. The Debtors and, after the Effective Date, the
Reorganized Debtors shall retain the ability to supplement such D&O Liability Insurance Policies as the
Debtors or Reorganized Debtors, as applicable, may deem necessary and in consultation with the Required


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Supporting Unsecured Noteholders. For the avoidance of doubt, entry of the Confirmation Order will
constitute the Bankruptcy Court’s approval of the Reorganized Debtors’ foregoing assumption of each of
the unexpired D&O Liability Insurance Policies.

         In addition, subject to the Additional Insurance Rights, on or after the Effective Date, none of the
Reorganized Debtors shall terminate or otherwise reduce the coverage under any D&O Liability Insurance
Policies (including any “tail policy” and all agreements, documents, or instruments related thereto) in effect
on or prior to the Effective Date, with respect to conduct occurring prior thereto, and all current and former
directors, officers, and managers of the Debtors who served in such capacity at any time prior to the
Effective Date shall be entitled to the full benefits of any such policies for the full term of such policies
regardless of whether such current and former directors, officers, and managers remain in such positions
after the Effective Date, all in accordance with the terms and conditions of the D&O Liability Insurance
Policies, which shall not be altered.

O.      Preservation of Rights of Action

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to the releases set forth in
this section and in Article IX below, all Causes of Action other than the Assigned Third-Party Claims and
the Assigned Insurance Rights that a Debtor may hold against any Entity shall vest in the applicable
Reorganized Debtor on the Effective Date. Thereafter, the Reorganized Debtors shall have the exclusive
right, authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle,
compromise, release, withdraw, or litigate to judgment any such Causes of Action other than the Assigned
Third-Party Claims, and the Assigned Insurance Rights, whether arising before or after the Petition Date,
and to decline to do any of the foregoing without the consent or approval of any third party or further notice
to or action, order, or approval of the Bankruptcy Court. No Entity may rely on the absence of a specific
reference in the Plan, the Plan Supplement, or the Disclosure Statement to any specific Cause of
Action as any indication that the Debtors, the Reorganized Debtors, or the Opioid MDT II will not
pursue any and all available Causes of Action. The Debtors, the Reorganized Debtors, and the Opioid
MDT II expressly reserve all rights to prosecute any and all Causes of Action against any Entity,
except as otherwise expressly provided in the Plan, and, therefore, no preclusion doctrine, including the
doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable
or otherwise) or laches, shall apply to any Cause of Action upon, after, or as a consequence of the
Confirmation or the occurrence of the Effective Date.

        Notwithstanding any provision in the Plan or any order entered in these Chapter 11 Cases, as of
and after the Effective Date, the Debtors and Reorganized Debtors forever waive, relinquish, and release
any and all Causes of Action the Debtors and their Estates had, have, or may have (1) against any Released
Party, or (2) that arise under section 547 of the Bankruptcy Code (and analogous non-bankruptcy law)
against any Holder of a Trade Claim on account of such Trade Claims.

P.      Corporate Action

         1.      Upon the Effective Date, all actions contemplated by the Plan and the Scheme of
Arrangement shall be deemed authorized, approved, and, to the extent taken prior to the Effective Date,
ratified without any requirement for further action by Holders of Claims or Interests, directors, managers,
or officers of the Debtors, the Reorganized Debtors, or any other Entity, including: (1) assumption and
rejection (as applicable) of Executory Contracts and Unexpired Leases; (2) selection of the directors,
managers, and officers for the Reorganized Debtors; (3) the execution of the New Governance Documents,
the Opioid MDT II Documents, the Opioid Creditor Trust Documents, the New Opioid Warrant Agreement,
the Federal/State Acthar Settlement Agreements, the New Term Loan Documentation, the New AR
Revolving Facility Documentation, the Takeback Second Lien Notes Documentation, the Management
Incentive Plan, the Opioid Operating Injunction, the Registration Rights Agreement and, if applicable, the


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New Takeback Term Loans Documentation, the Cram-Down First Lien Notes Documentation and the
Cram-Down Second Lien Notes Documentation; (4) the issuance and delivery of the New Mallinckrodt
Ordinary Shares, Takeback Second Lien Notes, New Opioid Warrants, and, if applicable, the New
Takeback Term Loans, the Cram-Down First Lien Notes, and the Cram-Down Second Lien Notes;
(5) implementation of the Restructuring Transactions, and (6) all other acts or actions contemplated, or
reasonably necessary or appropriate to promptly consummate the transactions contemplated by the Plan
(whether to occur before, on, or after the Effective Date). All matters provided for in the Plan involving
the company structure of the Debtors, and any company action required by the Debtors in connection
therewith, shall be deemed to have occurred on, and shall be in effect as of, the Effective Date, without any
requirement of further action by the security holders, directors, managers, authorized persons, or officers
of the Debtors.

         2.       Prior to, on and after the Effective Date, the appropriate officers, directors, managers, or
authorized persons of the Debtors, Reorganized Mallinckrodt, or any direct or indirect subsidiaries of
Reorganized Mallinckrodt (including any president, vice-president, chief executive officer, treasurer,
general counsel, secretary, or chief financial officer thereof) shall be authorized and directed to issue,
execute, and deliver the agreements, documents, securities, memoranda and articles of association,
certificates of incorporation, certificates of formation, bylaws, operating agreements, other organization
documents, and instruments contemplated by the Plan (or necessary or desirable to effect the transactions
contemplated by the Plan) in the name of and on behalf of the applicable Debtors or applicable Reorganized
Debtors, including the (1) New Governance Documents, (2) Opioid MDT II Documents and Opioid
Creditor Trust Documents, (3) New Opioid Warrant Agreement, (4) Takeback Second Lien Notes
Documentation, (5) New Term Loan Documentation, (6) New AR Revolving Facility Documentation, (7)
New Takeback Term Loans Documentation, (8) Cram-Down First Lien Notes Documentation, if
applicable, (9) Cram-Down Second Lien Notes Documentation, if applicable, and (10) any and all other
agreements, documents, securities, and instruments relating to or contemplated by the foregoing. Prior to
or on the Effective Date, each of the Debtors is authorized, in its sole discretion, to change its name or
corporate form and to take such other action as required to effectuate a change of name or corporate form
in the jurisdiction of incorporation of the applicable Debtor or Reorganized Debtor. To the extent the
Debtors change their names or corporate form prior to the closing of the Chapter 11 Cases, the Debtors
shall change the case captions accordingly.

Q.      Effectuating Documents; Further Transactions

         Prior to, on, and after the Effective Date, the Debtors and Reorganized Debtors and the directors,
managers, officers, authorized persons, and members of the boards of directors or managers and directors
thereof, are authorized to and may issue, execute, deliver, file, or record such contracts, securities, notes,
instruments, certificates, releases, and other agreements or documents and take such actions as may be
necessary or appropriate to effectuate, implement, and further evidence the terms and provisions of the
Plan, the New Governance Documents, the Opioid MDT II Documents, the Opioid Creditor Trust
Documents, the New Opioid Warrant Agreement, the Federal/State Acthar Settlement Agreements, and any
Securities issued pursuant to the Plan in the name of and on behalf of the Reorganized Debtors, without the
need for any approvals, authorizations, actions, or consents except for those expressly required pursuant to
the Plan or the Restructuring Support Agreement. For the avoidance of doubt, the New Governance
Documents shall ensure that the Reorganized Debtors are able to issue the number of New Mallinckrodt
Ordinary Shares needed to satisfy obligations of the General Unsecured Claims Recovery Pool.

R.      Listing of New Mallinckrodt Ordinary Shares

        The Debtors’ board of directors shall use commercially reasonable efforts to list the New
Mallinckrodt Ordinary Shares for trading on the NASDAQ Capital Market, the NASDAQ Global Market,
or the New York Stock Exchange on the Effective Date. If no such listing has occurred as of the Effective


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Date, following the Effective Date and subject to the terms and conditions of the New Governance
Documents, the Reorganized Board will direct the Reorganized Debtors to list the New Mallinckrodt
Ordinary Shares for trading on the NASDAQ Capital Market, the NASDAQ Global Market, or the New
York Stock Exchange as soon as reasonably practicable after the Effective Date.

S.      Payment of Fees and Expenses of the Supporting Parties and Indenture Trustee Fees

        Notwithstanding anything to the contrary contained in the Restructuring Expenses Order, on the
Effective Date, the Reorganized Debtors shall pay the Noteholder Consent Fee and the Term Loan Exit
Payment pursuant to the terms of the Restructuring Support Agreement.

         On the Effective Date with respect to invoices delivered prior to the Effective Date in accordance
with the procedures in the following sentence (the “Invoiced Restructuring Expenses”)) or as soon as
reasonably practicable thereafter (with respect to all other Restructuring Expenses other than the Invoiced
Restructuring Expenses), the Reorganized Debtors shall pay in Cash the Restructuring Expenses. All
Restructuring Expenses to be paid on the Effective Date shall be estimated prior to and as of the Effective
Date and such estimates shall be delivered to the Debtors at least five (5) Business Days before the
anticipated Effective Date; provided, however, that such estimates shall not be considered an admission by
any party or limitation with respect to such Restructuring Expenses. In addition, the Debtors and the
Reorganized Debtors (as applicable) shall continue to pay pre- and post-Effective Date, when due and
payable in the ordinary course, Restructuring Expenses and Post Effective Date Implementation Expenses,
as applicable, related to implementation, consummation, and defense of the Plan, whether incurred before,
on, or after the Effective Date. Notwithstanding anything to the contrary in the Plan, the Restructuring
Expenses shall not be subject to the Administrative Claims Bar Date. To the extent any person entitled to
reimbursement of Restructuring Expenses or Post Effective Date Implementation Expenses is holding a
retainer, such person shall be entitled to continue to hold such retainer until payment in full in Cash by the
Reorganized Debtors of such person’s Restructuring Expenses and Post Effective Date Implementation
Expenses; provided that such retainer shall be applied to pay for such Restructuring Expenses unless such
person elects, in its sole discretion, to keep a portion of such retainer solely to the extent needed to cover
Restructuring Expenses in excess of any estimates provided in accordance with this paragraph and any
reasonably expected Post Effective Date Implementation Expenses, and following the payment of
Restructuring Expenses and Post Effective Date Implementation Expenses (if any), on reasonable request
of the Debtors, the professionals shall return the remainder of the retainer to the Debtors.

        On the Effective Date or as soon as reasonably practicable thereafter and upon the presentment of
invoices in customary form (which may be redacted to preserve any confidential or privileged information),
the Reorganized Debtors shall pay in Cash the Indenture Trustee Fees (whether accrued prepetition or
postpetition, whether before or after the Effective Date of this Plan and to the extent not otherwise paid
during the Chapter 11 Cases), without the need for application by any party to the Bankruptcy Court, and
without notice and a hearing pursuant to section 1129(a)(4) of the Bankruptcy Code or otherwise. From
and after the Effective Date, the Reorganized Debtors will pay any Indenture Trustee Fees in full in Cash
without further court approval.

T.      Creation of the Opioid MDT II

        On or prior to the Effective Date, the Debtors shall take all necessary steps to establish the Opioid
MDT II in accordance with the Plan and the Opioid MDT II Documents. As of the Effective Date, the
Opioid MDT II Documents shall be executed by the Debtors and the Opioid MDT II Trustee(s), and the
Opioid MDT II shall be created. The Opioid MDT II is intended to be a “qualified settlement fund” within
the meaning of the Treasury Regulations issued under section 468B of the Internal Revenue Code. The
purpose of the Opioid MDT II shall be to, among other things: (1) resolve all asserted Opioid Claims
(including Opioid Demands) channeled to the Opioid MDT II in accordance with the Plan, Opioid MDT II


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Documents, and the Confirmation Order; (2) preserve, hold, collect, manage, maximize, and liquidate the
assets of the Opioid MDT II for use in resolving Opioid Claims (including Opioid Demands) channeled to
the Opioid MDT II and funding the Opioid Creditor Trusts; (3) enforce, pursue, prosecute, compromise,
and/or settle the Assigned Third-Party Claims and Assigned Insurance Rights; (4) pay all Trust Expenses
as provided, and defined, in the Opioid MDT II Documents (for which the Reorganized Debtors and the
Released Parties shall have no responsibility or liability); (5) pay any and all administration and operating
expenses of the Opioid MDT II, including the fees and expenses of any professionals retained by the Opioid
MDT II; and (6) qualify at all times as a qualified settlement fund.

U.      Appointment and Obligations of Opioid MDT II Trustee(s)

        1.      Appointment of the Opioid MDT II Trustee(s)

        The appointment of the initial Opioid MDT II Trustee(s) will be approved in the Confirmation
Order, and effective as of the Effective Date, in accordance with the Opioid MDT II Documents, the
individual(s) selected as the Opioid MDT II Trustee(s) shall be appointed to serve as the Opioid MDT II
Trustee(s) for the Opioid MDT II.

         There will be three initial Opioid MDT II Trustee(s), which shall be selected by the Governmental
Plaintiff Ad Hoc Committee and the MSGE Group in consultation with the Debtors, and the identity of the
initial Opioid MDT II Trustee(s) shall be disclosed in the Plan Supplement.

        2.      Obligations of the Opioid MDT II Trustee(s)

        The Opioid MDT II Trustees shall take into account the interests of, and owe fiduciary duties to,
each of the Opioid Creditor Trusts (including the Private Opioid Creditor Trusts and the Public Opioid
Creditor Trusts) in making all decisions on behalf of the Opioid MDT II. In furtherance thereof:

                a.       to the extent there are any disputes raised by any Opioid Creditor Trust regarding
                         the operation of the Opioid MDT II or the actions of the Opioid MDT II Trustees,
                         (A) any Opioid Creditor Trustee shall have the right to seek resolution by the
                         Bankruptcy Court of such a dispute, including seeking to enjoin any disputed
                         action by the Opioid MDT II, and all Opioid MDT II Trustees and Opioid Creditor
                         Trustees shall have the right to be heard with regard to any such dispute, including
                         by filing objections, declarations, statements in support or other pleadings
                         (including with supporting evidence) or providing witness testimony at any
                         hearing and (B) the Bankruptcy Court shall have exclusive jurisdiction to hear and
                         resolve any such disputes, and shall be authorized to order appropriate relief
                         (subject to the provisions of this Article IV.U.2 and make a determination in an
                         expedited manner, and in all events, shall make such a decision within thirty (30)
                         days from the request for relief;

                b.       upon the payment in full in Cash of a Private Opioid Creditor Trust’s respective
                         distribution, the Opioid MDT II shall have no further fiduciary duties to such
                         Private Opioid Creditor Trust, and the Opioid Creditor Trustees of such Private
                         Opioid Creditor Trust shall have no further rights to commence or participate in
                         any action relating to the operations of the Opioid MDT II or the actions of the
                         Opioid MDT II Trustees;

                c.       Opioid MDT II Trustees shall (A) provide reasonable reporting to each of the
                         Opioid Creditor Trusts regarding the Opioid MDT II Trustees’ activities at least
                         every four (4) months (both cumulatively and in the period just ended), any


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                         insurance proceedings, assets (including the value thereof), expenditures,
                         distributions and forward-looking projections (subject to appropriate limitations to
                         be agreed by the Debtors, the Governmental Plaintiff Ad Hoc Committee, the
                         MSGE Group, and the OCC) and (B) make themselves reasonably available (in
                         addition to holding at least one (1) call every four (4) months for the Opioid
                         Creditor Trustees) to answer questions of Opioid Creditor Trustees relating to the
                         Opioid MDT II Trustees’ activities;

                 d.      the Opioid MDT II Trustees shall be obligated to comply with the terms of the
                         Plan, including this Article IV.U.2, and Opioid MDT II Trust Documents; and

                 e.      in the event of any inconsistency between the terms of this Article IV.U.2 and any
                         other provision of this Plan or Opioid MDT II Trust Documents, the terms of this
                         Article IV.U.2 shall govern unless the Opioid MDT II Trustees and the Opioid
                         Creditor Trustees for each of the Opioid Creditor Trusts mutually agree.

V.      Settlements of Opioid Claims

        1.       Non-Precedential Effect for Holders of Opioid Claims

         This Plan, the Plan Supplement, and the Confirmation Order constitute a good faith full and final
comprehensive compromise and settlement of Opioid Claims and controversies based upon the unique
circumstances of these Chapter 11 Cases (such as the unique facts and circumstances relating to these
Debtors as compared to other defendants in the general opioid litigations, and the need for an accelerated
resolution without litigation) such that (i) none of the foregoing documents, nor any materials used in
furtherance of Confirmation (including, but not limited to, the Disclosure Statement, and any notes related
to, and drafts of, such documents and materials), may be offered into evidence, deemed an admission, used
as precedent, or used by any party or Person in any context whatsoever beyond the purposes of this Plan,
in any other litigation or proceeding except as necessary, and as admissible in such context, to enforce their
terms and to evidence the terms of the Plan before the Bankruptcy Court or any other court of competent
jurisdiction, and (ii) any obligation by any party, in furtherance of such compromise and settlement, to not
exercise rights that might be otherwise applicable to such party shall be understood to be an obligation
solely in connection with this specific compromise and settlement and to be inapplicable in the absence of
such compromise and settlement. This Plan, the Plan Supplement, and the Confirmation Order will be
binding as to the matters and issues described therein, but will not be binding with respect to similar matters
or issues that might arise in any other litigation or proceeding involving Opioid Claims in which none of
the Debtors, the Reorganized Debtors, the Opioid MDT II, or the Opioid Creditor Trusts is a party; provided
that such litigation or proceeding is not to enforce or evidence the terms of the Plan, the Plan Supplement,
or the Confirmation Order. Any Opioid Claimants’ support of, or position or action taken in connection
with, this Plan, the Plan Supplement, and the Confirmation Order may differ from his position or testimony
in any other litigation or proceeding except in connection with these Chapter 11 Cases. Further, the
treatment of Opioid Claims as set forth in this Plan is not intended to serve as an example for, or represent
the parties’ respective positions or views concerning any other chapter 11 cases relating to opioid products,
nor shall it be used as precedent by any Entity or party in any other chapter 11 cases related to opioid
products.

        2.       Transferability of Opioid Claim Distribution Rights

         Any right of a Holder of an Opioid Claim to receive a distribution or other payment from the Opioid
MDT II or the Opioid Creditor Trusts on account of an Opioid Claim shall not be evidenced by any
certificate, security, receipt or in any other form or manner whatsoever, except on the books and records of
the Debtors, Reorganized Debtors, the Opioid MDT II, or the Opioid Creditor Trusts, as applicable. Further,


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any right of a Holder of an Opioid Claim to receive a Distribution or other payment from the Debtors,
Reorganized Debtors, the Opioid MDT II, or the Opioid Creditor Trusts on account of an Opioid Claim
shall be nontransferable and nonassignable except by will, intestate, succession or operation of law. Any
rights of Holders of Opioid Claims to receive a Distribution or other payment from the Debtors,
Reorganized Debtors, the Opioid MDT II, or the Opioid Creditor Trusts on account of Opioid Claims shall
not constitute “securities” and shall not be registered pursuant to the Securities Act. If it is determined that
such rights constitute “securities,” the exemption provisions of section 1145(a)(1) of the Bankruptcy Code
would be satisfied and such securities would be exempt from registration.

W.      Transfers of Property to and Assumption of Certain Liabilities by the Opioid MDT II

        1.       Transfer of Books and Records to the Opioid MDT II

         On the Effective Date or as soon thereafter as is reasonably practicable, the Reorganized Debtors
shall transfer and assign, or cause to be transferred and assigned, to the Opioid MDT II copies of all books
and records necessary for, and for the sole purpose of enabling and to the extent necessary to enable, the
defense of Opioid Claims (including Opioid Demands) in accordance with the Cooperation Agreement,
including, for the avoidance of doubt, both privileged and non-privileged documents; provided, that, after
the transfer of such books and records the Debtors or the Reorganized Debtors may destroy copies of such
books and records in accordance with their record management policies. The transfer of any privileged
books and records provided to the Opioid MDT II necessary for the defense of Opioid Claims (including
Opioid Demands) shall not result in the destruction or waiver of any applicable privileges pertaining to such
books and records. No documents or communications subject to a privilege shall be publicly disclosed by
the Opioid MDT II or communicated to any person not entitled to receive such information or in a manner
that would diminish the protected status of such information, unless such disclosure or communication is
reasonably necessary to defend the Opioid Claims (including Opioid Demands). Further, pursuant to the
Plan and the Confirmation Order, none of the Debtors, the Reorganized Debtors, any of the Debtors’ or the
Reorganized Debtors’ Affiliates or the Disinterested Managers shall be liable for violating any
confidentiality or privacy protections as a result of transferring the books and records to the Opioid MDT
II in accordance with the Cooperation Agreement, and the Opioid MDT II, upon receipt of the books and
records, shall take appropriate steps to comply with any such applicable protections.

        2.       Funding the Opioid MDT II

                 a.      Opioid MDT II Funding Amount

        The Opioid MDT II shall be funded solely by the Opioid MDT II Consideration. On the Effective
Date, the obligations to provide the Opioid MDT II Consideration shall constitute legal, valid, binding, and
authorized obligations of the applicable Reorganized Debtors, enforceable in accordance with the terms
hereof. The financial accommodations to be extended in connection with the Opioid MDT II Consideration
are being extended, and shall be deemed to have been extended, in good faith, for legitimate business
purposes, are reasonable, shall not be subject to avoidance, recharacterization, or subordination (including
equitable subordination) for any purposes whatsoever, and shall not constitute preferential transfers,
fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any other applicable
non-bankruptcy law.

                 b.      Payments to the Opioid MDT II

       On the Effective Date, the Debtors and/or the Reorganized Debtors will make the Initial Opioid
MDT II Payment, and thereafter, the Reorganized Debtors or Reorganized Mallinckrodt will make each of
the Opioid Deferred Cash Payments subject to the Prepayment Option; provided after any sale of (i)
Mallinckrodt Enterprises Holdings, Inc. and its subsidiaries (including, for the avoidance of doubt, its


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successors and assigns) or (ii) a material portion of their assets or businesses (including as a result of a
merger, equity sale, or asset sale), subject to compliance with the Debtors’ covenants under the agreements
governing their funded indebtedness (as may be modified from time to time), 50% of the “net proceeds” of
such sale (after, for the avoidance of doubt, compliance with then-existing covenants) shall be paid to the
Opioid MDT II; and the amount of such net proceeds actually conveyed to the Opioid MDT II will be
deemed a ratable repayment against the remaining Opioid Deferred Cash Payments that the Opioid MDT
II is entitled to receive. For the avoidance of doubt, the Debtors will not be under any obligation to
undertake any such sale on any particular timeframe. The Debtors intend that payments to the Opioid MDT
II (whenever made, and from whatever source) will constitute “restitution . . . for damage or harm” within
the meaning of Section 162(f) of the Internal Revenue Code, and will be so characterized for U.S. federal
income tax purposes to the extent such payments are made to or at the direction of a government or
governmental entity. For the avoidance of doubt, the foregoing sentence is intended to apply to the tax
characterization of payments to the Opioid MDT II on account of Opioid Claims, and such tax
characterization shall not be construed to be dispositive for any non-tax purpose. Nor shall such tax
characterization be construed to mean that Debtors’ payments satisfy the full extent of the liability
associated with Opioid Claims, the satisfaction of which remains a valuable right assigned to the Opioid
MDT II, nor that the remaining liability associated with Opioid Claims seeks restitution as a form of relief.

                c.       New Opioid Warrants

         On the Effective Date, Reorganized Mallinckrodt shall issue, and the Debtors shall cause to be
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transferred, the New Opioid Warrants to the Opioid MDT II.

                d.       Assigned Third-Party Claims and Assigned Insurance Rights

         As of the Effective Date, the Debtors and/or the Reorganized Debtors shall be deemed to have
assigned the Assigned Third-Party Claims and the Assigned Insurance Rights to the Opioid MDT II;
provided, that the exercise of remedies (including rights of setoff and/or recoupment) by non-Debtor third
parties against the Debtors or Reorganized Debtors (but not the Opioid MDT II) on account of any Assigned
Third-Party Claims shall be enjoined and barred.

        The Reorganized Debtors shall transfer and assign, or cause to be transferred and assigned, to the
Opioid MDT II copies of books and records necessary for, and for the sole purpose of enabling and to the
extent necessary to enable, the prosecution of the Assigned Third-Party Claims and the Assigned Insurance
Rights in accordance with the Cooperation Agreement, including, for the avoidance of doubt, both
privileged and non-privileged documents; provided, that, after the transfer of such books and records the
Debtors or the Reorganized Debtors may destroy copies of such books and records in accordance with their
record management policies. Such transfer shall not result in the destruction or waiver of any applicable
privileges pertaining to such books and records. No documents or communications subject to a privilege
shall be publicly disclosed by the Opioid MDT II or communicated to any person not entitled to receive
such information or in a manner that would diminish the protected status of such information, unless such
disclosure or communication is reasonably necessary to preserve, secure, prosecute, or obtain the benefit
of the Assigned Third-Party Claims and Assigned Insurance Rights.

        The Opioid MDT II shall be authorized to conduct Rule 2004 examinations, to the fullest extent
permitted thereunder, to investigate the Assigned Third-Party Claims and the Assigned Insurance Rights,
without the requirement of filing a motion for such authorization; provided, however, that no such Rule
2004 examinations shall be taken of the Debtors, the Reorganized Debtors, or any of their respective then-

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    The Opioid MDT II may not be the owner of the New Opioid Warrants for tax purposes, but may hold the New
    Opioid Warrants as agent or trustee for its beneficiaries.


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current or former employees, officers, directors or Representatives without further order of the Bankruptcy
Court (if the Chapter 11 Cases remain open) after notice and an opportunity to object and be heard.
Notwithstanding the foregoing, (i) employees, officers, directors or Representatives of Medtronic plc and/or
its subsidiaries, and each of their predecessors, successors, and assigns, are not exempt from Rule 2004
examinations, and nothing herein shall interfere with the obligations of the Debtors, the Reorganized
Debtors, or any of their respective then-current or former employees, officers, directors or Representatives
to cooperate with the Opioid MDT II as set forth herein and in the Cooperation Agreement. For the
avoidance of doubt, in the context of an actual pending litigation or contested matter, the rules of discovery
applicable to such litigation or contested matter will control.

         In implementing the assignment of the Assigned Insurance Rights, the Debtors or the Reorganized
Debtors, on the one hand, and the Governmental Plaintiff Ad Hoc Committee and the MSGE Group or the
Opioid MDT II, on the other hand, shall cooperate and negotiate in good faith concerning (x) treatment of
unsatisfied self-insured retentions under the applicable Insurance Contracts with the objective of
minimizing adverse consequences to Mallinckrodt, Reorganized Mallinckrodt, and the Opioid MDT II (it
being understood that the foregoing obligation shall not require the Debtors or Reorganized Debtors to
satisfy all or any portion of any such self-insured retentions) and (y) any actions by the Debtors,
Reorganized Debtors, or the Opioid MDT II to pursue or preserve the Insurance Contracts relating to the
Assigned Insurance Rights.

        3.      Assigned Third-Party Claims and Assigned Insurance Rights Cooperation

        During the pendency of the Chapter 11 Cases, the Debtors shall use reasonable best efforts to
cooperate with counsel to the Governmental Plaintiff Ad Hoc Committee and counsel to the MSGE Group
in connection with their investigation, preservation, pursuit, and securing of the Assigned Third-Party
Claims and Assigned Insurance Rights, including by providing non-privileged information (including,
without limitation, data, documents, emails, and access to individuals with information), at the reasonable
request of counsel to the Governmental Plaintiff Ad Hoc Committee and counsel to the MSGE Group.

         The Debtors shall use reasonable best efforts to provide all available, non-privileged information
relating to the Assigned Third-Party Claims and Assigned Insurance Rights to counsel to the Governmental
Plaintiff Ad Hoc Committee and to counsel to the MSGE Group during the Debtors’ bankruptcy cases;
provided, however, that such information shall be provided prior to entry of the Confirmation Order.

         On and after the Effective Date, the Reorganized Debtors shall use reasonable best efforts to
cooperate with the Opioid MDT II in connection with the Opioid MDT II’s investigation, preservation,
pursuit, and securing of the Assigned Third-Party Claims and the Assigned Insurance Rights. The terms
and conditions of such cooperation shall be set forth in the Cooperation Agreement and included in the
Confirmation Order. The Opioid MDT II shall reimburse the Reorganized Debtors for their documented
and reasonable out-of-pocket costs and expenses incurred in connection with such reasonable cooperation
from and after the Effective Date.

        Any request by the Opioid MDT II, the Governmental Plaintiff Ad Hoc Committee, or the MSGE
Group for cooperation by the Debtors and Reorganized Debtors shall be on reasonable advance notice, and
provided during normal business hours and otherwise in a manner that does not disrupt commercial
operations.

        4.      Vesting of the Opioid MDT II Consideration in the Opioid MDT II

        On the Effective Date or on the date which an Opioid Deferred Cash Payment is actually made, as
applicable, pursuant to the Plan and in accordance with the Opioid MDT II Documents, the Opioid MDT



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II Consideration shall be transferred or issued to and vest in the Opioid MDT II free and clear of all Claims,
Interests, Liens, other encumbrances and liabilities of any kind (other than the Opioid Claims (including
Opioid Demands)). The Opioid MDT II shall have no liability for, and the Opioid MDT II Consideration
shall vest in the Opioid MDT II free and clear of, any pre-petition and post-petition Claims, Causes of
Action or liabilities of any kind, in each case that have been or could have been asserted against the Debtors,
their Estates or their property (including, but not limited to, Claims based on successor liability) based on
any acts or omissions prior to the Effective Date, except for the Opioid Claims (including the Opioid
Demands). From and after the Effective Date, all proceeds of the Opioid MDT II Consideration, including
without limitation, amounts paid by Insurers under the Assigned Insurance Rights, shall be paid to the
Opioid MDT II to be applied in accordance with the Opioid MDT II Documents.

        5.       Assumption of Certain Liability and Responsibility by the Opioid MDT II

          In consideration for the property transferred to the Opioid MDT II pursuant to Article IV.W.2 and
in furtherance of the purposes of the Opioid MDT II and the Plan, the Opioid MDT II shall assume all
liability and responsibility, financial and otherwise, for all Opioid Claims (including Opioid Demands) not
otherwise channeled to an Opioid Creditor Trust or the Ratepayer Account, including U.S. Government
Opioid Claims, and Other Opioid Claims, and the Debtors, the Reorganized Debtors, and the Protected
Parties shall have no liability or responsibility, financial or otherwise, therefor. The Opioid MDT II’s
liability for such assumed Opioid Claims shall be limited to the U.S. Government Opioids Claim Share,
and the Other Opioid Claims Share. Except as otherwise provided in the Plan and the Opioid MDT II
Documents, the Opioid MDT II shall have all defenses, cross-claims, offsets, and recoupments, as well as
rights of indemnification, contribution, subrogation, and similar rights, regarding such Opioid Claims
(including Opioid Demands) that the Debtors or the Reorganized Debtors has or would have had under
applicable law.

        6.       Institution of Maintenance of Legal and Other Proceedings

         As of the date upon which the Opioid MDT II is established, the Opioid MDT II shall be
empowered to initiate, prosecute, defend and resolve all legal actions and other proceedings related to any
asset, liability or responsibility of the Opioid MDT II, including in respect of the Assigned Third-Party
Claims and Assigned Insurance Rights. The Opioid MDT II shall be empowered to initiate, prosecute,
defend and resolve all such actions in the name of the Debtors or their Estates, in each case if deemed
necessary or appropriate by the Opioid MDT II Trustee(s). The Opioid MDT II shall be responsible for the
payment of all damages, awards, judgments, settlements, expenses, costs, fees and other charges incurred
subsequent to the date upon which the Opioid MDT II is established arising from, or associated with, any
legal action or other proceeding brought pursuant to the foregoing.

X.      Opioid Creditor Trusts and Settlements of Opioid Claims

        1.       Establishment and Purpose of the Opioid Creditor Trusts

The Confirmation Order shall endorse and direct the establishment of the Opioid Creditor Trusts on or prior
to the Effective Date in accordance with the terms of the respective Opioid Creditor Trust Documents. The
Opioid Creditor Trusts shall be independent from the Holders of Claims against the Debtors. The Opioid
Creditor Trusts shall be established for the purposes described in this Plan and any other purposes more
fully described in the Opioid Creditor Trust Documents. Each Opioid Creditor Trust shall, as applicable
and in each case, in accordance with the Plan, the Confirmation Order and the applicable Opioid Creditor
Trust Documents:




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                 a.      hold, manage and invest all funds and other assets received by such Opioid
                         Creditor Trust from the Opioid MDT II, in each case, for the benefit of the
                         beneficiaries of such Opioid Creditor Trust;

                 b.      hold and maintain required reserves for such Opioid Creditor Trust in accordance
                         with the applicable Opioid Creditor Trust Documents;

                 c.      administer, process, resolve and liquidate Opioid Claims channeled to such Opioid
                         Creditor Trust, in each case as provided in the applicable Opioid Creditor Trust
                         Documents, as set forth in Article IV.Y herein; and

                 d.      pay all applicable Opioid Creditor Trust Operating Expenses.

        2.       Appointment and Role of the Opioid Creditor Trustees

In furtherance of and consistent with the purposes of the Opioid Creditor Trusts and the Plan, the Opioid
Creditor Trustees shall have the power and authority to perform all functions on behalf of the respective
Opioid Creditor Trusts. The Opioid Creditor Trustees shall undertake all administrative responsibilities as
are provided in the Plan and the applicable Opioid Creditor Trust Documents. The Opioid Creditor Trustees
shall be responsible for all decisions and duties with respect to the respective Opioid Creditor Trusts. In all
circumstances, each Opioid Creditor Trustee shall be independent and disinterested and shall act in the best
interests of the beneficiaries of such Opioid Creditor Trust, in furtherance of the purpose of such Opioid
Creditor Trust and in accordance with this Plan and the applicable Opioid Creditor Trust Documents. In
accordance with the Opioid Creditor Trust Documents, each Opioid Creditor Trustee shall serve in such
capacity through the earlier of (x) the date that the applicable Opioid Creditor Trust is dissolved in
accordance with the applicable Opioid Creditor Trust Documents and (y) the date such Opioid Creditor
Trustee resigns, is terminated or is otherwise unable to serve for any reason.

The NOAT II Trustee(s) shall be selected by the Governmental Plaintiff Ad Hoc Committee and the MSGE
Group, in consultation with the Debtors. The TAFT II Trustee(s) will be selected by the Tribal Leadership
Committee designated by the MDL Court in the MDL and also identified in the Amended Verified Statement
of the Tribal Leadership Committee Pursuant to Bankruptcy Rule 2019 [Docket No. 1339], in consultation
with the Debtors. The Opioid Creditor Trustees will be selected for (i) the Third-Party Payor Trust by the
Third-Party Payor Group, (ii) the PI Trust by the Ad Hoc Group of Personal Injury Victims and the Future
Claimants Representative, (iii) the Hospital Trust by the Ad Hoc Group of Hospitals, (iv) the NAS
Monitoring Trust by the NAS Committee, and (v) the Emergency Room Physicians Trust by the Emergency
Room Physicians Group, in each case, in consultation with the Debtors. The identity of the initial Opioid
Creditor Trustees shall be disclosed in the Plan Supplement.

        3.       Abatement Distributions

Each Abatement Trust shall, in accordance with the Plan, the Confirmation Order and the applicable
Abatement Trust Documents, make Abatement Distributions to Authorized Recipients for Approved Uses.

        4.       Abatement Trust Monitoring and Reporting Obligations

Each Abatement Trust shall (i) monitor the use of funds received by Abatement Distribution recipients in
accordance with Authorized Abatement Purposes and (ii) prepare and deliver to the Opioid MDT II for
publication annual reports on the disbursement and use of Abatement Distributions from such Abatement
Trust and the compliance by Abatement Distribution recipients with the Authorized Abatement Purposes
set forth in the applicable Abatement Trust Documents. In addition, NOAT II shall prepare or direct the
preparation of annual audited financial reports of NOAT II to be filed with the Bankruptcy Court, delivered
to the States and published on a publicly available website.


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        5.       Assumption of Obligations and Liabilities

In consideration for the property transferred to the Opioid Creditor Trusts pursuant to Articles IV.W.2 and
IV.X.7 and in furtherance of the purposes of the Opioid MDT II, Opioid Creditor Trusts, and the Plan, each
Opioid Creditor Trust and the Ratepayer Account shall assume all liability and responsibility, financial and
otherwise, for any Opioid Claims (including Opioid Demands) channelled to each Opioid Creditor Trust
and the Ratepayer Account, respectively, other than any U.S. Government Opioid Claims, and Other Opioid
Claims, and the Debtors, the Reorganized Debtors, and the Released Parties shall have no liability or
responsibility, financial or otherwise, therefor. Except as otherwise provided in the Plan, the Opioid MDT
II Documents, and the Opioid Creditor Trust Documents, the Opioid Creditor Trusts and the Ratepayer
Account shall have all defenses, cross-claims, offsets, and recoupments, as well as rights of indemnification,
contribution, subrogation, and similar rights, regarding such Opioid Claims (including Opioid Demands)
that the Debtors or the Reorganized Debtors has or would have had under applicable law.

        6.       Institution and Maintenance of Legal and Other Proceedings

As of the date upon which the Opioid Creditor Trusts are established, the Opioid Creditor Trusts shall be
empowered to initiate, prosecute, defend and resolve all legal actions and other proceedings related to any
asset, liability or responsibility of the Opioid Creditor Trusts. Such legal actions and other proceedings
shall be limited solely to those required for the purposes of satisfying the responsibilities of the applicable
Opioid Creditor Trust. The Opioid Creditor Trusts shall be empowered to initiate, prosecute, defend and
resolve all such actions in the name of the Debtors or their Estates, in each case if deemed necessary or
appropriate by the applicable Opioid Creditor Trustee. The Opioid Creditor Trusts shall be responsible for
the payment of all damages, awards, judgments, settlements, expenses, costs, fees and other charges
incurred subsequent to the date upon which the Opioid Creditor Trusts are established arising from, or
associated with, any legal action or other proceeding brought pursuant to the foregoing.

        7.       Opioid MDT II Distributions

The Opioid MDT II shall make the Opioid MDT II Initial Distribution on the Opioid MDT II Initial
Distribution Date and shall make the Opioid MDT II Subsequent Distributions on any Opioid MDT
Subsequent Distribution Date. The Opioid MDT II shall fund the Opioid Attorneys’ Fees Fund with the
Opioid Attorneys’ Fees Fund Share, out of the Public Opioid Creditor Share. The Opioid MDT II shall
also establish and fund the Opioid MDT II Operating Reserve.

        8.       Private Claimants’ Attorneys’ Fees.

        A.       Common Benefit Fund Assessments. On the Effective Date, a Common Benefit Escrow
shall be established and funded by assessments of 5% of each Distribution made by the Private Opioid
Creditor Trusts and the Ratepayer Account. Such assessments will be paid by each Private Opioid Creditor
Trust and the Ratepayer Account in respect of the Distributions made by each Private Opioid Creditor Trust
and the Ratepayer Account to the Common Benefit Escrow and then, upon its establishment, directly to the
Common Benefit Fund established by either the MDL Court or the Bankruptcy Court, as will be reasonably
agreed to by the Governmental Plaintiff Ad Hoc Committee and the MSGE Group, on periodic schedules
for each Private Opioid Creditor Trust and the Ratepayer Account acceptable to the Governmental Plaintiff
Ad Hoc Committee, the MSGE Group, the Ad Hoc Group of Hospitals, the Ratepayer Mediation
Participants, the Ad Hoc Group of Personal Injury Victims, and the NAS Committee, as applicable. The
amounts in the Common Benefit Escrow shall be held in escrow until an order is entered by either the MDL
Court or the Bankruptcy Court, as will be reasonably agreed to by the Governmental Plaintiff Ad Hoc
Committee and the MSGE Group, establishing a Common Benefit Fund, at which time the amounts held
by the Common Benefit Escrow and all subsequent assessments of 5% of each Distribution made by the
Private Opioid Creditor Trusts and the Ratepayer Account shall be transferred to and distributed in


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accordance with the order of either the MDL Court or the Bankruptcy Court, as will be reasonably agreed
to by the Governmental Plaintiff Ad Hoc Committee and the MSGE Group, establishing the Common
Benefit Fund. To the extent a Hospital Opioid Claimant, a Third-Party Payor Opioid Claimant, a Ratepayer
Opioid Claimant, a NAS Monitoring Opioid Claimant, a PI/NAS Opioid Claimant (or any ad hoc group
consisting of Claimants of any of the foregoing) has retained counsel through an contingency fee
arrangement, any contingency fees owed to such contingency counsel payable from Distributions under the
Plan shall be reduced by the full amount payable under this Article IV.X.8. However, the applicable
Claimant and its counsel, in their sole discretion, may agree that an amount up to but not exceeding 40% of
the amount payable under this Article IV.X.8 may be applied to the reimbursement of actual costs and
expenses incurred by such Claimant’s counsel, in which case such agreed cost-reimbursement amount shall
not reduce the contingency fee amounts payable to such counsel. For the avoidance of doubt, if the Debtors,
the Governmental Plaintiff Ad Hoc Committee, and the MSGE Group agree to any reduced or less
restrictive terms concerning the 5% Common Benefit Fund assessment (or its implementation) provided
under any portion of this Article IV.X.8 for any of the Private Opioid Creditor Trusts and the Ratepayer
Account, then such modifications shall apply to each of the groups, mutatis mutandis.

        B.      Hospitals Attorneys’ Fees and Costs. On the Effective Date, the Hospital Attorney Fee
Fund shall be established for the payment of attorneys’ fees and costs of the Ad Hoc Group of Hospitals
with respect to Hospital Opioid Claims. The Hospital Attorney Fee Fund shall be funded with (i) 20% of
each Distribution made by the Hospital Trust to Hospital Opioid Claimants that have not retained (or are
not part of an ad hoc group that has retained) separate counsel through an individual contingency fee
arrangement less (ii) the amount of such Distributions payable to the Common Benefit Escrow and the
Common Benefit Fund under Article IV.Y.7(A). The Hospital Attorney Fee Fund shall be administered by
the Hospital Trust on terms acceptable to the Ad Hoc Group of Hospitals.

         C.      NAS Monitoring Attorneys’ Fees and Costs. On the Effective Date, the NAS Monitoring
Attorney Fee Fund shall be established for the payment of attorneys’ fees and costs of the NAS Committee
with respect to NAS Monitoring Opioid Claimants. The NAS Monitoring Attorney Fee Fund shall be
funded with (i) 20% of each Distribution made by the NAS Monitoring Trust less (ii) the amount of such
Distributions payable to the Common Benefit Escrow and the Common Benefit Fund under Article
IV.X.8.A. Reasonable expert costs incurred by the NAS Committee in the formation of the abatement plan
for the NAS Monitoring Trust shall also be paid by the NAS Monitoring Trust, and, for the avoidance of
doubt, (x) there shall be no amounts payable to the Common Benefit Escrow or the Common Benefit Fund
on account of such cost reimbursements and (y) the 20% limitation on attorneys’ fees shall not apply to the
foregoing reasonable expert costs. The NAS Monitoring Attorney Fee Fund shall be administered by the
NAS Monitoring Trust on terms acceptable to the NAS Committee. Except as expressly set forth in this
Article IV.X.8, nothing in the Plan shall impair or otherwise affect any contingency fee contract between
any Holder of a Claim (or any ad hoc group of Holders of Claims) and such Holder’s (or ad hoc group’s)
counsel.

        D.      Ratepayer Attorneys’ Fees and Costs. On the Effective Date, the Ratepayer Attorney Fee
Fund shall be established for the payment of attorneys’ fees and costs of the Ratepayer Mediation
Participants. The Ratepayer Attorney Fee Fund shall be funded with (i) 20% of each Distribution made by
the Ratepayer Account less (ii) the amount of such Distributions payable to the Common Benefit Escrow
and the Common Benefit Fund under Article IV.X.8.A. The Ratepayer Attorney Fee Fund shall be
administered by the Ratepayer Account as set forth in this Article IV.X.8. Except as expressly set forth in
this Article IV.X.8, nothing in the Plan shall impair or otherwise affect any contingency fee contract
between any Holder of a Claim (or any ad hoc group of Holders of Claims) and such Holder’s (or ad hoc
group’s) counsel.




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          E.     Emergency Room Physicians Attorneys’ Fees and Costs. On the Effective Date, the
Emergency Room Physicians Attorney Fee Fund shall be established for the payment of attorneys’ fees and
costs of the Emergency Room Physicians Opioid Claimants. The Emergency Room Physicians Attorney
Fee Fund shall be funded with (i) 20% of each Distribution made by the Emergency Room Physicians Trust
less (ii) the amount of such Distributions payable to the Common Benefit Escrow and the Common Benefit
Fund under Article IV.X.8.A. The Emergency Room Physicians Attorney Fee Fund shall be administered
by the Emergency Room Physicians Trust as set forth in this Article IV.X.8. Except as expressly set forth
in this Article IV.X.8, nothing in the Plan shall impair or otherwise affect any contingency fee contract
between any Holder of a Claim (or any ad hoc group of Holders of Claims) and such Holder’s (or ad hoc
group’s) counsel.

        F.       PI Claimant Costs and Expenses. The Opioid Creditor Trustee of the PI Trust shall pay or
reimburse, as applicable, the compensation, costs and fees of professionals that represented or advised the
Ad Hoc Group of Personal Injury Victims and the NAS Committee in connection with the Chapter 11
Cases, as and to the extent provided in the PI Trust Documents. Such compensation, costs and fees paid or
reimbursed, as applicable, by the PI Trust shall be deducted from Distributions from the PI Trust Holders
of Allowed PI Opioid Claims and Allowed NAS PI Opioid Claims, in each case pursuant to the PI Trust
Documents. Nothing in this Article IV.X.8 shall impair or otherwise affect any fee contract that is not a
contingency fee contract between the Ad Hoc Group of Personal Injury Victims and its professionals, or
between the NAS Committee and its professionals.

         G.      No Impairment of Contingency Fee Contracts; No Further Assessment. Except as
expressly set forth in this Article IV.X.8, nothing in the Plan shall impair or otherwise affect any
contingency fee contract between any Holder of a Claim (or any ad hoc group of Holders of Claims) and
such Holder’s (or ad hoc group’s) counsel. In this regard, the payment of the assessments described in this
Article IV.X.8 shall be the only payment that such Holders (or their counsel) shall ever have to make to the
Common Benefit Fund with respect to amounts distributed under this Plan, and shall not be subject to any
further or other common benefit or similar assessments with respect to amounts distributed pursuant to the
Plan or payments to attorneys in respect thereof.

        9.      Public Opioid Claimants’ Attorneys’ Fees

         On the Effective Date, the Opioid Attorneys’ Fee Fund shall be established for the payment of costs
and expenses (including attorneys’ fees) of Holders of State Opioid Claims, Municipal Opioid Claims, and
Tribe Opioid Claims. The Opioid Attorneys’ Fee Fund shall be funded with the Opioid Attorneys’ Fee Fund
Share in an aggregate amount not to exceed $[ ] million from periodic distributions of [ ]% of each
distribution of account of the Public Opioid Creditor Share. Payments from the Opioid Attorneys’ Fee Fund
shall be the exclusive means of payment from the Opioid Creditor Trusts for costs and expenses (including
attorneys’ fees) of all Holders of State Opioid Claims, Municipal Opioid Claims, and Tribe Opioid Claims
(or any ad hoc group thereof) or any attorney therefor, other than amounts paid in accordance with the order
of the Bankruptcy/MDL Court establishing the Common Benefit Fund and any amounts paid to counsel to
the Governmental Plaintiff Ad Hoc Committee and the MSGE Group in accordance with the Plan and the
Restructuring Support Agreement.

Y.      Administration of Opioid Claims

        All Opioid Claims will be administered, liquidated and discharged pursuant to the applicable
Opioid MDT II Documents or Opioid Creditor Trust Documents. The Opioid MDT II Trustee(s) and
Opioid Creditor Trustee(s), as applicable, shall determine the eligibility, amount and Allowance of the
applicable Opioid Claims in accordance with the applicable Opioid MDT II Documents or Opioid Creditor
Trust Documents. The determination by the applicable Opioid MDT II Trustee(s) or Opioid Creditor
Trustee(s) of the eligibility, amount and Allowance of each Opioid Claim (except for any Other Opioid


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Claims) shall be final and binding, and shall not be subject to any challenge or review of any kind, by any
court or other Person, except as set forth herein and in the Opioid MDT II Documents and Opioid Creditor
Trust Documents. Distributions in respect of Allowed Opioid Claims shall be made by the applicable
Opioid MDT II Trustee(s) or Opioid Creditor Trustee(s), in accordance with the trust distribution
procedures and other provisions of the applicable Opioid MDT II Documents or Opioid Creditor Trust
Documents, from the applicable Opioid MDT II or Opioid Creditor Trust. Distributions from the Opioid
MDT II, Opioid Creditor Trusts, and the Ratepayer Account shall be the sole source of recovery for Holders
of Allowed Opioid Claims, and no Holder of an Opioid Claim shall have any other or further recourse to
the Opioid Creditor Trusts, the Opioid MDT II, the Debtors or their Estates, the Reorganized Debtors,
NewCo, any NewCo Subsidiaries, or the Released Parties. Holders of disallowed Opioid Claims shall have
no recourse to the Opioid Creditor Trusts, the Ratepayer Account, the Opioid MDT II, the Debtors or their
Estates, the Reorganized Debtors, NewCo, any NewCo Subsidiaries, or the Released Parties in respect of
such disallowed Claims.

        1.      Administration of Other Opioid Claims

        The Opioid MDT II Administrator shall implement procedures, subject to Bankruptcy Court
approval, for the submission of Other Opioid Claims, including notice procedures with respect thereto, and
for the resolution of such Other Opioid Claims, which shall permit (but not require) that any litigation
thereon occur in the Bankruptcy Court.

         All Other Opioid Claims shall be Disputed Claims under the Plan. Only Other Opioid Claims that
become Allowed Claims pursuant to the procedures contained in Article IV.Y.2 herein shall be entitled to
distributions from the Other Opioid Claims Reserve, Pro Rata with other Allowed Other Opioid
Claims. For the avoidance of doubt, Other Opioid Claims, whether Allowed or disallowed, shall not be
entitled to any distributions from the Opioid MDT II or any Abatement Trust or other Opioid Creditor Trust,
other than from the Other Opioid Claims Reserve. Subject to definitive guidance from the IRS or a court
of competent jurisdiction to the contrary, the Opioid MDT II shall treat the Other Opioid Claims Reserve
as a “disputed ownership fund” governed by Treasury Regulation section 1.468B-9 and to the extent
permitted by applicable law, report consistently with the foregoing for state and local income tax purposes.
All parties (including, to the extent applicable, the Opioid MDT II and Holders of Other Opioid Claims)
shall be required to report for tax purposes consistently with the foregoing.

        2.      Objections to Other Opioid Claims

        The Opioid MDT II Administrator shall be entitled to object to Other Opioid Claims. Any
objections to Other Opioid Claims shall be served and filed on or before the later of (i) two-hundred and
seventy (270) days after the Effective Date and (ii) such later date as may be fixed by the Bankruptcy Court
(as the same may be extended by the Bankruptcy Court for cause shown). The Opioid MDT II
Administrator shall be entitled to use omnibus objections in compliance with Local Rule 3007-1 and may
seek Bankruptcy Court approval to establish additional objection or estimation procedures as the Opioid
MDT II Administrator believes appropriate.

        3.      Resolution of Disputed Other Opioid Claims

       On and after the Effective Date the Opioid MDT II Administrator shall have the authority to
compromise, settle, otherwise resolve, or withdraw any objections to Disputed Other Opioid Claims and to
compromise, settle, or otherwise resolve any Disputed Other Opioid Claims without approval of the
Bankruptcy Court.




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        4.      Disallowance of Other Opioid Claims

         Any Other Opioid Claims held by an Entity from which property is recoverable under sections 542,
543, 550, or 553 of the Bankruptcy Code or that is a transferee of a transfer avoidable under section 522(f),
522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code, as determined by a Final Order, shall
be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and Holders of such Other Opioid
Claims may not receive any distributions on account of such Other Opioid Claims until such time as such
Causes of Action against that Entity have been settled or a Final Order with respect thereto has been entered
and all sums due, if any, to the Debtors by that Entity have been turned over or paid to the Debtors or the
Reorganized Debtors.

        5.      Estimation of Other Opioid Claims

         The Opioid MDT II Administrator may at any time request that the Bankruptcy Court estimate any
Other Opioid Claims pursuant to section 502(c) of the Bankruptcy Code for any reason or purpose,
regardless of whether the Opioid MDT II Administrator has previously objected to such Other Opioid Claim
or whether the Bankruptcy Court has ruled on any such objection. The Bankruptcy Court shall retain
jurisdiction to estimate any Other Opioid Claim at any time during litigation concerning any objection to
any Other Opioid Claim, including, during the pendency of any appeal relating to any such objection. If
the Bankruptcy Court estimates any Other Opioid Claim, that estimated amount shall constitute the
maximum limitation on such Other Opioid Claim, and the Opioid MDT II Administrator may pursue
supplementary proceedings to object to the ultimate allowance of such Other Opioid Claim. All of the
aforementioned objection, estimation and resolution procedures are cumulative and not exclusive of one
another. Other Opioid Claims may be estimated and subsequently compromised, settled, withdrawn, or
resolved by any mechanism approved by the Bankruptcy Court. Notwithstanding section 502(j) of the
Bankruptcy Code, in no event shall any holder of an Other Opioid Claim that has been estimated pursuant
to section 502(c) of the Bankruptcy Code or otherwise be entitled to seek reconsideration of such Other
Opioid Claim unless the holder of such Other Opioid Claim has filed a motion requesting the right to seek
such reconsideration on or before twenty (20) calendar days after the date such Other Opioid Claim is
estimated by the Bankruptcy Court.

       The Opioid MDT II Administrator reserves the right to reduce the Other Opioid Claims Reserve in
a manner consistent with any such estimation.

        6.      Periodic Distributions from Other Opioid Claims Reserve

         The Opioid MDT II Trustee(s) shall make distributions from time to time in their discretion from
the Other Opioid Claims Reserve to holders of Allowed Other Opioid Claims, upon their determination that
after distribution, and consistent with and subject to section 1123(a)(4) of the Bankruptcy Code, the Other
Opioid Claims Reserve shall entitle such holder an aggregate amount equal to the Pro Rata Share of each
distribution that would have been made to holders of Other Opioid Claims that remain Disputed and allocate
such amount to the Other Opioid Claims Reserve as if each such Other Opioid Claim that remains Disputed
were Allowed Claims, for each Other Opioid Claim in the amount equal to the least of (i) the filed amount
of such Other Opioid Claim, (ii) the amount determined by a Final Order of the Bankruptcy Court for
purposes of fixing the amount to be retained for such Other Opioid Claim, and (iii) such other amount as
may be agreed upon by the Holder of such Other Opioid Claim and the Opioid MDT II Administrator.

Z.      Authority of the Debtors

        Effective on the Confirmation Date, the Debtors shall be empowered and authorized to take or
cause to be taken, prior to the Effective Date, all actions necessary or appropriate to achieve the Effective
Date and enable the Reorganized Debtors to implement effectively the provisions of the Plan, the


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Confirmation Order, the Scheme of Arrangement, the Irish Confirmation Order, the Restructuring
Transactions, the Opioid MDT II Documents, and the Opioid Creditor Trust Documents.

AA.     Industry-Wide Document Disclosure Program

         The VI-Specific Debtors and/or the Reorganized VI-Specific Debtors shall participate in an
industry-wide document disclosure program by disclosing publicly a subset of its litigation documents,
subject to scope and protocols described below.

         1.     Documents Subject to Public Disclosure

         The following documents shall be produced by the VI-Specific Debtors and/or the Reorganized
VI-Specific Debtors to the Minnesota State Attorney General, on behalf of the Settling States, and are
subject to public disclosure in perpetuity as part of an industry-wide document disclosure program, except
for the redactions authorized by Article IV.AA.2:

        (a)     All documents, indices, and privilege logs the VI-Specific Debtors produced to any of the
                Settling States prior to the Petition Date, including in litigation and in response to
                investigative demands or other formal or informal requests related to opioids.

        (b)     All documents, indices, and privilege logs the VI-Specific Debtors produced in the Opioid
                Multi-District Litigation (In re Nat’l Prescription Opiate Litig., No. 1:17-MD-2804 (N.D.
                Ohio)) and the New York litigation (In re Opioid Litigation, 400000/2017 (Suffolk
                County)) prior to the Petition Date.

        (c)     All documents, indices, and privilege logs the VI-Specific Debtors have produced in other
                litigation related to opioids, excluding patent litigation.

        (d)     All filings, motions, orders, court transcripts, deposition transcripts, and exhibits in the
                possession, custody, or control of the VI-Specific Debtors and/or Reorganized VI-Specific
                Debtors from litigation related to opioids, excluding patent litigation.

        All documents produced under this provision shall be provided in electronic format with all related
metadata. The VI-Specific Debtors and/or the Reorganized VI-Specific Debtors and the Minnesota State
Attorney General, on behalf of the Settling States, will work cooperatively to develop technical
specifications for the productions.

         2.     Information That May Be Redacted

        The following categories of information are exempt from public disclosure:

        (a)     Information subject to trade secret protection. A “trade secret” is information, including a
                formula, pattern, compilation, program, device, method, technique or process, that (i)
                derives independent economic value, actual or potential, from not being generally known
                to the public or to other persons who can obtain economic value from its disclosure and
                use; and (ii) is the subject of efforts that are reasonable under the circumstances to maintain
                its secrecy. Even if the information falls within the definition, “trade secret” does not
                include information reflecting sales or promotional strategies, tactics, targeting, or data, or
                internal communications related to sales or promotion.

        (b)     Confidential personal information. “Confidential personal information” means individual
                Social Security or tax identification numbers, personal financial account numbers, passport
                numbers, driver license numbers, home addresses, home telephone numbers, personal



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                 email addresses, and other personally identifiable information protected by law from
                 disclosure. “Confidential personal information” does not include the names of the VI-
                 Specific Debtors’ and/or the Reorganized VI-Specific Debtors’ officers, directors,
                 employees, agents, or attorneys.

        (c)      Information that is inappropriate for public disclosure because it is subject to personal
                 privacy interests recognized by law (e.g., HIPAA), or contractual rights of third parties that
                 the VI-Specific Debtors and/or the Reorganized VI-Specific Debtors may not abrogate.

        (d)      Information regarding the VI-Specific Debtors’ and/or the Reorganized VI-Specific
                 Debtors’ employees’ personal matters unrelated to the VI-Specific Debtors and/or the
                 Reorganized VI-Specific Debtors, including emails produced by the VI-Specific Debtors’
                 custodians discussing vacation or sick leave, family, or other personal matters.

          3.     Redaction of Documents Containing Protected Information

         Whenever a document contains information subject to a claim of exemption pursuant to
Article IV.AA.2, the VI-Specific Debtors and/or the Reorganized VI-Specific Debtors shall produce the
document in redacted form. Such redactions shall indicate that trade secret and/or private information, as
appropriate, has been redacted. Redactions shall be limited to the minimum redactions possible to protect
the legally recognized individual privacy interests and trade secrets identified above.

         The VI-Specific Debtors and/or the Reorganized VI-Specific Debtors shall produce to the
Minnesota State Attorney General, on behalf of the Settling States, a log noting each document redacted.
The log shall also provide fields stating the basis for redacting the document, with sufficient detail to allow
an assessment of the merits of the assertion. The log is subject to public disclosure in perpetuity. The log
shall be produced simultaneously with the production of documents required by Article IV.AA.7.

         In addition to the redacted documents, the VI-Specific Debtors and/or the Reorganized VI-Specific
Debtors shall, upon any Settling State’s request, also produce all documents identified in Article IV.AA.1
in unredacted form to such Settling State at the same time. The redacted documents produced by the VI-
Specific Debtors and/or the Reorganized VI-Specific Debtors may be publicly disclosed in accordance with
Article IV.AA.6. The unredacted documents produced by the VI-Specific Debtors and/or the Reorganized
VI-Specific Debtors to a Settling State shall be available only to such Settling State unless the VI-Specific
Debtors’ and/or the Reorganized VI-Specific Debtors’ claim of exemption under Article IV.AA.2 is
successfully challenged in accordance with Article IV.AA.4 or the trade secret designation expires in
accordance with Article IV.AA.5.

          4.     Challenges to Redaction

        Anyone, including members of the public and the press, may challenge the appropriateness of
redactions by providing notice to the VI-Specific Debtors and/or the Reorganized VI-Specific Debtors. If
the challenge is not resolved by agreement, it must be resolved in the first instance by a third party jointly
appointed by the Minnesota State Attorney General, on behalf of the Settling States, and the VI-Specific
Debtors and/or the Reorganized VI-Specific Debtors to resolve such challenges. The decision of the third
party may be appealed to a court with enforcement authority over the Opioid Operating Injunction. If not
so appealed, the third party’s decision is final. In connection with such challenge, a Settling State may
provide copies of relevant unredacted documents to the parties or the decisionmaker, subject to appropriate
confidentiality and/or in camera review protections, as determined by the decisionmaker.




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            5.     Review of Trade Secret Redactions

        Ten years after the VI-Specific Debtors and/or the Reorganized VI-Specific Debtors complete the
production of documents in accordance with this Article IV.AA, the Reorganized VI-Specific Debtors shall
review all trade secret assertions made in accordance with Article IV.AA.2 and all non-manufacturing trade
secret designations shall expire. The newly unredacted documents may then be publicly disclosed by the
Minnesota State Attorney General, on behalf of the Settling States, in accordance with Article IV.AA.6.
The Reorganized VI-Specific Debtors shall produce to the Minnesota State Attorney General, on behalf of
the Settling States, an updated redaction log justifying its designations of the remaining trade secret
redactions as manufacturing trade secrets.

            6.     Public Disclosure through a Document Repository

         The Minnesota State Attorney General, on behalf of the Settling States, may publicly disclose all
documents covered by this Article IV.AA through a public repository maintained by a governmental, non-
profit, or academic institution. The Minnesota State Attorney General, on behalf of the Settling States, may
specify the terms of any such repository’s use of those documents, including allowing the repository to
index and make searchable all documents subject to public disclosure, including the metadata associated
with those documents. When providing the documents covered by this Article IV.AA to a public repository,
no Settling State shall include or attach within the document set any characterization of the content of the
documents. For the avoidance of doubt, nothing in this paragraph shall prohibit any Settling State from
publicly discussing the documents covered by this Article IV.AA.

            7.     Timeline for Production

        The VI-Specific Debtors and/or the Reorganized VI-Specific Debtors shall produce all documents
required by Article IV.AA.1 within nine months from the Petition Date.

            8.     Costs

        The VI-Specific Debtors and/or the Reorganized VI-Specific Debtors shall be responsible for their
allocable share of all reasonable costs and expenses associated with the public disclosure and storage of the
VI-Specific Debtors’ and/or the Reorganized VI-Specific Debtors’ documents through any public
repository.
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BB.       Monitor

          1.       Appointment and Term

         The Confirmation Order will provide for the appointment of the Monitor for a term of five years
from the Petition Date. If, at the conclusion of the Monitor’s five-year term, the Settling States determine
in good faith and in consultation with the Monitor that the Reorganized VI-Specific Debtors have failed to
achieve and maintain substantial compliance with the substantive provisions of the Opioid Operating
Injunction, the Monitor’s engagement shall be extended for an additional term of up to two years, subject
to the right of the Reorganized VI-Specific Debtors to commence legal proceedings for the purpose of
challenging the decision of the Settling States and to seek preliminary and permanent injunctive relief with
respect thereto.



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      This section is qualified in its entirety by the Voluntary Injunction and the Opioid Operating Injunction, and for
      any inconsistency between this section and the Voluntary Injunction and the Opioid Operating Injunction, the
      Voluntary Injunction and the Opioid Operating Injunction, as applicable, will govern.


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        2.      Identity

        The Monitor for the full term shall be the Chapter 11 Monitor in place as of the Effective Date
unless justifiable cause exists and the Monitor Agreement shall remain in full force and effect upon the
Effective Date, unless amended or superseded by further order of the Bankruptcy Court, which order may
be the Confirmation Order. For purposes of this paragraph, justifiable cause exists if the Monitor resigns
or a court finds that the Monitor: (a) develops a conflict of interest that would undermine public confidence
in the objectivity of his or her work; (b) has unreasonably failed to fulfill his or her material obligations
under the Opioid Operating Injunction or pursuant to his or her work plan, (c) has engaged in any act of
dishonesty, misappropriation, embezzlement, intentional fraud, or similar conduct; or (d) has engaged in an
intentional act of bias or prejudice in favor or against either party. Justifiable cause shall not include the
Reorganized VI-Specific Debtors’ or the Settling States’ disagreements with the decisions of the Monitor,
unless there is a clear pattern in the Monitor’s decisions that demonstrates that the Monitor has not been
acting as an independent third party in rendering decisions.

         If a new Monitor must be appointed during the term, the Reorganized VI-Specific Debtors and the
Settling States shall exchange pools of recommended candidates within 30 days of the Monitor’s departure.
The pools shall each contain the names of three individuals, groups of individuals or firms and shall be
based in part on experience with internal investigations or the investigative process (which may include
prior monitorship or oversight experience) and expertise in the pharmaceutical industry, relevant regulatory
regimes, and internal controls and compliance systems.

         After receiving the pools of Monitor candidates, the Reorganized VI-Specific Debtors and the
Settling States shall have the right to meet with the candidates and conduct appropriate interviews of the
personnel who are expected to work on the project. The Reorganized VI-Specific Debtors and the Settling
States may veto any of the candidates, and must do so in writing within 30 days of receiving the pool of
candidates. If all three candidates within a pool are rejected by either the Reorganized VI-Specific Debtors
or the Settling States, the party who rejected the three candidates may direct the other party to provide up
to three additional qualified candidates within 15 days of receipt of said notice.

         If the Reorganized VI-Specific Debtors or the Settling States do not object to a proposed candidate,
the Reorganized VI-Specific Debtors or the Settling States shall so notify the other in writing within 30
days of receiving the pool of candidates. If more than one candidate remains, the Settling States shall select
the Monitor from the remaining candidates.

        3.      Duties and Reporting

         The Monitor shall be responsible for ensuring that the Reorganized VI-Specific Debtors (and any
successors during the Monitor’s term to the Reorganized VI-Specific Debtors’ business operations relating
to the manufacture and sale of opioid product(s) in the United States and its territories) are in compliance
with the Opioid Operating Injunction. The Reorganized VI-Specific Debtors and their professionals and
representatives shall cooperate and reasonably respond to requests by the Monitor in the performance of its
responsibilities, including reasonable requests for access to relevant books and records of the Reorganized
VI-Specific Debtors. Subject to any legally recognized privilege and as reasonably necessary to perform
his or her duties, the Monitor shall have full and complete access to the Reorganized VI-Specific Debtors’
personnel, books, records, and facilities, and to any other relevant information, as the Monitor may request.
The Reorganized VI-Specific Debtors shall develop such information as the Monitor may request and shall
fully, completely and promptly cooperate with the Monitor.

       The manner in which the Monitor will carry out his or her responsibilities, the general scope of
information that the Monitor will seek to review in fulfilling his or her duties and, where applicable, the
methodologies to be utilized shall be consistent with the work plan used by the Chapter 11 Monitor as of



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the Effective Date (the “Work Plan”). The Reorganized VI-Specific Debtors, the Settling States, and the
Monitor may jointly agree to revisions to the Work Plan.

        The Monitor shall file a report with the Settling States regarding compliance by the Reorganized
VI-Specific Debtors with the terms of the Opioid Operating Injunction every 90 days after the Effective
Date (the “Monitor Reports”). The Reorganized VI-Specific Debtors and the Settling States may jointly
agree to decrease the frequency of Monitor Reports to every 180 days. To the extent permissible by state
public record laws, these reports (in whole or in part) may be filed subject to restriction from public
disclosure. The content of Monitor Reports shall be set forth in the Work Plan.

        Prior to issuing a Monitor Report, the Monitor shall confer with Reorganized VI-Specific Debtors
and the Settling States, either jointly or separately (in the discretion of the Monitor), regarding his or her
preliminary findings and the reasons for those findings. The Reorganized VI-Specific Debtors shall have
the right to submit written comments to the Monitor, which shall be appended to the final version of the
Monitor Report.

        4.      Relief and Cure

        In furtherance of the responsibilities of the Monitor, the Monitor shall be authorized to seek relief
from the Bankruptcy Court, to the extent necessary to carry out its obligations hereunder.

        In the event a Monitor Report identifies a potential violation of the Opioid Operating Injunction,
the Reorganized VI-Specific Debtors shall have the right to cure any potential violation within 30 days.

        5.      Professionals and Costs

        The Monitor shall have the authority to employ, upon written consent from the Reorganized VI-
Specific Debtors, such consent not to be unreasonably withheld, delayed or conditioned, such consultants,
accountants, attorneys, and other representatives and assistants as are reasonably necessary to carry out the
Monitor’s responsibilities. Requests to employ such individuals will be decided upon no later than ten (10)
days from their receipt.

        All compensation, costs and fees of the Monitor and any professionals retained by the Monitor shall
be paid by the Reorganized VI-Specific Debtors.

        6.      Liability

        The Monitor shall serve without bond or other security. The Monitor shall have no obligation,
responsibility, or liability for the operations of the Reorganized VI-Specific Debtors.

CC.     Trade Claimant Agreements

         As to any Trade Claimant that agrees by so indicating on its Ballot to maintain with the Debtors
Favorable Trade Terms, the Plan shall constitute (i) if applicable, an amendment to such Trade Claimant’s
assumed or assumed and assigned Executory Contract between any Debtor and such Trade Claimant,
instituting the foregoing trade terms in such Executory Contract, or (ii) otherwise, a contractual agreement
by such Trade Claimant to maintain such trade terms for at least twelve (12) months after the Effective
Date.

DD.     Federal/State Acthar Settlement

        As of the Effective Date, the Federal/State Acthar Settlement Agreements shall be executed by
Parent, Mallinckrodt ARD LLC, the U.S. Government, and the States. On the Effective Date or as soon as
reasonably practicable thereafter, the Debtors and/or the Reorganized Debtors will make the Initial


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Federal/State Acthar Settlement Payment, and thereafter, the Reorganized Debtors will make each of the
Federal/State Acthar Deferred Cash Payments; provided, that the Federal/State Acthar Deferred Cash
Payments shall bear interest at a variable rate equal to the nominal interest rate on special issues of
government securities to the Social Security trust funds (published and available at
www.ssa.gov/oact/ProgData/newIssueRates.html), measured as of each payment date and accruing from
September 21, 2020.

EE.     Retainers of Ordinary Course Professionals

        Upon the Effective Date, each Ordinary Course Professional may apply its retainer, if any, against
any outstanding prepetition balances owed by the Debtors to such Ordinary Course Professional.

FF.     No Substantive Consolidation

        This Plan is being proposed as a joint chapter 11 plan of the Debtors for administrative purposes
only and constitutes a separate chapter 11 plan for each Debtor. This Plan is not premised upon the
substantive consolidation of the Debtors with respect to the Classes of Claims or Interests set forth in this
Plan.

                                                 Article V.

                   TREATMENT OF EXECUTORY CONTRACTS
      AND UNEXPIRED LEASES; EMPLOYEE BENEFITS; AND INSURANCE POLICIES

A.      Assumption of Executory Contracts and Unexpired Leases

        On the Effective Date, except as otherwise provided in the Plan, each of the Executory Contracts
and Unexpired Leases not previously rejected, assumed, or assumed and assigned pursuant to an order of
the Bankruptcy Court will be deemed assumed as of the Effective Date pursuant to sections 365 and 1123
of the Bankruptcy Code except any Executory Contract or Unexpired Lease (1) identified on the Rejected
Executory Contract/Unexpired Lease List (which shall initially be filed with the Bankruptcy Court on the
Plan Supplement Filing Date) as an Executory Contract or Unexpired Lease to be rejected, (2) that is the
subject of a separate motion or notice to reject pending as of the Confirmation Date, or (3) that previously
expired or terminated pursuant to its own terms (disregarding any terms the effect of which is invalidated
by the Bankruptcy Code).

        Entry of the Confirmation Order by the Bankruptcy Court shall constitute an order approving the
assumption of the Restructuring Support Agreement pursuant to sections 365 and 1123 of the Bankruptcy
Code and effective on the occurrence of the Effective Date. The Restructuring Support Agreement shall be
binding and enforceable against the parties to the Restructuring Support Agreement in accordance with its
terms. For the avoidance of doubt, the assumption of the Restructuring Support Agreement herein shall not
otherwise modify, alter, amend, or supersede any of the terms or conditions of the Restructuring Support
Agreement including, without limitation, any termination events or provisions thereunder.

         Entry of the Confirmation Order by the Bankruptcy Court shall constitute an order approving the
assumptions of the Executory Contracts and Unexpired Leases pursuant to sections 365(a) and 1123 of the
Bankruptcy Code and effective on the occurrence of the Effective Date. Each Executory Contract and
Unexpired Lease assumed pursuant to the Plan or by Bankruptcy Court order, and not assigned to a third
party on or prior to the Effective Date, shall re-vest in and be fully enforceable by the applicable
Reorganized Debtor in accordance with its terms, except as such terms may have been modified by order
of the Bankruptcy Court. To the maximum extent permitted by law, to the extent any provision in any
Executory Contract or Unexpired Lease assumed pursuant to the Plan restricts or prevents, or purports to
restrict or prevent, or is breached or deemed breached by, the assumption of such Executory Contract or


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Unexpired Lease or the execution of any other Restructuring Transaction (including any “change of
control” provision), then such provision shall be deemed modified such that the transactions contemplated
by the Plan shall not entitle the non-Debtor party thereto to terminate such Executory Contract or Unexpired
Lease or to exercise any other default-related rights with respect thereto. For the avoidance of doubt,
consummation of the Restructuring Transactions shall not be deemed an assignment of any Executory
Contract or Unexpired Lease of the Debtors, notwithstanding any change in name, organizational form, or
jurisdiction of organization of any Debtor in connection with the occurrence of the Effective Date.

         Notwithstanding anything to the contrary in the Plan (except for the Consent Rights of Supporting
Parties in Article I.C), the Debtors or Reorganized Debtors, as applicable, reserve the right to amend or
supplement the Rejected Executory Contract/Unexpired Lease List in their discretion prior to the
Confirmation Date (or such later date as may be permitted by Article V.B or Article V.E below), provided
that the Debtors shall give prompt notice of any such amendment or supplement to any affected counterparty
and such counterparty shall have no less than seven (7) days to object thereto on any grounds.

B.      Cure of Defaults for Assumed Executory Contracts and Unexpired Leases

        Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed
pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment
of the Cure Cost in Cash on the Effective Date or as soon as reasonably practicable, subject to the limitation
described below, or on such other terms as the parties to such Executory Contract or Unexpired Lease may
otherwise agree. No later than the Plan Supplement Filing Date, to the extent not previously Filed with the
Bankruptcy Court and served on affected counterparties, the Debtors shall provide notices of the proposed
assumption and proposed Cure Costs to be sent to applicable counterparties, together with procedures for
objecting thereto and for resolution of disputes by the Bankruptcy Court. Any objection by a contract or
lease counterparty to a proposed assumption or related Cure Cost must be Filed, served, and actually
received by the Debtors by the date on which objections to confirmation are due (or such other date as may
be provided in the applicable assumption notice).

         Any counterparty to an Executory Contract or Unexpired Lease that fails to object timely to the
proposed assumption or Cure Cost will be deemed to have assented to such assumption and Cure Cost.
Any timely objection to a proposed assumption or Cure Cost will be scheduled to be heard by the
Bankruptcy Court at the Reorganized Debtors’ first scheduled omnibus hearing after the date that is ten
(10) days after the date on which such objection is Filed. In the event of a dispute regarding (1) the amount
of any Cure Cost, (2) the ability of the Reorganized Debtors or any assignee to provide “adequate assurance
of future performance” within the meaning of section 365(b) of the Bankruptcy Code under any Executory
Contract or the Unexpired Lease, and/or (3) any other matter pertaining to assumption and/or assignment,
then such dispute shall be resolved by a Final Order; provided that the Debtors or Reorganized Debtors
may settle any such dispute and shall pay any agreed upon Cure Cost without any further notice to any
party or any action, order, or approval of the Bankruptcy Court; provided, further, that notwithstanding
anything to the contrary herein (except for the Consent Rights of Supporting Parties in Article I.C), the
Reorganized Debtors reserve the right to reject any Executory Contract or Unexpired Lease previously
designated for assumption within forty five (45) days after the entry of a Final Order resolving an objection
to the assumption or to the proposed Cure Cost.

         Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall
result in the full satisfaction and cure of any Claims and defaults, whether monetary or nonmonetary,
including defaults of provisions restricting the change in control or ownership interest composition or other
bankruptcy-related defaults, under any assumed Executory Contract or Unexpired Lease arising at any time
prior to the effective date of assumption. Notwithstanding the foregoing, the Debtors and the Reorganized
Debtors, as applicable, will continue to honor all postpetition and post-Effective Date obligations under any
assumed Executory Contracts and Unexpired Leases in accordance with their terms, regardless of whether


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such obligations are listed as a Cure Cost, and whether such obligations accrued prior to or after the
Effective Date, and neither the payment of Cure Costs nor entry of the Confirmation Order shall be deemed
to release the Debtors or the Reorganized Debtors, as applicable, from such obligations.

C.      Claims Based on Rejection of Executory Contracts and Unexpired Leases

         Unless otherwise provided by a Bankruptcy Court order, any Proofs of Claim asserting Claims
arising from the rejection of the Executory Contracts and Unexpired Leases pursuant to the Plan or
otherwise must be filed with the Notice and Claims Agent within thirty (30) days of the effective date of
the rejection of the applicable Executory Contract or Unexpired Lease. Any Proofs of Claim arising from
the rejection of the Executory Contracts and Unexpired Leases that are not timely filed shall be
automatically disallowed without further order of the Bankruptcy Court. All Allowed Claims arising
from the rejection of the Executory Contracts and Unexpired Leases shall constitute General Unsecured
Claims and shall be treated in accordance with Article III.B of the Plan.

D.      Contracts and Leases Entered into After the Petition Date

        Contracts and leases entered into after the Petition Date by any Debtor, including any Executory
Contracts and Unexpired Leases assumed by any Debtor, will be performed by such Debtor or Reorganized
Debtor, as applicable, liable thereunder in the ordinary course of business. Accordingly, such contracts and
leases (including any Executory Contracts and Unexpired Leases assumed or assumed and assigned
pursuant to section 365 of the Bankruptcy Code) will survive and remain unaffected by entry of the
Confirmation Order.

E.      Reservation of Rights

         Neither anything contained in the Plan nor the Debtors’ delivery of a notice of proposed assumption
and proposed Cure Cost to any contract and lease counterparties shall constitute an admission by the
Debtors that any such contract or lease is in fact an Executory Contract or Unexpired Lease or that any
Reorganized Debtor has any liability thereunder. If there is a dispute regarding whether a contract or lease
is or was executory or unexpired at the time of assumption, the Debtors or Reorganized Debtors, as
applicable, shall have thirty (30) days following entry of a Final Order resolving such dispute to alter their
treatment of such contract or lease. If there is a dispute regarding a Debtor’s or Reorganized Debtor’s
liability under an assumed Executory Contract or Unexpired Lease, the Reorganized Debtors shall be
authorized to move to have such dispute heard by the Bankruptcy Court pursuant to Article X.C of the Plan.

F.      Indemnification Provisions and Reimbursement Obligations

         On and as of the Effective Date, and except as prohibited by applicable law and subject to the
limitations set forth herein, the Indemnification Provisions will be assumed and irrevocable and will survive
the effectiveness of the Plan, and the New Governance Documents will provide to the fullest extent
provided by law for the indemnification, defense, reimbursement, exculpation, and/or limitation of liability
of, and advancement of fees and expenses to the Debtors’ and the Reorganized Debtors’ current and former
directors, officers, equity holders, managers, members, employees, accountants, investment bankers,
attorneys, other professionals, agents of the Debtors, and such current and former directors’, officers’,
equity holders’, managers’, members’ and employees’ respective Affiliates (each of the foregoing solely in
their capacity as such) at least to the same extent as the Indemnification Provisions, against any Claims or
Causes of Action whether direct or derivative, liquidated or unliquidated, fixed or contingent, disputed or
undisputed, matured or unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted, and,
notwithstanding anything in the Plan to the contrary, none of the Reorganized Debtors will amend and/or
restate the New Governance Documents before or after the Effective Date to terminate or adversely affect
any of the Indemnification Provisions.



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G.      Co-Defendant Indemnification Obligations

         As of the Effective Date, any term of any policy, contract or other obligation applicable to any
Debtor shall be void and of no further force or effect to the maximum extent permitted by applicable law
and to the extent such policy, contract or other obligation creates an obligation of any Debtor, or gives rise
to a right under any Insurance Contract of any Debtor, for the indemnification or reimbursement of any
Person other than the Opioid MDT II for costs, losses, damages, fees, expenses or any other amounts
whatsoever relating to or arising from any actual or potential litigation or dispute, whether accrued or
unaccrued, asserted or unasserted, existing or hereinafter arising, based on or relating to or in connection
with, or in any manner arising from, in whole or in part, any Opioid Claim or any Opioid Demand
(excluding any indemnification obligations expressly assumed pursuant to, or otherwise provided for in,
the Plan). Notwithstanding the foregoing, nothing herein shall interfere with the Assigned Insurance Rights
or the Opioid MDT II’s exercise of the Assigned Insurance Rights.

         The Plan shall, to the maximum extent permitted by applicable law, constitute (i) an amendment to
each assumed or assumed and assigned contract to sever any and all provisions thereof that give rise to any
obligation or right described in this Article V.G and (ii) an agreement by each counterparty to release any
and all obligations and liabilities arising under or relating to such severed provisions and any and all Co-
Defendant Claims and Opioid Claims (including Opioid Demands) arising under such contract, including
any Co-Defendant Claims and Opioid Claims (including Opioid Demands) that might otherwise be elevated
to administrative status through assumption of such contract. The severed portion of each such contract
shall be rejected as of the Effective Date, and any Claims resulting from such rejection shall be forever
released and discharged, with no distribution on account thereof. Except to the extent included in the
Rejected Executory Contract/Unexpired Lease List, each such contract, solely as amended pursuant to this
Article V.G, shall be assumed by the applicable Debtor and, as applicable, may be assigned to NewCo (or
one of the NewCo Subsidiaries). No counterparty or any other Person shall have or retain any Claim, Cause
of Action or other right of recovery against the Debtors or any other Person, including without limitation
NewCo or any Insurer, except for the Other Opioid Claims Reserve (if applicable), for or relating to any
obligation or right described in this Article V.G, any Co-Defendant Claim or the amendment of any
contract, or the severance and rejection of obligations and liabilities in connection therewith, described in
this Article V.G. On the Effective Date, all Co-Defendant Claims arising under or related to any contract
of the Debtors shall be released and discharged to the maximum extent permitted by applicable law with
no consideration on account thereof, and all Proofs of Claim in respect thereof shall be deemed disallowed
and expunged, without further notice, or action, order or approval of the Bankruptcy Court or any other
Person, and any Opioid Claims arising under or related to any contract of the Debtors will be treated in
accordance with Article III of the Plan. For the avoidance of doubt, no Co-Defendant Claim or Opioid
Claim will be assumed by the Reorganized Debtors or NewCo, elevated to administrative priority status or
otherwise receive modified treatment as a result of the assumption or assumption and assignment of any
contract pursuant to this Article V.G.

         The Debtors shall provide notice to all known counterparties to any Executory Contract or
Unexpired Lease of this Article V.G. To the extent an objection is not timely filed and properly served on
the Debtors with respect to any contract of the Debtors in accordance with the Disclosure Statement Order,
the counterparty to such contract and all other Persons shall be bound by and deemed to have assented to
the amendment of such contract, the assumption or assumption and assignment of such amended contract
and the severance and release of obligations, liabilities and Claims described in this Article V.G. Except
to the extent that the Holder of a Co-Defendant Claim otherwise agrees or fails to object to such treatment,
the assumption or rejection of a contract or lease with the Holder of a Co-Defendant Claim shall not operate
as a release, waiver or discharge of any Co-Defendant Defensive Rights or Co-Defendant Claims. For the
avoidance of doubt, if a counterparty to any contract timely files and properly serves an objection on the
Debtors, (x) such objecting party will not be bound by this Article V.G., (y) any Cure Costs for such contract



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(if applicable) will be payable only by the Debtors, the Reorganized Debtors, or NewCo (as applicable),
and (z) any Claims for rejection damages (if applicable) relating to the Co-Defendant Claims arising
thereunder will be either Other Opioid Claims or No Recovery Opioid Claims and treated in accordance
with the Plan, and any other Claims for rejection damages (if applicable) will be General Unsecured Claims.

H.      Employee Compensation and Benefits

        1.      Compensation and Benefits Programs

         Subject to the provisions of the Plan, all Compensation and Benefits Programs (other than awards
of stock options, restricted stock, restricted stock units, and other equity awards) shall be treated as
Executory Contracts under the Plan and deemed assumed on the Effective Date pursuant to the provisions
of sections 365 and 1123 of the Bankruptcy Code. All Proofs of Claim Filed for amounts due under any
Compensation and Benefits Program shall be considered satisfied by the applicable agreement and/or
program and agreement to assume and cure in the ordinary course as provided in the Plan. All collective
bargaining agreements to which any Debtor is a party, and all Compensation and Benefits Programs which
are maintained pursuant to such collective bargaining agreements or to which contributions are made or
benefits provided pursuant to a current or past collective bargaining agreement, will be deemed assumed
on the Effective Date pursuant to the provisions of sections 365 and 1123 of the Bankruptcy Code and the
Reorganized Debtors reserve all of their rights under such agreements. For the avoidance of doubt, the
Debtors and Reorganized Debtors, as applicable, shall honor all their obligations under section 1114 of the
Bankruptcy Code.

         None of the Restructuring, the Restructuring Transactions, or any assumption of Compensation and
Benefits Programs pursuant to the terms herein shall be deemed to trigger any applicable change of control,
vesting, termination, acceleration or similar provisions therein. No counterparty shall have rights under a
Compensation and Benefits Program assumed pursuant to the Plan other than those applicable immediately
prior to such assumption.

        2.      Workers’ Compensation Programs

         As of the Effective Date, except as set forth in the Plan Supplement, the Debtors and the
Reorganized Debtors shall continue to honor their obligations under: (a) all applicable state workers’
compensation laws; and (b) the Workers’ Compensation Contracts. All Proofs of Claims filed by the
Debtors’ current or former employees on account of workers’ compensation shall be deemed withdrawn
automatically and without any further notice to or action, order, or approval of the Bankruptcy Court based
upon the treatment provided for herein; provided that nothing in the Plan shall limit, diminish, or otherwise
alter the Debtors’ or Reorganized Debtors’ defenses, Causes of Action, or other rights under applicable
non-bankruptcy law with respect to the Workers’ Compensation Contracts; provided, further, that nothing
herein shall be deemed to impose any obligations on the Debtors in addition to what is provided for under
applicable non-bankruptcy law and/or the Workers’ Compensation Contracts.

                                                 Article VI.

                           PROVISIONS GOVERNING DISTRIBUTIONS

A.      Distribution on Account of Claims Other than Opioid Claims Allowed as of the Effective Date

         Except as otherwise provided in the Plan or a Final Order, or as agreed to by the relevant parties,
distributions under the Plan on account of Claims other than Opioid Claims Allowed on or before the
Effective Date shall be made on the Initial Distribution Date; provided that (1) Allowed Administrative
Claims with respect to liabilities incurred by the Debtors in the ordinary course of business shall be paid or



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performed in the ordinary course of business in accordance with the terms and conditions of any controlling
agreements, course of dealing, course of business or industry practice, (2) Allowed Priority Tax Claims
shall be satisfied in accordance with Article II.B herein, (3) Allowed Other Priority Claims shall be satisfied
in accordance with Article II.C herein, and (4) Allowed General Unsecured Claims and Allowed Trade
Claims that would not come due in the ordinary course of the Debtors’ business until after the Initial
Distribution Date shall be paid by the Reorganized Debtors in the ordinary course of business; provided,
further, that all Initial Distribution Date distributions are subject to the Disputed General Unsecured Claims
Reserve in accordance with Article VII.H of the Plan

B.      Distributions on Account of Claims Other than Opioid Claims Allowed After the Effective Date

        1.       Payments and Distributions on Disputed Claims

         Except as otherwise provided in the Plan, a Final Order, or as agreed to by the relevant parties,
distributions on account of Disputed Claims other than Opioid Claims that become Allowed after the
Effective Date shall be made on the next Periodic Distribution Date that is at least thirty (30) days after the
Disputed Claim becomes an Allowed Claim; provided that (a) Disputed Administrative Claims with respect
to liabilities incurred by the Debtors in the ordinary course of business that become Allowed after the
Effective Date shall be paid or performed in the ordinary course of business in accordance with the terms
and conditions of any controlling agreements, course of dealing, course of business, or industry practice,
(b) Disputed Priority Tax Claims that become Allowed Priority Tax Claims after the Effective date shall be
treated as Allowed Priority Tax Claims in accordance with Article II.B of the Plan, and (c) Disputed Other
Priority Claims that become Allowed Other Priority Claims after the Effective Date shall be treated as
Allowed Other Priority Claims in accordance with Article II.C of the Plan.

        2.       Special Rules for Distributions to Holders of Disputed Claims

        Notwithstanding any provision otherwise in the Plan and except as otherwise agreed to by the
relevant parties no partial payments and no partial distributions shall be made with respect to a Disputed
Claim until all such disputes in connection with such Disputed Claim have been resolved by settlement or
Final Order.

C.      Timing and Calculation of Amounts to Be Distributed

         Except as otherwise provided herein, on the Initial Distribution Date each Holder of an Allowed
Claim other than an Opioid Claim shall receive the full amount of the distributions that the Plan provides
for Allowed Claims in the applicable Class. If and to the extent that any Disputed Claims exist, distributions
on account of such Disputed Claims shall be made pursuant to Article VI.B and Article VII of the Plan.
Except as otherwise provided in the Plan, Holders of Claims shall not be entitled to interest, dividends, or
accruals on the distributions provided for in the Plan, regardless of whether such distributions are delivered
on or at any time after the Effective Date.

D.      Delivery of Distributions

        1.       Record Date for Distributions

         For purposes of making distributions on the Initial Distribution Date only, the Distribution Agent
shall be authorized and entitled to recognize only those Holders of Claims other than Opioid Claims
reflected in the Debtors’ books and records as of the close of business on the Confirmation Date; provided,
however, that such record date will not apply to any distributions related to the First Lien Notes, Second
Lien Notes, or Guaranteed Unsecured Notes maintained through DTC, and the record date for Holders of
Allowed First Lien Term Loan Claims shall be the Effective Date. Subject to the foregoing sentence, if a


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Claim other than an Opioid Claim is transferred (a) twenty-one (21) or more days before the Confirmation
Date and reasonably satisfactory documentation evidencing such transfer is Filed with the Bankruptcy
Court before the Confirmation Date, the Distribution Agent shall make the applicable distributions to the
applicable transferee, or (b) twenty (20) or fewer days before the Confirmation Date, the Distribution Agent
shall make distributions to the transferee only to the extent practical and, in any event, only if the relevant
transfer form is Filed with the Bankruptcy Court before the Confirmation Date and contains an
unconditional and explicit certification and waiver of any objection to the transfer by the transferor.

        2.       Delivery of Distributions in General

         Except as otherwise provided in the Plan, the Distribution Agent shall make distributions to Holders
of Allowed Claims other than Opioid Claims at the address for each such Holder as indicated in the Debtors’
records as of the date of any such distribution, including the address set forth in any Proof of Claim Filed
by that Holder or, with respect to Holders of Allowed First Lien Term Loan Claims, the address recorded
as of the Effective Date in the register maintained by the First Lien Agent, as applicable; provided that the
manner of such distributions shall be determined at the discretion of the Reorganized Debtors.

        3.       Distributions by Distribution Agents

         The Debtors and the Reorganized Debtors, as applicable, shall have the authority to enter into
agreements with one or more Distribution Agents to facilitate the distributions required hereunder. Except
in the case of the Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes
Indenture Trustee, each serving as a Distribution Agent, to the extent the Debtors and the Reorganized
Debtors, as applicable, determine to utilize a Distribution Agent to facilitate the distributions under the Plan
to Holders of Allowed Claims other than Opioid Claims, Guaranteed Unsecured Notes Claims, and Legacy
Unsecured Notes Claims, any such Distribution Agent would first be required to: (a) affirm its obligation
to facilitate the prompt distribution of any documents; (b) affirm its obligation to facilitate the prompt
distribution of any recoveries or distributions required under the Plan; and (c) waive any right or ability to
setoff, deduct from or assert any lien or encumbrance against the distributions required under the Plan to
be distributed by such Distribution Agent; provided, that no Distribution Agent (including the Guaranteed
Unsecured Notes Indenture Trustee) will be required to give any bond or surety or other security for the
performance of its duties unless otherwise ordered by the Bankruptcy Court.

         Subject to Section Article VI.D.4 below, distributions on account of the Guaranteed Unsecured
Notes Claims and the Legacy Unsecured Notes Claims will be made to or at the direction of the Guaranteed
Unsecured Notes Indenture Trustee or Legacy Unsecured Notes Indenture Trustee, as applicable, and such
trustee will be, and will act as, the Distribution Agent with respect to the applicable Guaranteed Unsecured
Notes Claims or Legacy Unsecured Notes Claims in accordance with the terms and conditions of this Plan
and the applicable debt documents. Distributions on account of the Allowed First Lien Term Loan Claims
will be made to the First Lien Agent or the New Takeback Term Loan Agent, as applicable, and the First
Lien Agent or the New Takeback Term Loan Agent (as applicable) will be, and will act as, the Distribution
Agent with respect to the Allowed First Lien Term Loan Claims in accordance with the terms and conditions
of this Plan and the applicable debt documents.

        The Debtors or the Reorganized Debtors, as applicable, shall pay to the Distribution Agents all
reasonable and documented fees and expenses of the Distribution Agents without the need for any
approvals, authorizations, actions, or consents. The Distribution Agents shall submit detailed invoices to
the Debtors or the Reorganized Debtors, as applicable, for all fees and expenses for which the Distribution
Agent seeks reimbursement and the Debtors or the Reorganized Debtors, as applicable, shall promptly pay
those amounts that they, in their sole discretion, deem reasonable, and shall object in writing to those fees
and expenses, if any, that the Debtors or the Reorganized Debtors, as applicable, deem to be unreasonable.
In the event that the Debtors or the Reorganized Debtors, as applicable, object to all or any portion of the


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amounts requested to be reimbursed in a Distribution Agent’s invoice, the Debtors or the Reorganized
Debtors, as applicable, and such Distribution Agent shall endeavor, in good faith, to reach mutual agreement
on the amount of the appropriate payment of such disputed fees and/or expenses. In the event that the
Debtors or the Reorganized Debtors, as applicable, and a Distribution Agent are unable to resolve any
differences regarding disputed fees or expenses, either party shall be authorized to move to have such
dispute heard by the Bankruptcy Court.

        4.       Distributions to Holders of Guaranteed Unsecured Notes Claims and Legacy Unsecured
                 Notes Claims

          The distributions of Takeback Second Lien Notes and New Mallinckrodt Ordinary Shares to be
made under this Plan to Holders of Guaranteed Unsecured Notes Claims shall be deemed made by the
Debtors or Reorganized Debtors, as applicable, to the Guaranteed Unsecured Notes Indenture Trustee
which shall transmit (or cause to be transmitted) such distributions to such Holders as set forth below.
Notwithstanding anything to the contrary in this Plan, the Guaranteed Unsecured Notes Indenture Trustee,
in its capacity as Distribution Agent, may transfer or facilitate the transfer of such distributions through the
facilities of DTC in exchange for the relevant Guaranteed Unsecured Notes. If it is necessary to adopt
alternate, additional or supplemental distribution procedures for any reason including because such
distributions cannot be made through the facilities of DTC, to otherwise effectuate the distributions under
this Plan, the Debtors or Reorganized Debtors, as applicable, shall implement the Alternate/Supplemental
Distribution Process. The Debtors or Reorganized Debtors (as applicable) shall use their best efforts to
make the Takeback Second Lien Notes and New Mallinckrodt Ordinary Shares to be distributed to Holders
of the Guaranteed Unsecured Notes eligible for distribution through the facilities of DTC.

         The distributions of New Mallinckrodt Ordinary Shares to be made under this plan to Holders of
Legacy Unsecured Notes Claims as part of the General Unsecured Claims Distribution shall be deemed
made by the Debtors or Reorganized Debtors, as applicable, to the Legacy Unsecured Notes Indenture
Trustee which shall transmit (or cause to be transmitted) such distributions to such Holders as set forth
below. Notwithstanding anything to the contrary in this Plan, the Legacy Unsecured Notes Indenture
Trustee, in its capacity as Distribution Agent, may transfer or facilitate the transfer of such distributions
through the facilities of DTC in exchange for the relevant Legacy Unsecured Notes. If it is necessary to
adopt alternate, additional or supplemental distribution procedures for any reason including because such
distributions cannot be made through the facilities of DTC, to otherwise effectuate the distributions under
this Plan, the Debtors or Reorganized Debtors, as applicable, shall implement the Alternate/Supplemental
Distribution Process. The Debtors or Reorganized Debtors (as applicable) shall use their best efforts to
make the New Mallinckrodt Ordinary Shares to be distributed to Holders of the Legacy Unsecured Notes
eligible for distribution through the facilities of DTC.

         The obligations of the Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured
Notes Indenture Trustee under or in connection with this Plan, the Guaranteed Unsecured Notes Indentures,
the Legacy Unsecured Notes Indentures, the Guaranteed Unsecured Notes, the Legacy Unsecured Notes,
and any related notes, stock, instruments, certificates, agreements, side letters, fee letters, and other
documents, shall be discharged and deemed fully satisfied upon the Effective Date. On and after the
Effective Date, the Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes
Indenture Trustee, each in its capacity as trustee shall be appointed and act as a Distribution Agent with
respect to the applicable Guaranteed Unsecured Notes Claims or Legacy Unsecured Notes Claims to
facilitate the distributions provided for in this Plan to the applicable Holders of Allowed Guaranteed
Unsecured Notes Claims or Allowed Legacy Unsecured Notes Claims. The obligations of each of the
Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes Trustee, in its capacity as
Distribution Agent, under or in connection with this Plan shall be discharged and deemed fully satisfied
upon either: (i) DTC’s receipt of the distributions with respect to the Allowed Guaranteed Unsecured Notes



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Claims or Allowed Legacy Unsecured Notes Claims; or (ii) if the Alternate/Supplemental Distribution
Process is utilized, upon the earlier of the completion of the Guaranteed Unsecured Notes Indenture
Trustee’s or Legacy Unsecured Notes Indenture Trustee’s role in such process or in accordance with the
terms of the Alternate/Supplemental Distribution Process and, in either case, the Guaranteed Unsecured
Notes Indenture Trustee and the Legacy Unsecured Notes Indenture Trustee shall not, in any capacity, have
liability to any person for having made, or facilitating the making of, the distributions through the foregoing
items (i) and (ii). The Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes
Indenture Trustee, each as a Distribution Agent under this Plan will be entitled to recognize and deal with
for all purposes the Holders of the Guaranteed Unsecured Notes or Legacy Unsecured Notes to the extent
necessary to facilitate the distributions with respect to Allowed Guaranteed Unsecured Notes Claims or
Allowed Legacy Unsecured Notes Claims to such Holders. Regardless of which capacity it is acting, the
Guaranteed Unsecured Notes Indenture Trustee or the Legacy Unsecured Notes Indenture Trustee in any
capacity shall not be responsible for, and may conclusively rely on, the Alternate/Supplemental Distribution
Process.

         Notwithstanding any policies, practices or procedures of DTC or any other applicable clearing
system, DTC and all other applicable clearing systems shall cooperate with and take all actions reasonably
requested by the Notice and Claims Agent, the Guaranteed Unsecured Notes Indenture Trustee, or the
Legacy Unsecured Notes Indenture Trustee to facilitate distributions to Holders of Allowed Guaranteed
Unsecured Notes Claims and Allowed Legacy Unsecured Notes Claims without requiring that such
distributions be characterized as repayments of principal or interest. No Distribution Agent, including the
Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes Indenture Trustee in any
capacity, shall be required to provide indemnification or other security to DTC in connection with any
distributions to Holders of Allowed Guaranteed Unsecured Notes Claims or Allowed Legacy Unsecured
Notes Claims through the facilities of DTC.

        5.       Minimum Distributions

         Notwithstanding anything herein to the contrary, other than on account of Unimpaired Claims, the
Reorganized Debtors and the Distribution Agents shall not be required to make distributions or payments
of less than $100 (whether Cash or otherwise) and shall not be required to make partial distributions or
payments of fractions of dollars or distributions of fractions of a New Mallinckrodt Ordinary Share.
Whenever any payment or distribution of a fraction of a dollar or a fraction of a New Mallinckrodt Ordinary
Share would otherwise be called for, the actual payment or distribution will reflect a rounding down of such
fraction to the nearest whole dollar or nearest whole New Mallinckrodt Ordinary Share.

        6.       Undeliverable Distributions

                 a.      Holding of Certain Undeliverable Distributions

         Undeliverable distributions shall remain in the possession of the Reorganized Debtors, subject to
Article VI.D.5.b of the Plan, until such time as any such distributions become deliverable or are otherwise
disposed of in accordance with applicable nonbankruptcy law. Undeliverable distributions shall not be
entitled to any additional interest, dividends, or other accruals of any kind on account of their distribution
being undeliverable. Nothing contained herein shall require the Reorganized Debtors to attempt to locate
any Holder of an Allowed Claim.

                 b.      Failure to Present Checks

       Checks issued by the Reorganized Debtors (or their Distribution Agent) on account of Allowed
Claims shall be null and void if not negotiated within 90 days after the issuance of such check. Requests



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for reissuance of any check shall be made directly to the Distribution Agent by the Holder of the relevant
Allowed Claim with respect to which such check originally was issued.

E.      Compliance with Tax Requirements/Allocations

         In connection with the Plan, to the extent applicable, the Reorganized Debtors shall comply with
all tax withholding and reporting requirements imposed on them by any Governmental Unit, and all
distributions pursuant hereto shall be subject to such withholding and reporting requirements.
Notwithstanding any provision in the Plan to the contrary (except for the Consent Rights of Supporting
Parties in Article I.C), the Reorganized Debtors and the Distribution Agent shall be authorized to take all
actions necessary or appropriate to comply with such withholding and reporting requirements, including
liquidating a portion of the distribution to be made under the Plan to generate sufficient funds to pay
applicable withholding taxes, including requiring as a condition to the receipt of a distribution, that the
Holders of an Allowed Claim complete an IRS Form W-8 or W-9, as applicable. The Reorganized Debtors
reserve the right to allocate all distributions made under the Plan in compliance with all applicable wage
garnishments, alimony, child support and other spousal awards, Liens, and encumbrances.

F.      Applicability of Insurance Contracts Other than Opioid Insurance Policies

        Except as otherwise provided in the Plan, payments to Holders of Claims covered by Insurance
Contracts other than Opioid Claims shall be in accordance with the provisions of any applicable Insurance
Contract. Nothing contained in the Plan shall constitute or be deemed a waiver of any Cause of Action that
the Debtors or any Entity may hold against any other Entity, including Insurers under any Insurance
Contracts other than Opioid Insurance Policies, nor shall anything contained herein constitute or be deemed
a waiver by such Insurers of any rights or defenses, including coverage defenses, held by such Insurers
under the Insurance Contracts other than Opioid Insurance Policies and/or applicable non-bankruptcy law.
For the avoidance of doubt, this Article VI.F shall not apply to Opioid Insurance Policies.

G.      Distributions on Account of Opioid Claims

         Notwithstanding anything to the contrary herein, Articles VI.A through VI.F (except as set forth in
the last sentence of Article VI.E) shall not apply to any Opioid Claims, and all distributions to Holders of
Opioid Claims (including Opioid Demands) shall be made by and from the Opioid MDT II and the Opioid
Creditor Trusts in accordance with the Opioid MDT II Documents and Opioid Creditor Trust Documents,
as applicable.

H.      Allocation of Distributions Between Principal and Interest

         Except with respect to the 2024 First Lien Term Loan Claims and the 2025 First Lien Term Loan
Claims and as otherwise required by law (as reasonably determined by the Reorganized Debtors),
distributions with respect to an Allowed Claim shall be allocated first to the principal portion of such
Allowed Claim (as determined for United States federal income tax purposes) and, thereafter, to the
remaining portion of such Allowed Claim, if any.

I.      Postpetition Interest on Claims

         Notwithstanding anything else in this Plan or the Confirmation Order, postpetition interest shall
accrue and be paid on the First Lien Revolving Credit Facility Claims, the First Lien Term Loan Claims,
the First Lien Notes Claims, and the Second Lien Notes Claims as set forth in the Plan. Unless otherwise
specifically provided for in this Plan (including the preceding sentence and Article II.B.2 of the Plan), the
Confirmation Order, the Cash Collateral Order, or Final Order of the Bankruptcy Court, or required by
applicable bankruptcy law (including, without limitation, as required pursuant to section 506(b) or section



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511 of the Bankruptcy Code), postpetition interest shall not accrue or be paid on any other Claims and no
Holder of any other Claims shall be entitled to interest accruing on or after the Petition Date on any Claim.

                                                Article VII.

                         PROCEDURES FOR RESOLVING CONTINGENT,
                           UNLIQUIDATED, AND DISPUTED CLAIMS

A.      Allowance and Disallowance of Claims Other than Opioid Claims

        After the Effective Date, and except as otherwise provided in this Plan, the Reorganized Debtors
shall have and shall retain any and all available rights and defenses that the Debtors had with respect to any
Claim other than Opioid Claims and any other Claims Allowed under this Plan (including the First Lien
Term Loan Claims), including the right to assert any objection to Claims based on the limitations imposed
by section 502 of the Bankruptcy Code. The Debtors and the Reorganized Debtors may, but are not required
to, contest the amount and validity of any Disputed Claim other than Opioid Claims or contingent or
unliquidated Claim other than Opioid Claims in the ordinary course of business in the manner and venue
in which such Claim would have been determined, resolved or adjudicated if the Chapter 11 Cases had not
been commenced.

B.      Prosecution of Objections to Claims other than Opioid Claims

         After the Confirmation Date but before the Effective Date, the Debtors, and after the Effective
Date, the Reorganized Debtors shall have the authority to File objections to Claims (other than Claims that
are Allowed under this Plan or Opioid Claims) and settle, compromise, withdraw, or litigate to judgment
objections to any and all such Claims, regardless of whether such Claims are in an Unimpaired Class or
otherwise; provided, however, this provision shall not apply to Professional Fee Claims, which may be
objected to by any party-in-interest in these Chapter 11 Cases. From and after the Effective Date, the
Reorganized Debtors may settle or compromise any Disputed Claim other than Opioid Claims without any
further notice to or action, order, or approval of the Bankruptcy Court. The Reorganized Debtors shall have
the sole authority to administer and adjust the Claims Register and their respective books and records to
reflect any such settlements or compromises without any further notice to or action, order, or approval of
the Bankruptcy Court.

C.      Estimation of Claims and Interests other than Opioid Claims

         Before or after the Effective Date, the Debtors or Reorganized Debtors, as applicable, may (but are
not required to) at any time request that the Bankruptcy Court estimate any Disputed Claim other than any
Opioid Claim that is contingent or unliquidated pursuant to section 502(c) of the Bankruptcy Code for any
reason, regardless of whether any party previously has objected to such Claim or whether the Bankruptcy
Court has ruled on any such objection; and the Bankruptcy Court shall retain jurisdiction to estimate any
such Claim or Interest, including during the litigation of any objection to any Claim or during the appeal
relating to such objection; provided that if the Bankruptcy Court resolves the Allowed amount of a Claim,
the Debtors and Reorganized Debtors, as applicable, shall not be permitted to seek an estimation of such
Claim. Notwithstanding any provision otherwise in the Plan, a Claim that has been expunged from the
Claims Register, but that either is subject to appeal or has not been the subject of a Final Order, shall be
deemed to be estimated at zero dollars, unless otherwise ordered by the Bankruptcy Court. In the event
that the Bankruptcy Court estimates any contingent or unliquidated Claim, that estimated amount shall
constitute a maximum limitation on such Claim for all purposes under the Plan (including for purposes of
distributions), and the relevant Reorganized Debtor may elect to pursue any supplemental proceedings to
object to any ultimate distribution on such Claim subject to applicable law.




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D.      No Distributions Pending Allowance

       If any portion of a Claim other than an Opioid Claim is Disputed, no payment or distribution
provided hereunder shall be made on account of such Claim unless and until such Claim becomes an
Allowed Claim.

E.      Time to File Objections to Administrative Claims

        Any objections to Administrative Claims shall be Filed on or before the Administrative Claims
Objection Deadline, subject to any extensions thereof approved by the Bankruptcy Court.

F.      Procedures Regarding Opioid Claims

        Notwithstanding anything to the contrary herein, Articles VII.A through VII.E shall not apply to
any Opioid Claims, and all procedures for resolving contingent, unliquidated, and disputed Opioid Claims
(including Opioid Demands) shall be governed by the Opioid MDT II Documents and Opioid Creditor
Trust Documents, as applicable.

G.      No Filing of Proofs of Claim for Opioid Claims or VI Opioid Claims

         Except as otherwise provided in the Plan, Holders of Opioid Claims or VI Opioid Claims shall not
be required to File a Proof of Claim or a request for payment of an Administrative Claim on account of
such Holder’s Opioid Claims or VI Opioid Claims, and no such Holders should File such a Proof of Claim
or such request for payment; provided, however, that a Holder of an Opioid Claim or VI Opioid Claim that
wishes to assert Claims against the Debtors that are not Opioid Claims or VI Opioid Claims must File a
Proof of Claim or a request for payment of an Administrative Claim with respect to such Claims which are
not Opioid Claims or VI Opioid Claims on or before the applicable Claims Bar Date. The Opioid MDT II
and Opioid Creditor Trusts will make distributions on account of Opioid Claims in accordance with the
Opioid MDT II Documents and Opioid Creditor Trust Documents, as applicable. Within sixty (60) days
after the Effective Date, the Reorganized Debtors shall File a report identifying all Proofs of Claim that are
reasonably determined by the Debtors, in consultation with the Governmental Plaintiff Ad Hoc Committee,
the MSGE Group, the Future Claimants Representative, and the Opioid MDT II Trustee(s), to be on account
of any Opioid Claim, and upon the Filing of such report and notice to the Holders of such Proofs of Claim
who shall have 14 days to object to such determination, all identified Proofs of Claim shall be deemed
withdrawn and removed from the applicable claims register; provided that Proofs of Claim on account of
Opioid Claims filed after the Effective Date shall automatically be deemed withdrawn and expunged;
provided, further, that upon a motion and hearing with notice to the Governmental Plaintiff Ad Hoc
Committee, the MSGE Group, the Future Claimants Representative, the Opioid MDT II Trustee(s), and,
solely in the case of clause (b) below, the Holders of affected Proofs of Claim, the Debtors (a) may seek an
extension to the deadline to File such report from the Bankruptcy Court and (b) may seek determination by
the Bankruptcy Court that any Proof of Claim is on account of any Opioid Claim.

H.      Disputed General Unsecured Claims Reserve

         1.      On or after the Effective Date, the Reorganized Debtors shall have the right, but are not
required, to establish a Disputed General Unsecured Claims Reserve in Cash from the General Unsecured
Claims Recovery Pool and the Trade Claim Cash Pool Unallocated Amount. Such Disputed General
Unsecured Claims Reserve may also include New Mallinckrodt Ordinary Shares issuable from the General
Unsecured Claims Recovery Pool that will be issued by the Reorganized Debtors if and when needed for
distributions from the Disputed General Unsecured Claims Reserve. For the avoidance of doubt, the New
Governance Documents shall ensure that the Reorganized Debtors are able to issue the number of New
Mallinckrodt Ordinary Shares needed to satisfy obligations of the General Unsecured Claims Recovery



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Pool. The Debtors reserve the right to estimate the value of Disputed General Unsecured Claims in the
Bankruptcy Court for distribution purposes and to reduce the Disputed General Unsecured Claims Reserve
in a manner consistent with any such estimation.

        2.        Subject to definitive guidance from the IRS or a court of competent jurisdiction to the
contrary, the Reorganized Debtors shall treat the Disputed General Unsecured Claims Reserve as a
“disputed ownership fund” governed by Treasury Regulation section 1.468B-9 and to the extent permitted
by applicable law, report consistently with the foregoing for state and local income tax purposes. All parties
(including, to the extent applicable, the Debtors, the Reorganized Debtors, and Holders of Disputed General
Unsecured Claims) shall be required to report for tax purposes consistently with the foregoing.

          3.      The Reorganized Debtors shall hold in the Disputed General Unsecured Claims Reserve
all distributions to be made on account of (a) Disputed General Unsecured Claims and (b) Disputed Trade
Claims whose Holders (i) vote to reject the Plan or (ii) do not agree to maintain Favorable Trade Terms in
accordance with the requirements set forth in the Disclosure Statement Order, for the benefit of all Holders
Claims entitled to receive a General Unsecured Claims Distribution. All taxes imposed on the assets or
income of the Disputed General Unsecured Claims Reserve shall be payable by the Reorganized Debtors
from the assets of the Disputed General Unsecured Claims Reserve.

         4.       In the event assets in the Disputed General Unsecured Claims Reserve are insufficient to
satisfy all of the Disputed General Unsecured Claims that have become Allowed, such Allowed Claims
shall be satisfied pro rata from such remaining assets in the Disputed General Unsecured Claims Reserve.
After all assets have been distributed from the Disputed General Unsecured Claims Reserve, no further
distributions shall be made in respect of Disputed General Unsecured Claims. At such time as all Disputed
General Unsecured Claims have been resolved, any remaining assets in the Disputed General Unsecured
Claims Reserve shall be distributed pro rata to Holders of Allowed General Unsecured Claims.

        5.     The Reorganized Debtors may request an expedited determination of taxes under section
505(b) of the Bankruptcy Code for all returns filed for or on behalf of the Disputed General Unsecured
Claims Reserve for all taxable periods through the date on which final distributions are made.

I.      Distributions After Allowance

         To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions (if any)
shall be made to the Holder of such Allowed Claim in accordance with the provisions of this Plan. As soon
as reasonably practicable after the date that the order or judgment of the Bankruptcy Court allowing any
Disputed Claim becomes a Final Order, the Reorganized Debtors shall provide to the Holder of such Claim
the distribution (if any) to which such Holder is entitled under this Plan as of the Effective Date, without
any postpetition interest to be paid on account of such Claim.

J.      Disallowance of Certain First Lien Credit Agreement Claims, First Lien Notes Claims, and
        Second Lien Notes Claims.

         Notwithstanding anything to the contrary in the Plan (except for the Consent Rights of Supporting
Parties in Article I.C), the following Claims shall be disallowed on the Effective Date except as otherwise
ordered by a Final Order of the Bankruptcy Court before the Effective Date: (a) any First Lien Credit
Agreement Claims (i) for default rate interest under Section 2.13(c) of the First Lien Credit Agreement in
excess of the non-default rate applicable under Sections 2.13(a) or (b) of the First Lien Credit Agreement,
or (ii) for interest based on the asserted conversion of any “Eurocurrency Borrowing” to an “ABR
Borrowing” (each as defined in the First Lien Credit Agreement) under Section 2.07(e) of the First Lien
Credit Agreement, to the extent such interest exceeds the interest payable on such borrowing as a
Eurocurrency Borrowing; provided that, notwithstanding the foregoing, the Allowed First Lien Term Loan



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Claims shall include the applicable amount of First Lien Term Loans Accrued and Unpaid Interest and such
First Lien Term Loans Accrued and Unpaid Interest shall not be subject to disallowance; provided further
that notwithstanding anything to the contrary in the Plan, the Cash Collateral Order or the First Lien Credit
Agreement, all adequate protection payments made by the Debtors pursuant to the Cash Collateral Order
during the Chapter 11 Cases to the First Lien Revolving Lenders, the First Lien Term Lenders and their
respective agents and professionals shall be retained by the First Lien Revolving Lenders, the First Lien
Term Lenders and such agents and professionals, as applicable, and not recharacterized as principal
payments (other than payments of principal made on or prior to April 23, 2021 and First Lien Term Loan
Principal Payments) or otherwise subject to disgorgement, recovery, or avoidance by any party under any
legal or equitable theory regardless of whether such payments arguably exceed the Allowed amount of the
First Lien Revolving Credit Facility Claims or the First Lien Term Loan Claims, as applicable (b) any First
Lien Notes Claims (i) for any principal premium in excess of the principal amount of such Claims
outstanding immediately before the Petition Date, including for any “Applicable Premium” (as defined in
the First Lien Notes Indenture) or optional redemption premium, (ii) for any “Additional Amounts” (as
defined in the First Lien Notes Indenture), or (iii) for default rate interest under Section 2.11 of the First
Lien Notes Indenture; (c) any Second Lien Notes Claims (i) for any principal premium in excess of the
principal amount of such Claims outstanding immediately before the Petition Date, including for any
“Applicable Premium” (as defined in the Second Lien Notes Indenture) or optional redemption premium,
(ii) for any “Additional Amounts” (as defined in the Second Lien Notes Indenture), or (iii) for default rate
interest under Section 2.11 of the Second Lien Notes Indenture; and (d) any Claims for payment of any
amounts payable pursuant to the Cash Collateral Order arising after the Effective Date. The Debtors will
file an objection to such Claims consistent with the foregoing in advance of the Confirmation Hearing, and
the Bankruptcy Court’s determination of such objection shall be set forth in the Confirmation Order.

                                                Article VIII.

                     CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

A.      Conditions Precedent to the Effective Date

        The following are conditions precedent to the Effective Date that must be satisfied or waived:

       1.      The Restructuring Support Agreement shall remain in full force and effect and shall not
have been terminated, and the parties thereto shall be in compliance therewith.

         2.      The Bankruptcy Court or another court of competent jurisdiction shall have entered the
Confirmation Order in form and substance consistent with the Restructuring Support Agreement, such order
shall be a Final Order, and to the extent such order was not entered by the District Court, the District Court
shall have affirmed the Confirmation Order.

        3.      The Bankruptcy Court or another court of competent jurisdiction shall have entered the
Opioid Operating Injunction Order, such order shall be a Final Order, and to the extent such order was not
entered by the District Court, the District Court shall have affirmed the Opioid Operating Injunction Order.

        4.       All documents and agreements necessary to implement the Plan (including the Definitive
Documents, the Opioid MDT II Documents, the Opioid Creditor Trust Documents, the New Opioid Warrant
Agreement, the Federal/State Acthar Settlement Agreements, and any documents contained in the Plan
Supplement) shall have been documented in compliance with the Restructuring Support Agreement (to the
extent applicable), executed and tendered for delivery. All conditions precedent to the effectiveness of such
documents and agreements shall have been satisfied or waived pursuant to the terms thereof (which may
occur substantially concurrently with the occurrence of the Effective Date).




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        5.      All actions, documents, certificates, and agreements necessary to implement the Plan
(including the Definitive Documents and any other documents contained in the Plan Supplement) shall have
been effected or executed and delivered to the required parties and, to the extent required, filed with the
applicable Governmental Units in accordance with applicable laws.

        6.       All authorizations, consents, regulatory approvals, rulings, or documents that are necessary
to implement and effectuate the Plan and the transactions contemplated herein shall have been obtained,
and there shall have been no determination by the Debtors, including by the Disinterested Managers, to not
grant any of the releases to Released Parties set forth in Article IX of the Plan.

         7.      All conditions precedent to the consummation of the Opioid Settlement (as defined in the
Restructuring Support Agreement) and related transactions, including establishment of the Opioid MDT II
and Opioid Creditor Trusts and authorization for payment of the Opioid MDT II Consideration, have been
satisfied or waived by the party or parties entitled to waive them.

        8.      The final version of the Plan, Plan Supplement, the Opioid MDT II Documents, Opioid
Creditor Trust Documents, and all of the schedules, documents, and exhibits contained therein, and all other
schedules, documents, supplements, and exhibits to the Plan, shall be consistent with the Restructuring
Support Agreement.

         9.     The Bankruptcy Court shall have confirmed that the Bankruptcy Code authorizes the
transfer and vesting of the Opioid MDT II Consideration, notwithstanding any terms of any Insurance
Contracts related to the Assigned Insurance Rights or provisions of non-bankruptcy law that any Insurer
may otherwise argue prohibits such transfer and vesting.

        10.     The Canadian Court shall have issued an order recognizing the Confirmation Order in the
Recognition Proceedings and giving full force and effect to the Confirmation Order in Canada and such
recognition order shall have become a Final Order.

        11.     The High Court of Ireland shall have made the Irish Confirmation Order and the Scheme
of Arrangement shall have become effective in accordance with its terms (or shall become effective
concurrently with effectiveness of the Plan).

        12.      The Irish Takeover Panel shall have either: (a) confirmed that an obligation to make a
mandatory general offer for the shares of Parent pursuant to Rule 9 of the Irish Takeover Rules will not be
triggered by the implementation of the Scheme of Arrangement and the Plan; or (b) otherwise waived the
obligation on the part of any Person to make such an offer.

         13.    Any civil or criminal claims asserted by or on behalf of the Department of Justice (other
than those resolved pursuant to the Federal/State Acthar Settlement) have been resolved on terms
reasonably acceptable to the Debtors, the Required Supporting Unsecured Noteholders the Governmental
Plaintiff Ad Hoc Committee, and the MSGE Group.

       14.      The Debtors shall have paid in full all professional fees and expenses of the Debtors’
Retained Professionals (including the Retained Professionals of the Disinterested Managers) that require
the Bankruptcy Court’s approval or amounts sufficient to pay such fees and expenses after the Effective
Date shall have been placed in a Professional Fee Escrow Account pending the Bankruptcy Court’s
approval of such fees and expenses.

       15.     The Professional Fee Escrow Account shall have been established and funded in Cash in
accordance with Article II.A.2.




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          16.    The Debtors shall have paid the Restructuring Expenses including the Transaction Fees, in
full, in Cash.

         17.     The Debtors shall have paid (A) the Noteholder Consent Fee, (B) the outstanding invoices
on account of any Indenture Trustee Fees delivered to the Debtors (or their counsel) at least two (2) business
days before the Effective Date, and (C) the Term Loan Exit Payment (and (i) the First Lien Agent shall
have received such Term Loan Exit Payment on behalf of the First Lien Term Lenders and shall have
distributed such Term Loan Exit Payment to the First Lien Term Lenders or (ii) the Term Loan Exit
Payment shall have otherwise been distributed to the First Lien Term Lenders by means approved by the
Ad Hoc First Lien Term Lender Group), and the foregoing payments shall not be subject to setoff, demand,
recharacterization, turnover, disgorgement, avoidance, or other similar rights of recovery asserted by any
Person.

        18.      The Cash Collateral Order shall have remained in full force and effect.

        19.    The Restructuring to be implemented on the Effective Date shall be consistent with the
Plan, the Scheme of Arrangement, and the Restructuring Support Agreement.

B.      Waiver of Conditions

          Subject to and without limiting or expanding the respective rights of each party to the Restructuring
Support Agreement, the Debtors, the Required Supporting Unsecured Noteholders, the Governmental
Plaintiff Ad Hoc Group, and the MSGE Group may collectively waive any of the conditions to the Effective
Date set forth in Article VIII.A at any time, without any notice to parties in interest and without any further
notice to or action, order, or approval of the Bankruptcy Court, and without any formal action; provided
that (a) the conditions set forth in Article VIII.A.14 and VIII.A.15 may be waived by only the Debtors with
the consent of the affected Retained Professionals; (b) the waiver of Article VIII.A.4 (with respect to the
New Takeback Term Loan Documentation and other documents to which the Supporting Term Lenders
have consent rights under the Restructuring Support Agreement), Article VIII.A.16 (with respect to the
Restructuring Expenses payable to the advisors of the Ad Hoc First Lien Term Lender Group), and Article
VIII.A.17(C) shall require the consent of the Required Supporting Term Lenders, and (c) the waiver of the
condition set forth in Article VIII.A.17(B) shall also require the consent of the Guaranteed Unsecured Notes
Indenture Trustee.

C.      Effect of Non-Occurrence of Conditions to the Effective Date

         If the Effective Date does not occur on or before the termination of the Restructuring Support
Agreement, then: (1) the Plan shall be null and void in all respects; (2) any settlement or compromise
embodied in the Plan, assumption of Executory Contracts or Unexpired Leases effected under the Plan, and
any document or agreement executed pursuant to the Plan, shall be deemed null and void; and (3) nothing
contained in the Plan, the Confirmation Order, or the Disclosure Statement shall: (a) constitute a waiver or
release of any Claims, Interests, or Causes of Action; (b) prejudice in any manner the rights of the Debtors
or any other Entity; or (c) constitute an admission, acknowledgement, offer, or undertaking of any sort by
the Debtors or any other Entity.

D.      Substantial Consummation

         “Substantial consummation” of the Plan, as defined in section 1102(2) of the Bankruptcy Code,
shall be deemed to occur on the Effective Date.




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                                                  Article IX.

                      RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.      Discharge of Claims, Opioid Demands, and Interests; Compromise and Settlement of Claims,
        Opioid Demands, and Interests.

         Pursuant to and to the fullest extent permitted by section 1141(d) of the Bankruptcy Code, and
except as otherwise specifically provided in the Plan, the distributions, rights, and treatment that are
provided in the Plan shall be in full and final satisfaction, settlement, release, and discharge, effective as of
the Effective Date, of all Claims, Opioid Claims, Opioid Demands, and Interests of any nature whatsoever,
whether known or unknown, against, liabilities of, demands against, Liens on, obligations of, or rights
against the Debtors, the Reorganized Debtors, or any of their assets or properties, regardless of whether any
property shall have been distributed or retained pursuant to the Plan on account of such Claims, Opioid
Claims, Opioid Demands, or Interests, including demands, liabilities, and Causes of Action that arose before
the Effective Date, any contingent or non-contingent liability on account of representations or warranties
issued on or before the Effective Date, and all debts of the kind specified in sections 502(g), 502(h), or
502(i) of the Bankruptcy Code, in each case whether or not: (1) a Proof of Claim is Filed or deemed Filed
pursuant to section 501 of the Bankruptcy Code; (2) a Claim, Opioid Claim, Opioid Demand, or Interest is
Allowed; or (3) the Holder of such Claim, Opioid Claim, Opioid Demand, or Interest has accepted the Plan.
Except as otherwise provided herein, any default by the Debtors with respect to any Claim, Opioid Claim,
or Interest that existed immediately prior to or on account of the filing of the Chapter 11 Cases shall be
deemed cured on the Effective Date. The Confirmation Order shall be a judicial determination of the
discharge of all Claims, Opioid Demands, and Interests subject to the Effective Date occurring, except as
otherwise expressly provided in the Plan. For the avoidance of doubt, nothing in this Article IX.A shall
affect the rights of Holders of Claims and Interests to seek to enforce the Plan, including the distributions
to which Holders of Allowed Claims and Interests may be entitled to under the Plan.

         In consideration for the distributions and other benefits provided pursuant to the Plan, the
provisions of the Plan shall constitute a good faith compromise of all Claims, Opioid Demands, Interests
and controversies relating to the contractual, legal, and subordination rights that a Holder of a Claim or
Interest may have with respect to any Allowed Claim or Interest, or any distribution to be made on account
of such Allowed Claim or Interest. The entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Opioid Demands,
Interests and controversies, as well as a finding by the Bankruptcy Court that such compromises or
settlements are in the best interests of the Debtors, their Estates, and Holders of Claims and Interests and
are fair, equitable, and reasonable. The Co-Defendant Defensive Rights shall not be waived, released,
altered, impaired, or discharged and all Co-Defendant Defensive Rights are preserved, as provided in
Article IX.M of the Plan.

B.      Releases by the Debtors

        Pursuant to section 1123(b) of the Bankruptcy Code (and any other applicable provisions of
the Bankruptcy Code), as of the Effective Date, for good and valuable consideration, the adequacy of
which is hereby confirmed, including, without limitation, the service of the Released Parties before
and during the Chapter 11 Cases to facilitate the Opioid Settlement (as defined in the Restructuring
Support Agreement) and the restructuring, and except as otherwise explicitly provided in the Plan
or in the Confirmation Order, the Released Parties shall be deemed conclusively, absolutely,
unconditionally, irrevocably and forever released and discharged, to the maximum extent permitted
by law, as such law may be extended subsequent to the Effective Date, by the Debtors and the Estates
from any and all Claims, counterclaims, disputes, obligations, suits, judgments, damages, demands,
debts, rights, Causes of Action, liens, remedies, losses, contributions, indemnities, costs, liabilities,


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attorneys’ fees and expenses whatsoever, including any derivative claims, asserted or assertable on
behalf of the Debtors or their Estates, whether liquidated or unliquidated, fixed or contingent,
matured or unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted, accrued
or unaccrued, existing or hereinafter arising, whether in law or equity, whether sounding in tort or
contract, whether arising under federal or state statutory or common law, or any other applicable
international, foreign, or domestic law, rule, statute, regulation, treaty, right, duty, requirement or
otherwise, that the Debtors or their Estates would have been legally entitled to assert in their own
right (whether individually or collectively) or on behalf of the Holder of any Claim or Equity Interest
or other person, based on or relating to, or in any manner arising from, in whole or in part, the
Debtors (including the management, ownership, or operation thereof and as such Entities existed
prior to or after the Petition Date), their Estates, the Debtors’ in- or out-of-court restructuring efforts
(including the Chapter 11 Cases), the purchase, sale, or rescission of the purchase or sale of any
security or indebtedness of the debtors, the subject matter of, or the transactions or events giving rise
to, any Claim or Equity Interest that is treated in the Plan, litigation claims arising from historical
intercompany transactions between or among a Debtor and another Debtor, the business or
contractual arrangements between any Debtor and any Released Party (including the exercise of any
common law or contractual rights of setoff or recoupment by any Released Party at any time on or
prior to the Effective Date), the restructuring of any Claim or Equity Interest before or during the
Chapter 11 Cases, any Avoidance Actions, the negotiation, formulation, preparation, dissemination,
filing, or implementation of, prior to the Effective Date, the Definitive Documents, the Opioid MDT
II, Opioid MDT II Documents, the Opioid Creditor Trusts, the Opioid Creditor Trust Documents,
the “agreement in principle for global opioid settlement and associated debt refinancing activities”
announced by the Parent on February 25, 2020 and all matters and potential transactions described
therein, the Restructuring Support Agreement (including any amendments and/or joinders thereto)
and related prepetition and postpetition transactions, the Disclosure Statement, the Plan, the Plan
Supplement, any Restructuring Transaction, any agreement, instrument, release, and other
documents (including providing any legal opinion requested by any Entity regarding any transaction,
contract, instrument, document, or other agreement contemplated by the Plan or the reliance by any
Released Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered
into prior to the Effective Date in connection with the creation of the Opioid MDT II, the Opioid
Creditor Trusts, the “agreement in principle for global opioid settlement and associated debt
refinancing activities” announced by the Parent on February 25, 2020, the Restructuring Support
Agreement and related prepetition transactions, the Disclosure Statement, the Plan, the Plan
Supplement, the Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit of confirmation
(including the solicitation of votes on the Plan), the pursuit of consummation, the administration and
implementation of the Plan, including the issuance or distribution of Securities pursuant to the Plan,
or the distribution of property under the Plan or any other related agreement, or upon the business
or contractual arrangements between any Debtor and any Released Party, and any other act or
omission, transaction, agreement, event, or other occurrence or circumstance taking place on or
before the Effective Date related or relating to any of the foregoing; provided, however, that the
Debtors do not release, and the Opioid MDT II shall retain, all Assigned Third-Party Claims and
Assigned Insurance Rights; provided, further, that the Debtors do not release, Claims or Causes of
Action arising out of, or related to, any act or omission of a Released Party that is determined by
Final Order of the Bankruptcy Court or any other court of competent jurisdiction to have constituted
actual fraud, gross negligence, or willful misconduct. The foregoing release will be effective as of the
Effective Date without further notice to or order of the Bankruptcy Court, act or action under
applicable law, regulation, order, or rule or the vote, consent, authorization or approval of any person
and the Confirmation Order shall permanently enjoin the commencement or prosecution by any
person, whether directly, derivatively or otherwise, of any Claims, obligations, suits, judgments,
damages, demands, debts, rights, Causes of Action, or liabilities released pursuant to this Debtor
Release. Notwithstanding anything to the contrary in the foregoing, the releases by the Debtors set


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forth above do not release any post-Effective Date obligations of any party or Entity under the Plan,
any restructuring, any document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement the Plan, or any Claims which are reinstated pursuant to the
Plan. The foregoing release will be effective as of the Effective Date without further notice to or order
of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the vote,
consent, authorization, or approval of any person, and the Confirmation Order shall permanently
enjoin the commencement or prosecution by any person, whether directly, derivatively, or otherwise,
of any Claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, or
liabilities released pursuant to the foregoing release.

       The Reorganized Debtors, the Opioid MDT II, and the Opioid Creditor Trusts shall be
bound, to the same extent the Debtors are bound, by the releases set forth in Article IX.B of the Plan.
For the avoidance of doubt, Claims or Causes of Action arising out of, or related to, any act or
omission of a Released Party prior to the Effective Date that is determined by Final Order of the
Bankruptcy Court or any other court of competent jurisdiction to have constituted actual fraud,
gross negligence, or willful misconduct, including findings after the Effective Date, are not released
pursuant to Article IX.B of the Plan.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
to Bankruptcy Rule 9019, of the releases by the Debtors set forth in Article IX.B of the Plan, which
includes by reference each of the related provisions and definitions contained herein, and further
shall constitute the Bankruptcy Court’s finding that such release is: (a) in exchange for the good and
valuable consideration provided by the Released Parties; (b) a good faith settlement and compromise
of the Claims released by the Debtor Release; (c) in the best interests of the Debtors, their Estates
and all Holders of Claims and Equity Interests; (d) fair, equitable and reasonable; (e) given and made
after due notice and opportunity for hearing; and (f) a bar to any Entity or person asserting any
Claim or Cause of Action released by Article IX.B of the Plan.

C.      Releases by Non-Debtor Releasing Parties Other Than Opioid Claimants

        Pursuant to section 1123(b) of the Bankruptcy Code (and any other applicable provisions of
the Bankruptcy Code), as of the Effective Date, for good and valuable consideration, the adequacy of
which is hereby confirmed, including, without limitation, the service of the Released Parties before
and during the Chapter 11 Cases to facilitate the Opioid Settlement (as defined in the Restructuring
Support Agreement) and restructuring, and except as otherwise explicitly provided in the Plan or in
the Confirmation Order, the Released Parties shall be deemed conclusively, absolutely,
unconditionally, irrevocably and forever released and discharged, to the maximum extent permitted
by law, as such law may be extended subsequent to the Effective Date, except as otherwise explicitly
provided herein, by the Non-Debtor Releasing Parties, in each case, from any and all Claims,
counterclaims, disputes, obligations, suits, judgments, damages, demands, debts, rights, Causes of
Action, liens, remedies, losses, contributions, indemnities, costs, liabilities, attorneys’ fees and
expenses whatsoever, including any derivative claims, asserted or assertable on behalf of the Debtors
or their Estates, whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, existing
or hereinafter arising, whether in law or equity, whether sounding in tort or contract, whether arising
under federal or state statutory or common law, or any other applicable international, foreign, or
domestic law, rule, statute, regulation, treaty, right, duty, requirement or otherwise, that such
Holders or their Estates, Affiliates, heirs, executors, administrators, successors, assigns, managers,
accountants, attorneys, representatives, consultants, agents, and any other persons or parties
claiming under or through them would have been legally entitled to assert in their own right (whether
individually or collectively) or on behalf of the Holder of any Claim or Equity Interest or other


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person, based on or relating to, or in any manner arising from, in whole or in part, the Debtors
(including the management, ownership, or operation thereof and as such entities existed prior to or
after the Petition Date), their Estates, the Debtors’ in- or out-of-court restructuring efforts (including
the Chapter 11 Cases), the purchase, sale, or rescission of the purchase or sale of any Security or
indebtedness of the Debtors, the subject matter of, or the transactions or events giving rise to, any
Claim or Equity Interest that is treated in the Plan, litigation claims arising from historical
intercompany transactions between or among a Debtor and another Debtor, the business or
contractual arrangements or interactions between any Debtor and any Released Party (including the
exercise of any common law or contractual rights of setoff or recoupment by any Released Party at
any time on or prior to the Effective Date), the restructuring of any Claim or Equity Interest before
or during the Chapter 11 Cases, any Avoidance Actions, the negotiation, formulation, preparation,
dissemination, filing, or implementation of, prior to the Effective Date, the Definitive Documents, the
Opioid MDT II, the Opioid MDT II Documents, the Opioid Creditor Trust, the Opioid Creditor
Trust Documents, the “agreement in principle for global opioid settlement and associated debt
refinancing activities” announced by the Parent on February 25, 2020 and all matters and potential
transactions described therein, the Restructuring Support Agreement (including any amendments
and/or joinders thereto) and related prepetition and postpetition transactions, the Disclosure
Statement, the Plan, the Plan Supplement, any Restructuring Transaction, any agreement,
instrument, release, and other documents (including providing any legal opinion requested by any
Entity regarding any transaction, contract, instrument, document, or other agreement contemplated
by the Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu of
such legal opinion) created or entered into prior to the Effective Date in connection with the creation
of the Opioid MDT II, the Opioid Creditor Trusts, the prepetition documents, the “agreement in
principle for global opioid settlement and associated debt refinancing activities” announced by the
Parent on February 25, 2020, the Restructuring Support Agreement (including any amendments
and/or joinders thereto) and related prepetition transactions, the Disclosure Statement, the Plan, the
Plan Supplement, the Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit of
confirmation (including the solicitation of votes on the Plan), the pursuit of consummation, the
administration and implementation of the Plan, including the issuance or distribution of Securities
pursuant to the Plan, or the distribution of property under the Plan or any other related agreement,
or upon the business or contractual arrangements between any Debtor and any Released Party, and
any other act or omission, transaction, agreement, event, or other occurrence or circumstance taking
place on or before the Effective Date related or relating to any of the foregoing, other than Claims or
Causes of Action arising out of, or related to, any act or omission of a Released Party that is
determined by Final Order of the Bankruptcy Court or any other court of competent jurisdiction to
have constituted actual fraud, gross negligence or willful misconduct. For the avoidance of doubt,
Claims or Causes of Action arising out of, or related to, any act or omission of a Released Party prior
to the Effective Date that is determined by Final Order of the Bankruptcy Court or any other court
of competent jurisdiction to have constituted actual fraud, gross negligence, or willful misconduct,
including findings after the Effective Date, are not released pursuant to Article IX.C of the Plan.
Notwithstanding anything to the contrary in the foregoing, the releases by the Non-Debtor Releasing
Parties set forth above do not release any post-Effective Date obligations of any party or Entity under
the Plan, any restructuring, any document, instrument, or agreement (including those set forth in the
Plan Supplement) executed to implement the Plan, or any Claims which are reinstated pursuant to
the Plan. The foregoing release will be effective as of the Effective Date without further notice to or
order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the
vote, consent, authorization, or approval of any person, and the Confirmation Order shall
permanently enjoin the commencement or prosecution by any person, whether directly, derivatively,
or otherwise, of any Claims, obligations, suits, judgments, damages, demands, debts, rights, Causes
of Action, or liabilities released pursuant to the foregoing release.



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        Notwithstanding anything to the contrary herein, nothing in the Plan or Confirmation Order
shall (x) release, discharge, or preclude the enforcement of any liability of a Released Party to a
Governmental Unit arising out of, or relating to, any act or omission of a Released Party prior to the
Effective Date that is determined by Final Order of the Bankruptcy Court or any other court of
competent jurisdiction to have constituted a criminal act or (y) release or discharge a consultant or
expert having been retained to provide strategic advice for sales and marketing of opioid products
who has received a civil investigative demand or other subpoena related to sales and marketing of
opioid products from any state attorney general on or after January 1, 2019 through the Petition
Date.

        Notwithstanding any language to the contrary contained in the Disclosure Statement, Plan or
Confirmation Order, no provision shall (i) preclude the SEC from enforcing its police or regulatory
powers; or, (ii) enjoin, limit, impair or delay the SEC from commencing or continuing any claims,
causes of action, proceeding or investigations against any non-Debtor person or non-Debtor entity in
any forum.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
to Bankruptcy Rule 9019, of the releases by the Non-Debtor Releasing Parties set forth in
Article IX.C of the Plan, which includes by reference each of the related provisions and definitions
contained herein, and further shall constitute the Bankruptcy Court’s finding that such release is:
(a) given in exchange for the good and valuable consideration provided by the Released Parties; (b)
a good faith settlement and compromise of the Claims released by Article IX.C of the Plan; (c) in the
best interests of the Debtors, their Estates and all Holders of Claims and Equity Interests; (d) fair,
equitable and reasonable; (e) given and made after due notice and opportunity for hearing; (f) a bar
to any Entity or person asserting any Claim or Cause of Action released by Article IX.C of the Plan;
(g) consensual; and (h) essential to the confirmation of the Plan.

D.     Releases by Holders of Opioid Claims

        Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b)
of the Bankruptcy Code (and any other applicable provisions of the Bankruptcy Code), as of the
Effective Date, for good and valuable consideration, the adequacy of which is hereby confirmed,
including, without limitation, the service of the Protected Parties before and during the Chapter 11
Cases to facilitate the Opioid Settlement (as defined in the Restructuring Support Agreement) and
restructuring, each Opioid Claimant (in its capacity as such) is deemed to have released and
discharged, to the maximum extent permitted by law, as such law may be extended subsequent to the
Effective Date, each Debtor, Reorganized Debtor, and Protected Party from any and all Claims
(including Opioid Claims and Opioid Demands), counterclaims, disputes, obligations, suits,
judgments, damages, demands, debts, rights, Causes of Action, liens, remedies, losses, contributions,
indemnities, costs, liabilities, or attorneys’ fees and expenses whatsoever, including any derivative
claims asserted, or assertable on behalf of the Debtors, or their Estates, whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, asserted or unasserted, accrued or unaccrued, existing or hereinafter arising, whether in
law or equity, whether sounding in tort or contract, whether arising under federal or state statutory
or common law, or any other applicable international, foreign, or domestic law, rule, statute,
regulation, treaty, right, duty, requirement or otherwise, that such entity would have been legally
entitled to assert in their own right (whether individually or collectively) or on behalf of any other
person, based on or relating to, or in any manner arising from, in whole or in part, the Debtors
(including the management, ownership, or operation thereof and as such Entities existed prior to or
after the Petition Date), their Estates, the Opioid Claims (including Opioid Demands), the Debtors’
in- or out-of-court restructuring efforts (including the Chapter 11 Cases), intercompany transactions


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between or among a Debtor and another Debtor, the restructuring of any Claim or Equity Interest
before or during the Chapter 11 Cases, any Avoidance Actions, the negotiation, formulation,
preparation, dissemination, filing, or implementation of, prior to the Effective Date, the Opioid MDT
II, the Opioid MDT II Documents, the Opioid Creditor Trusts, the Opioid Creditor Trust Documents,
the “agreement in principle for global opioid settlement and associated debt refinancing activities”
announced by the Parent on February 25, 2020 and all matters and potential transactions described
therein, the Restructuring Support Agreement (including any amendments and/or joinders thereto)
and related prepetition transactions, the Disclosure Statement, the Plan, the Plan Supplement, any
Restructuring Transaction, or any contract, instrument, release, or other agreement or document
(including providing any legal opinion requested by any Entity regarding any transaction, contract,
instrument, document, or other agreement contemplated by the Plan or the reliance by any Protected
Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into
prior to the Effective Date in connection with the creation of the Opioid MDT II, the Opioid Creditor
Trusts, the “agreement in principle for global opioid settlement and associated debt refinancing
activities” announced by the Parent on February 25, 2020, the Restructuring Support Agreement
(including any amendments and/or joinders thereto) and related prepetition transactions, the
Disclosure Statement, the Plan, the Plan Supplement, the Chapter 11 Cases, the filing of the Chapter
11 Cases, the pursuit of confirmation (including the solicitation of votes on the Plan), the pursuit of
consummation, the administration and implementation of the Plan, including the issuance or
distribution of securities pursuant to the Plan, or the distribution of property under the Plan or any
other related agreement, or upon the business or contractual arrangements between any Debtor and
any Protected Party, or upon any other act or omission, transaction, agreement, event, or other
occurrence or circumstance taking place on or before the Effective Date related or relating to any of
the foregoing. Notwithstanding anything to the contrary in the foregoing, the releases by the Opioid
Claimants set forth above do not release any post-Effective Date obligations of any party or Entity
under the Plan, any post-Effective Date transaction contemplated by the restructuring, or any
document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan, or any claims or causes of actions against any co-defendant of the Debtors (other
than any Protected Party) in any opioid-related litigation. The foregoing release will be effective as
of the Effective Date without further notice to or order of the Bankruptcy Court, act or action under
applicable law, regulation, order, or rule or the vote, consent, authorization, or approval of any
person, and the Confirmation Order shall permanently enjoin the commencement or prosecution by
any person, whether directly, derivatively, or otherwise, of any Claims, obligations, suits, judgments,
damages, demands, debts, rights, Causes of Action, or liabilities released pursuant to the foregoing
release by Opioid Claimants.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
to Bankruptcy Rule 9019, of this release by Opioid Claimants, which includes by reference each of
the related provisions and definitions contained herein, and, further, shall constitute the Bankruptcy
Court’s finding that this release is: (1) essential to the confirmation of the Plan; (2) given in exchange
for the good and valuable consideration provided by the Protected Parties; (3) a good-faith settlement
and compromise of the Claims released by Article IX.D of the Plan; (4) in the best interests of the
Debtors, their Estates, and all Opioid Claimants; (5) fair, equitable, and reasonable; (6) given and
made after due notice and opportunity for hearing; and (7) a bar to any Opioid Claimant asserting
any Claim or Cause of Action released pursuant to Article IX.D of the Plan.

       For the avoidance of doubt, Claims or Causes of Action arising out of, or related to, any act
or omission of a Protected Party prior to the Effective Date that is determined by Final Order of the
Bankruptcy Court or any other court of competent jurisdiction to have constituted actual fraud,
gross negligence, or willful misconduct, including findings after the Effective Date, are not released
pursuant to article IX.D of the Plan. Notwithstanding anything to the contrary in the foregoing, the


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releases by the Opioid Claimants set forth above do not release any post-Effective Date obligations
of any party or Entity under the Plan, any restructuring, any document, instrument, or agreement
(including those set forth in the Plan Supplement) executed to implement the Plan, or any Claims
which are reinstated pursuant to the Plan.

Notwithstanding anything to the contrary herein, nothing in the Plan or Confirmation Order shall
(x) release, discharge, or preclude the enforcement of any liability of a Protected Party to a
Governmental Unit arising out of, or relating to, any act or omission of a Protected Party prior to the
Effective Date that is determined by Final Order of the Bankruptcy Court or any other court of
competent jurisdiction to have constituted a criminal act perpetrated by the applicable Protected
Party or (y) release or discharge a consultant or expert having been retained to provide strategic
advice for sales and marketing of opioid products who has received a civil investigative demand or
other subpoena related to sales and marketing of opioid products from any state attorney general on
or after January 1, 2019 through the Petition Date.

E.      Exculpation

        Effective as of the Effective Date, to the fullest extent permitted by law, the Exculpated Parties
shall neither have nor incur any liability to any person for any Claims or Causes of Action arising on
or after the Petition Date and prior to or on the Effective Date for any act taken or omitted to be
taken in connection with, related to, or arising out of, the Chapter 11 Cases, formulating, negotiating,
preparing, disseminating, implementing, filing, administering, confirming or effecting the
confirmation or consummation of the Plan, the Disclosure Statement, the Opioid Settlement (as
defined in the Restructuring Support Agreement), the Opioid MDT II Documents, the Opioid
Creditor Trust Documents, the “agreement in principle for global opioid settlement and associated
debt refinancing activities” announced by the Parent on February 25, 2020, the Restructuring
Support Agreement (including any amendments and/or joinders thereto) and related prepetition
transactions, or any contract, instrument, release or other agreement or document created or entered
into in connection with any of the foregoing, or any other prepetition or postpetition act taken or
omitted to be taken in connection with or in contemplation of the restructuring of the Debtors, the
Disclosure Statement or confirmation or consummation of the Plan, the Opioid Settlement (as defined
in the Restructuring Support Agreement), the Opioid MDT II Documents, or the Opioid Creditor
Trust Documents, including the issuance of Securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement; provided, however, that the foregoing
provisions of this exculpation shall not operate to waive or release: (a) any Causes of Action arising
from actual fraud, gross negligence, or willful misconduct of such applicable Exculpated Party as
determined by Final Order of the Bankruptcy Court or any other court of competent jurisdiction;
and/or (b) the rights of any person or Entity to enforce the Plan and the contracts, instruments,
releases, indentures, and other agreements and documents delivered under or in connection with the
Plan or assumed pursuant to the Plan or Final Order of the Bankruptcy Court; provided, further,
that each Exculpated Party shall be entitled to rely upon the advice of counsel concerning its
respective duties pursuant to, or in connection with, the above referenced documents, actions or
inactions.

        The Exculpated Parties have, and upon consummation of the Plan shall be deemed to have,
participated in good faith and in compliance with the applicable laws with regard to the solicitation
of votes and distribution of consideration pursuant to the Plan and, therefore, are not, and on account
of such distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such distributions
made pursuant to the Plan.




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        The foregoing exculpation shall be effective as of the Effective Date without further notice to
or order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or
the vote, consent, authorization, or approval of any person or Entity.

F.     Permanent Injunction

        Except as otherwise expressly provided in the Confirmation Order or Plan, from and after
the Effective Date all persons are, to the fullest extent provided under section 524 and other
applicable provisions of the Bankruptcy Code, permanently enjoined from: (a) commencing or
continuing, in any manner or in any place, any suit, action or other proceeding of any kind;
(b) enforcing, attaching, collecting, or recovering by any manner or means any judgment, award,
decree, or order; (c) creating, perfecting, or enforcing any encumbrance of any kind; (d) asserting
any right of setoff, or subrogation of any kind; and (e) commencing or continuing in any manner any
action or other proceeding of any kind, in each case on account of or with respect to any Claim,
demand, liability, obligation, debt, right, Cause of Action, Equity Interest or remedy released or to
be released, exculpated or to be exculpated, settled or to be settled, or discharged or to be discharged
pursuant to the Plan or the Confirmation Order against any person so released, discharged or
exculpated (or the property or estate of any person so released, discharged or exculpated). All
injunctions or stays provided in the Chapter 11 Cases under section 105 or section 362 of the
Bankruptcy Code, or otherwise, and in existence on the confirmation date, shall remain in full force
until the Effective Date. Article IX.F of the Plan shall not apply to Opioid Claims, which shall be
subject to Article IX.G of the Plan.

G.     Opioid Permanent Channeling Injunction

        TERMS. Pursuant to section 105(a) of the Bankruptcy Code, from and after the Effective
Date, the sole recourse of any Opioid Claimant on account of its Opioid Claims (including Opioid
Demands) based upon or arising from the Debtors’ pre-confirmation conduct or activities shall be to
the Opioid MDT II or the Opioid Creditor Trusts, as applicable, pursuant to this Article IX.G of the
Plan and the Opioid MDT II Documents or the Opioid Creditor Trust Documents, as applicable, and
such Opioid Claimant shall have no right whatsoever at any time to assert its Opioid Claims
(including Opioid Demands) against any Protected Party or any property or interest in property of
any Protected Party. On and after the Effective Date, all Opioid Claimants, including Future Opioid
PI Claimants, shall be permanently and forever stayed, restrained, barred, and enjoined from taking
any of the following actions for the purpose of, directly or indirectly or derivatively collecting,
recovering, or receiving payment of, on, or with respect to any Opioid Claim (including Opioid
Demand) based upon or arising from the Debtors’ pre-confirmation conduct or activities other than
from the Opioid MDT II or the Opioid Creditor Trusts pursuant to the Opioid MDT II Documents
or the Opioid Creditor Trust Documents, as applicable:

           Commencing, conducting, or continuing in any manner, directly, indirectly or
            derivatively, any suit, action, or other proceeding of any kind (including a judicial,
            arbitration, administrative, or other proceeding) in any forum in any jurisdiction around
            the world against or affecting any Protected Party or any property or interests in
            property of any Protected Party;

           Enforcing, levying, attaching (including any prejudgment attachment), collecting, or
            otherwise recovering by any means or in any manner, whether directly or indirectly, any
            judgment, award, decree, or other order against any Protected Party or any property or
            interests in property of any Protected Party;




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          Creating, perfecting, or otherwise enforcing in any manner, directly or indirectly, any
           encumbrance against any Protected Party or any property or interests in property of any
           Protected Party;

          Setting off, seeking reimbursement of, contribution from, or subrogation against, or
           otherwise recouping in any manner, directly or indirectly, any amount against any
           liability owed to any Protected Party or any property or interests in property of any
           Protected Party; or

          Proceeding in any manner in any place with regard to any matter that is within the scope
           of the matters designated by the Plan to be subject to resolution by the Opioid MDT II or
           the Opioid Creditor Trusts, as applicable, except in conformity and compliance with the
           applicable Opioid MDT II Documents and Opioid Creditor Trust Documents.

        RESERVATIONS. The foregoing injunction shall not stay, restrain, bar, or enjoin (a) the
rights of Opioid Claimants to assert Opioid Claims (including Opioid Demands) against the Opioid
MDT II or the Opioid Creditor Trusts, as applicable, solely in accordance with the Plan, the Opioid
MDT II Documents, and the Opioid Creditor Trust Documents, as applicable; and (b) the rights of
Entities to assert any Claim, debt, obligation, or liability for payment of Trust Expenses against the
Opioid MDT II.

      MODIFICATIONS. There can be no modification, dissolution, or terminations of this Opioid
Permanent Channeling Injunction, which shall be a permanent injunction.

        NON-LIMITATION OF CHANNELING INJUNCTION. Nothing in the Plan, the Opioid
MDT II Documents, or the Opioid Creditor Trust Documents shall be construed in any way to limit
the scope, enforceability, or effectiveness of the Opioid Permanent Channeling Injunction issued in
connection with the Plan.

        BANKRUPTCY RULE 3016 COMPLIANCE. The Debtors’ compliance with the requirements
of Bankruptcy Rule 3016 shall not constitute an admission that the Plan provides for an injunction
against conduct not otherwise enjoined under the Bankruptcy Code.

H.     Opioid Insurer Injunction.

       TERMS. In accordance with section 105(a) of the Bankruptcy Code, upon the occurrence of
       the Effective Date, all Persons that have held or asserted, that hold or assert or that may in
       the future hold or assert any Claim based on, arising under or attributable to an Opioid
       Insurance Policy shall be, and hereby are, permanently stayed, restrained and enjoined from
       taking any action for the purpose of directly or indirectly collecting, recovering or receiving
       payment or recovery on account of any such Claim based on, arising under or attributable to
       an Opioid Insurance Policy from or against any Opioid Insurer, including:

               a.      commencing, conducting or continuing, in any manner any action or other
                       proceeding of any kind (including an arbitration or other form of alternate
                       dispute resolution) against any Opioid Insurer, or against the property of any
                       Opioid Insurer, on account of any such Claim based on, arising under or
                       attributable to an Opioid Insurance Policy;

               b.      enforcing, attaching, levying, collecting or otherwise recovering, by any
                       manner or means, any judgment, award, decree or other order against any



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                        Opioid Insurer, or against the property of any Opioid Insurer, on account of
                        any such Claim based on, arising under or attributable to an Opioid
                        Insurance Policy;

                c.      creating, perfecting or enforcing in any manner any Lien of any kind against
                        any Opioid Insurer, or against the property of any Opioid Insurer, on account
                        of any such Claim based on, arising under or attributable to an Opioid
                        Insurance Policy;

                d.     asserting or accomplishing any setoff, right of subrogation, indemnity,
                       contribution or recoupment of any kind, whether directly or indirectly,
                       against any obligation due to any Opioid Insurer, or against the property of
                       any Opioid Insurer, on account of any such Claim based on, arising under or
                       attributable to an Opioid Insurance Policy; and

               e.      taking any act, in any manner, in any place whatsoever, that does not conform
                       to, or comply with, the provisions of the Plan applicable to any such Claim
                       based on, arising under or attributable to an Opioid Insurance Policy.

          2. RESERVATIONS. The provisions of this Opioid Insurer Injunction do not apply to the
Opioid MDT II and shall not preclude the Opioid MDT II from pursuing any Claim based on, arising
under, or attributable to an Opioid Insurance Policy (including the Assigned Insurance Rights) or
any other Claim that may exist under any Opioid Insurance Policy against any Opioid Insurer, nor
shall it enjoin the Opioid MDT II from prosecuting any action based on, arising from, or attributable
to any Opioid Insurance Policy or from asserting any claim, debt, obligation, cause of action, or
liability for payment against a Opioid Insurer based on, arising from, or attributable to any Opioid
Insurance Policy (including the Assigned Insurance Rights). The provisions of this Opioid Insurer
Injunction are not issued for the benefit of any Opioid Insurer, and no such insurer is a third-party
beneficiary of this Opioid Insurer Injunction.

        3. MODIFICATIONS. To the extent the Opioid MDT II Trustees determine that some or all
of the proceeds under the Opioid Insurance Policies are substantially unrecoverable by the Opioid
MDT II, the Opioid MDT II shall have the sole and exclusive authority, upon written notice to any
affected Opioid Insurer, to terminate, reduce, or limit the scope of this Opioid Insurer Injunction
with respect to any Opioid Insurer, provided that any termination, reduction, or limitation of the
Opioid Insurer Injunction (i) shall apply equally to all Classes of Opioid Claims, and (ii) shall comply
with any procedures set forth in the Opioid MDT II Documents.

        4. NON-LIMITATION OF INSURER INJUNCTION. Except as set forth in paragraph 2 and
3 of this Article, nothing in the Plan, the Opioid MDT II Documents or the Opioid Creditor Trust
Documents shall be construed in any way to limit the scope, enforceability or effectiveness of the
Opioid Insurer Injunction issued in connection with the Plan.

I.     Settling Opioid Insurer Injunction.

        1. Terms. In accordance with section 105(a) of the Bankruptcy Code, upon the occurrence
of the Effective Date, all Persons that have held or asserted, that hold or assert or that may in the
future hold or assert any Claim based on, arising under or attributable to an Opioid Insurance Policy
shall be, and hereby are, permanently stayed, restrained and enjoined from taking any action for the
purpose of directly or indirectly collecting, recovering or receiving payment or recovery on account
of any such Claim based on, arising under or attributable to an Opioid Insurance Policy from or
against any Settling Opioid Insurer, solely to the extent that such Settling Opioid Insurer has been



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released from such Claim under such Opioid Insurance Policy pursuant to an Opioid Insurance
Settlement, including:

               a.      commencing, conducting or continuing, in any manner any action or other
                       proceeding of any kind (including an arbitration or other form of alternate
                       dispute resolution) against any such Settling Opioid Insurer, or against the
                       property of such Settling Opioid Insurer, on account of such Claim based on,
                       arising under or attributable to such Opioid Insurance Policy;

               b.      enforcing, attaching, levying, collecting or otherwise recovering, by any
                       manner or means, any judgment, award, decree or other order against any
                       such Settling Opioid Insurer, or against the property of such Settling Opioid
                       Insurer, on account of such Claim based on, arising under or attributable to
                       such Opioid Insurance Policy;

               c.      creating, perfecting or enforcing in any manner any Lien of any kind against
                       any such Settling Opioid Insurer, or against the property of such Settling
                       Opioid Insurer, on account of such Claim based on, arising under or
                       attributable to such Opioid Insurance Policy;

               d.      asserting or accomplishing any setoff, right of subrogation, indemnity,
                       contribution or recoupment of any kind, whether directly or indirectly,
                       against any obligation due to any such Settling Opioid Insurer, or against the
                       property of such Settling Opioid Insurer, on account of such Claim based on,
                       arising under or attributable to such Opioid Insurance Policy; and

               e.      taking any act, in any manner, in any place whatsoever, that does not conform
                       to, or comply with, the provisions of the Plan applicable to such Claim based
                       on, arising under or attributable to such Opioid Insurance Policy.

         2. REDUCTION OF INSURANCE JUDGMENTS. Any right, Claim, or cause of action that
an insurance company may have been entitled to assert against any Settling Opioid Insurer but for
the Settling Opioid Insurer Injunction, if any such right, Claim, or cause of action exists under
applicable non-bankruptcy law, shall become a right, Claim, or cause of action solely as a setoff claim
against the Opioid MDT II and not against or in the name of the Settling Opioid Insurer in question.
Any such right, Claim, or cause of action to which an insurance company may be entitled shall be
solely in the form of a setoff against any recovery of the Opioid MDT II from that insurance company,
and under no circumstances shall that insurance company receive an affirmative recovery of funds
from the Opioid MDT II or any Settling Opioid Insurer for such right, Claim, or cause of action. In
determining the amount of any setoff, the Opioid MDT II may assert any legal or equitable rights the
Settling Opioid Insurer would have had with respect to any right, Claim, or cause of action.

        3. MODIFICATIONS. There can be no modification, dissolution or termination of the
Settling Insurer Injunction, which shall be a permanent injunction.

       4. NON-LIMITATION OF SETTLING INSURER INJUNCTION. Nothing in the Plan, the
Opioid MDT II Documents or the Opioid Creditor Trust Documents shall be construed in any way




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to limit the scope, enforceability or effectiveness of the Settling Insurer Injunction issued in
connection with the Plan.

J.      Opioid Operating Injunction

        From and after the date on which the Opioid Operating Injunction Order is entered by the
Bankruptcy Court or another court of competent jurisdiction, the VI-Specific Debtors and/or Reorganized
VI-Specific Debtors, as applicable, and any successors to the VI-Specific Debtors’ and/or Reorganized VI-
Specific Debtors’ business operations relating to the manufacture and sale of opioid product(s) in the United
States and its territories shall abide by the Opioid Operating Injunction as set forth in the Plan Supplement.

         The VI-Specific Debtors and Reorganized VI-Specific Debtors, as applicable, consent to the entry
of a final judgment or consent order upon the Effective Date imposing all of the provisions of the Opioid
Operating Injunction in the state court in each of the Supporting Governmental Opioid Claimants. After
the Effective Date, the Opioid Operating Injunction will be enforceable in the state court in each of the
Supporting Governmental Opioid Claimants. The VI-Specific Debtors and Reorganized VI-Specific
Debtors agree that seeking entry or enforcement of such a final judgment or consent order will not violate
any other injunctions or stays that it will seek, or that may otherwise apply, in connection with its Chapter 11
Cases or Confirmation.

K.      Setoffs and Recoupment

         Except as otherwise provided herein, each Reorganized Debtor pursuant to the Bankruptcy Code
(including section 553 of the Bankruptcy Code), applicable bankruptcy or non-bankruptcy law, or as may
be agreed to by the Holder of an Allowed Claim, may set off or recoup against any Allowed Claim and the
distributions to be made pursuant to the Plan on account of such Allowed Claim, any Claims, rights, and
Causes of Action of any nature that the applicable Debtor or Reorganized Debtor may hold against the
Holder of such Allowed Claim, to the extent such Claims, rights, or Causes of Action have not been
otherwise compromised, settled, or assigned on or prior to the Effective Date (whether pursuant to the Plan,
a Final Order or otherwise); provided that neither the failure to effect such a setoff or recoupment nor the
allowance of any Claim pursuant to the Plan shall constitute a waiver or release by such Reorganized Debtor
or the Opioid MDT II of any such Claims, rights, and Causes of Action; provided, further, that the exercise
of rights of setoff and/or recoupment by non-Debtor third parties against the Debtors or Reorganized
Debtors on account of any Assigned Third-Party Claims shall be enjoined and barred, to the extent
permitted by applicable law.

L.      Access to Opioid Insurance Policies

         Notwithstanding anything herein to the contrary, the Debtors shall not be released from
liability for any Claim that is or may be covered by any Opioid Insurance Policy; provided that
recovery for any such Claim, including by way of settlement or judgment, shall be limited to the
available proceeds of such Opioid Insurance Policy (and any extra-contractual liability of the Opioid
Insurer with respect to any Opioid Insurance Policy) and shall be asserted pursuant to procedures
set forth in the Opioid MDT II Documents, and no Person or party shall execute, garnish or otherwise
attempt to collect any such recovery from any assets other than the available proceeds of the Opioid
Insurance Policy. The Debtors shall be released automatically from a Claim described in this
paragraph upon the earlier of (x) the abandonment of such Claim and (y) such a release being given
as part of a settlement or resolution of such Claim, and shall be released automatically from all
Claims described in this paragraph upon the exhaustion of the available proceeds of the relevant
Opioid Insurance Policy (notwithstanding the nonoccurrence of either event described in the
foregoing clauses (x) and (y)).



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M.      Co-Defendant Defensive Rights

         Except as provided in clause (ii) of the penultimate sentence of this Article IX.M, notwithstanding
anything to the contrary in this Article IX or in the Plan as it currently exists or as it might be further
amended, the Confirmation Order or any order entered in connection with the Plan (or the Plan as amended)
(or any such order, as amended, modified or supplemented), or any supplement to the Plan (or the Plan as
further amended), nothing contained in the Plan or any of the foregoing documents or orders (including
without limitation, the classification, treatment, allowance, disallowance, release, bar, injunction, Opioid
Permanent Channeling Injunction or any other provision of the Plan or the Plan as amended with respect
to, impacting, affecting, modifying, limiting, subordinating, impairing, in any respect, a Co-Defendant
Claim), will release, bar, enjoin, impair, alter, modify, amend, limit, prohibit, restrict, reduce, improve or
enhance any Co-Defendant Defensive Rights of any Holder of a Co-Defendant Claim as such rights exist
or might in the future exist under applicable non-bankruptcy law. Nothing in the Plan, any of the Definitive
Documents or in the Confirmation Order shall preclude, operate to or have the effect of, impairing any
Holder of a Co-Defendant Claim from asserting in any proceeding any and all Co-Defendant Defensive
Rights that it has or may have under applicable law. Nothing in the Plan, any of the Definitive Documents
or the Confirmation Order shall be deemed to waive any Co-Defendant Defensive Rights, and nothing in
the Chapter 11 Cases, the Plan, any of the Definitive Documents or the Confirmation Order may be used
as evidence of any determination regarding any Co-Defendant Defensive Rights, and under no
circumstances shall any Person be permitted to assert issue preclusion or claim preclusion, waiver, estoppel,
or consent in response to the assertion of any Co-Defendant Defensive Rights. This Article IX.M shall be
included in the Confirmation Order. Co-Defendant Defensive Rights (i) may be used to offset, setoff,
recoup, allocate or apportion fault, liability or damages, or seek judgment reduction or otherwise defend
against any Cause of Action or Claim brought by any Person against the Holder of any Co-Defendant Claim
based in whole or in part on Opioid-Related Activities; and (ii) shall in no case be used to seek any
affirmative monetary recovery from any Protected Party on account of any Claim or Cause of Action
released pursuant to Article IX.D, shall in no case result in the Protected Parties being named on a jury
verdict form or other finding of liability (provided that, in lieu of so naming the Protected Parties, a party
may name the Opioid MDT II, applicable Opioid Creditor Trust, or the Ratepayer Account as successor in
interest, and successor in liability, to the Debtors, including without limitation, Mallinckrodt), and shall in
no case be used to seek an affirmative recovery from the Opioid MDT II or any Opioid Creditor Trust other
than on account of any Class 9(h) Claim in accordance with the Plan and the Opioid MDT II Trust
Documents. The foregoing does not constitute a release of any Co-Defendant Claim.

                                                  Article X.

                                    RETENTION OF JURISDICTION

         Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date,
except to the extent set forth herein, the Bankruptcy Court shall retain exclusive jurisdiction over all matters
arising out of, or related to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the
Bankruptcy Code, including jurisdiction to:

         A.      except as provided in the Opioid MDT II Documents or Opioid Creditor Trust Documents
with respect to Opioid Claims, allow, disallow, determine, liquidate, classify, estimate, or establish the
priority, secured or unsecured status, or amount of any Claim or Interest, including the resolution of any
request for payment of any Administrative Claim and the resolution of any and all objections to the secured
or unsecured status, priority, amount, or allowance of Claims or Interests;

        B.      decide and resolve all matters related to the granting and denying, in whole or in part, any
applications for allowance of compensation or reimbursement of expenses to Retained Professionals
authorized pursuant to the Bankruptcy Code or the Plan;


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        C.      resolve any matters related to: (1) the assumption, assumption and assignment, or rejection
of any Executory Contract or Unexpired Lease to which a Debtor is party o with respect to which a Debtor
may be liable and to hear, determine, and, if necessary, liquidate, any Cure Costs arising therefrom,
including Cure Costs pursuant to section 365 of the Bankruptcy Code; (2) any potential contractual
obligation under any Executory Contract or Unexpired Lease that is assumed; and (3) any dispute regarding
whether a contract or lease is or was executory or expired;

        D.       except as provided in the Opioid MDT II Documents and Opioid Creditor Trust Documents
with respect to Opioid Claims, ensure that distributions to Holders of Allowed Claims are accomplished
pursuant to the provisions of the Plan and the Confirmation Order;

        E.       adjudicate, decide, or resolve any motions, adversary proceedings, contested, or litigated
matters, and any other matters, and grant or deny any applications involving a Debtor that may be pending
on the Effective Date;

        F.      adjudicate, decide, or resolve any and all matters related to Causes of Action;

        G.      adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy
Code;

        H.     except as provided in the Opioid MDT II Documents and Opioid Creditor Trust Documents
with respect to Opioid Claims, resolve any cases, controversies, suits, or disputes that may arise in
connection with any Claims, including claim objections, allowance, disallowance, estimation, and
distribution;

        I.      enter and implement such orders as may be necessary or appropriate to execute, implement,
or consummate the provisions of the Plan, the Confirmation Order, and all contracts, instruments, releases,
and other agreements or documents created in connection with the Plan, the Confirmation Order, or the
Disclosure Statement, including the Restructuring Support Agreement;

        J.      enter and enforce any order for the sale of property pursuant to sections 363, 1123, or
1146(a) of the Bankruptcy Code;

         K.      resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in
connection with the interpretation or enforcement of the Plan, the Confirmation Order, or any contract,
instrument, release or other agreement or document that is entered into or delivered pursuant to the Plan or
the Confirmation Order, or any Entity’s rights arising from or obligations incurred in connection with the
Plan or the Confirmation Order;

        L.     issue injunctions, enter and implement other orders or take such other actions as may be
necessary or appropriate to restrain interference by any Entity with enforcement of the Plan or the
Confirmation Order;

        M.       resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
releases, injunctions, and other provisions contained in the Plan and enter such orders as may be necessary
or appropriate to implement such releases, injunctions, and other provisions;

         N.      resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
repayment or return of distributions and the recovery of additional amounts owed by the Holder of a Claim
or Interest for amounts not timely repaid;




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         O.      enter and implement such orders as are necessary or appropriate if the Confirmation Order
is for any reason modified, stayed, reversed, revoked, or vacated;

        P.      determine any other matters that may arise in connection with or relate to the Plan, the
Disclosure Statement, the Confirmation Order, or any contract, instrument, release, indenture, or other
agreement or document created in connection with the Plan, the Confirmation Order, or the Disclosure
Statement;

        Q.      enter an order or final decree concluding or closing the Chapter 11 Cases;

        R.       except as provided in the Opioid MDT II Documents and Opioid Creditor Trust Documents
with respect to Opioid Claims, adjudicate any and all disputes arising from or relating to distributions under
the Plan;

        S.      consider any modification of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

        T.       determine requests for payment of Claims and Interests entitled to priority pursuant to
section 507 of the Bankruptcy Code;

         U.     hear and determine disputes arising in connection with the interpretation, implementation,
or enforcement of the Plan, or the Confirmation Order, including disputes arising under agreements,
documents, or instruments executed in connection with the Plan and disputes regarding or arising out of the
trade terms enforceable between the Reorganized Debtors and any Holder of a Class 7 Trade Claim;

        V.      hear and determine matters concerning state, local, and federal taxes in accordance with
sections 346, 505, and 1146 of the Bankruptcy Code;

         W.        hear and determine all disputes involving the existence, nature, or scope of the Debtors’
discharge, including any dispute relating to any liability arising out of the termination of employment or
the termination of any employee or retiree benefit program, regardless of whether such termination occurred
prior to or after the Effective Date;

        X.     hear and determine disputes arising in connection with the interpretation, implementation,
or enforcement of the releases, injunctions, and exculpations provided under Article IX of the Plan;

        Y.      resolve any disputes concerning whether a Person had sufficient notice of the Chapter 11
Cases, the Disclosure Statement, any solicitation conducted in connection with the Chapter 11 Cases, any
Claims Bar Date established in the Chapter 11 Cases, or any deadline for responding or objection to a Cure
Cost, in each case, for the purpose of determining whether a Claim or Interest is discharged hereunder or
for any other purpose;

        Z.      enforce all orders previously entered by the Bankruptcy Court; and

       AA.     hear any other matter not inconsistent with the Bankruptcy Code, the Plan, or the
Confirmation Order;

provided, however, that the Bankruptcy Court shall not retain jurisdiction over disputes concerning
documents contained in the Plan Supplement or other Definitive Documents that have a jurisdictional,
forum selection, or dispute resolution clause that refers disputes to a different court and any disputes




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concerning documents contained in the Plan Supplement that contain such clauses shall be governed in
accordance with the provisions of such documents.

         Additionally, the Bankruptcy Court will retain jurisdiction to adjudicate, decide, or resolve issues
raised by the Monitor, but such jurisdiction will not be exclusive and the Monitor shall retain the right to
seek relief in all other courts.

         If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising in, arising under, or related to the Chapter 11 Cases,
including the matters set forth in this Article X, the provisions of this Article X shall have no effect on and
shall not control, limit, or prohibit the exercise of jurisdiction by any other court having competent
jurisdiction with respect to such matter.

        Unless otherwise specifically provided herein or in a prior order of the Bankruptcy Court, the
Bankruptcy Court shall have exclusive jurisdiction to hear and determine disputes concerning Claims
against or Interests in the Debtors that arose prior to the Effective Date.

                                                 Article XI.

                 MODIFICATION, REVOCATION, OR WITHDRAWAL OF PLAN

A.      Modification of Plan

         Subject to the terms of the Restructuring Support Agreement and the limitations contained in the
Plan, the Debtors or Reorganized Debtors reserve the right to, in accordance with the Bankruptcy Code, the
Bankruptcy Rules, and the Restructuring Support Agreement: (1) amend or modify the Plan prior to the
entry of the Confirmation Order, including amendments or modifications to satisfy section 1129(b) of the
Bankruptcy Code; (2) amend or modify the Plan after the entry of the Confirmation Order in accordance
with section 1127(b) of the Bankruptcy Code and the Restructuring Support Agreement upon order of the
Bankruptcy Court; and (3) remedy any defect or omission or reconcile any inconsistency in the Plan in such
manner as may be necessary to carry out the purpose and intent of the Plan upon order of the Bankruptcy
Court.

B.      Effect of Confirmation on Modifications

         Entry of the Confirmation Order shall mean that all modifications or amendments to the Plan since
the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require
additional disclosure or re-solicitation under Bankruptcy Rule 3019.

C.      Revocation of Plan; Reservation of Rights if Effective Date Does Not Occur

         Subject to the conditions to the Effective Date, the Debtors reserve the right, subject to the terms
of the Restructuring Support Agreement, to revoke or withdraw the Plan prior to the entry of the
Confirmation Order and to File subsequent Plans of reorganization. If the Debtors revoke or withdraw the
Plan, or if entry of the Confirmation Order or the Effective Date does not occur, or if the Restructuring
Support Agreement terminates in accordance with its terms prior to the Effective Date, then: (1) the Plan
shall be null and void in all respects; (2) any settlement or compromise embodied in the Plan, assumption
or rejection of executory contracts or leases effected by the Plan, and any document or agreement executed
pursuant hereto shall be deemed null and void; and (3) nothing contained in the Plan shall: (a) constitute a
waiver or release of any claims by or against, or any Equity Interests in, such Debtor or any other Entity;
(b) prejudice in any manner the rights of the Debtors or any other Entity; or (c) constitute an admission of
any sort by the Debtors or any other Entity; provided, that any Restructuring Expenses that have been paid



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as of the date of revocation or withdrawal of the Plan shall remain paid and shall not be subject to
disgorgement or repayment without further order of the Bankruptcy Court.

                                                 Article XII.

                                    MISCELLANEOUS PROVISIONS

A.      Immediate Binding Effect

         Notwithstanding Bankruptcy Rules 3020(e), 6004(g), or 7062 or otherwise, upon the occurrence of
the Effective Date, the terms of the Plan and the documents and instruments contained in the Plan
Supplement shall be immediately effective and enforceable and deemed binding upon the Debtors, the
Reorganized Debtors, and any and all Holders of Claims and Interests (irrespective of whether Holders of
such Claims or Interests are deemed to have accepted the Plan), all Entities that are parties to or are subject
to the settlements, compromises, releases, discharges, and injunctions described in the Plan, each Entity
acquiring property under the Plan and any and all non-Debtor parties to Executory Contracts and Unexpired
Leases, and notwithstanding whether or not such Person or Entity (i) will receive or retain any property, or
interest in property, under this Plan, (ii) has filed a Proof of Claim in the Chapter 11 Cases or (iii) failed to
vote to accept or reject this Plan, affirmatively voted to reject this Plan, or is conclusively presumed to
reject this Plan. The Confirmation Order shall contain a waiver of any stay of enforcement otherwise
applicable, including pursuant to Bankruptcy Rule 3020(e) and 7062.

B.      Additional Documents

        On or before the Effective Date, the Debtors may File with the Bankruptcy Court such agreements
and other documents as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of the Plan. The Debtors or Reorganized Debtors, as applicable, and all Holders of Claims
receiving distributions pursuant to the Plan and all other parties in interest shall, from time to time, prepare,
execute, and deliver any agreements or documents and take any other actions as may be necessary or
advisable to effectuate the provisions and intent of the Plan or the Confirmation Order.

C.      Payment of Statutory Fees

        All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy
Court at a hearing pursuant to section 1128 of the Bankruptcy Code or as agreed to by the United States
Trustee and the Reorganized Debtors, shall be paid for each quarter (including any fraction thereof) until
the Chapter 11 Cases are converted, dismissed or closed, whichever occurs first.

D.      Reservation of Rights

        The Plan shall have no force or effect unless and until the Bankruptcy Court enters the Confirmation
Order. None of the filing of the Plan, any statement or provision contained in the Plan, or the taking of any
action by any Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or
shall be deemed to be an admission or waiver of any rights of any Debtor with respect to the Holders of
Claims or Interests prior to the Effective Date.

        By consenting to the treatment provided by this Plan or otherwise supporting the Plan, no State or
Tribe shall be construed to have waived any claim or defense of sovereign immunity that it may have in
any other action or proceeding, including any action or proceeding occurring after the Effective Date.




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E.      Successors and Assigns

         The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding
on, and shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer,
director, agent, representative, attorney, beneficiaries or guardian, if any, of each Entity.

F.      No Successor Liability

         Except as otherwise expressly provided in this Plan and the Confirmation Order, each of the
Reorganized Debtors, NewCo, the NewCo Subsidiaries, the Opioid MDT II, and the Opioid Creditor Trusts
(a) is not, and shall not be deemed to assume, agree to perform, pay or otherwise have any responsibilities
for any liabilities or obligations of the Debtors or any other Person relating to or arising out of the operations
or the assets of the Debtors on or prior to the Effective Date, (b) is not, and shall not be, a successor to the
Debtors by reason of any theory of law or equity or responsible for the knowledge or conduct of any Debtor
prior to the Effective Date and (c) shall not have any successor or transferee liability of any kind or
character.

G.      Service of Documents

        After the Effective Date, any pleading, notice, or other document required by the Plan to be served
on or delivered to the Reorganized Debtors shall also be served on:




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                  Debtors                            Counsel to the Debtors

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                                        and
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                                        Yerramalli, and Andrew Sorkin
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              United States Trustee                         Counsel to the Supporting Governmental
                                                                 Plaintiff Ad Hoc Committee

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 Attn: Jane M. Leamy, Esq.
                                                      and
                                                      Brown Rudnick LLP
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                                                      and
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                                Counsel to the Supporting Term Lenders

 Gibson, Dunn & Crutcher LLP
 200 Park Avenue
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 Attention: Scott J. Greenberg and Michael J. Cohen

         After the Effective Date, the Reorganized Debtors have authority to send a notice to Entities that,
to continue to receive documents pursuant to Bankruptcy Rule 2002, they must File a renewed request to
receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Debtors are authorized
to limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who
have Filed such renewed requests.

H.      Term of Injunctions or Stays

        Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect
in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the
Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or stays contained in
the Plan or the Confirmation Order) shall remain in full force and effect until the Effective Date. All
injunctions or stays contained in the Plan or the Confirmation Order shall remain in full force and effect in
accordance with their terms.



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I.      Entire Agreement

        On the Effective Date, the Plan and the Plan Supplement supersede all previous and
contemporaneous negotiations, promises, covenants, agreements, understandings, and representations on
such subjects, all of which have become merged and integrated into the Plan.

J.      Governing Law

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and
Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving
effect to the principles of conflict of laws, shall govern the rights, obligations, construction, and
implementation of the Plan, the Plan Supplement, and any agreements, documents, instruments, or contracts
executed or entered into in connection with the Plan (except as otherwise set forth in those agreements, in
which case the governing law of such agreement shall control), and corporate governance matters; provided
that corporate governance matters relating to Debtors or Reorganized Debtors, as applicable, not
incorporated in New York shall be governed by the laws of the jurisdiction of incorporation of the
applicable Debtor or Reorganized Debtor, as applicable.

K.      Exhibits

         All exhibits and documents included in the Plan Supplement are incorporated into and are a part of
the Plan as if set forth in full in the Plan. Except as otherwise provided in the Plan, such exhibits and
documents included in the Plan Supplement shall initially be Filed with the Bankruptcy Court on or before
the Plan Supplement Filing Date. After the exhibits and documents are Filed, copies of such exhibits and
documents shall have been available upon written request to the Debtors’ counsel at the address above or
by downloading such exhibits and documents from the Debtors’ restructuring website at
http://restructuring.primeclerk.com/Mallinckrodt     or    the    Bankruptcy     Court’s    website      at
www.deb.uscourts.gov. To the extent any exhibit or document is inconsistent with the terms of the Plan,
unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the Plan
shall control.

L.      Nonseverability of Plan Provisions upon Confirmation

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be
invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term
or provision to make it valid or enforceable to the maximum extent practicable, consistent with the original
purpose of the term or provision held to be invalid, void or unenforceable, and such term or provision shall
then be applicable as altered or interpreted; provided that, any such alteration or interpretation shall be
acceptable to the Debtors, the Required Supporting Unsecured Noteholders, the Supporting Governmental
Opioid Claimants, and the Required Supporting Term Lenders. Notwithstanding any such holding,
alteration, or interpretation, the remainder of the terms and provisions of the Plan will remain in full force
and effect and will in no way be affected, impaired, or invalidated by such holding, alteration, or
interpretation. The Confirmation Order shall constitute a judicial determination and shall provide that each
term and provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing,
is: (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or modified
without the consent of the Debtors; and (3) nonseverable and mutually dependent.

M.      Closing of Chapter 11 Cases

        The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File
with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of
the Bankruptcy Court to close the Chapter 11 Cases.



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N.      Conflicts

        To the extent that any provision of the Disclosure Statement, or any order entered prior to
Confirmation (for avoidance of doubt, not including the Confirmation Order) referenced in the Plan (or any
exhibits, appendices, supplements, or amendments to any of the foregoing), conflict with or are in any way
inconsistent with any provision of the Plan, the Plan shall govern and control. To the extent that any
provision of the Plan conflicts with or is in any way inconsistent with any provision of the Confirmation
Order, the Confirmation Order shall govern and control.

O.      Section 1125(e) Good Faith Compliance

         The Debtors, the Reorganized Debtors, the Supporting Parties, and each of their respective current
and former officers, directors, members (including ex officio members), managers, employees, partners,
advisors, attorneys, professionals, accountants, investment bankers, investment advisors, actuaries,
Affiliates, financial advisors, consultants, agents, and other representatives of each of the foregoing Entities
(whether current or former, in each case in his, her or its capacity as such), shall be deemed to have acted
in “good faith” under section 1125(e) of the Bankruptcy Code.

P.      Dissolution of Committees

         On the Effective Date, the Official Committee of Unsecured Creditors and the Official Committee
of Opioid-Related Claimants shall be dissolved and the members of each of the Official Committee of
Unsecured Creditors and the Official Committee of Opioid-Related Claimants and each of their legal,
consulting, financial, and/or other professional advisors shall be deemed released of all their duties,
responsibilities, and obligations in connection with the Chapter 11 Cases and its implementation; provided,
however, that following the Effective Date, the Official Committee of Unsecured Creditors and the Official
Committee of Opioid-Related Claimants shall continue in existence and have standing and a right to be
heard for the following limited purposes: (a) applications, and any relief related thereto, for compensation
by Professional Persons and requests for allowance of fees and/or expenses under section 503(b) of the
Bankruptcy Code, and (b) any appeals of, or related to, the Confirmation Order or other appeal to which
the Official Committee of Unsecured Creditors or the Official Committee of Opioid-Related Claimants is
a party.




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Respectfully submitted, as of the date first set forth above,

                                    Mallinckrodt plc
                                    (on behalf of itself and all other Debtors)

                                    By:       /s/ Stephen A. Welch
                                    Name:     Stephen A. Welch
                                    Title:    Chief Transformation Officer




                                   [Signature Page to Plan]
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                                           Annex A
                                                                                            1
    Prepayment Cost of Opioid Deferred Cash Payments at Various Months After Effective Date

                                 Months after              Prepayment Cost of Opioid
                                Effective Date              Deferred Cash Payments
                                (end of month)
                                       0                            $679,648,516
                                       1                            $687,520,879
                                       2                            $695,467,941
                                       3                            $703,490,411
                                       4                            $711,589,005
                                       5                            $719,764,445
                                       6                            $728,017,460
                                       7                            $736,348,785
                                       8                            $744,759,166
                                       9                            $753,249,350
                                      10                            $761,820,096
                                      11                            $770,472,168
                                                                                2
                                      12                            $779,206,338




1
    Amounts shown in this Annex A show the prepayment cost at the end of each of the 12 months after the Effective Date. To
    the extent a prepayment occurs other than at the end of the month, the prepayment cost shall be calculated as of such
    prepayment date pursuant to the formula set forth in the Plan.
2
    Prepayment right may be exercised prior to the first anniversary of the Effective Date. Month twelve is illustratively shown
    and includes $200,000,000 payment due at such time.
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                              Exhibit 1

Cram-Down First Lien Notes and Cram-Down Second Lien Notes Term Sheet
                                                                                                     Case 20-12522-JTD                  Doc 2916               Filed 06/18/21                 Page 142 of 147


                         Cram-Down Secured Notes Summary Terms
                                                                                               Cram-Down First Lien Notes                                                                                                              Cram-Down Second Lien Notes

                                                                                                                                                                                   •    Equivalent to the amount of such Allowed Second Lien Notes Claims
  Amount                                   •    Equivalent to the amount of such Allowed First Lien Notes Claims

  Notes                                    •    Senior Secured First Lien Notes                                                                                                    •    Senior Secured Second Lien Notes

  Issuers                                  •    Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC                                                                    •    Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC

  Obligors                                 •    Same obligors as the Takeback Second Lien Notes                                                                                    •    Same obligors as the Takeback Second Lien Notes

                                           ▪    Payable in cash at a coupon based on the ICE BofA 8+ Year B US High Yield Index Semi-Annual Yield to                               ▪    Payable in cash at a coupon based on the ICE BofA 8+ Year CCC & Lower US High Yield Index Semi-Annual
                                                Worst(1) as of the Plan Effective Date, rounded to the nearest 0.125%, subject to a max coupon of 10.0%                                 Yield to Worst(2) as of the Plan Effective Date, rounded to the nearest 0.125%, subject to a max coupon of 10.0%
  Coupon
                                           ▪    By way of reference, on June 7, 2021 the index was 4.74%, which would imply a coupon of 4.750%                                     •    By way of reference, on June 7, 2021 the index was 6.58%, which would imply a coupon of 6.625%



                                           ▪    Eight (8) years following the Plan Effective Date                                                                                  ▪    Ten (10) years following the Plan Effective Date
  Maturity
                                           •    If the reference index above exceeds 10.0%, then maturity shall remain at April 15, 2025                                           ▪    If the reference index above exceeds 10.0%, then maturity shall remain at April 15, 2025

                                           •    Secured by security interests on assets of obligors materially similar to assets securing existing First Lien Notes                ▪    Secured by security interests on assets of obligors materially similar to assets securing existing Second Lien
                                           •    Pari passu with security interests securing the New Term Loan Facility and the New Takeback Term Loan                                   Notes
                                                Facility, as applicable; senior to security interests securing the Takeback Second Lien Notes, the Second Lien                     ▪    Junior to security interests securing the New Term Loan Facility, the New Takeback Term Loan Facility, as
  Collateral / Priority /                       Notes and the Cram-Down Second Lien Notes, as applicable                                                                                applicable; pari passu with security interests securing the Takeback Second Lien Notes
  Intercreditor Arrangements               •    Intercreditor arrangements to be on market terms, which are expected to be materially similar to existing
                                                                                                                                                                                   ▪    Intercreditor arrangements to be on market terms, which (other than intercreditor arrangements between the
                                                intercreditor arrangements applicable to existing First Lien Notes
                                                                                                                                                                                        Takeback Second Lien Notes and the Cram-Down Second Lien Notes) are expected to be materially similar to
                                                                                                                                                                                        existing intercreditor arrangements applicable to existing Second Lien Notes

  Put                                      •    Puttable to the issuer at 101% of par upon a change of control                                                                     •    Puttable to the issuer at 101% of par upon a change of control

                                           •    Company may redeem up to 40% of notes at a redemption price of par plus full coupon, with the proceeds of an                       •    Company may redeem up to 40% of notes at a redemption price of par plus full coupon, with the proceeds of an
  Equity Claw
                                                equity offering                                                                                                                         equity offering

                                           •    Non-callable for 4 years                                                                                                           •    Non-callable for 4 years
                                           •    Par plus half coupon in year 5                                                                                                     •    Par plus half coupon in year 5
                                           •    Par plus quarter coupon in year 6                                                                                                  •    Par plus quarter coupon in year 6
  Call Protection
                                           •    Par thereafter                                                                                                                     •    Par thereafter
                                           •    Provided however, if the reference index on the prior page exceeds 10.0%, then the call schedule remains the                       •    Provided however, if the reference index on the prior page exceeds 10.0%, then the call schedule remains the
                                                same as in the existing First Lien Notes indenture                                                                                      same as in the existing Second Lien Notes indenture

  Affirmative and Negative                 •    To generally match the existing Second Lien Notes indenture, as adjusted to reflect the Plan and all transactions                  •    To generally match the existing Second Lien Notes indenture, as adjusted to reflect the Plan and all transactions
  Covenants                                     contemplated thereby                                                                                                                    contemplated thereby
________________________
Note: Summary terms only.
(1)    Source: Bloomberg (H2AL), Yield to Worst (Semi-Annual) of the ICE BofA 8+ Year B US High Yield Index.     (2) Source: Bloomberg (H3AL), Yield to Worst (Semi-Annual) of the ICE BofA 8+ Year CCC & Lower US High Yield Index.
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                           Exhibit 2

             Takeback Second Lien Notes Term Sheet
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                      Takeback Second Lien Notes Summary Terms

Amount                            •   $375 million
Notes                             •   Senior Secured Second Lien Notes
Issuers                           •   Mallinckrodt International Finance S.A. and
                                      Mallinckrodt CB LLC
Obligors                          •   Same as the obligors on the Deferred Cash Payments,
                                      provided that any obligations on account of the
                                      Takeback Second Lien Notes shall (i) be guaranteed
                                      by the same entities that guarantee the First Lien
                                      Notes and (ii) comply with the terms of the
                                      Debtors’ existing funded indebtedness
Coupon                            •   Payable in cash at 10.00%
Maturity                          •   Seven (7) years following the Plan Effective Date
Collateral/Priority               •   Pari passu with the second lien security interests as
                                      with existing Second Lien Notes
Put                               •   Puttable to the issuer at 101% of par upon a change of
                                      control
Equity Claw                       •   Company may redeem up to 40% of Takeback Second
                                      Lien Notes at a redemption price of 110% of par with
                                      the proceeds of an equity offering
Call Protections                  •   Non-callable for 4 years
                                  •   105 call in year 5
                                  •   102.5 in year 6
                                  •   Par thereafter
Affirmative and Negative          •   To generally match the 2020 First Lien Notes
Covenants                             Indenture, as adjusted to reflect new Takeback Second
                                      Lien Notes structure
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                            Exhibit 3

            Federal/State Acthar Settlement Term Sheet
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DOJ Settlement Terms re: Boston (Medicaid Rebates) and EDPA False Claims Act
                          Matters, and related issues

•   Resolved Matters. Mallinckrodt and the United States (including CMS, DOJ ), the
    applicable states, and qui tam relators agree to fully and finally resolve the Acthar-related
    government litigations disclosed in Mallinckrodt’s Form 10-K for 2019, including United
    States of America, et al., ex rel., Charles Strunck, et al. v. Mallinckrodt ARD LLC (E.D.
    Penn.); United States of America et al. ex rel. Landolt v. Mallinckrodt ARD, LLC (D.
    Mass.); and Mallinckrodt ARD LLC v. Verma et al. (D.D.C.), and related matters (such
    matters, collectively, the “Resolved Matters”) on the terms set forth in this Schedule, which
    will be memorialized in a definitive DOJ Settlement Agreement, and settlement
    agreements with the States, and incorporated into the Plan.

•   Settlement Payments. In full and final satisfaction of all claims at issue in the “Resolved
    Matters”, Mallinckrodt shall make cash payments to the US and State governments totaling
    $260 million in the aggregate in accordance with the following schedule, with deferred
    payments bearing interest at a variable rate equal to the nominal interest rate on special
    issues of government securities to the Social Security trust funds, measured as of each
    payment date and accruing from September 21, 2020:

                         Payment Date                          Payment Amount

        Plan Effective Date                                       $15,000,000

        First Anniversary of Plan Effective Date                  $15,000,000

        Second Anniversary of Plan Effective Date                 $20,000,000

        Third Anniversary of Plan Effective Date                  $20,000,000

        Fourth Anniversary of Plan Effective Date                 $32,500,000

        Fifth Anniversary of Plan Effective Date                  $32,500,000

        Sixth Anniversary of Plan Effective Date                  $62,500,000

        Seventh Anniversary of Plan Effective Date                $62,500,000


•   Releases. Effective as of the date on which the Settlement Agreement is fully executed,
    Mallinckrodt, on the one hand, and DOJ and the States, on the other hand, will have
    exchanged mutual releases, as specified in the Settlement Agreements relating to the
    Resolved Matters.

•   CMS/DOJ/State Settlement Agreement; Additional Terms and Conditions. Without
    limiting or affecting in any way the rights of the Supporting Parties under the RSA, the
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DOJ Settlement Agreement shall contain such additional terms, conditions,
representations, warranties, covenants and termination events to which Mallinckrodt, on
the one hand, and DOJ on the other hand, may agree. Without limiting or affecting in any
way the rights of the Supporting Parties under the RSA, the State Settlement Agreements
shall contain such additional terms, conditions, representations, warranties, covenants and
termination events to which Mallinckrodt, on the one hand, and the States, on the other
hand, may agree.




                                         2
